Case 4:20-cv-03664-YGR   Document 666-24   Filed 08/05/22   Page 1 of 331




          DECLARATION OF
        GEORGIOS ZERVAS ISO
           GOOGLE, LLC’S
           OPPOSITION TO
         PLAINTIFF’S MOTION
             FOR CLASS
         CERTIFICATION AND
       APPOINTMENT OF CLASS
       REPRESENTATIVES AND
          CLASS COUNSEL

            Unredacted Version of
             Document Sought
                to be Sealed
 Case 4:20-cv-03664-YGR           Document 666-24     Filed 08/05/22    Page 2 of 331




 1 QUINN EMANUEL URQUHART & SULLIVAN, LLP
    Diane M. Doolittle (CA Bar No. 142046) Andrew H. Schapiro (admitted pro hac vice)
 2 dianedoolittle@quinnemanuel.com         andrewschapiro@quinnemanuel.com
    Sara Jenkins (CA Bar No. 230097)       Teuta Fani (admitted pro hac vice)
 3                                         teutafani@quinnemanuel.com
    sarajenkins@quinnemanuel.com
 4  555  Twin Dolphin  Drive, 5th Floor    191 N. Wacker Drive, Suite 2700
    Redwood Shores, CA 94065               Chicago, IL 60606
 5 Telephone: (650) 801-5000               Telephone: (312) 705-7400
    Facsimile: (650) 801-5100              Facsimile: (312) 705-7401
 6

 7    Stephen A. Broome (CA Bar No. 314605)         Josef Ansorge (admitted pro hac vice)
      stephenbroome@quinnemanuel.com                josefansorge@quinnemanuel.com
 8    Viola Trebicka (CA Bar No. 269526)            Xi (“Tracy”) Gao (CA Bar No. 326266)
      violatrebicka@quinnemanuel.com                tracygao@quinnemanuel.com
 9    Crystal Nix-Hines (Bar No. 326971)            Carl Spilly (admitted pro hac vice)
      crystalnixhines@quinnemanuel.com              carlspilly@quinnemanuel.com
10
      Alyssa G. Olson (CA Bar No. 305705)           1300 I Street NW, Suite 900
11    alyolson@quinnemanuel.com                     Washington D.C., 20005
      865 S. Figueroa Street, 10th Floor            Telephone: (202) 538-8000
12    Los Angeles, CA 90017                         Facsimile: (202) 538-8100
      Telephone: (213) 443-3000
13    Facsimile: (213) 443-3100
14
      Jomaire Crawford (admitted pro hac vice)      Jonathan Tse (CA Bar No. 305468)
15    jomairecrawford@quinnemanuel.com              jonathantse@quinnemanuel.com
      51 Madison Avenue, 22nd Floor                 50 California Street, 22nd Floor
16    New York, NY 10010                            San Francisco, CA 94111
      Telephone: (212) 849-7000                     Telephone: (415) 875-6600
17    Facsimile: (212) 849-7100                     Facsimile: (415) 875-6700
18
     Attorneys for Defendant Google LLC
19
                            UNITED STATES DISTRICT COURT
20                NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

21    CHASOM BROWN, WILLIAM BYATT,                  Case No. 4:20-cv-03664-YGR-SVK
      JEREMY DAVIS, CHRISTOPHER
22    CASTILLO, and MONIQUE TRUJILLO,               DECLARATION OF GEORGIOS ZERVAS
      individually and on behalf of all similarly   IN SUPPORT OF GOOGLE, LLC’S
23                                                  OPPOSITION TO PLAINTIFF’S MOTION
      situated,                                     FOR CLASS CERTIFICATION AND
24          Plaintiffs,                             APPOINTMENT       OF       CLASS
                                                    REPRESENTATIVES     AND    CLASS
25                                                  COUNSEL
                   v.
26                                                  Judge: Hon. Yvonne Gonzalez Rogers
      GOOGLE LLC,                                   Hearing Date: September 20, 2022
27          Defendant.                              Hearing Time: 2:00 p.m..

28
                                                              Case No. 4:20-cv-03664-YGR-SVK
          DECLARATION OF GEORGIOS ZERVAS IN SUPPORT OF GOOGLE’S OPPOSITION TO MOTION FOR
                                                                      CLASS CERTIFICATION
  Case 4:20-cv-03664-YGR          Document 666-24         Filed 08/05/22      Page 3 of 331




 1          I, Georgios Zervas, declare as follows:
 2          1.     Counsel for Defendant Google, LLC retained me to provide expert analysis and, if
 3 requested, expert testimony in this matter.

 4          2.     I submit this declaration in support of Google’s Opposition to Plaintiff’s Motion for
 5 Class Certification.

 6          3.     Attached as Exhibit 1 is a true and correct copy of the Expert Report of Georgios
 7 Zervas, dated April 15, 2022. The opinions I provided therein are true and correct to the best of my

 8 knowledge.

 9          4.      Attached as Exhibit 2 is a true and correct copy of the Expert Rebuttal Report of
10 Georgios Zervas, dated June 7, 2022. The opinions I provided therein are true and correct to the best

11 of my knowledge.

12

13          I declare under penalty of perjury of the laws of the United States that the foregoing is true
                            THESSALONIKI
14 and correct. Executed in _______________, GREECE     July 29th 2022
                                             _______ on __________,
15

16
                                                          By
17                                                             Georgios Zervas
18

19

20

21

22

23

24

25

26

27

28
                                              1               Case No. 4:20-cv-03664-YGR-SVK
          DECLARATION OF GEORGIOS ZERVAS IN SUPPORT OF GOOGLE’S OPPOSITION TO MOTION FOR
                                                                      CLASS CERTIFICATION
Case 4:20-cv-03664-YGR   Document 666-24   Filed 08/05/22   Page 4 of 331




                         EXHIBIT 1
Case 4:20-cv-03664-YGR       Document 666-24     Filed 08/05/22   Page 5 of 331
                                             CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                    UNITED STATES DISTRICT COURT

      NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION



   CHASOM BROWN, WILLIAM BYATT,
   JEREMY DAVIS, CHRISTOPHER                           Case No. 5:20-cv-03664-YGR
   CASTILLO, and MONIQUE TRUJILLO,
   individually and on behalf of all other
   similarly situated,

                Plaintiff,
       v.
   GOOGLE LLC,
             Defendants.




             EXPERT REPORT OF GEORGIOS ZERVAS, PHD

                                APRIL 15, 2022
       Case 4:20-cv-03664-YGR                       Document 666-24                    Filed 08/05/22               Page 6 of 331
                                                                                 CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                                   TABLE OF CONTENTS



I.      EXECUTIVE SUMMARY ....................................................................................................1
II.     INTRODUCTION ..................................................................................................................5
        A.      Qualifications .................................................................................................................5
        B.      Summary of Plaintiffs’ Allegations ...............................................................................6
        C.      Assignment ....................................................................................................................8
        D.      Facts and Data Considered.............................................................................................8
III.    BACKGROUND ....................................................................................................................9
        A.      How Internet Communications Operate ........................................................................9
        B.      How Web Browsing Operates .....................................................................................12
IV. Private Browsing Mode ........................................................................................................24
        A.      Overview of Private Browsing Mode ..........................................................................24
        B.      Implementation of Private Browsing Mode in Popular Browsers ...............................29
        C.      Illustrations and Tests of Private Browsing Mode Behaviors in
                Chrome.........................................................................................................................38
                         1. Browsing History from a Private Browsing Session Is Not
                            Saved ......................................................................................................... 38
                         2. Cookies Are Not Shared Between Regular and Private
                            Browsing Modes ....................................................................................... 40
                            a. Pre-Existing Cookie Values are Not Accessible in
                                   Private Browsing Mode ..........................................................41
                                b.     Cookies Are Discarded after Incognito Mode
                                       Browsing Sessions ..................................................................44
                                c.     Testing Confirmed that Private Browsing Mode
                                       Restricted the Sharing of Certain Types of Data Across
                                       Browsing Sessions on Popular Browsers ...............................47
                           3. Private Browsing Sessions Will Not Be Logged into Any
                              Accounts or Sites ...................................................................................... 49
                           4. Downloaded Files Do Not Appear in Download Lists ............................. 51
                           5. Autofill Web Forms from Private Browsing Mode Are Not
                              Available in Regular Mode ....................................................................... 52
        D.      Conclusions Regarding Private Browsing Mode .........................................................55
V.      Google Services Used by Third Party Websites and Associated Data
        Transmissions .......................................................................................................................56
        A.      Google Analytics .........................................................................................................57


                                                                       1
Case 4:20-cv-03664-YGR                   Document 666-24                  Filed 08/05/22              Page 7 of 331
                                                                    CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                1. Data Transmissions to Google Analytics Are Impacted by
                   the Choices of Website Developers .......................................................... 63
                2. Users Can Affect Data Transmissions to Google Analytics ..................... 66
 B.   Google Ad Manager .....................................................................................................72
            1. Data Transmissions to Google Ad Manager Are Impacted
               by the Choices of Publishers ..................................................................... 75
            2. Users Can Affect Data Transmissions to Google Ad
               Manager .................................................................................................... 77
 C.   Private Browsing Modes Do Not Block All Transmissions to Third-
      Party Web-Services ......................................................................................................80
 D.   Testing of Browser Settings and Extensions that Impact Transmissions
      of At-Issue Data in Both Regular and Private Browsing Modes .................................81
              1. Browser Settings that Affect the Transmission of Cookie
                 Values ....................................................................................................... 83
              2. Users Can Block Execution of JavaScript Code on
                 Webpages .................................................................................................. 85
              3. Add-Ons and Extensions Can Be Used to Restrict Data
                 Transmission to Google Analytics ............................................................ 89
              4. Users Can Block Ads and Other Content Using Add-Ons
                 and Extensions .......................................................................................... 90
              5. VPN Services Mask Users’ IP Addresses ................................................. 93




                                                           2
    Case 4:20-cv-03664-YGR            Document 666-24           Filed 08/05/22   Page 8 of 331
                                                          CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


        I.        EXECUTIVE SUMMARY

             1.   I have been engaged in this matter by counsel for Google LLC (“Google”) to

explain certain aspects of the technology at issue, including features and operation of Private

Browsing Modes 1 in Chrome and other browsers, and data transmissions that occur when a user

visits websites in Regular or Private Browsing Mode. Based on my experience, the materials I

reviewed in this matter, and my testing of Chrome and other browsers, I have reached the following

opinions.


Opinion 1 (See Section IV)

             2.   Private Browsing Modes ensure that other people who use the same device won’t

see the user’s activity after the Private Browsing Session is closed. Private Browsing Modes also

ensure that cookie values generated during the Private Browsing Session cannot be used to provide

a link to the user or her device after the session is closed.

             3.   Private Browsing Modes on the major browsers provide similar functionality, with

some differences in implementation between browsers. For example, Google describes that

Incognito Mode in Chrome will not save information like browser history and cookies after the

Incognito session ends, so that other people who use the same device won’t see the user’s Incognito

browsing activity. Other companies like Apple (Safari), Microsoft (Edge), and Mozilla (Firefox)




1
    Throughout this report, I use the term “Private Browsing Mode” to refer generally to private
    browsing modes of various browsers, and I use the term “Private Browsing Session” to refer
    to browsing sessions where the browser is in Private Browsing Mode. I use the term “Incognito
    Mode” or simply “Incognito” to refer to the Private Browsing Mode of the Chrome browser in
    particular. I use the term “Regular Mode” to refer to browsing modes other than Private
    Browsing Mode. Regular Mode can encompass multiple modes of browser operation
    depending, for example, on a user’s sign-in state.

                                                   1
   Case 4:20-cv-03664-YGR           Document 666-24         Filed 08/05/22     Page 9 of 331
                                                       CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


describe the Private Browsing Modes of their browsers in a similar manner—in each case, the

browser will not save browsing activity data after the Private Browsing Session ends.

         4.    The way browsers accomplish this is to start a Private Browsing Session with a

“clean” browser—when the session starts, the user is not logged into her accounts and browsing

history or cookies from prior sessions are not accessible within the Private Browsing Session.

Then, when the user ends the Private Browsing Session, the browser discards any browsing history

or cookies that were stored by the browser during the Private Browsing Session, so that data is not

accessible in subsequent sessions. By starting with a “clean” browser when Private Browsing

Mode is launched, and discarding data associated with the user’s browsing activity when the

session is closed, Private Browsing Modes ensure that other people who use the same device won’t

see the user’s activity from the Private Browsing Session. This also ensures that the cookie values

generated during the Private Browsing Session cannot be used to provide a link to the user or her

device after that session is closed, unless the user explicitly enables a website to make this

association by signing into the website during the Private Browsing Session, or enables Google to

do so by signing into their Google account during the Private Browsing Session.

         5.    As demonstrated in this report, I have tested the Private Browsing Modes of the

major browsers on several popular operating systems and have confirmed that the Private

Browsing Modes work as described in public documentation. For example, I tested the Chrome

browser by visiting websites in Regular and Incognito mode, and observed that in subsequent

Regular Mode sessions only the websites that I visited in Regular Mode were shown in the browser

history—the websites I visited in Incognito mode were not recorded in the browser history. My

tests further confirmed that Private Browsing Modes (1) prevent browsing history from being

saved on the device, (2) prevent the user and browser in Private Browsing Sessions from accessing

                                                2
   Case 4:20-cv-03664-YGR          Document 666-24         Filed 08/05/22     Page 10 of 331
                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


browsing history and cookies from Regular Mode sessions, and (3) discard cookies placed on the

browser during the Private Browsing Session when that session is closed. I also performed tests

confirming that users are not logged into any accounts (including Google accounts) upon initiation

of a Private Browsing Session, and browser download records and “autofill” information from a

Private Browsing Session are not available after that session is closed.

          6.    Because cookie values associated with Private Browsing Sessions are not shared

with other browsing sessions, this information cannot be used to link the Private Browsing Mode

activity to a user or her device after that Private Browsing Session is closed. Based on my

experience, information I have reviewed, and testing I have performed, it is also my opinion that,

to the extent Google receives cookie values when a user (who is not logged into a Google account)

visits in Private Browsing Mode a third-party website containing Google analytics or advertising

code, those cookie values would be distinct from any cookie values that Google may receive when

the user is in Regular Mode. As a result, these cookie values cannot be used to link the Private

Browsing Mode activities to a user or her device after that Private Browsing Session is closed,

which would prevent Google from using the cookie values to create a “cradle-to-grave profile of

users,” as Plaintiffs allege.

          7.    Private Browsing Modes do not and are not designed to provide users complete

anonymity or invisibility as they browse the web. Even in Private Browsing Mode, web browsing

necessarily involves transmission of messages from a user’s browser—otherwise the webpages

would not render. The transmission of those messages must conform to protocols and standards,

such as the HTTP protocol, and include information such as IP addresses.




                                                 3
  Case 4:20-cv-03664-YGR           Document 666-24        Filed 08/05/22      Page 11 of 331
                                                       CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


Opinion 2 (See Section V)

         8.    Whether Google receives information when a user in a Private Browsing Mode

visits a third-party website that uses Google services, and how that information can be used if

received by Google, depends on multiple choices available to website developers and users. There

are several settings available to websites that use products like Google Analytics or Google Ad

Manager that will impact data transmissions to Google. User settings also impact data

transmissions to Google that may occur when the user visits such a website.

         9.    Private Browsing Modes are not designed to block all communications between the

browser and third-party web-services that the website owner has incorporated in their website.

And those communications would necessarily conform to multiple industry standards and

protocols, including HTTP messages with required fields and IP addresses required to deliver those

HTTP messages. However, browsers (including Chrome) have numerous other settings and

available features that prevent the transmission of certain categories of At-Issue Data. These

settings include, but are not limited to, cookie settings, JavaScript extensions and settings, and

various extensions and standalone applications that are designed to prevent certain data

transmissions. I have tested these features in both Private Browsing Mode and Regular Mode. My

tests confirm that they function as explained in public documentation and that they impact data

transmissions to Google, whether or not the user is browsing in Private Browsing Mode. And even

though my tests focus separately on each setting, users can use combinations of these settings and

extensions to select the optimal balance of privacy and user experience.




                                                4
  Case 4:20-cv-03664-YGR           Document 666-24        Filed 08/05/22      Page 12 of 331
                                                       CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


       II.     INTRODUCTION

       A.      Qualifications

        10.    I am an Associate Professor of Marketing at Boston University Questrom School

of Business, a founding member of the Faculty of Computing & Data Sciences, and Affiliated

Faculty of the Department of Computer Science. I am also a visiting researcher at Microsoft

Research New England. Prior to joining the Boston University faculty, I held academic roles

including visiting scholar at the MIT Sloan School of Management, Simons Postdoctoral Fellow

at Yale University, and affiliate at the Center for Research on Computation and Society at Harvard

University’s John A. Paulson School of Engineering and Applied Sciences. I am an associate editor

of ACM Transactions on Economics and Computation, and I sit on the editorial review boards of

Marketing Science, the Journal of Marketing Research, and the Journal of Marketing.

        11.    My research, which falls in the broader area of digitization, combines methods from

computer science and economics to study online marketplaces to understand their impact on

consumer and firm behavior. I have conducted studies on online marketplaces such as Airbnb,

Yelp, TripAdvisor, and Expedia. My work is empirical in nature and relies on assembling and

analyzing novel sources of data that I collect from these marketplaces to study their operation. I

hold a Bachelor of Engineering and a Master of Science in Computer Science from Imperial

College in London, a Master of Arts in Interactive Media from London College of Communication,

and a Ph.D. in Computer Science from Boston University. Before pursuing my Ph.D. in computer

science, I ran a small information technology (IT) company. My C.V. is attached as Appendix A,

and a list of my prior testimony is attached as Appendix B.

        12.    I am being compensated at the rate of $700 per hour for my time on this case.

Research and analysis for this report was also performed by Analysis Group personnel under my


                                                5
    Case 4:20-cv-03664-YGR            Document 666-24         Filed 08/05/22     Page 13 of 331
                                                          CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


direction and guidance. My compensation is not contingent upon my findings, the testimony I may

give, or the outcome of this litigation.

       B.         Summary of Plaintiffs’ Allegations

        13.       It is my understanding that the alleged Class Period in this case is June 1, 2016

through the present. 2 I further understand that Plaintiffs allege that Google improperly intercepted,

received, or collected data from Chrome browser users and non-Chrome browser users who (i)

have a Google account; (ii) accessed a non-Google website containing “Google tracking or

advertising code;” while (iii) having private browsing mode enabled in a browser; and (iv) not

logging into a Google account. 3

        14.       I understand Plaintiffs allege that Google, by means of services like Google

Analytics, “fingerprinting” techniques, “concurrent Google applications and processes on a

consumer’s device,” and Google Ad Manager, collects the following categories of information that

enable Google to identify users, their devices, and activity (“At-Issue Data”). Specifically, the At-

Issue Data includes the following:

       a.         GET requests a browser sends to a website instructing what information to display

in the browser.

       b.         IP address of the browser’s connection to the internet.

       c.         Information identifying the browser software that the user is using, including any

“fingerprinting” data.

       d.         Any “User-ID” issued by the website to the user.



2
    Third Amended Class Action Complaint, Chasom Brown, et al., v. Google LLC, United States
    District Court Northern District of California, February 3, 2022 (“Complaint”), ¶ 2.
3
    Complaint, ¶ 192.

                                                   6
    Case 4:20-cv-03664-YGR           Document 666-24             Filed 08/05/22   Page 14 of 331
                                                           CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


        e.      Geolocation of the user.

        f.      Information contained in “Google cookies.” 4,5

        15.     I further understand Plaintiffs allege that Google builds “profiles” on individuals

and their devices “[b]y tracking, collecting and intercepting users’ (including Plaintiffs’ and Class

members’) personal communications indiscriminately—regardless of whether users attempted to

avoid such tracking pursuant to Google’s instructions—Google has gained a complete, cradle-to-

grave profile of users.” 6

        16.     I understand Plaintiffs further allege that: 7

                a.      In many cases, Google is able to associate the data collected from
        users in “private browsing mode” with specific and unique user profiles through
        Google Analytics User-ID. Google does this by making use of a combination of the
        unique identifier of the user it collects from Websites, and Google Cookies that it
        collects across the internet on the same user;
                b.      Information collected from Google Cookies, which includes
        identifying information regarding the user from private browsing sessions and non-
        private browsing sessions, across multiple sessions;
               c.     Identifying information regarding the consumer from various
        Google fingerprinting technologies that uniquely identify the device, such as X-
        Client-Data Header, GStatic, and Approved Pixels;
               d.     Geolocation data that Google collects from concurrent Google
        processes and system information, such as from the Android Operating System;
        and
               e.      The IP address information, which is transmitted to Google’s servers
        during the private and non-private browsing sessions. Google correlates and
        aggregates all of this information to create profiles on the consumers.




4
    Complaint, ¶¶ 8, 63, 69-70, 100, 105-108.
5
    I also understand that Plaintiffs refer to the X-Client-Data header as a field they contend to be
    used to identify Incognito users. See Complaint, ¶ 96.
6
    Complaint, ¶ 93.
7
    Complaint, ¶ 93.

                                                    7
  Case 4:20-cv-03664-YGR           Document 666-24        Filed 08/05/22    Page 15 of 331
                                                      CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


       C.      Assignment

        17.    I have been engaged by counsel for Google to explain the relevant technology at

issue: Private Browsing Modes in Chrome and other browsers and Google’s advertising or

analytics services offered to third party websites. My opinions are described in this report.

Specifically, I was asked to explain and analyze:

       a.      how internet communications and web browsing operate;

       b.      how Private Browsing Modes operate across different browsers and operating

systems;

       c.      how Google’s analytics and advertising products operate and which information

they require to function;

       d.      what data is transmitted to Google when a user visits a website that uses Google

analytics and advertising products in Private Browsing Mode, and how those transmissions are

impacted by user and website owner settings.

       D.      Facts and Data Considered

        18.    In forming my opinions, I have relied upon my professional and academic

experience and reviewed documents obtained from public sources. These materials include data

produced from my experiments discussed in this report. I have also reviewed and relied upon the

deposition testimony of Google witnesses and documents produced by Google in this case.

        19.    The sources I considered in forming my opinions are identified in this report and

the accompanying exhibits and are listed in the attached Appendix C.

        20.    Should additional relevant documents or information be made available to me, I

reserve the right to supplement my opinions as appropriate.



                                                8
     Case 4:20-cv-03664-YGR         Document 666-24          Filed 08/05/22      Page 16 of 331
                                                         CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


        III.   BACKGROUND

        A.     How Internet Communications Operate

         21.   The Internet can be understood as a network connecting computing devices (e.g.,

desktop computers, laptops, phones, TVs, tablets, and home appliances). These computing devices

are connected by communication links such as cables and radio spectrum systems that transmit

data between them. Because these communication links have constraints on how much data can

be transferred per unit of time, transmitted data is split into packets and is then “reassembled” upon

delivery. 8

         22.   All data transmissions on the Internet rely on protocols that define the rules of how

data are transmitted and interpreted. Widely used protocols include Transmission Control Protocol

(TCP), User Datagram Protocol (UDP), Internet Protocol (IP), and Hypertext Transfer Protocol

(HTTP). 9 These and many other protocols are a part of Internet standards that are set by the Internet

Engineering Task Force (IETF). 10

         23.   Web browsing operates as a network of clients (e.g., devices that users use to

browse the Internet) that send requests for information to servers which respond to these requests

by sending back requested data (e.g., data the device can use to display a web page) or modifying

data on the server. Examples of servers include website and email servers.




8
     Zola, Andrew, Alexander S. Gillis, “network packet,” TechTarget, available at
     https://www.techtarget.com/searchnetworking/definition/packet.
9
        “Types of Network Protocols, Explained,” CDW Research Hub, available at
https://www.cdw.com/content/cdw/en/articles/networking/types-of-network-protocols.html.

10
     “About the IETF”, Internet Society, available at https://www.internetsociety.org/about-the-
     ietf/.

                                                  9
     Case 4:20-cv-03664-YGR          Document 666-24       Filed 08/05/22        Page 17 of 331
                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


         24.   In addition to clients and servers, another essential component of the client-server

architecture are IP addresses. IP addresses are a sequence of numbers that provide the network

location of a device, such as a server or client. To send an IP message to a server, a client must

know the IP address of the server.

         25.   There are two formats of IP addresses used today: IP version 4 (IPv4) and IP version

6 (IPv6). 11 As the Internet was gaining popularity, IPv4 addresses were being allocated at a fast

pace and work began to develop the next version of the IP protocol, IPv6, which allowed for more

internet addresses. 12 Since IPv6 allows for more addresses than IPv4, the formats of these

addresses are different. 13 An IPv4 address has a format where four decimal numbers between 0

and 255 are separated by a period (e.g., 192.1.1.0). 14 An IPv6 address has a format where 8

hexadecimal    numbers     between     0   and   FFFF    are   separated    by     a   colon   (e.g.,

2001:0db8:3333:4444:5555:6666:7777:8888). 15

         26.   Because IP addresses are a sequence of numbers, they are not a convenient way for

a typical user to navigate the Internet. IP addresses are therefore mapped to a more user-friendly



11
     Kurose, James F. & Ross, Keith W., “Computer Networking: A Top-Down Approach,” 8th
     Edition, Pearson, 2021., p. 330.
12
     Kurose, James F. & Ross, Keith W., “Computer Networking: A Top-Down Approach,” 8th
     Edition, Pearson, 2021., pp. 347-348.
13
     Kurose, James F. & Ross, Keith W., “Computer Networking: A Top-Down Approach,” 8th
     Edition, Pearson, 2021., pp. 348.
14
   “IPv4 and IPv6 address formats,” IBM, March 2, 2021, available at
https://www.ibm.com/docs/en/ts3500-tape-library?topic=functionality-ipv4-ipv6-address-
formats.

15
   “IPv4 and IPv6 address formats,” IBM, March 2, 2021, available at
https://www.ibm.com/docs/en/ts3500-tape-library?topic=functionality-ipv4-ipv6-address-
formats.


                                                 10
     Case 4:20-cv-03664-YGR          Document 666-24         Filed 08/05/22      Page 18 of 331
                                                         CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


domain name, such as “google.com.” This mapping is done using the Domain Name System

(“DNS”). The DNS acts as a directory for the Internet by mapping domain names to IP addresses. 16

When a user types a domain name in the address bar of their browser, as illustrated in Figure 1

below, the browser may submit a request to a DNS server to obtain an IP address corresponding

to the domain name. 17


                                         Figure 1
                          Example of Domain in Browser Address Bar




         27.    IP addresses can also be shared among multiple devices. For example, when

multiple devices are connected to the Internet in an office via a router, the IP address of the router

can be shared among multiple devices and acts as their “public” IP address. Devices connected to

the Internet through the router can be assigned “private” IP addresses inside the home or business

network, and those private IP addresses are not observed publicly on the Internet. 18



16
     Kurose, James F. & Ross, Keith W., “Computer Networking: A Top-Down Approach,” 8th
     Edition, Pearson, 2021, p. 123 (“People prefer the more mnemonic hostname identifier, while
     routers prefer [] IP addresses. In order to reconcile these preferences, we need a directory
     service that translates hostnames to IP addresses. This is the main task of the Internet’s domain
     name system (DNS).”).
17
     Kurose, James F. & Ross, Keith W., “Computer Networking: A Top-Down Approach,” 8th
     Edition, Pearson, 2021, p. 124 (“The browser extracts the hostname [] from the URL and passes
     the hostname to the client side of the DNS application.”).
18
     Specifically, this type of network setup refers to the widely deployed Network Address
     Translation (NAT) address allocation approach. See Kurose, James F. & Ross, Keith W.,
     “Computer Networking: A Top-Down Approach,” 8th Edition, Pearson, 2021, pp. 344-347
     (“The NAT-enabled router does not look like a router to the outside world. Instead, the NAT
     router behaves to the outside world as a single device with a single IP address…In essence, the
     NAT-enabled router is hiding the details of the home network from the outside world.”).

                                                  11
     Case 4:20-cv-03664-YGR         Document 666-24         Filed 08/05/22      Page 19 of 331
                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


         28.   Further, IP addresses for devices may be dynamic or static. As the names suggest,

a dynamic IP address is one that is assigned by the internet service provider and changes

periodically depending on the ISP. The reason for this is that it is more cost effective for the

internet service provider to reuse IP addresses. 19 A static IP address is a fixed IP address that is

assigned by the internet service provider and does not change in most circumstances. Static IP

addresses are typically used by internet service providers and businesses, not by individuals, whose

devices would typically be assigned a dynamic IP address. 20


        B.     How Web Browsing Operates

         29.   Web browsing is a type of Internet communication that relies on client-server

architecture in which websites and third-party services typically play the role of servers, while

devices with browsers play the role of clients.

         30.   Web browsers are applications that communicate with servers and display

information for users on a screen. Browsers contain three main components that enable their

functionality. One is a rendering engine that renders the layout of the website to display it for a

user. This involves transforming Hypertext Markup Language (HTML) and Cascading Style

Sheets (CSS) documents to webpages that users can interact with. A second component is a

scripting engine that enables the functionality of dynamic elements of webpages such as banners,



19
     “Static vs. dynamic IP addresses,” Google Fiber Help, Google, available at
     https://support.google.com/fiber/answer/3547208?hl=en; Prime, Joshua, “What is a Dynamic
     IP      Address?”      OpenDNS,      available   at     https://support.opendns.com/hc/en-
     us/articles/227987827-What-is-a-Dynamic-IP-Address-.
20
     “Static vs. dynamic IP addresses,” Google Fiber Help, Google, available at
     https://support.google.com/fiber/answer/3547208?hl=en; Prime, Joshua, “What is a Dynamic
     IP      Address?”      OpenDNS,      available   at     https://support.opendns.com/hc/en-
     us/articles/227987827-What-is-a-Dynamic-IP-Address-.

                                                  12
     Case 4:20-cv-03664-YGR          Document 666-24         Filed 08/05/22       Page 20 of 331
                                                         CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


pop-up messages, or drop-down menus. Third, browsers contain a user interface to access features

such as bookmarks, browsing history, or navigation buttons.

         31.    While there are many different browsers, their functionality is similar in many key

aspects. For example, across browsers, a user enters a website address in the form of a Uniform

Resource Locator (URL) in the respective bar of the browser as illustrated in Figure 2 below. 21


                                          Figure 2
                             Example of URL to Access a Webpage




         32.    A URL generally has four sections. First, https://, specifies the protocol that is used

to fetch this webpage. In the illustration above, https:// is hidden but is indicated by the lock icon

and would be displayed if the user clicks on the address bar to display the full URL. Second,


21
     Modern browsers do not even require users to know the exact URL of the Web resource. If a
     user enters a non-exact address or even words related to the desired Web resource, a browser
     will direct a user to the selected search engine which provides the user with a choice of the
     websites to visit.

                                                  13
     Case 4:20-cv-03664-YGR          Document 666-24       Filed 08/05/22     Page 21 of 331
                                                       CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


en.wikipedia.org specifies the domain name of a website as was discussed above. Third, the

remaining part of the URL, /wiki/Internet, provides a path to a specific webpage on the website.

Fourth, and not included in the example above, URLs may contain other parameters required by

the server to process the information request or anchors, which instruct the browser to display a

certain part of the webpage first.

         33.   Browsers and servers communicate via a series of request and response messages,

using the HTTP protocol. HTTP is governed by a standardized set of rules and can deliver a variety

of data types. 22 There are several types of HTTP requests, called “methods.” GET and POST

requests are two methods that are ubiquitous in modern web communications and are supported

by all browsers. Other methods are PUT, HEAD, DELETE, PATCH, OPTIONS, CONNECT, and

TRACE. 23

         34.   An HTTP GET request is used by browsers to retrieve specific information from a

server. A typical example of a GET request is illustrated in Figure 3. 24 All HTTP requests contain

information on the method (e.g., GET) and the version of HTTP protocol (e.g., HTTP/1.1). The

remaining part of the request are headers that include different fields depending on website

functionality. Most HTTP requests contain such headers as “User-Agent” (informs the server about




22
       Kurose, James F. & Ross, Keith W., “Computer Networking: A Top-Down Approach,”
8th Edition, Pearson, 2021, pp. 96-101.

23
     “HTTP        Request        Methods,”       W3             Schools,        available        at
     https://www.w3schools.com/tags/ref_httpmethods.asp.
24
     An example presented below is obtained by visiting https://www.hbr.org. I record
     transmissions using Fiddler Everywhere. The examples illustrated in Figure 3 and Figure 4
     are screenshots from a Fiddler Everywhere window of the request associated with domain
     hbr.org. This request is one of many requests that are triggered while accessing
     https://www.hbr.org. I select to report a given request for illustrative purposes.

                                                14
  Case 4:20-cv-03664-YGR           Document 666-24         Filed 08/05/22     Page 22 of 331
                                                       CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


the web browser and is used to improve browsing experience), “Accept-Language” (informs a

server about the language of a user), and “Host” (contains information of the domain that receives

a request). HTTP requests can also in certain instances contain cookie information, which I discuss

in paragraph 38 below. Cookie values may be included in a “Cookie” HTTP header, or

alternatively may be included as a URL parameter. The example of an HTTP request presented in

Figure 3 is not an exhaustive list of headers that could be present in an HTTP request.


                                          Figure 3
                                  Example of HTTP Request




        35.    After it receives a GET request such as the one illustrated in Figure 3, the server

typically sends back a response. An example of such a response is illustrated in Figure 4.

Responses typically contain the status of the request which is “200” in Figure 4. The status of a

request can take different values such as “200” denoting success (“OK”) or “400” denoting failure

                                                15
     Case 4:20-cv-03664-YGR       Document 666-24         Filed 08/05/22     Page 23 of 331
                                                      CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


(“Bad Request”). 25 A response to a GET request would typically contain headers such as “Date”

(displays date and time of the request), “Content-Length” (displays the size of an HTTP response

message), or “Content-Language” (informs about the language of the response text). Responses

can also contain cookie information sent from the server to a browser. In the HTTP response shown

in Figure 4, cookie information is contained in a “Set-Cookie” header.


                                         Figure 4
                                 Example of HTTP Response




25
     “HTTP        Status       Messages,”        W3           Schools,        available        at
     https://www.w3schools.com/tags/ref_httpmessages.asp.

                                               16
     Case 4:20-cv-03664-YGR        Document 666-24        Filed 08/05/22    Page 24 of 331
                                                      CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


          36.   In contrast to GET requests, POST methods are typically used to create or update

records on the server. 26 An example of a POST request could be a message sent by a browser when

a user fills in and submits a form on a website. However, POST requests are not always triggered

by a web form and can also be a result of website functionality such as XMLHttpRequest which

is a technology that allows servers to retrieve information from a URL without refreshing a

webpage and interrupting user’s interactions with a website. 27,28,29 In many instances, web

developers’ choice whether to use GET or POST requests is affected not only by whether they

intend to display or modify the data but also by other technical and security considerations.

Therefore, it is common to see GET and POST requests being used interchangeably in certain

instances. 30

          37.   An example of a POST request is illustrated in Figure 5 below. It has a similar

structure to GET requests and contains similar headers. This POST request also contains a body,

shown in Figure 6, which contains information that the server could use to update records.

However, not all POST requests will contain information in the body, and whether a POST request

does contain that information depends on the implementation of the webpage. Also similar to GET




26
      “HTTP        Request        Methods,”       W3          Schools,        available       at
      https://www.w3schools.com/tags/ref_httpmethods.asp.
27
      “POST,” MDN Web Docs, Mozilla, available at https://developer.mozilla.org/en-
      US/docs/Web/HTTP/Methods/POST.
28
     “XMLHttpRequest,” MDN Web Docs, Mozilla, available at https://developer.mozilla.org/en-
      US/docs/Web/API/XMLHttpRequest.
29
      “XML HttpRequest,” W3 Schools, available at https://www.w3schools.com/xml/xml_http.asp.
30
     “URIs, Addressability, and the use of HTTP GET and POST,” World Wide Web Consortium,
      March                  21,               2004,              available            at
      https://www.w3.org/2001/tag/doc/whenToUseGet.html#checklist.

                                               17
     Case 4:20-cv-03664-YGR         Document 666-24         Filed 08/05/22      Page 25 of 331
                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


requests, after receiving a POST request the server typically sends an HTTP response with similar

structure to responses associated with GET requests, as illustrated in Figure 7. 31


                                           Figure 5
                                Example of HTTP POST Request




31
     Figure 5, Figure 6, and Figure 7 are examples obtained using Fiddler as a result of accessing
      https://www.hbr.org.

                                                 18
  Case 4:20-cv-03664-YGR           Document 666-24        Filed 08/05/22      Page 26 of 331
                                                       CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                        Figure 6
                           Example of HTTP POST Request Body




                                          Figure 7
                              Example of HTTP POST Response




        38.    It is common for a request for a webpage to trigger many other requests to the same

or other domains. There are multiple reasons for this. One reason is that the content of a webpage


                                               19
     Case 4:20-cv-03664-YGR          Document 666-24         Filed 08/05/22      Page 27 of 331
                                                         CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


may reside on many different servers. For example, a website owner might choose to store the

HTML code for a webpage on one server, and files containing images and other content to be

displayed on a different server. In this simple example, when a browser contacts the website server

for the HTML code, the browser’s execution of that code will trigger multiple additional requests

from the browser to other servers to retrieve images and other content that the designer desires to

be displayed on the webpage.

         39.    Another reason that a request for a webpage may trigger additional requests is that

many websites make use of third-party services that provide features or functionality that the

website owner desires but does not have the resources to develop themselves. Use of these third-

party services allows for efficient software development by leveraging code reusability, allowing

separate entities to develop and maintain a smaller part of code. Examples of third-party services

include Google Analytics (a website analytics product), Google Ad Manager (an ad management

platform for publishers), Stripe and PayPal (allows websites to accept payments), Adobe Analytics

(website analytics), Meta Pixel (personalized advertising), and Bootstrap (website styling). 32

These complex services would be infeasible to develop and maintain for most large websites let

alone small websites in terms of both costs and required expertise. 33 Instead, website owners utilize


32
     “Analytics anywhere in the customer journey,” Adobe Analytics, Adobe, available at
     https://www.adobe.com/analytics/adobe-analytics.html; Bacinger, Tomislav, “What is
     Bootstrap? A Short Bootstrap Tutorial on the What, Why, and How,” TopTotal, available at
     https://www.toptal.com/front-end/what-is-bootstrap-a-short-tutorial-on-the-what-why-and-
     how; Kopachovets, Oleg, “3rd Party API [Benefits, Our Experience, How-To],” PRCoders,
     October 6, 2021, available at https://procoders.tech/blog/how-to-integrate-third-party-api/ and
     Vrountas, Ted, “What is Meta Pixel & What Does it Do?” Instapage by Postclick, February
     14, 2022, available at https://instapage.com/blog/meta-pixel.
33
       For example, Uber relied on the Google Maps API to create its app. Without this third-
party API, Uber would have had to develop its own mapping software, which would have
required a huge hiring increase, or make drivers responsible for their own route. See “APIs: The
Proven Tool for Efficient Business Growth,” Axos Bank, July 1, 2020, available at

                                                 20
     Case 4:20-cv-03664-YGR        Document 666-24        Filed 08/05/22      Page 28 of 331
                                                       CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


one or more third-party services by incorporating HTML code in their webpages that results in

HTTP requests being sent to domains associated with the third-party services.

         40.   HTTP messages may also contain cookies. Cookies are small files stored on a

browser. Information contained in cookies allows websites to associate and recall information to

enable certain website functionalities and improve user experience. For example, some cookies

contain information about user preferences such as language or login status. 34 When a user opens

the website again, their preferred language is automatically chosen for display. Similarly, a user

will not need to spend time to login to a website again if cookies allow the website to “remember”

a user’s login status. Cookies also enable other functionalities such as website analytics and

personalized advertising.

         41.   Cookies sent in an HTTP request contain various fields as displayed in Figure 8.

For example, they include such fields as “name” (name of the cookie), “domain” (website to which




https://www.axosbank.com/blog/APIs-The-Proven-Tool-for-Efficient-Business-Growth#.
Businesses can benefit from using APIs. See e.g., “Growing your business with APIs,” Visa,
available at https://usa.visa.com/content/dam/VCOM/download/partner-with-us/growing-
business-api-whitepaper.pdf, “Three Ways APIs Are Keeping Small Businesses Digitally
Competitive,” Small Business Trends, February 10, 2022, available at
https://smallbiztrends.com/2022/02/api-and-digital-transformation.html (“Yet, many small
businesses aren’t set up to collect the data and insights they need to truly understand their
customers. And to be fair, terms like “database” and “SQL” don’t exactly signal an easy learning
curve. With APIs, however, small businesses can easily and affordably capture the customer
insights they need to drive better customer experiences.”).

34
     “What     are    cookies     |   Cookies     definition,”   Cloudflare,      available     at
     https://www.cloudflare.com/learning/privacy/what-are-cookies/.

                                               21
     Case 4:20-cv-03664-YGR           Document 666-24          Filed 08/05/22      Page 29 of 331
                                                           CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


the cookie belongs), “expires” (date and time when the cookie record will expire), and “value” (the

value associated with the cookie). 35


                                               Figure 8
                                     First-Party Cookie Example




          42.    There are several types of cookies:

          a.     Session cookies are stored on a user’s device only for the duration of the current

browsing session after which they are deleted. 36

          b.     Persistent or permanent cookies, in contrast to session cookies, are not deleted from

a user’s device after the session is over. Instead, these cookies persist on the user’s device until

they expire or until they are deleted by the user. 37

          c.     First-party cookies are set by the website that a user is currently visiting. For

example, if a user visits https://hbr.org/, first-party cookies would be those that are set by the



35
      Figure 8 is obtained by accessing https://hbr.org/ and recording data transmission using
      Developer Tools for illustrative purposes. The screenshot is taken of the associated HAR file
      that contains data transmission logs. This HAR file is provided in my backup “hbr.har”.
36
     “Using HTTP cookies,” MDN Web Docs, Mozilla, available at https://developer.mozilla.org/en-
      US/docs/Web/HTTP/Cookies.
37
      Persistent cookies can also be deleted based on certain browser settings, as discussed in Section
      IV below. “Using HTTP cookies,” MDN Web Docs, Mozilla, available at
      https://developer.mozilla.org/en-US/docs/Web/HTTP/Cookies; “Client-side Storage,” World
      Wide                 Web                 Consortium,                  available                 at
      https://www.w3.org/2001/tag/2010/09/ClientSideStorage.html.

                                                   22
     Case 4:20-cv-03664-YGR         Document 666-24          Filed 08/05/22       Page 30 of 331
                                                         CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


hbr.org domain. Figure 8 above is an example of a first-party _hbr_u cookie set by

https://hbr.org/.38 A first-party cookie can also be set by a website in conjunction with its use of a

third-party service. For example, if a website owner chooses to make use of Google Analytics, the

Google Analytics JavaScript code that the website owner incorporates into the website’s HTML

code will set one or more first-party cookies that are associated with the website and are used to

facilitate the website analytics functionality provided by Google Analytics. 39

        d.     In contrast to first-party cookies, third-party cookies are those set by an entity or

service other than the website that a user is currently visiting. Third-party cookies are often set

because the website developer has chosen to use an entity or service that sets these cookies for a

specific purpose such as advertising. 40 For example, after visiting http://www.hbr.org/, I observe

the demdex cookies associated with third-party domain demdex.net as illustrated in Figure 9 below.


                                           Figure 9
                                  Third-Party Cookie Example




38
     “What is a First-Party Cookie?” CookiePro Knowledgebase, September 17, 2021, available at
     https://www.cookiepro.com/knowledge/what-is-a-first-party-cookie/.
39
     JavaScript is a programming language that enables complex features on web pages.
40
     “Guide to Third-party Cookies,” CookieYes, March                   24,   2022,    available    at
     https://www.cookieyes.com/blog/third-party-cookies/.

                                                 23
     Case 4:20-cv-03664-YGR          Document 666-24         Filed 08/05/22     Page 31 of 331
                                                         CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


IV.      PRIVATE BROWSING MODE

         A.      Overview of Private Browsing Mode

          43.    Private Browsing Modes are offered on all major browsers. These modes have

different names depending on the browser: e.g., Incognito in Chrome, InPrivate in Microsoft Edge,

private window in Firefox. Across browsers, Private Browsing Mode is generally not designed to

provide complete user anonymity on the Web. Instead, it is designed to conceal the user’s activity

from other people who may use the same device and to prevent linking the user’s browsing activity

in Private Browsing Mode with the user’s browsing activity in Regular Mode. 41

          44.    Private Browsing Mode functionality varies by browser. However, most browsers’

Private Browsing Mode behaves as follows: Each Private Browsing Session begins with an empty

“cookie jar,” such that cookies previously set on the browser in Regular Mode or in previous

Private Browsing Sessions are not associated with or available in the current Private Browsing

Session. When the browser is in Private Browsing Mode, however, new cookies are set in the new

“cookie jar” (to the extent websites attempt to do so and it is allowed by the browser’s cookie

settings), and browsing history is maintained (within the Private Browsing Session or specific

Private Browsing Tab). A Private Browsing Session can involve multiple browser tabs or

windows, and cookies and browsing history within the Private Browsing Session will be available

to each tab and window that is part of that Private Browsing Session. 42 Most browsers’ Private


41
     “W3C TAG Observations on Private Browsing Modes,” World Wide Web Consortium, April 9,
      2020, available at https://w3ctag.github.io/private-browsing-modes/#evolving.
42
      See, e.g., “Google Chrome Privacy Notice,” Google Chrome, Google, September 23, 2021,
      available at https://www.google.com/chrome/privacy/ (“[s]ites may deposit new cookies on
      your system while you are in these modes, but they’ll only be stored and transmitted until you
      close the last incognito or guest window.”); “Search & browse privately”, Google Search Help,
      Google,                                        available                                     at

                                                  24
     Case 4:20-cv-03664-YGR          Document 666-24         Filed 08/05/22      Page 32 of 331
                                                         CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


Browsing Modes will discard cookies, browsing history, passwords and any information entered

into Web forms once the Private Browsing Session is closed. 43 In contrast, in Regular Mode these

types of information are retained in the browser’s memory and thus would be available in

subsequent Regular Mode sessions. 44

         45.    For example, consider a user who opens a Private Browsing Session, visits a retail

website (e.g., https://www.amazon.com/), and adds an item to her cart without logging in to the

website. 45 The retail site can place a cookie (subject to the browser’s cookie settings) to remember


     https://support.google.com/websearch/answer/4540094?hl=en&co=GENIE.Platform%3DDes
     ktop (“[c]ookies are deleted after you close your private browsing window or tab” and “you
     might see search results and suggestions based on your location or other searches you’ve done
     during your current browsing session.”); “How private browsing works in Chrome,” Google
     Chrome                   Help,              Google,                 available                at
     https://support.google.com/chrome/answer/7440301?hl=en. (“[c]ookies and site data are
     remembered while you're browsing, but deleted when you exit Incognito mode.”); “How
     Chrome Incognito keeps your browsing private,” Google Chrome Help, Google, available at
     https://support.google.com/chrome/answer/9845881 (“[a]fter you close all Incognito
     windows, websites won’t be able to serve ads to you based on your signed-out activity during
     that closed session.”); “How Google uses information from sites or apps that use our services,”
     Google           Privacy        &          Terms,          Google,         available         at
     https://policies.google.com/technologies/partner-sites (“Incognito mode in Chrome allows you
     to browse the web without recording webpages and files in your browser or Account history
     (unless you choose to sign in). Cookies are deleted after you’ve closed all of your incognito
     windows and tabs…”).
43
     “How private browsing works in Chrome,” Google Chrome Help, Google, available at
     https://support.google.com/chrome/answer/7440301?hl=en&ref_topic=9845306.            “Browse
     InPrivate in Microsoft Edge,” Microsoft Support, Microsoft, https://support.microsoft.com/en-
     us/microsoft-edge/browse-inprivate-in-microsoft-edge-cd2c9a48-0bc4-b98e-5e46-
     ac40c84e27e2; “Incognito browser: What it really means,” Mozilla, available at
     https://www.mozilla.org/en-US/firefox/browsers/incognito-browser/; “Use Private Browsing
     in       Safari     on     Mac,”        Apple     Support,       Apple,      available     at
     https://support.apple.com/guide/safari/browse-privately-ibrw1069/mac.
44
       “Computer Cookies: What They Are and How They Work,” HP Tech Takes, November
26, 2018, available at https://www.hp.com/us-en/shop/tech-takes/what-are-computer-cookies.

45
     If a user logs in to the website in Private Browsing Mode, the website might keep records of a
     user’s cart associated with the user’s account. In this scenario, where shopping cart information

                                                  25
  Case 4:20-cv-03664-YGR           Document 666-24         Filed 08/05/22     Page 33 of 331
                                                       CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


that this browser was used to place an item into a shopping cart. If the user navigates away from

the retail website and then returns to the website in the same Private Browsing Session (for Safari

within the same tab), the item can still appear in her cart based on the stored cookie value, which

is available within the Private Browsing Session. However, if the user ends the Private Browsing

Session completely and then opens another session (either in Private Browsing Mode or Regular

Mode), the item will not appear in her cart because cookies set in Private Browsing Mode are

discarded at the end of each Private Browsing Session and the Web server would have no cookie

to associate the user’s prior visit while in Private Browsing Mode with the subsequent visit after

that session has closed. This behavior is illustrated in the following screenshot. I visited

https://www.amazon.com/ in Incognito Mode in Chrome and added an item to a cart. Next, I closed

the Incognito Mode session and opened a Regular Mode session where I was not logged into

Amazon. I observed no items in the cart.




   associated with the user’s website account is maintained at the website’s server, deleting
   cookies after the session would not prevent the website from remembering what is in the cart,
   even after the Private Browsing Session is over.

                                                26
Case 4:20-cv-03664-YGR   Document 666-24    Filed 08/05/22   Page 34 of 331
                                         CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                               Figure 10
                    Amazon.com Cart in Incognito Mode




                                Figure 11
         Empty Amazon.com Cart in Subsequent Normal Mode Session




                                   27
     Case 4:20-cv-03664-YGR         Document 666-24        Filed 08/05/22      Page 35 of 331
                                                       CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


         46.   Private Browsing Mode is not designed to and does not affect many aspects of data

transmission. 46 For example:

                   ● The Setting and Sending of Cookies Placed on the Browser During a

            Private Browsing Session. In Private Browsing Sessions, cookies are still set and sent

            as required by functionality of websites, to the extent allowed by the browser’s cookie

            settings. However, any cookie values set during a Private Browsing Session are only

            available for the duration of that session. 47 Once the Private Browsing Session ends




46
         See, e.g., “Browse in private,” Google Chrome Help, Google, available at
https://support.google.com/chrome/answer/95464?hl=en&co=GENIE.Platform%3DDesktop
(“[y]our activity isn’t hidden from websites you visit, your employer or school, or your internet
service provider.”); “How private browsing works in Chrome,” Google Chrome Help, Google,
available at https://support.google.com/chrome/answer/7440301?hl=en (“[y]our activity, like
your location, might still be visible to: [w]ebsites you visit, including the ads and resources on
those sites[;] [w]ebsites you sign in to; [y]our employer, school, or whoever runs the networks
you’re using[;] [y]our internet service provider[; and] [s]earch engine.”); id. (“[a] web service,
website, search engine, or provider may be able to see [y]our IP address, which can be used to
identify the general area you’re in[;] [y]our activity when you use a web services[;] [y]our
identity if you sign into a web services, like Gmail.”); “How Chrome Incognito keeps your
browsing private,” Google Chrome Help, Google, available at
https://support.google.com/chrome/answer/9845881 (“[w]hat Incognito mode doesn’t do”
including: “[p]revent your activity or location from being visible to the websites you visit, your
school, employer, or your Internet Service provider” or “[p]revent the websites you visit from
serving ads based on your activity during an Incognito session.”); “How Google uses information
from sites or apps that use our services,” Google Privacy & Terms, Google, available at
https://policies.google.com/technologies/partner-sites (“when you visit a website that uses
advertising services like AdSense, including Analytics tools like Google Analytics, or embed
video content from YouTube, your web browser automatically sends certain information to
Google. This includes the URL of the page you’re visiting and your IP address. We may also set
cookies on your browser or read cookies that are already there.”).

47
     Cranor, Lorrie & Habib, Hana, “Private browsing: What it does - and doesn’t do - to shield
     you from prying eyes on the web,” The Conversation, July 30, 2020, available at
     https://theconversation.com/private-browsing-what-it-does-and-doesnt-do-to-shield-you-
     from-prying-eyes-on-the-web-142445.

                                                28
     Case 4:20-cv-03664-YGR             Document 666-24         Filed 08/05/22       Page 36 of 331
                                                            CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


               (e.g., when the user closes all Incognito Mode tabs in Chrome), those cookies set during

               the Private Browsing Session are discarded and not available in subsequent sessions.

                      ● Execution of JavaScript Code. Private Browsing Modes generally do not

               prevent execution of JavaScript code embedded in website source code. As a result,

               actions triggered by JavaScript would not be prevented in Private Browsing Mode,

               unless those actions would require use of functionality that is otherwise restricted (e.g.,

               if third-party cookies were blocked). 48

                      ● A User’s External IP Address: Private Browsing Modes are not designed

               to mask a user’s external IP address. IP addresses (whether the device’s actual IP

               address or one that has been masked by a VPN service) will still be sent to websites

               because an IP address is required for Internet communications. Specifically, IP

               addresses identify where information should be delivered, and Web communication

               cannot occur without use of IP addresses.


        B.        Implementation of Private Browsing Mode in Popular Browsers

         47.      The specifics of how Private Browsing Mode is implemented varies depending on

the browser and browser version. 49 One dimension along which Private Browsing Mode can differ




48
     See e.g., “Does firefox prevent sites and javascript code from accessing existing cookies and
     web sites data when browsing in Private Browsing mode?” Support Mozilla, Mozilla
     Corporation, February 24, 2019, available at https://support.mozilla.org/en-
     US/questions/1251227.
49
     Implementation of Private Browsing Mode has changed over time. Unless otherwise noted,
     my description is focused on the current implementation of Private Browsing Modes on various
     browsers.

                                                     29
     Case 4:20-cv-03664-YGR         Document 666-24         Filed 08/05/22      Page 37 of 331
                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


by browser is its default treatment of cookies. 50 For example, Incognito Mode in Chrome blocks

third-party cookies by default but this setting can be adjusted by the user. 51 The current Private

Browsing Mode implementation of Firefox blocks some cookies by default, but this cookie setting

can be modified by the user. 52 In Safari’s Private Browsing Mode, a user’s cookie settings are

carried over from their Regular Mode settings, which block third-party cookies by default (again,

those cookie settings can be changed by the user). 53 Similarly, for InPrivate mode in Edge, tracking

prevention is set to “Balanced” by default, meaning that the browser blocks potentially harmful




50
     See e.g., Mardini, AbdelKarim, “More intuitive privacy and security controls in Chrome,” The
     Keyword, Google, May 19, 2020, available at https://blog.google/products/chrome/more-
     intuitive-privacy-and-security-controls-chrome/; “How do I turn on the Do Not Track feature,”
     Support Mozilla, Mozilla Corporation, available at https://support.mozilla.org/en-US/kb/how-
     do-i-turn-do-not-track-feature; “Temporarily allow cookies and site data in Microsoft Edge,”
     Microsoft Edge Support, Microsoft, available at https://support.microsoft.com/en-
     us/microsoft-edge/temporarily-allow-cookies-and-site-data-in-microsoft-edge-597f04f2-
     c0ce-f08c-7c2b-541086362bd2; “Tracking prevention in Microsoft Edge,” Microsoft,
     available      at    https://docs.microsoft.com/en-us/microsoft-edge/web-platform/tracking-
     prevention.
51
     Chrome’s Incognito Mode blocks third-party cookies starting from version 83, released in May
     2020 (See e.g., Protalinski, Emil, “Chrome 83 arrives with redesigned security settings, third-
     party cookies blocked in Incognito” VentureBeat, May 19, 2020, available at
     https://venturebeat.com/2020/05/19/google-chrome-83/.
52
     Firefox’s Private Browsing Mode blocks third party cookies starting from version 89, released
     in June 2021 (See e.g., Edelstein, Arthur, “Firefox 89 blocks cross-site cookie tracking by
     default in private browsing,” Mozilla Security Blog, Mozilla Corporation, June 1, 2021,
     available at https://blog.mozilla.org/security/2021/06/01/total-cookie-protection-in-private-
     browsing/).
53
     “cookies     and      website    data,”     Apple     Support,    Apple,    available    at
     https://support.apple.com/guide/safari/aside/glos0126d795/15.1/mac/12.0; Blumenthal, Eli,
     “Apple updates Safari on iOS to block third-party cookies,” CNET, March 25, 2020, available
     at https://www.cnet.com/tech/computing/apple-updates-safari-on-ios-and-mac-to-block-third-
     party-cookies/.

                                                 30
     Case 4:20-cv-03664-YGR         Document 666-24         Filed 08/05/22    Page 38 of 331
                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


content, and trackers from sites the user has not visited before, but does not block ads and still

permits some degree of ad personalization. 54

          48.   Private Browsing Modes in popular browsers also differ in their implementation of

extensions. Browser extensions can perform various actions including but not limited to executing

additional tracker blocking and privacy measures. In Chrome, 55 Firefox, 56 and Edge, 57 Private

Browsing Mode disables extensions by default. However, users can also enable extensions on all

of these browsers in Private Browsing Mode. By contrast, Safari’s Private Browsing Mode allows

extensions by default, and a user can opt to disallow them. 58

          49.   Private Browsing Mode is not the default browsing mode in the browsers described

in this report; a user has to take an explicit action to enter Private Browsing Mode. However,

opening a Private Browsing Mode window normally requires no more than a few clicks. To

illustrate, I will focus on how to open a Private Browsing Mode window on a Windows desktop.

In Chrome, a user can open an Incognito window by navigating to the Chrome control panel in the

upper right-hand corner of the browser and selecting “New Incognito Window.” Another way to

open an Incognito window is by pressing Ctrl+Shift+N, a keyboard shortcut that is displayed next



54
      “Which Tracking Prevention Setting Should You Use in Microsoft Edge,” How-To Geek,
      February 11, 2020, available at https://www.howtogeek.com/569951/which-tracking-
      prevention-setting-should-you-use-in-microsoft-edge/.
55
      “Allow private browsing,” Chrome Enterprise and Education Help, Google, available at
      https://support.google.com/chrome/a/answer/9302896?hl=en.
56
      “Extensions in Private Browsing,” Support Mozilla, Mozilla,                  available    at
      https://support.mozilla.org/en-US/kb/extensions-private-browsing.
57
      “Browse InPrivate in Microsoft Edge,” Microsoft Support, Microsoft, available at
      https://support.microsoft.com/en-us/microsoft-edge/browse-inprivate-in-microsoft-edge-
      cd2c9a48-0bc4-b98e-5e46-ac40c84e27e2.
58
     “Does Safari Web Extensions include Private Browsing?” Developer Forums, Apple, available
      at https://developer.apple.com/forums/thread/650294.

                                                31
     Case 4:20-cv-03664-YGR         Document 666-24        Filed 08/05/22     Page 39 of 331
                                                       CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


to the “New Incognito Window” option. Opening a Private Browsing Mode window works in

much the same way for Edge, Firefox, and Safari.

         50.    Browsers typically include a page that explains the functionality of Private

Browsing Mode every time a user opens a Private Browsing Mode window. For example, the

Chrome Incognito splash screen, as seen below in Figure 12, states, among other things, that

“other people who use this device won’t see your activity.” 59


                                           Figure 12
                                Incognito User Notification Page




59
     A splash screen is an introductory web page to greet visitors in a browser before they access
     any websites. See Kyrnin, Jennifer, “Splash Pages: Pros and Cons,” ThoughtCo., February 25,
     2021, available at https://www.thoughtco.com/splash-pages-pros-cons-3469116.

                                                32
     Case 4:20-cv-03664-YGR           Document 666-24      Filed 08/05/22      Page 40 of 331
                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


         51.    It also states that “Chrome won’t save the following information: Your browsing

history; Cookies and site data; Information entered in forms.” This is data that is typically stored

locally on the user’s browser in Regular Mode. However, the Incognito splash screen states that

“downloads, bookmarks and reading list items will be saved.” The Incognito splash screen also

states that “Your activity might still be visible to: Websites you visit; Your employer or school;

Your internet service provider.” 60

         52.    The Incognito splash screen also contains a link that provides a more detailed

description of Incognito Mode. The linked page currently provides the following under the heading

“How Incognito mode works”: 61

                When you first open a new Incognito window, you’re creating a new
        Incognito browsing session. Any Incognito windows you open after that are part
        of the same session. You can end that Incognito session by closing all open
        Incognito windows.

               In Incognito, none of your browsing history, cookies and site data, or
        information entered in forms are saved on your device. This means your activity
        doesn’t show up in your Chrome browser history, so people who also use your
        device won’t see your activity. Websites see you as a new user and won’t know
        who you are, as long as you don’t sign in.

               If you’re browsing in Chrome Incognito mode, you are, by default, not
        signed into any accounts or sites.




60
     Version 99.0.4844.82 (Official Build) (64-bit) as an example.
61
     Currently, the “Learn more” hyperlink (https://support.google.com/chrome/?p=incognito)
     redirects users to the “How Chrome Incognito keeps your browsing private” page, Google
     Chrome Help, Google, available at https://support.google.com/chrome/answer/9845881.
     Previously, the “Learn more” hyperlink redirected users to the “How private browsing works
     in      Chrome”      page,    Google     Chrome       Help,      Google,    available   at
     https://support.google.com/chrome/answer/7440301?hl=en. See, e.g., “How private browsing
     works,” Google, archived by the Wayback Machine, May 03, 2020, available at
     https://web.archive.org/web/20200503180118/https://support.google.com/chrome/?p=incogn
     ito.

                                                33
     Case 4:20-cv-03664-YGR         Document 666-24        Filed 08/05/22      Page 41 of 331
                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


              Your school, Internet Service Provider, or any parental tracking software
        may be able to see your activity. You can check if your Chrome browser is
        managed.

               You can choose to block third-party cookies when you open a new
        incognito window. Learn more about cookies.

         53.    The linked page also currently provides the following under the heading “How

Incognito mode protects your privacy”; 62

                What Incognito mode does
        ●       Browsing in Incognito mode means your activity data isn’t saved on your
                device, or to a Google Account you’re not signed into.
            ●      For example, you may use Incognito mode to shop online for a
                   birthday gift for a family member who shares your device. If you don’t
                   sign in to your Google account, your shopping activity will not appear
                   in your Chrome browsing activity and won’t be saved to your Google
                   Account.
        ●       Each time you close all Incognito windows, Chrome discards any site data
                and cookies associated with that browsing session.
        ●       Chrome doesn’t tell websites, including Google, when you're browsing
                privately in Incognito mode.
                What Incognito mode doesn’t do
        ●       Prevent you from telling a website who you are. If you sign in to any
                website in Incognito mode, that site will know that you’re the one
                browsing and can keep track of your activities from that moment on.
        ●       Prevent your activity or location from being visible to the websites you
                visit, your school, employer, or your Internet Service provider.
        ●       Prevent the websites you visit from serving ads based on your activity
                during an Incognito session. After you close all Incognito windows,
                websites won’t be able to serve ads to you based on your signed-out
                activity during that closed session.




62
     “How Chrome Incognito keeps your browsing private,” Google Chrome Help, Google,
     available at https://support.google.com/chrome/answer/9845881.

                                                34
     Case 4:20-cv-03664-YGR          Document 666-24         Filed 08/05/22      Page 42 of 331
                                                         CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


         54.    The Incognito splash screen also currently contains a toggle to block third-party

cookies and further states that “When on, sites can't use cookies that track you across the web.

Features on some sites may break.” 63 In Chrome versions since Chrome 83, released in May 2020,

this toggle is turned on by default. 64

         55.    By contrast, the description of Private Browsing Mode on Safari consists of two

sentences at the top of the splash screen. The first sentence states that Safari will keep browsing

history private for all tabs in this window. The second sentence states that the browser will not

remember the “pages you visited, your search history, or your AutoFill information” once a user

closes the window. Unlike the Chrome Incognito splash screen, there is no explicit clarification in

the Safari screen that other entities on the web may still be able to see the user’s activity while in

Private Browsing Mode. 65

         56.    Further, and as seen below in Figure 13, the Firefox Private Browsing Mode splash

screen reads “Private window: Firefox clears your search and browsing history when you close all

private windows. This doesn’t make you anonymous.” Below this statement there is a “learn more”

link that directs users to a list of four “Common Myths About Browsing,” one of which is that

“private browsing makes you anonymous on the internet.” 66,67




63
     Chrome Version 98.
64
     Protalinski, Emil, “Chrome 83 arrives with redesigned security settings, third-party cookies
     blocked      in    Incognito”    VentureBeat,     May     19,     2020,      available    at
     https://venturebeat.com/2020/05/19/google-chrome-83/.
65
     Safari Version 14.
66
     “Common Myths about Private Browsing,” Support Mozilla, Mozilla, available at
     https://support.mozilla.org/en-US/kb/common-myths-about-private-
     browsing?as=u&utm_source=inproduct.
67
     Firefox Version 98.

                                                 35
  Case 4:20-cv-03664-YGR           Document 666-24         Filed 08/05/22     Page 43 of 331
                                                       CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                         Figure 13
                   Firefox Private Browsing Mode User Notification Page




        57.    As seen below in Figure 14, Microsoft Edge’s Private Browsing Mode screen

specifies that it deletes all user browsing information from the browser once all private windows

are closed; saves collections, favorites, and downloads; and prevents Microsoft Bing searches from

being associated with the user. It also states that Private Browsing Mode does not hide a user’s

browsing history from their school, employer, or Internet service provider; and does not give them

additional protection from tracking by default. There is also a toggle to turn on “Strict” tracking

prevention in Private Browsing Mode. Users can also scroll down this page for more details as

indicated in below Figure 14 and shown in Figure 15. The additional details contain brief

descriptions about what browsing information users can see, the data Edge collects, how Private

Browsing Mode with Bing provides protection, and additional settings to control tracking. These




                                                36
     Case 4:20-cv-03664-YGR         Document 666-24         Filed 08/05/22      Page 44 of 331
                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


descriptions also provide “learn more” links that direct users to additional articles as well as to a

more comprehensive statement. 68


                                          Figure 14
                             Edge InPrivate User Notification Page




68
     Microsoft Edge Version 100.

                                                 37
  Case 4:20-cv-03664-YGR          Document 666-24        Filed 08/05/22       Page 45 of 331
                                                     CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                         Figure 15
                              Edge InPrivate Description Page




       C.     Illustrations and Tests of Private Browsing Mode Behaviors in Chrome

        58.   As discussed above, although each browser has a different implementation of

Private Browsing Mode, there are many common behaviors. In the sections below, I illustrate

certain of these common behaviors, focusing on Incognito Mode in the Chrome Browser. I also

describe tests conducted in both Regular and Private Browsing Modes with several browser-

operating system variations. The detailed methodology of these tests is described in Appendix D.


              1.      Browsing History from a Private Browsing Session Is Not Saved

        59.   To illustrate how browsing history is not saved in Private Browsing Mode, I

accessed certain websites identified in the Complaint in either Regular Mode or Incognito Mode

in Chrome. Figure 16 below lists the browsing mode when I visited the site.




                                              38
     Case 4:20-cv-03664-YGR           Document 666-24         Filed 08/05/22       Page 46 of 331
                                                          CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                            Figure 16
                               Websites Visited and Browser Modes
               Website                                          Browser Mode
               #1 https://www.nytimes.com/                      Regular
               #2 https://www.apartments.com/                   Regular
               #3 https://www.cnn.com/                          Incognito
               #4 https://www.latimes.com/                      Incognito
               #5 https://www.washingtonpost.com/               Regular




         60.     Prior to visiting the first website, I cleared my browsing history, cookies, and cache.

I then opened a Regular Mode browsing session and accessed websites #1 and then #2. I closed

the Regular Mode session and then opened an Incognito Mode session directly by right-clicking

the Chrome icon and selecting “New Incognito window”. Then I accessed websites #3 and #4 in

the Incognito Mode session. I closed the Incognito Mode session and then opened a new Regular

Mode session and accessed website #5. I then opened Chrome’s browsing history and reviewed

the websites listed. I also reviewed a file on my device that stores Chrome browsing history

locally. 69 Only websites that I visited in Regular Mode were shown in the browser history

(displayed in browser and in a file stored locally on the device), and the websites that I visited in

Incognito mode were not recorded in the browser history (See Figure 17 below). 70




69
     File path on my device is "C:\Users\<username>\AppData\Local\Google\Chrome\User
     Data\Default\History". The location of the file might vary. <username> denotes the name of a
     user in Windows, and “Default” might be called differently depending on which profile is used
     in Chrome. The History file is a SQLite database that I opened using
     https://inloop.github.io/sqlite-viewer/ and navigated to “urls”.
70
     “How Chrome Incognito keeps your browsing private” Google Chrome Help, available at
     https://support.google.com/chrome/answer/9845881.

                                                    39
     Case 4:20-cv-03664-YGR         Document 666-24         Filed 08/05/22     Page 47 of 331
                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                           Figure 17
                              Websites Visited and Browser Modes




         61.    I also visited these websites with Firefox, Edge, and Safari on a desktop device and

found consistent results that the websites visited in Private Browsing Mode were not recorded in

the web browser’s history. Based on my testing, I conclude that browsing activity during a Private

Browsing Session is not saved in a web browser’s history. 71


                2.     Cookies Are Not Shared Between Regular and Private Browsing Modes

         62.    Cookies are not shared between Regular and Private Browsing Modes when

browsing websites. This behavior manifests in two ways. First, the websites visited while in Private

Browsing Sessions do not use cookies from prior Regular Mode sessions. Second, any cookies

generated during Private Browsing Sessions are discarded when the Private Browsing Session is

ended such that subsequent Private Browsing Sessions or Regular Mode sessions cannot access

them. In the sections below, I first illustrate these behaviors by showing cookies stored on Chrome




71
     See backup materials for screenshots of browser history tests in Firefox, Edge, and Safari.

                                                 40
     Case 4:20-cv-03664-YGR         Document 666-24         Filed 08/05/22     Page 48 of 331
                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


using Chrome’s Developer Tools. I then demonstrate how cookies are not shared between Regular

and Private Browsing Mode for popular browser and operating system combinations.


                       a.      Pre-Existing Cookie Values are Not Accessible in Private
                               Browsing Mode

         63.    As discussed above, pre-existing cookies from Regular Mode browsing are not

available for Private Browsing Sessions since each session starts with an empty cookie jar. To

illustrate how a Private Browsing Session does not have access to pre-existing cookies, I performed

visits to Apartments.com. Prior to visiting this website, I cleared my browsing history, cookies,

and cache. I opened Chrome in Regular Mode, visited Apartments.com, and searched for

apartments in Boston, MA. Figure 18 below shows a screenshot of my apartment search and the

_ga cookie value set by apartments.com, as displayed in Chrome’s Developer Tools. 72




72
     Chrome Developer Tools is a set of web developer tools that are built in directly to the Chrome
     Browser. Among other features, it allows a user of Chrome to access technical details of
     Chrome’s interaction with websites including cookies that have been set as well as HTTP
     requests triggered by viewing the website (see Chrome Developer Tools website for more
     information at https://developer.chrome.com/docs/devtools/).

                                                 41
  Case 4:20-cv-03664-YGR           Document 666-24        Filed 08/05/22      Page 49 of 331
                                                       CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                         Figure 18
                               Regular Mode _ga Cookie Value




        64.    I then closed the Regular Mode session and opened an Incognito Mode session

directly by right-clicking the Chrome icon and selecting “New Incognito window.” In this session

I opened Chrome developer tools before visiting any websites. I did not find any cookies stored in

the Incognito Mode session (See Figure 19).




                                               42
  Case 4:20-cv-03664-YGR          Document 666-24         Filed 08/05/22     Page 50 of 331
                                                     CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                       Figure 19
                            Empty Cookie Jar in Incognito Mode




        65.   I then visited https://apartments.com/ in this Incognito Mode session, and observed

cookies placed on my browser. The _ga cookie value set in Incognito Mode was different from

the _ga cookie value set in Regular Mode. As shown in Figure 18 above, the _ga cookie value in

the Regular Mode session was ‘GA1.2.87786511.1649551414’, and as shown in Figure 20 below,

the   _ga     cookie    value    in    the    Incognito    Mode     browsing      session    was

‘GA1.2.120385586.1649551797.’ This illustrates that Incognito Mode browsing uses a cookie jar

that is separate from the Regular Mode cookie jar.




                                               43
  Case 4:20-cv-03664-YGR            Document 666-24            Filed 08/05/22     Page 51 of 331
                                                            CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                        Figure 20
                            Apartment Search in Incognito Mode




                      b.      Cookies Are Discarded after Incognito Mode Browsing Sessions

        66.    Cookies and site data stored by the browser during a Private Browsing Session are

discarded and not available to subsequent browsing sessions, whether in Private Browsing Mode

or Regular Mode. To illustrate this behavior, I performed a second series of website visits to

Apartments.com. As a first step, I cleared my browsing history, cookies, and cache. I then visited

Apartments.com in Incognito Mode in Chrome and searched for apartments in Los Angeles, CA.

Apartments.com placed several cookies on my browser. Figure 21 below shows a screenshot of

my browser with the Apartments.com cookies stored in the Incognito Mode session shown via

Chrome’s      Developer    Tools.    We    can        see    the   _ga   cookie     value   set    to

“GA1.2.1375334868.1649552395.”



                                                 44
  Case 4:20-cv-03664-YGR           Document 666-24         Filed 08/05/22      Page 52 of 331
                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                       Figure 21
                 Apartments.com Cookies on the Browser in Incognito Mode




        67.    I then closed the Incognito Mode session and in Regular Mode opened my browser

settings to see what websites had stored cookies on the device. I did this by navigating to the “See

all site data and permissions” setting under “Privacy and Security” in Chrome settings. As shown

in Figure 22, my browser did not have any saved cookies at that point.




                                                45
  Case 4:20-cv-03664-YGR          Document 666-24        Filed 08/05/22    Page 53 of 331
                                                      CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                           Figure 22
                                 Site Data in Chrome Settings




        68.   I then navigated to Apartments.com in Regular Mode, searched for apartments in

Los Angeles, and found that the _ga cookie value was different than the value in the Incognito

Mode Session (Figure 21), as I would expect since the cookies set in Incognito Mode were

automatically removed from the device once I closed the Incognito Mode session. More precisely,

the _ga cookie value in the Regular Mode session was ‘GA1.2.26270693.1649552739,’ which

differs from the _ga cookie value of ‘GA1.2.1375334868.1649552395’ set in the Incognito Mode

browsing session (See Figure 23). This illustrates that cookies and site data obtained during a

Private Browsing Session are discarded after the session has ended.




                                               46
     Case 4:20-cv-03664-YGR        Document 666-24       Filed 08/05/22     Page 54 of 331
                                                     CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                          Figure 23
               Apartments.com in Regular Mode with a Different _ga Cookie Value




                        c.    Testing Confirmed that Private Browsing Mode Restricted the
                              Sharing of Certain Types of Data Across Browsing Sessions on
                              Popular Browsers

         69.     To evaluate whether cookies are shared between Regular and Private Browsing

Sessions for popular browser and operating system combination, I conducted a series of tests on

five websites identified in the complaint: https://www.nyimes.com/, https://apartments.com/,

https://www.cnn.com/, https://www.latimes.com/, https://www.washingtonpost.com/. I then

summarized the results of these tests in Exhibits 1.1-1.20. 73 For all testing variations, which



73
       I also tested Chrome Version 81 before third-party cookies were blocked by default.
These results are included in Appendix E.


                                              47
     Case 4:20-cv-03664-YGR          Document 666-24        Filed 08/05/22      Page 55 of 331
                                                         CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


include various websites, browsers, and operating systems described in Appendix D, I observed

that cookie values are often the same across Regular Mode sessions, which indicates that Regular

Mode sessions share cookies and cookie values. 74 For example, when I visited

https://www.apartments.com/ in Chrome on Windows, the _ga cookie value was the same across

all three Regular Mode sessions.

         70.    While cookie values are often the same across Regular Mode sessions, I observe

that cookie values stored from prior Regular Mode sessions are not used in the Private Browsing

Sessions; instead, the Private Browsing Mode cookies have different values. In addition, cookie

values are also not shared between consecutive Private Browsing Sessions, indicating that when a

new Private Browsing Session is initiated, any cookies set in that session would contain new values

that are not carried over from prior Regular Mode or Private Browsing Mode sessions. Further,

cookie values set in Private Browsing Mode will not be carried over to subsequent Regular or

Private Browsing Mode sessions. For example, for https://www.apartments.com/ in Chrome on

Windows, the _ga cookie values are not only different when compared between Regular Mode

and Private Browsing Mode but are also different when compared between two Private Browsing

Sessions. 75



74
     There are some instances when cookie values are transmitted in one session but not another.
     For example, in my test of https://www.nytimes.com/, I observed CMID values being sent to
     Google-associated domains for Regular Mode (Initial Session) but not Regular Mode (Session
     1). These instances do not indicate that cookie values from Regular Mode and Private
     Browsing Sessions are shared and therefore do not change my conclusions.
75
     In some limited instances, I observed the same cookie values across Regular Mode and Private
     Browsing Sessions. However, I have seen no indication that this is a result of the cookie values
     having been shared between the two sessions. To the contrary, in my opinion these are
     examples of websites separately setting the same cookie value in different sessions, for a
     purpose other than identification of a user or their device. For example, I observed general
     settings-related cookies such as a DSID (value “NO_DATA”). Additionally,

                                                 48
  Case 4:20-cv-03664-YGR            Document 666-24         Filed 08/05/22       Page 56 of 331
                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


        71.   Based on my testing, I conclude that cookies are not shared between Regular Mode

and Private Browsing Mode sessions. The cookies that are set during a Private Browsing Session

are also discarded following the end of the Private Browsing Session.


              3.      Private Browsing Sessions Will Not Be Logged into Any Accounts or Sites

        72.   As described above, since Private Browsing Sessions do not access cookies and site

data of Regular Mode Sessions, when a user enters Private Browsing Mode, they will not be logged

into any sites or their Google Account when browsing websites. To illustrate this feature of

Incognito Mode in Chrome, I opened a Regular Mode Session and logged into drive.google.com

with a test account (See Figure 24). I then opened an Incognito Mode browsing session and

accessed drive.google.com, while the Regular Mode browsing session was still open and the test

account was logged into drive.google.com. As shown in Figure 25, in Incognito mode, I was not

logged into Google using the test account and had no access to any files from my Google Test

account.




   https://www.washingtonpost.com/ uses the Google Analytics _gaexp cookie for experiments
   across its website. The _gaexp cookie is used when the website is running experiments with
   variations of its site design using Google Analytics, and I have seen no evidence indicating
   that it is or can be used for any purpose other than identification of these experiments. I provide
   a more extensive discussion of other, similar examples of cookie value transmissions in
   Appendix F.

                                                 49
Case 4:20-cv-03664-YGR   Document 666-24     Filed 08/05/22   Page 57 of 331
                                          CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                Figure 24
          Regular Mode Google Drive Logged in with a Test Account




                                Figure 25
          Incognito Mode Automatically Logged Out of Google Drive




                                    50
     Case 4:20-cv-03664-YGR         Document 666-24          Filed 08/05/22     Page 58 of 331
                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


         73.    I also replicated these tests with Firefox, Edge, and Safari on a desktop device and

found consistent results. Based on my testing, I conclude that the user will not be logged into any

accounts upon initiation of a Private Browsing Session. 76


                4.      Downloaded Files Do Not Appear in Download Lists

         74.    When in Private Browsing Mode, browsers typically do not keep records of files

downloaded while browsing. However, the files are still saved to a user’s device, even after exiting

Private Browsing Mode. 77 To illustrate this behavior, I downloaded webpages both in Regular and

in Incognito Mode using Chrome. First, I cleared my browsing history, cookies, and cache. I then

navigated to the https://www.nytimes.com/ home page and downloaded a copy of that webpage to

my local device. Then, I opened an Incognito Mode session and accessed the

https://www.washingtonpost.com/ home page and downloaded a copy of that webpage to my local

device, while the Regular Mode Session was still open. I reviewed the list of downloaded files

Chrome stores through Chrome’s “Customize and Control Chrome” menu and selecting

“Downloads” (also accessible by pressing Control + J, or navigating to chrome://downloads/).

When I accessed the list of downloads, only the download from the Regular Mode Session was

listed, not the download from Incognito Mode (See Figure 26).




76
     See backup materials for screenshots of login tests in Firefox, Edge, and Safari.
77
     “How private browsing works in Chrome,” Google Chrome Help, Google, available at
     https://support.google.com/chrome/answer/7440301?hl=en.

                                                 51
  Case 4:20-cv-03664-YGR            Document 666-24        Filed 08/05/22    Page 59 of 331
                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                          Figure 26
                              Incognito Mode Download Not listed




        75.    Consistent with the descriptions of how Incognito Mode operates, only the file

downloaded in a Regular Mode Session is listed under Chrome downloads, though both files still

appear in the “Downloads” folder of the device (outside of Chrome).


               5.      Autofill Web Forms from Private Browsing Mode Are Not Available in
                       Regular Mode

        76.    Browsers have features to fill out forms automatically with information that has

already been entered into forms on webpages, such as login or address information. When in

Private Browsing Mode, browsers typically do not keep the information being entered in forms,

so any new information entered into forms while in Private Browsing Mode will not be available

to users in Regular Mode. To illustrate this behavior, I navigated to https://www.nytimes.com in

Regular Mode and attempted to create a New York Times account with the username

“regularmodetest@Test.com” and a password of “RegularMode.” After submitting the form,

Chrome recorded my input for the email address to autofill the field the next time I attempted to

log into the New York Times website. Figure 27 below shows Chrome displaying the autofilled

email address as an option to fill in the login form.



                                                 52
  Case 4:20-cv-03664-YGR          Document 666-24        Filed 08/05/22     Page 60 of 331
                                                     CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                         Figure 27
                                       Autofill Option




        77.   Next, I opened Chrome in Incognito Mode, navigated to the New York Times

website login page, and clicked in the Email Address field. As indicated by Figure 28 below, the

email address “regularmodetest@Test.com” was presented as an option.


                                      Figure 28
                  Regular Mode Form Information Available in Incognito




        78.   I then repeated the steps described above to log into the New York Times website

but with the username “incognitomodetest@test.com” and a password of “incognitomode” (see

Figure 29).


                                              53
  Case 4:20-cv-03664-YGR          Document 666-24         Filed 08/05/22   Page 61 of 331
                                                       CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                       Figure 29
                         Nytimes.com Log in Page Incognito Mode




       79.    After submitting the form, I closed both the Incognito Mode and Regular Mode

sessions. I then opened a new Regular Mode session and navigated to the New York Times login

page. When I clicked into the email field of the form, only the Regular Mode email address was

suggested, not the Incognito Mode email address (See Figure 30). Based on my testing, I have

concluded that when forms are filled out in Chrome Incognito Mode, the form information will

not be available in Regular Mode. However, when forms are filled out in Regular Mode, the form

information will be available during Incognito Mode.


                                       Figure 30
                          Nytimes.com Log in Page Regular Mode




                                              54
  Case 4:20-cv-03664-YGR           Document 666-24         Filed 08/05/22     Page 62 of 331
                                                       CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


       D.      Conclusions Regarding Private Browsing Mode

        80.    Based on my experience, analysis of documents, and testing, in my opinion Private

Browsing Modes work as described by Google and other companies by concealing users’ browsing

activity from other people who may use the same device, and by ensuring that cookie values

generated during the Private Browsing Sessions cannot be used to provide a link to the user’s

browsing activity in Regular Mode.

        81.    Private Browsing Modes conceal users’ browsing activity from other people who

may use the same device by discarding any browsing history or cookies that were stored by the

browser during the Private Browsing Session, so that data is not accessible in subsequent sessions.

My testing confirmed this. For example, I tested the Chrome browser by visiting websites in

Regular and Incognito mode, and observed that in subsequent Regular Mode sessions only the

websites that I visited in Regular Mode were shown in the browser history—the websites I visited

in Incognito mode were not recorded in the browser history.

        82.    Private Browsing Modes also ensure that the cookie values generated during the

Private Browsing Session cannot be used to provide a link to the user or her device after that

session is closed (unless the user explicitly enables a website to make this association by signing

into the website during the Private Browsing Session, or enables Google to do so by signing into

their Google account during the Private Browsing Session). Private Browsing Modes accomplish

this by starting each Private Browsing Session with a “clean” browser (the user is not logged into

her accounts and browsing history or cookies from prior sessions are not accessible) and discarding

data associated with the user’s browsing activity when the session is closed. My testing also

confirmed these aspects of Private Browsing Mode. I have confirmed that Private Browsing Modes

(1) prevent browsing history from being saved on the device, (2) prevent the user and browser in

                                                55
     Case 4:20-cv-03664-YGR        Document 666-24        Filed 08/05/22      Page 63 of 331
                                                      CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


Private Browsing Sessions from accessing browsing history and cookies from Regular Mode

sessions; and (3) discard cookies placed on the browser during the Private Browsing Session when

that session is closed.

         83.    Because Private Browsing Modes handle cookies and other browsing data in this

manner, it is my opinion that, the cookie value transmissions to Google-associated domains—

when a user who is not logged into a Google account and uses Private Browsing Mode to visit a

third-party website containing “Google tracking or advertising code”—constitute “orphaned”

islands of data that cannot be used to provide a link to a user’s Google Account or other Private

Browsing Sessions. In my opinion, these cookie values cannot be used to link the Private Browsing

Mode activities to a user or her device after that Private Browsing Session is closed, which would

prevent Google from using the cookie values to create a “cradle-to-grave profile of users,” as

Plaintiffs allege.

         84.    I have also concluded that Private Browsing Modes are neither designed to nor do

provide users complete anonymity or invisibility as they browse the web. Even in Private Browsing

Mode, web browsing necessarily involves transmission of messages from a user’s browser, and

those messages must conform to protocols and standards, such as the HTTP protocol, and include

information such as IP addresses. Private Browsing Modes are also not designed to block all

communications between the browser and websites or third-party web-services that the website

owner has incorporated in their website.


V.      GOOGLE SERVICES USED BY THIRD PARTY WEBSITES AND
        ASSOCIATED DATA TRANSMISSIONS

         85.    As described above in my Summary of Plaintiffs’ Allegations, I understand

Plaintiffs allege that Google improperly intercepted, received, or collected data of Chrome and

                                               56
     Case 4:20-cv-03664-YGR          Document 666-24        Filed 08/05/22      Page 64 of 331
                                                         CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


non-Chrome browser users who have a Google account and accessed a non-Google website

containing “Google tracking or advertising code” while in Private Browsing Mode and not logged

into their Google account. 78 In this section, I provide a summary of examples of “Google tracking

or advertising code” that I understand are at issue in this case and the Google products with which

that code is associated. I also provide my opinion as to whether Private Browsing Modes have an

impact on whether information is sent to Google when a user visits a website that uses the “Google

tracking or advertising code.” I then describe various settings, browser extensions, and other

factors that do have an impact on the extent to which information is sent to Google when a user

visits a website that uses the “Google tracking or advertising code.”


        A.      Google Analytics

         86.    Google Analytics is a product that customers can use to collect, configure, process,

and report on user interactions with their online content. 79 Thus, Google Analytics helps customers

understand how visitors interact with their websites and gain insight into metrics such as user

engagement and retention. Visibility into such metrics is important for developing user-friendly

websites. 80 For example, by understanding visitors’ language settings (in the aggregate), a Google


78
     Complaint, ¶ 192.
79
     “Learn about Google Analytics,” Google Analytics, Google, available at
     https://developers.google.com/analytics/devguides/platform. Google Analytics customers
     (i.e., website operators) are migrating from Universal Analytics to Google Analytics 4, which
     is intended to fully replace the preceding service by July 1, 2023. My description is applicable
     to both versions of the service unless stated otherwise. See “Universal Analytics will be going
     away,”             Analytics           Help,            Google,          available            at
     https://support.google.com/analytics/answer/11583528?hl=en.
80
       See also, Garett, Renee et al., “A Literature Review: Website Design and User
Engagement,” Online journal of communication and media technologies, Vol. 6,3 (2016): 1-14,
available at https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4974011/; Rodden, Kerry et al.,
“Measuring the User Experience on a Large Scale: User-Centered Metrics for Web

                                                 57
     Case 4:20-cv-03664-YGR         Document 666-24        Filed 08/05/22      Page 65 of 331
                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


Analytics customer might realize that a large percentage of visitors prefer a language that is not

currently offered on the customer’s website, leading the customer to create an additional website

version that supports this language.

         87.    Google Analytics is not the only product on the market that provides web traffic

analysis services. Other free and paid services that similarly allow website developers to measure

and analyze traffic to their website include Hotjar, 81 Mixpanel, 82 Matomo, 83 Piwik PRO, 84 Adobe

Analytics, 85 and many others. Most of these services are “tag-based,” requiring the website

developer to include code in their website to transmit data to a third-party server for analysis and

reporting. 86

         88.    Customers use the Google Analytics product by creating an Analytics account and

setting up the product on their website. To set up Google Analytics on their website, the customer

incorporates “tags,” which are short snippets of JavaScript code, into the HTML source code for

their website. The tag is highly customizable to satisfy the customer’s analytics and privacy needs,

and Google offers a tag management system called Google Tag Manager that allows Google


Applications,” ACM Press, April 2010, available at
https://static.googleusercontent.com/media/research.google.com/en//pubs/archive/36299.pdf.

81
     “Understand how users behave on your site, what they need, and how they feel, fast,” Hotjar,
     available at https://www.hotjar.com/.
82
     “Build Better Products,” Mixpanel, available at https://mixpanel.com/.
83
     “Google Analytics alternative that protects your data and your customers’ privacy,” Matomo,
     available at https://matomo.org/.
84
     “Analyze the customer journey across websites and apps,” PIWIK PRO, available at
     https://piwik.pro/.
85
     “Analytics anywhere in the customer journey,” Adobe Analytics, Adobe, available at
     https://www.adobe.com/analytics/adobe-analytics.html.
86
        “Tag,” At Internet, available at https://www.atinternet.com/en/glossary/tag-3/.


                                                58
     Case 4:20-cv-03664-YGR         Document 666-24         Filed 08/05/22         Page 66 of 331
                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


Analytics customers to configure and deploy tags on their website via a web-based user interface. 87

Below is an illustration of a “gtag.js” tag generated by Google Analytics: 88,89


                                            Figure 31
                              Installation of Google Analytics Tag




         89.    As described in Google’s public developer documentation, the Google Analytics

tag can be configured by the customer to measure specific user interactions with their website and

change the types of data that can be sent to Google Analytics. 90 However, the Google Analytics



87
     “Tag      Manager     overview,”   Tag    Manager    Help,          Google,       available    at
     https://support.google.com/tagmanager/answer/6102821?hl=en.
88
     “About      Google    Tag     Manager,”     Tag     Manager,      Google,  available    at
     https://developers.google.com/tag-platform/tag-manager; “Add gtag.js to your site,” Google
     Analytics,                     Google,                      available                   at
     https://developers.google.com/analytics/devguides/collection/gtagjs.
89
     I understand that gtag.js, the tag used for Universal Analytics and Google Analytics 4,
     superseded a previous tag called analytics.js. See “Migrate from analytics.js to gtag.js
     (Universal      Analytics),”      Google      Analytics,     Google,        available at
     https://developers.google.com/analytics/devguides/migration/ua/analyticsjs-to-gtagjs.
90
     “Cookies and user identification with gtag.js,” Google Analytics, Google, available at
     https://developers.google.com/analytics/devguides/collection/gtagjs/cookies-user-id; “Google

                                                 59
     Case 4:20-cv-03664-YGR         Document 666-24         Filed 08/05/22       Page 67 of 331
                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


Terms of Service state that “[y]ou will not and will not assist or permit any third party to, pass

information to Google that Google could use or recognize as personally identifiable

information.” 91

         90.   According to Google’s public documentation, when a user of any browser visits a

website that uses Google Analytics, the following data may be sent to Google Analytics: 92

        ●      First-party cookie values. This is explicitly enabled by the website which sets first-

               party cookies and embeds Google Analytics tags in the website source code;

        ●      Data about a user’s browser and devices. This is the same information contained in

               HTTP messages that any other website would receive when a user attempts to

               access it;

        ●      IP address;

        ●      Metrics related to user activity on the first-party website.

         91.   Google Analytics uses cookies to provide services to customers. When user visits

a website that includes the Google Analytics tag, the tag will attempt to set the following first-

party HTTP cookies on the user’s browser: “_ga”, “_gid”, “_ga_<container-id>,” and

“_gac_gb_<container-id>” for Google Analytics 4, and “_ga”, “_gid”, “_gat”, “AMP_TOKEN” ,




     Analytics      4     tags,”   Tag      Manager     Help,          Google,      available      at
     https://support.google.com/tagmanager/answer/9442095.
91
     “Google Analytics Terms of Service,” Google Marketing Platform, available at
     https://marketingplatform.google.com/about/analytics/terms/us/.
92
         “Safeguarding your data,” Analytics Help, Google, available at
https://support.google.com/analytics/answer/6004245.


                                                 60
     Case 4:20-cv-03664-YGR         Document 666-24       Filed 08/05/22     Page 68 of 331
                                                      CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


“_gac_<property-id>” for Universal Analytics. 93 The Google Analytics customer can change

various field settings for these cookies, such as cookie domain, when the cookie expires, or the

cookie name. This is described, for example, in the excerpts of Google’s public documentation

shown in the following figure: 94


                                        Figure 32
                   Configuring Cookie Field Settings for Google Analytics




93
     “Google Analytics Cookie Usage on Websites,” Google Analytics, Google, available at
     https://developers.google.com/analytics/devguides/collection/gtagjs/cookie-usage.
94
        “Cookies and User Identification,” Google Analytics, Google, available at
https://developers.google.com/analytics/devguides/collection/analyticsjs/cookies-user-id.


                                               61
     Case 4:20-cv-03664-YGR          Document 666-24         Filed 08/05/22   Page 69 of 331
                                                         CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


         92.    A Google Analytics customer can also optionally create a User-ID to identify

website visitors that have signed into their website. How and whether visitors are assigned a User-

ID is a choice of the customer, who must actively enable this functionality in their Google

Analytics account. 95 Google Analytics does not set or manage the User-ID, and Google prohibits

Google Analytics customers from using data that could be used to personally identify an

individual, or data that permanently identifies a particular device. 96

         93.    Google Analytics customers that have a Google Ads account may also link those

accounts to enable Google Analytics advertising reporting tools. 97 As Google’s public

documentation explains, these features are governed by the Google Analytics customers’ and

users’ Ads settings and policy requirements of Google Analytics Advertising Features. 98 At the


95
     “About      the    User-ID    feature,”   Analytics   Help,  Google,       available  at
     https://support.google.com/analytics/answer/3123662#zippy=%2Cin-this-article;     “[GA4]
     Measure activity across platforms,” Analytics Help, Google, available at
     https://support.google.com/analytics/answer/9213390?hl=en.
96
     “User-ID         limits,”      Analytics       Help,       Google,         available     at
     https://support.google.com/analytics/answer/3123668; “Measurement Protocol, SDK, and
     User      ID     Feature    Policy,”    Google     Analytics,    Google,      available  at
     https://developers.google.com/analytics/devguides/collection/protocol/policy;        “[GA4]
     Measure activity across platforms,” Analytics Help, Google, available at
     https://support.google.com/analytics/answer/9213390?hl=en; “Measurement Protocol, SDK,
     and User ID Feature Policy,” Google Analytics, Google, available at
     https://developers.google.com/analytics/devguides/collection/protocol/ga4/policy.
97
     “About      Advertising      Features,”     Analytics   Help,      Google,   available    at
     https://support.google.com/analytics/answer/3450482; “Enable Remarketing and Advertising
     Reporting Features in Analytics,” Analytics Help, Google, available at
     https://support.google.com/analytics/answer/2444872; “Activate Google signals,” Analytics
     Help, Google, available at https://support.google.com/analytics/answer/7532985. “[GA4] Link
     Google      Ads     and     Analytics,”      Analytics   Help,     Google,   available    at
     https://support.google.com/analytics/answer/9379420?hl=en.
98
     “Policy requirements for Google Analytics Advertising Features,” Analytics Help, Google,
     available at https://support.google.com/analytics/answer/2700409; “[GA4] Activate Google
     signals for Google Analytics 4 properties,” Analytics Help, Google, available at
     https://support.google.com/analytics/answer/9445345?hl=en; “Google Analytics 4 SDK, and

                                                  62
     Case 4:20-cv-03664-YGR        Document 666-24        Filed 08/05/22        Page 70 of 331
                                                      CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


customer’s choice, Advertising Features enable Google Analytics to collect data via Google

advertising cookies in addition to Google Analytics cookies. As shown in Figure 33 below, if a

customer enables these Advertising Features, Google requires the customer to notify its visitors

accordingly, and encourages customers to point users to the Google Analytics opt-out add-on,

which is available on Chrome, Firefox, Edge, and Safari. 99


                                          Figure 33
                        Google Analytics Advertising Privacy Features




      1.        Data Transmissions to Google Analytics Are Impacted by the Choices of Website
Developers

         94.    As described above, Google Analytics customers have control over whether Google

collects and uses data relating to users’ interactions with the customer’s website. For example,



     User      ID     Feature    Policy,”     Analytics    Help,     Google,       available     at
     https://developers.google.com/analytics/devguides/collection/ga4/policy.
99
     “Policy requirements for Google Analytics Advertising Features,” Analytics Help, Google,
     available at https://support.google.com/analytics/answer/2700409; “Google Analytics Opt-out
     Browser          Add-on,”        Google         Tools,      Google,       available      at
     https://tools.google.com/dlpage/gaoptout/; “Google Analytics 4 SDK, and User ID Feature
     Policy,”            Analytics          Help,           Google,         available         at
     https://developers.google.com/analytics/devguides/collection/ga4/policy.

                                               63
      Case 4:20-cv-03664-YGR          Document 666-24          Filed 08/05/22      Page 71 of 331
                                                           CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


Google’s “Manage user privacy” page states: “At Google, we are keenly aware of the trust you

place in us and our responsibility to keep your privacy and data secure. As part of this

responsibility, we provide information and tools that developers can use to help enable and manage

user privacy.” 100

          95.    For example, Google Analytics customers can disable Google Analytics

functionality on a webpage to honor visitors’ opt-out choices, without removing the Google

Analytics tag itself. 101 A customer can do this by simply setting a window property to “true.”

          96.    In August 2020, Google Analytics also launched “Consent mode” for its

customers. 102 For customers who choose to implement Consent Mode, the Google Analytics tag

will alter its settings based on the websites’ implementation of Consent Mode and the users’

consent statuses. 103 For instance, the Latham & Watkins LLP website (lw.com) immediately asks

users, irrespective of the browsing mode, whether they consent to analytics cookies:



100
      “Manage user privacy,” Tags, Google, available at https://developers.google.com/tag-
      platform/devguides/privacy.
101
      “Disable Google Analytics measurement,” Google Analytics, Google, available at
      https://developers.google.com/analytics/devguides/collection/gtagjs/user-opt-out; “Manage
      user privacy,” Tags, Google, available at https://developers.google.com/tag-
      platform/devguides/privacy.
102
         “Consent Mode,” Analytics Help, Google, available at
https://support.google.com/analytics/answer/9976101?hl=en; Herman, Scott, “Measure
conversions while respecting user consent choices,” Google Marketing Platform, Google,
September 3, 2020, available at https://blog.google/products/marketingplatform/360/measure-
conversions-while-respecting-user-consent-choices/.

103
      Deposition of Steve Ganem, March 23, 2022, pp. 78-80 (“The Witness: I believe what Consent
      Mode refers to here in this context is an API of that name to help our customers provide cookie
      consent options and banners to their end users should they need to…Consent Mode does
      govern some of the data collection to Google Analytics when it’s used…The Consent Mode
      settings that are in place for a given client, browser client, govern whether or not cookies, both
      Analytics-related cookies and ads-related cookies, can be read or written.”).

                                                   64
      Case 4:20-cv-03664-YGR        Document 666-24         Filed 08/05/22      Page 72 of 331
                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                          Figure 34
                                 Cookie Consent Form Example




          97.    As another example, websites that enable Google Analytics Advertising Features

can use the allow_google_signals and allow_ad_personalization_signals controls to prevent

events sent from gtag.js from being used for ads personalization. 104 Further, websites can signal

to Google that “events sent from the tag will not be used for ads personalization and demographics

and interests reports” and can even restrict data processing by Google. 105

          98.    As yet another example, and as explained in public documentation, Google uses IP

addresses to provide security for customers and for IP geolocation purposes. 106 Google Analytics

offers customers the option to anonymize users’ IP addresses (known as IP address




104
      As noted in public documentation, events from gtag.js can still be used for demographics and
      interests reporting. See “Manage user privacy,” Tags, Google, available at
      https://developers.google.com/tag-platform/devguides/privacy.
105
      “Manage user privacy,” Tags, Google, available at https://developers.google.com/tag-
      platform/devguides/privacy.
106
      “Safeguarding      your     data,”      Analytics    Help,      Google,      available     at
      https://support.google.com/analytics/answer/6004245.

                                                65
      Case 4:20-cv-03664-YGR       Document 666-24         Filed 08/05/22     Page 73 of 331
                                                       CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


anonymization). 107 IP address anonymization is an option in both Universal Analytics and Google

Analytics 4 and is enabled by default in Google Analytics 4. 108


         2.     Users Can Affect Data Transmissions to Google Analytics

          99.   Internet users can also affect whether data relating to their interactions with a

website is sent to Google Analytics. For example, users can prevent transmission of cookies to

Google Analytics by using browser cookie settings. In Chrome, these settings can be accessed by

typing chrome://settings/cookies to the address bar or by accessing settings through navigation

panes on the browser. This allows users to select their desired cookie settings in both Regular and

Private Browsing Modes.




107
      “IP Anonymization (or IP masking) in Google Analytics,” Analytics Help, Google, available
      at https://support.google.com/analytics/answer/2763052.
108
      “IP Anonymization (or IP masking) in Google Analytics,” Analytics Help, Google, available
      at https://support.google.com/analytics/answer/2763052.

                                                66
      Case 4:20-cv-03664-YGR          Document 666-24         Filed 08/05/22      Page 74 of 331
                                                          CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                            Figure 35
                                    Chrome Cookie Settings Page




         100.    The “Block all cookies” option prevents first- and third-party cookies from being

set and transmitted, which will block Google Analytics first-party cookie values. 109 Users also can

enable the “Clear cookies and site data when you close all windows” option, which erases cookie



109
      The option to “Block all cookies” as shown in the Figure was first available in Chrome 82
      starting in March 2020, and in earlier versions, since at least 2013, users could block cookies
      by turning on “Block sites from setting any data” in the settings. See, e.g., Spadafora, Anthony
      “New Chrome build will allow you to block all cookies,” TechRadar, March 17, 2020,
      available at https://www.techradar.com/news/new-chrome-build-will-allow-you-to-block-all-
      cookies; “Manage your cookies and site data,” Google, archived by the Wayback Machine,
      May                   17,                  2013,                    available                  at
      https://web.archive.org/web/20130517102706/https://support.google.com/chrome/answer/95
      647?hl=en#.

                                                   67
      Case 4:20-cv-03664-YGR         Document 666-24         Filed 08/05/22     Page 75 of 331
                                                         CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


values set in browser memory. 110 This means that cookies would be cleared each time the user

closes the browser, preventing tracking of the user’s interactions with a website based on the

cleared cookie values.

         101.    The cookie settings page shown in Figure 35 also gives users the option to “Block

third-party cookies,” which prevents the setting and transmission of third-party cookies, but not

first-party cookies. For example, if a Google Analytics customer enables Analytics Advertising

Features, which will enable the collection of Google third-party advertising cookies by Google

Analytics, the “Block third-party cookies” option would prevent Google Analytics from collecting

those cookies when a user visits the customer’s website. However, this option would not prevent

Google Analytics first-party cookies from being set and sent by the website to Google Analytics.

         102.    Users can also install an extension called the “Google Analytics Opt-out Browser

Add-on,” which is described in Google Analytics documentation. 111,112 According to the Chrome

extension page illustrated below, this extension prevents the Google Analytics JavaScript code

from transmitting information to Google Analytics, and there are more than a million users of this

extension in Chrome. This extension can be used in both Regular and Private Browsing Modes.




110
      This option to clear cookies when a browser session is closed has been available since at least
      2014 when it was called “Keep local data only until you quit your browser.” See, e.g., Paul,
      Ian, “How to automatically delete your cookies every time you close your browser,” PCWorld,
      November 11, 2014, available at https://www.pcworld.com/article/436317/how-to-
      automatically-delete-your-cookies-every-time-you-close-your-browser.html.
111
      “Google Analytics Opt-out Browser Add-on,” Google Tools, Google, available at
      https://tools.google.com/dlpage/gaoptout/.
112
      “Google Analytics Opt-out Add-on (by Google),” Chrome Web Store, Google, available at
      https://chrome.google.com/webstore/detail/google-analytics-opt-
      out/fllaojicojecljbmefodhfapmkghcbnh?hl=en.

                                                  68
  Case 4:20-cv-03664-YGR           Document 666-24        Filed 08/05/22     Page 76 of 331
                                                      CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


To be used in Private Browsing Mode, a user must allow for this explicitly in Chrome Settings for

Extensions as illustrated in Figure 37 below.


                                        Figure 36
                      Google Analytics Opt-out Add-on Extension Page




                                         Figure 37
                       Google Analytics Opt-out Add-on Settings Page




                                                69
      Case 4:20-cv-03664-YGR        Document 666-24         Filed 08/05/22     Page 77 of 331
                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


         103.   Users can also block JavaScript, which is how Google Analytics functionality is

executed. 113 Modern browsers contain built-in settings that disable JavaScript, irrespective of the

browsing mode. 114 Users also can install add-ons or extensions that would block JavaScript

execution. 115 To disable JavaScript using settings on Chrome, for example, users can enter

chrome://settings/content/javascript in the address bar or navigate to the same page using setting

pages. Then a user can select if JavaScript is allowed as illustrated below:


                                           Figure 38
                                   JavaScript Chrome Settings




113
        “Hello Analytics API: JavaScript quickstart for web applications,” Google Analytics,
Google, available at
https://developers.google.com/analytics/devguides/config/mgmt/v3/quickstart/web-js.

114
       “Disable JavaScript in Chrome, Edge, Firefox, Opera, Internet Explorer on Windows
11/10,” The Windows Club, available at https://www.thewindowsclub.com/disable-javascript-
chrome-ie-firefox-opera.

115
      “Sybu      JavaScript  Blocker,”   Chrome       Web     Store,     Google,     available    at
      https://chrome.google.com/webstore/detail/sybu-javascript-
      blocker/ceicidjdokcfbnkdenbhmnonehglgilk?hl=en.

                                                70
      Case 4:20-cv-03664-YGR        Document 666-24        Filed 08/05/22     Page 78 of 331
                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


         104.    Such settings block execution of any JavaScript code and therefore block

transmission of cookie values triggered by the JavaScript code embedded in websites in both

Regular and Private Browsing Modes. Disabling JavaScript permanently is generally not

recommended as it might interfere with some website functionalities that rely on JavaScript

execution such as login forms and advanced interactive features. 116 However, depending on the

user’s browsing behavior, it may not lead to reduced functionality for many websites. 117 Disabling

JavaScript still allows users to select their desired cookie settings in both Regular and Private

Browsing Modes.

         105.    Users can also mask their IP address from Google Analytics and any other Internet

services by using a VPN in both Regular and Private Browsing Modes. 118 There are many VPN

extensions available for browsers, as well as standalone applications that will mask IP addresses

not only for Web browsing but also other types of Internet communications. Some prominent VPN

services are ExpressVPN, Surfshark, NordVPN, ProtonVPN, and IPVanish. 119 In fact, 41% of US

and UK users use VPN services at least once a week. 120



116
      Patwegar, Waseem “How to Enable or Disable JavaScript In Chrome Browser,” Techbout,
      available at https://www.techbout.com/enable-disable-javascript-chrome-36943/; Hoffman,
      Chris, “What Is NoScript, and Should You Use It to Disable JavaScript?” How-To Geek,
      November 21, 2017, available at https://www.howtogeek.com/138865/htg-explains-should-
      you-disable-javascript/.
117
      Finley, Klint, “I Turned Off JavaScript for a Whole Week and It Was Glorious,” Wired,
      November 18, 2015, available at https://www.wired.com/2015/11/i-turned-off-javascript-for-
      a-whole-week-and-it-was-glorious/.
118
      See VPN test results, described further in Section V.D.5 below and in my backup materials.
      The user’s IP address would not be masked from the VPN provider itself.
119
      Hodge, Rae, Holly, Russell, & David Gewirtz, “Best VPN Service of 2022,” CNET, March 26,
      2022, available at https://www.cnet.com/tech/services-and-software/best-vpn/.
120
      “How      often       do     you      use     a      VPN?”      Statista,    available    at
      https://www.statista.com/statistics/1219770/virtual-private-network-use-frequency-us-uk/.

                                                71
      Case 4:20-cv-03664-YGR          Document 666-24          Filed 08/05/22       Page 79 of 331
                                                           CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


         B.     Google Ad Manager

         106.   Google Ad Manager is an ad management platform targeted to publishers who have

significant direct sales. 121 It offers a central location for publishers to define their ad inventory and

create, manage, and analyze reports on their advertising campaigns. It also offers ad-serving

capabilities, connecting to ad-exchanges to select the best ad to display on a website. 122

         107.   Google Ad Manager is a solution for publishers who are interested in displaying

ads but might not have the technical expertise to develop their own ad server. To use Google Ad

Manager, the publisher must create an account and accept the Google Ad Manager terms, then

insert a “tag,” which is a small snippet of code, for each location where the publisher wants to

show an ad. Below is an example of instructions for a website to use Google Ad Manager tag: 123




121
      “Advertising with Google Ad Manager,” Google Ad Manager Help, Google, available at
      https://support.google.com/admanager/answer/6022000?hl=en.
122
      “Advertising with Google Ad Manager,” Google Ad Manager Help, Google, available at
      https://support.google.com/admanager/answer/6022000?hl=en.
123
      “Get Started with Google Publisher Tags,” Google Publisher Tag, Google, available at
      https://developers.google.com/publisher-tag/guides/get-started.

                                                   72
      Case 4:20-cv-03664-YGR       Document 666-24         Filed 08/05/22     Page 80 of 331
                                                       CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                       Figure 39
                        Google Ad Manager Instructions to Publishers




         108.   After placing the tag code on the website, the website developer must select

“campaigns,” which are the settings that determine how and where ads will be shown on the

website. 124 When a website loads, the ad tag initiates an HTTP request from the user’s browser to

an ad server that can include the following information: the HTTP header, an IP address, a user

identifier, custom targeting criteria set by the publisher, and a “correlator” value shared between

ad requests on the same page. Google Ad Manager then selects the best ad available and serves it




124
       “Get started with ads in Google Ad Manager,” Google Ad Manager Help, Google,
available at https://support.google.com/admanager/answer/6027116?hl=en&ref_topic=7506292.


                                                73
      Case 4:20-cv-03664-YGR        Document 666-24          Filed 08/05/22   Page 81 of 331
                                                         CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


back to the user’s browser. 125 The following excerpt from Google Ad Manager documentation

illustrates how the various types of data in an ad request are used. 126


                                            Figure 40
                               Use of Data by Google Ad Manager




         109.   Google Ad Manager is not the only product on the market that offers ad serving

capabilities by connecting publishers to ad exchanges. There are several competing services that

allow website developers to incorporate ads through the use of tags and a third-party ad-

management platform. These companies operate in the field of “programmatic advertising,” which




125
      “Ad selection white paper,” Google Ad Manager Help, Google, available at
      https://support.google.com/admanager/answer/1143651#zippy=%2Csummary-of-data-types-
      table.
126
      “Ad selection white paper,” Google Ad Manager Help, Google, available at
      https://support.google.com/admanager/answer/1143651#zippy=%2Csummary-of-data-types-
      table.

                                                  74
      Case 4:20-cv-03664-YGR          Document 666-24          Filed 08/05/22       Page 82 of 331
                                                           CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


is the “use of technology to buy and sell digital ads.” 127 Some of Google Ad Manager’s competitors

are Facebook Ads Manager, 128 Amazon DSP, 129 OpenX, 130 and AdButler. 131 The use of third-

party code is essential to enable these services, as they simplify the ad-serving process for

publishers who do not have the technical expertise to develop their own ad-serving technology

from scratch.


       1.        Data Transmissions to Google Ad Manager Are Impacted by the Choices of
Publishers

         110.    Publishers can adjust several parameters that change how Google Ad Manager

functions in their website. For example, they can modify the type of ads served, change the size

and resolution of the ad, 132 or alter privacy parameters. These modifications have a direct impact

on the type of data Google receives and how the data is transferred. Google offers several privacy

settings to publishers. One of these settings is the ability to serve “limited ads,” which are ads that

“disable all personalization and features that require use of a local identifier.” 133 This setting allows




127
      “A beginner’s guide to programmatic advertising,” Amazon Ads, Amazon, March 11, 2021,
      available at https://advertising.amazon.com/blog/programmatic-advertising.
128
      “Facebook Advertisers: Direct vs Programmatic Buying Trends,” MediaRadar, May 27, 2021,
      available at https://mediaradar.com/blog/facebook-advertisers-direct-vs-programmatic/.
129
      “What       is     Amazon     DSP?”       Amazon     Ads,     Amazon,              available      at
      https://advertising.amazon.com/solutions/products/amazon-dsp.
130
      “OpenX,” OpenX, available at https://www.openx.com/.
131
      “AdButler,” AdButler, available at https://www.adbutler.com/.
132
      “Ad        sizes,”     Google      Publisher       Tag,      Google,             available       at
      https://developers.google.com/publisher-tag/guides/ad-sizes.
133
      “Limited      Ads,”     Google   Ad     Manager     Help,            Google,       available     at
      https://support.google.com/admanager/answer/9882911.

                                                   75
      Case 4:20-cv-03664-YGR           Document 666-24          Filed 08/05/22      Page 83 of 331
                                                            CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


publishers to restrict data processing by Google. 134 In addition, website developers can opt out of

the use of personalized ads, 135,136 and they are required to have and abide by a privacy policy that

clearly discloses to their users that third parties may be placing and reading cookies on their users’

browsers. 137 For example, publishers can opt out of showing users who are signed into their Google

account personalized ads across devices. 138 Developers also have a choice of whether or not to

send publisher provided identifiers (PPID), which are used for ad frequency capping, audience

segmentation, and other delivery controls across devices. 139 Though using first-party cookies to

implement programmatic frequency caps is the default, publishers have the ability to disable the

use of these first-party cookies. 140 If a publisher decides not to share these with Google, these

identifiers will not appear anywhere on Google’s systems. 141 Publishers can also opt out of first-




134
      “Restricted data processing (CCPA) settings in Google’s publisher ad tags,” Google Ad
      Manager                  Help,           Google,                available           at
      https://support.google.com/admanager/answer/9598414#other-tags.
135
      “Ad personalization settings in Google’s publisher ad tags,” Google Ad Manager Help,
      Google, available at https://support.google.com/admanager/answer/7678538.
136
      “Personalized and non-personalized Ads,” Google Ad Manager Help, Google, available at
      https://support.google.com/admanager/answer/9005435.
137
      “Google Publisher Policies,” Google Ad Manager                    Help,   Google,    available    at
      https://support.google.com/admanager/answer/10502938?.
138
      This option is available from the Admin section of the publisher’s Google Ad Manager
      account. See “Enable Google signed-in, cross-device personalized ads,” Google Ad Manager
      Help, Google, https://support.google.com/admanager/answer/7204537?hl=en.
139
      “About publisher provided identifiers,” Google Ad Manager Help, Google, available at
      https://support.google.com/admanager/answer/2880055?hl=en.
140
      “Use first-party cookies for programmatic frequency caps,” Google Ad Manager Help, Google,
      available at https://support.google.com/admanager/answer/10650804?hl=en.
141
      Deposition of Glenn Berntson Volume I, March 18, 2022, pp. 166 (“There are additional
      publisher controls that could have an indirect impact here. An example is if a publisher chooses
      to not use PPID, they wouldn't provide PPID, and so therefore there would be no PPID. And
      so, it is a publisher choice as to whether the PPID available in the first place for our systems.”).

                                                    76
      Case 4:20-cv-03664-YGR          Document 666-24         Filed 08/05/22      Page 84 of 331
                                                          CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


party pseudonymous identifiers set by Google Ad Manager to support functions like frequency

capping, in which case the cookie value is not created. 142

         111.    Website developers can also use Google Ad Manager’s privacy and messaging tool

to select the particular privacy regulations their website complies with and optionally message the

website’s users about these practices to obtain consent. 143 When a user visits a website that displays

the optional message and does not accept the terms, they will be served ads that are not

personalized, meaning that they will not be based on information about user behavior and will

instead be based on context such as city-level geo-targeting and website content. 144


         2.      Users Can Affect Data Transmissions to Google Ad Manager

         112.    There are also tools available to browser users that affect data flows to Google Ad

Manager. These tools include blocking all cookies, blocking third-party cookies, and enabling

“clear cookies and site data when you close all windows.” I discuss the use of cookie options in

Section V.D.1 and similar conclusions apply to Google Ad Manager, namely that Internet users

can affect the transmission of cookie values to Google Analytics for both Regular and Private

Browsing Modes.



142
      Deposition of Glenn Berntson Volume I, March 18, 2022, pp. 166-7 (“There are other cases,
      the first-party IDs, pseudonymous identifiers, that we’ll set to the publisher domain to support
      things like frequency capping, which I described previously. And if the publisher says, ‘No, I
      don’t want you to set that cookie,’ then we won’t. It’s under the publisher control.”).
143
      The tool allows for messaging related to GDPR, CCPA, IDFA, and ad blocking recovery
      messages. See “About privacy & messaging,” Google Ad Manager Help, Google, available at
      https://support.google.com/admanager/answer/10075997?hl=en.
144
      “Google and TCF 2.0: how to collect consent for personalized ads,” iubenda, available at
      https://www.iubenda.com/en/help/16041-google-tcf-consent-personalized-ads; “Personalized
      and      Non-Personalized     Ads,”    Google     Ad     Manager       Help,    Google,
      https://support.google.com/admanager/answer/9005435.

                                                  77
      Case 4:20-cv-03664-YGR         Document 666-24         Filed 08/05/22       Page 85 of 331
                                                         CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


         113.    Similar to Google Analytics, functionality of Google Ad Manager relies on

JavaScript code such that blocking JavaScript through settings would prevent data from being sent

to Google Ad Manager.

         114.    Chrome users can also install extensions that may alter the flow of data to Google

Ad Manager, such as Ad Blocker extensions. For example, Chrome users can install the uBlock

or AdBlock extensions which both are used by more than 10 million users according to the

extension pages. 145 Users can also install the Interest-Based Advertising (IBA) Opt-out extension

provided by Google which allows opting out of personalized ads. This extension allows users to

opt out of DoubleClick advertising cookies, which are used by Google to display personalized

ads. 146 In addition, users can also opt out of personalized ads on the NAI Consumer Opt Out page.

This service allows users to “choose to opt out of Interest-Based Advertising from one, some or

all participating NAI member companies on your browser.” 147 Further, users can choose to install

a dedicated standalone application that would block ads, such as AdGuard. 148

         115.    Users can also affect personalized advertising functionalities by visiting

https://adssettings.google.com/. If the user is signed in, they will be redirected to a page similar to

the one shown below in Figure 41, where they can choose what types of ads they would like to



145
      “uBlock       Origin,”     Chrome       Web       Store, Google,     available    at
      https://chrome.google.com/webstore/detail/ublock-
      origin/cjpalhdlnbpafiamejdnhcphjbkeiagm?hl=en; “AdBlock –- best ad blocker,” Chrome
      Web Store, Google, available at https://chrome.google.com/webstore/detail/adblock-
      %E2%80%94-best-ad-blocker/gighmmpiobklfepjocnamgkkbiglidom?hl=en-US.
146
      “IBA Opt-out (by Google),” Chrome Web Store,                          Google,     available    at
      https://chrome.google.com/webstore/detail/iba-opt-out-by-
      google/gbiekjoijknlhijdjbaadobpkdhmoebb?hl=en.
147
      “Manage my Browser’s Opt Outs,” NAI, available at https://thenai.org/opt-out/.
148
      “AdGuard,” AdGuard, available at https://adguard.com/en/welcome.html.

                                                  78
      Case 4:20-cv-03664-YGR       Document 666-24         Filed 08/05/22     Page 86 of 331
                                                       CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


see or turn off ad personalization. If the user is not signed in, they will be redirected to a page

similar to the one shown below in Figure 42, where they can turn off ad personalization on Google

Search, YouTube, and Web. 149 In either case, they can also receive more information about online

advertising. 150 Users can also arrive at these ad personalization settings through the use of

AdChoices, an industry standard service implemented on some websites in the Google Display

Network. The AdChoices icon appears on ads for users to click on. When users click on this icon,

they are directed to the Google Ads personalization settings page.


                                          Figure 41
                         Ad Personalization Options - Signed in User




149
       If the user is not signed into a Google account and disables ad personalization on the
web, the browser will remember this setting by setting the value of the ANID cookie to
“OPT_OUT.”

150
      “Ad Choices for the Google Display Network,” Google Ad Manager Help, Google, available
      at https://support.google.com/admanager/answer/2695279?hl=en; “Block certain ads,” Ads
      Help, Google, available at https://support.google.com/ads/answer/2662922?hl=en.

                                                79
  Case 4:20-cv-03664-YGR          Document 666-24       Filed 08/05/22    Page 87 of 331
                                                    CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                         Figure 42
                        Ad Personalization Options - Signed Out User




      116.    Similar to Google Analytics, users also have an option to install standalone

applications that change data flow to Google Ad Manager and other services. For example, users

can install VPN applications that mask IP addresses and firewall applications that would block

data transmissions to certain domains.


     C.      Private Browsing Modes Do Not Block All Transmissions to Third-Party
Web-Services

      117.    As described in Section IV, Private Browsing Modes (1) prevent browsing history

from being saved on the device, (2) prevent the user and browser in Private Browsing Sessions

from accessing browsing history and cookies from Regular Mode session; and (3) discard cookies

placed on the browser during the private browsing session when the session is closed. However,

Private Browsing Modes are not designed to prevent browsers from sending all messages to web

                                             80
      Case 4:20-cv-03664-YGR       Document 666-24         Filed 08/05/22      Page 88 of 331
                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


services that a website developer has chosen to embed in their website. 151 Further, those messages

would necessarily conform to multiple industry standards and protocols that are established by the

community and are not unilaterally set by Google or any other company that offers a browser.

These protocols and standards include, but are not limited to, HTTP messages with required fields,

and IP addresses required to deliver those HTTP messages.

         118.   However, there are numerous other settings and features available in most major

browsers (including Chrome) that would further enhance a user’s privacy, for example by

preventing the transmission of certain categories of At-Issue Data or obscuring that data. These

settings include, but are not limited to, cookie settings, JavaScript extensions and settings, and

various extensions and standalone applications that are designed to affect certain data

transmissions. I have tested these features in both Private Browsing Mode and Regular Mode, and

my tests confirm that they function as explained in public documentation and affect data flows to

Google, irrespective of whether a user is browsing in Private Browsing Mode (these tests are

described further in Section V.D below). And even though my tests focus separately on each

setting, users can use combinations of these settings and extensions to select their optimal balance

of privacy and user experience.


       D.     Testing of Browser Settings and Extensions that Impact Transmissions of At-
Issue Data in Both Regular and Private Browsing Modes

         119.   As stated in Section IV, Private Browsing Modes in all major browsers conceal the

user’s browsing activity from other people who may use same device and ensure that cookie values



151
      For example, when accessing https://www.nytimes.com/ in Private Browsing Mode for
      Chrome, Firefox, and Edge on Windows 10, there are several HTTP requests made to
      news.google.com. These requests are included in my backup materials.

                                                81
      Case 4:20-cv-03664-YGR        Document 666-24        Filed 08/05/22    Page 89 of 331
                                                       CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


generated during a Private Browsing Session are not shared with other browsing sessions and

cannot be used to link Private Browsing Mode Activity to the user or her device after the Private

Browsing Session is closed. However, Private Browsing Modes do not prevent websites—or the

web-services deployed by websites—from knowing the simple fact that a user is interacting with

the site or the service. 152

         120.    To provide additional privacy, browsers (including Chrome) allow for the

installation and modification of various settings and extensions, which significantly impact the

extent to which browsers transmit certain data to Google and other domains in Regular and Private

Browsing Modes. 153

         121.    To evaluate the impact various settings and extensions have on the data that

browsers may transmit to Google, I visited the same set of websites described in Section IV.C.2.c

for Chrome (version 100) on Windows 10 (version 20H2). Based on my professional experience,

these settings and extensions operate similarly across browsers and operating systems. Even

though some settings might differ in how they are enabled or operate, users of all browsers and

operating systems can find comparable options. I use Chrome to illustrate how settings affect the

flow of the At-Issue Data.




152
      For example, when accessing https://www.nytimes.com in Private Browsing Mode for
      Chrome, Firefox, and Edge on Windows 10, there are several HTTP requests made to
      news.google.com. These requests are included in my backup materials.
153
      See e.g., Hodge, Rae, “If You Care About Your Privacy, You Need to Change These Browser
      Settings     Right      Now,”     CNET,      February     26,     2022,      available   at
      https://www.cnet.com/tech/services-and-software/if-you-care-about-your-privacy-you-need-
      to-change-these-browser-settings-right-now/; “Choose your privacy settings,” Google Chrome
      Help,                       Google,                       available                      at
      https://support.google.com/chrome/answer/114836?hl=en&co=GENIE.Platform%3DDeskto
      p.

                                                82
      Case 4:20-cv-03664-YGR        Document 666-24         Filed 08/05/22      Page 90 of 331
                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


         122.   I performed the following tests related to settings and extensions:

         a.     Cookie blocking test: all cookies allowed, third-party cookies blocked, and all

cookies blocked;

         b.     JavaScript blocking test: JavaScript enabled, JavaScript disabled through browser

settings, and JavaScript blocked through the Sybu browser extension;

         c.     uBlock extension test: uBlock Origin extension disabled and uBlock Origin

extension enabled; and

         d.     Google Analytics Opt-out Add-on extension test: Google Analytics Opt-out Add-

on disabled and Google Analytics Opt-out Add-on enabled.

         123.   I describe the testing process in Appendix D.


         1.     Browser Settings that Affect the Transmission of Cookie Values

         124.   As discussed in Section III.B, cookies are a sequence of characters that contain

information used for various purposes, including but not limited to core website functionalities

(e.g., remembering which items a user placed for the checkout during online shopping or a time

zone a user is located in) and for the delivery of targeted ads. Many browsers, including Chrome,

Firefox, Edge, and Safari, give users the option to (1) allow all cookies, (2) block third-party

cookies, and (3) block all cookies. These options are available for both Regular and Private

Browsing Modes. 154,155



154
      See Chrome cookie blocking settings example in Section V.A.2.
155
      See     e.g.,    “Cookie     Rejection    Report   2020,”  Flashtalking,   available  at
      https://static1.squarespace.com/static/5c17fee58ab722e19b765b9d/t/5ebb2cad66d47b4c5c9f
      21a9/1589324990858/Flashtalking_Cookie_Rejection_Report_2020.pdf. In 2020, an ad-
      serving company called Flashtalking published its annual Cookie Rejection Report, which

                                                 83
      Case 4:20-cv-03664-YGR          Document 666-24          Filed 08/05/22      Page 91 of 331
                                                           CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


         125.    Exhibits 2.1-2.5 and 2.21-2.25 summarize the results of my cookie blocking tests

across the selected five websites in Regular and Private Browsing Modes. The results demonstrate

that Chrome cookie settings impact data transmissions in both Regular Mode and Private Browsing

Modes. The “All Cookies Blocked” setting does block all cookie values from being transmitted to

Google-associated domains.

         126.    The “Block Third-Party Cookies” setting blocks all third-party cookie value

transmission to Google-associated domains. For example, third-party cookies such as IDE and

NID are transmitted when all cookies are allowed but not when third-party cookies are blocked. 156

         127.    Based on my testing, I conclude that cookie settings impact the transmission of

cookie values in Regular and Private Browsing Modes. The cookie blocking settings allow users

to block third-party or all cookies. If a user blocks third-party cookies, no third-party cookies will

be sent to third-party domains, which includes Google-associated domains. If a user blocks all




      examines cookies being blocked or deleted by web browsers. The company evaluated data
      from 36 different advertisers over a 30-day period in 2019, covering over six billion
      impressions. The report found that on average, 64% of cookies were rejected across devices,
      with a 41% rejection rate for desktop, 73% rejection rate for tablet, and 79% rejection rate for
      mobile devices. Cookie rejection occurs because users are in an environment where cookies do
      not function or because browsers implement cookie blocking settings.
156
      There are a limited number of instances that require further clarification. The third-party cookie
      named DSID is associated with a transmitted value of “NO_DATA” in the cases of
      https://www.cnn.com/, https://www.washingtonpost.com/, and https://www.latimes.com/.
      DSID cookie “is used to identify a signed-in user on non-Google sites and to remember
      whether the user has agreed to ad personalization.” As the value suggests, no data are
      transmitted in these cases as I performed my testing without being signed in. Therefore, the
      DSID with a value of “NO_DATA” cannot be used to track users or to serve targeted ads. See
      “How Google Uses Cookies,” Google Privacy & Terms, Google, available at
      https://policies.google.com/technologies/cookies?hl=en-US. I provide a more extensive
      discussion of other, similar examples of cookie value transmissions in Appendix F.

                                                   84
      Case 4:20-cv-03664-YGR         Document 666-24       Filed 08/05/22     Page 92 of 331
                                                       CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


cookies, then no cookies are sent to any domains including Google-associated domains,

irrespective of the browsing mode.


         2.     Users Can Block Execution of JavaScript Code on Webpages

         128.   JavaScript is a programming language widely used to enable dynamic and

responsive content of websites such as content updated based on user actions, interactive maps,

and others. 157 Even though JavaScript is present on most modern websites, it is not as fundamental

of a component of webpages as HTML. Therefore, websites that do not rely on certain advanced

and complex features would still be functional for most users if JavaScript were disabled. An

example of the features that typically would not work and might impact user experience is logging

in to the website. Not all websites contain this functionality and even if they do, a website login

often is not required to browse the website. Since in many cases JavaScript is used to enable

advertising and analytics services, restricting the use of JavaScript in webpages may reduce the

amount of advertising content and the amount of time required to load a webpage. For example,

as Figure 43 shows, when I visit https://www.thesaurus.com/browse/analyses/ with JavaScript

execution allowed, the top part of the website even without scrolling down contains three ads. In

contrast, as Figure 44 shows, when I visit the same webpage after blocking JavaScript, the banners

ads are gone, which some users may find desirable.




157
      “What is JavaScript?” MDN Web Docs, Mozilla Corporation, available at
      https://developer.mozilla.org/en-US/docs/Learn/JavaScript/First_steps/What_is_JavaScript.

                                                85
Case 4:20-cv-03664-YGR    Document 666-24     Filed 08/05/22   Page 93 of 331
                                           CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                 Figure 43
            Example of Website with Allowed JavaScript Execution




                                    86
  Case 4:20-cv-03664-YGR           Document 666-24        Filed 08/05/22      Page 94 of 331
                                                       CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                        Figure 44
                   Example of Website with Blocked JavaScript Execution




      129.     As Figure 43 and Figure 44 suggest, browsers have settings to block JavaScript

execution. Furthermore, restricting execution of JavaScript code may limit the transmission of At-

Issue Data to Google. Such settings, however, will not impact data transmissions that are not

triggered by JavaScript code.

      130.     Users can restrict the execution of JavaScript on web pages either through browser

settings or by using browser extensions that are designed to restrict JavaScript execution such as

the Sybu extension. Though I present only this example in my report, many similar extensions are

available on all major browsers.




                                               87
      Case 4:20-cv-03664-YGR       Document 666-24         Filed 08/05/22      Page 95 of 331
                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


         131.   To disable JavaScript execution in the Chrome browser, a user can visit

chrome://settings/content/javascript either through the address bar or by using settings navigation

buttons, and then select “Don’t allow sites to use JavaScript,” as illustrated in Figure 45 below.


                                          Figure 45
                           JavaScript Execution Settings in Chrome




         132.   Users can install extensions by visiting the Chrome Web Store. To illustrate an

extension that disables JavaScript, I used the Sybu extension which has more than 10,000 users. 158

The key difference between browser setting- and extension-based JavaScript blocking is that

extensions may include additional settings that allow users to choose how strict JavaScript

blocking should be. For example, the settings page of the Sybu extension includes a “My Rules”

option that by default blocks several types of Google-related JavaScript code from executing.




158
        “Sybu JavaScript Blocker,” Chrome Web Store,                     Google,     available       at
      https://chrome.google.com/webstore/detail/sybu-javascript-
      blocker/ceicidjdokcfbnkdenbhmnonehglgilk.

                                                88
      Case 4:20-cv-03664-YGR       Document 666-24         Filed 08/05/22    Page 96 of 331
                                                       CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


         133.   Exhibits 2.6-2.10 and 2.26-2.30 illustrate the results of my JavaScript blocking

tests. Blocking JavaScript through settings prevents all cookies from being sent to Google-

associated domains.

         134.   Similarly, the Sybu extension limits certain transmissions of cookie values to

Google-associated domains. Compared to JavaScript settings, it allows users to define custom

rules to block or allow certain domains.

         135.   Based on my JavaScript blocking tests, I conclude that settings and extensions

available to browser users are effective at blocking JavaScript execution and transmission of

certain cookie values to Google-associated domains.


       3.       Add-Ons and Extensions Can Be Used to Restrict Data Transmission to Google
Analytics

         136.   As I mentioned above, Chrome allows for the installation of extensions and add-

ons that prevent or restrict certain data transmissions. For example, to affect the At-Issue Data

being transmitted to Google Analytics, users can install Google Analytics Opt-out Add-on

extension, which focuses on restricting data transmissions associated with Google Analytics.159

This extension has been installed by more than 1 million users. 160




159
      “Google Analytics Opt-out Add-on (by Google),” Chrome Web Store, Google, available at
      https://chrome.google.com/webstore/detail/google-analytics-opt-
      out/fllaojicojecljbmefodhfapmkghcbnh?hl=en.
160
      “Google Analytics Opt-out Add-on (by Google),” Chrome Web Store, Google, available at
      https://chrome.google.com/webstore/detail/google-analytics-opt-
      out/fllaojicojecljbmefodhfapmkghcbnh?hl=en.

                                                89
  Case 4:20-cv-03664-YGR           Document 666-24        Filed 08/05/22      Page 97 of 331
                                                       CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                        Figure 46
                  Google Analytics Opt-out Add-on Page on Chrome Store




      137.     My testing of the impact of Google Analytics Opt-out Add-on extension on data

transmissions is illustrated in Exhibits 2.11-2.15 and 2.31-2.35. My results show that cookies

associated with Google Analytics, including _ga, _gid, and _gaexp, are not transmitted to Google

Analytics domains when I enabled the Google Analytics Opt-out Add-on extension.

      138.     My tests illustrate that users who wish to restrict data transmissions to Google

Analytics can use the Google Analytics Opt-out Add-on extension that effectively restricts data

transmission of cookie values associated with Google Analytics.


       4.      Users Can Block Ads and Other Content Using Add-Ons and Extensions

      139.     Similar to the Google Analytics Opt-out Add-on extension that focuses on

restricting data transmissions associated with Google Analytics, users have the ability to install

extensions that block advertisements and other content from loading on websites. One example of




                                               90
      Case 4:20-cv-03664-YGR        Document 666-24         Filed 08/05/22      Page 98 of 331
                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


such an extension is uBlock Origin (“uBlock”) which has more than 10 million installs on Chrome

as illustrated in Figure 47 below. 161


                                          Figure 47
                            uBlock Extension Page on Chrome Store




         140.   Exhibits 2.16-2.20 and 2.36-2.40 illustrate results of my testing for the uBlock

extension. I did not observe any cookies being transmitted to Google-associated domains in Private

Browsing Mode. I similarly observe most cookies being blocked in Regular Mode except an NID

cookie on https://www.nytimes.com/ which is transmitted to https://news.google.com/ and

https://accounts.google.com/. I understand that uBlock filtering relies on several default lists of

domains which a user can supplement as shown in the settings page of uBlock illustrated below in

Figure 48. As https://news.google.com and https://accounts.google.com/ are not by default

included in the filter list, the extension will only block these transmissions if a user modifies the

setting page as illustrated in Figure 49 below.



161
      “uBlock       Origin,”     Chrome       Web       Store,       Google,       available       at
      https://chrome.google.com/webstore/detail/ublock-
      origin/cjpalhdlnbpafiamejdnhcphjbkeiagm?hl=en.

                                                  91
Case 4:20-cv-03664-YGR   Document 666-24    Filed 08/05/22   Page 99 of 331
                                         CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                               Figure 48
                          uBlock Settings Page




                                  92
  Case 4:20-cv-03664-YGR           Document 666-24         Filed 08/05/22     Page 100 of 331
                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                           Figure 49
                                   Accessing uBlock Settings




       141.    My tests demonstrate that extensions that aim at preventing data transmissions

related to advertising are effective tools that may limit certain transmissions to Google-associated

domains.


       5.      VPN Services Mask Users’ IP Addresses

       142.    As discussed in Section IV.A, VPN services can be used for many reasons such as

masking (i.e., replacing) the user’s IP address with that of the VPN server, encrypting the

communications of the user’s device, or for bypassing geographic restrictions on content (e.g., if

certain content is not available in a country where a user is located, they might use a VPN with an

IP address associated with a different geographic region to gain access to that content).




                                                93
  Case 4:20-cv-03664-YGR            Document 666-24         Filed 08/05/22      Page 101 of 331
                                                         CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


          143.   To illustrate that VPN services are an effective tool to mask users’ IP addresses, I

accessed a website that shows IP addresses with and without VPN services enabled while in Private

Browsing Mode. First, I observed an IP address of the test machine by navigating to

https://whatismyipaddress.com/service without having enabled a VPN service. Figure 50

illustrates the IP address. Because IP addresses can be used to approximate a geographic location,

this Figure shows that my location at the time of conducting this test was in Massachusetts, United

States.


                                             Figure 50
                            Illustration of Actual External IP address




          144.   I then used NordVPN, which is a popular VPN service. The desktop application of

NordVPN replaces the external IP address not only for browsing purposes but also generally for

any communication over the Internet. NordVPN is available on many platforms including

Windows, iOS, macOS, and Android. 162




162
      “Download      NordVPN app for Windows                  PC,”     NordVPN,       available    at
      https://nordvpn.com/download/windows/.

                                                  94
  Case 4:20-cv-03664-YGR                Document 666-24          Filed 08/05/22    Page 102 of 331
                                                            CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


         145.    NordVPN, similarly to other VPN services, has a network of VPN servers around

the world that allow users to change where they wish to have their VPN IP “be located”. Figure

51 illustrates the map of countries which a NordVPN user can choose from denoted by circled

numbers or blue dots. 163


                                            Figure 51
                     Country Options for IP Address in NordVPN Application




         146.    I   selected   Italy    as   a   country   of     my   IP   destination   and   visited

https://whatismyipaddress.com/ again. As Figure 52 shows, the service detected an IP address

now located in Italy, which confirms that VPN services allow users to select an IP address

associated with a different device and geographical area.




163
      There are many servers located in each represented country. It allows users to not only select
      a country but also a location or a server inside a country.

                                                    95
  Case 4:20-cv-03664-YGR          Document 666-24          Filed 08/05/22    Page 103 of 331
                                                       CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                          Figure 52
                                   IP Address with VPN Use




      147.     My tests demonstrate that VPN services are an effective tool to mask users’ IP

addresses and would prevent the user’s true IP address from being sent in transmissions to Google-

associated domains.




Signed on the 15th day of April, 2022, at Brookline, MA.




                                                ____________________________________

                                                Georgios Zervas




                                               96
                                 Case 4:20-cv-03664-YGR                                                 Document 666-24                                    Filed 08/05/22                            Page 104 of 331
                                                                                                                                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                                                         Exhibit 1.1: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                             Browsers Tested on Windows 10
                                                                                                            https://www.nytimes.com/ (Part 1)

                                                                                                                                    Chrome
                                 Regular Mode                                    Regular Mode                               Private Browsing Mode                            Private Browsing Mode                                 Regular Mode
 Cookie Name              (Initial Session)                                        (Session 1)                                     (Session 1)                                      (Session 2)                                      (Session 2)
CMID         Yks9Y.SWIUDA.aPxaxuzcwAA
DSID         NO_DATA                                            NO_DATA                                          NO_DATA                                                                                          NO_DATA
ID           4a6ec1651f2677fb01344e9b7922b5
IDE          AHWqTUkoq2dX3NoxwRtTab-zSG35qq                     AHWqTUkoq2dX3NoxwRtTab-zSG35qq                                                                                                                    AHWqTUkoq2dX3NoxwRtTab-zSG35qq
                                                                511=cQIn3wCGiq3VdDmUobp8Q4u4tJ

NID             511=cQIn3wCGiq3VdDmUobp8Q4u4tJ                  511=eQ1j2bH0KvR_e62lB7-u7SBcp7                                                                                                                    511=eQ1j2bH0KvR_e62lB7-u7SBcp7
TDID            275837f2-b26d-4845-9eb0-30a820
__gads                                                          ID=4938b38a824c7925:T=16490980                   ID=e54e47e3f11c2720-227caa17ed                   ID=34671794ba3272dc-2269826e19                  ID=4938b38a824c7925:T=16490980
__gpi                                                                                                            UID=000003b279b401f0:T=1649098
_ga             1835220652.1649098083                           1835220652.1649098083                            1638073241.1649098353                            257801265.1649098499                            1835220652.1649098083
_gcl_au         885089998.1649098084                            885089998.1649098084                             1863613158.1649098355                            696086320.1649098501                            885089998.1649098084
_gid            2121132959.1649098084                           2121132959.1649098084                            1956093198.1649098355                            990005167.1649098501                            2121132959.1649098084
_rxuuid         AYg5qPL1EljYkiXQ4sY5ZiD8sia0hG
nyt-a           XEdGEKPloF_lOs-E8lWqWR                          XEdGEKPloF_lOs-E8lWqWR                           ehP5FH2EknnaiSTeRQ6ik7                           I6qhfsOaq7E4HVkMlHY-4O                          XEdGEKPloF_lOs-E8lWqWR
nyt-jkidd       anon                                            anon                                             anon                                             anon                                            anon
test_cookie     CheckForPermission

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] The nyt-jkidd cookie is a first-party cookie with a long value. I observed a substring value of this long value, “anon”, which matches a URL parameter sent to www.google-analytics.com. Since my exhibit shows only the substring value that was sent to
Google-associated domains, I reviewed the full nyt-jkidd values across Regular and Private Browsing Mode and found that the values associated with the Private Browsing Mode were always different.
[5] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
                                  Case 4:20-cv-03664-YGR                                                Document 666-24                                    Filed 08/05/22                            Page 105 of 331
                                                                                                                                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                                                         Exhibit 1.1: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                             Browsers Tested on Windows 10
                                                                                                            https://www.nytimes.com/ (Part 2)

                                                                                                                                     Edge
                                 Regular Mode                                    Regular Mode                               Private Browsing Mode                            Private Browsing Mode                                 Regular Mode
Cookie Name              (Initial Session)                                     (Session 1)                                      (Session 1)                                      (Session 2)                                     (Session 2)
__gads      ID=1bc638bb52f6726e-22feb323ff                      ID=1bc638bb52f6726e-22feb323ff                   ID=b3e99924fd921ef6-22a4d6edfd                   ID=fe420d50499a8f2d-22a5445cfc                  ID=1bc638bb52f6726e-22feb323ff
_ga         1980542796.1649463052                               1980542796.1649463052                            1552015100.1649463349                            1870558466.1649463497                           1980542796.1649463052
_gcl_au     541175046.1649463053                                541175046.1649463053                             1630133533.1649463349                            293630192.1649463497                            541175046.1649463053
_gid        2146859059.1649463053                               2146859059.1649463053                            205049718.1649463350                             1674661127.1649463497                           2146859059.1649463053
nyt-a       6PO-6nit6_GBAXzfYx2PMC                              6PO-6nit6_GBAXzfYx2PMC                           8IdoLsIImk62tQX0AExbTy                           ckC0z3y6Xy9SvjpatIwr97                          6PO-6nit6_GBAXzfYx2PMC
nyt-jkidd   anon                                                anon                                             anon                                             anon                                            anon

                                                                                                                                    Firefox
                                 Regular Mode                                    Regular Mode                               Private Browsing Mode                            Private Browsing Mode                                 Regular Mode
Cookie Name                      (Initial Session)                                 (Session 1)                                     (Session 1)                                      (Session 2)                                      (Session 2)
NID             511=ag1AD-6jNa_fOekuMR94fApuxT                  511=ag1AD-6jNa_fOekuMR94fApuxT                   511=Wuzrn5Y9zfOvixbDnErBJQM-mU                   511=tt4Zr3DvRoZZS7fWxpqXmQbSK2                  511=ag1AD-6jNa_fOekuMR94fApuxT
OTZ             6452731_56_56__56_                              6452731_56_56__56_                               6452734_56_56__56_                               6452735_56_56__56_                              6452731_56_56__56_
TDID                                                                                                                                                                                                              c3d20942-99c9-4190-b86f-236d2f
                                                                                                                                                                                                                  ID=ce039df8d1ffc580:T=16494678

__gads          ID=ce039df8d1ffc580:T=16494678                  ID=ce039df8d1ffc580:T=16494678                                                                                                                    ID=ce039df8d1ffc580-226cd95afc
_ga             1719483127.1649467862                           1719483127.1649467862                                                                                                                             1719483127.1649467862
_gcl_au         541199004.1649467861                            541199004.1649467861                                                                                                                              541199004.1649467861
_gid            2115386837.1649467862                           2115386837.1649467862                                                                                                                             2115386837.1649467862
nyt-a           DqtxykWB4vCfOzPtJCpBht                          DqtxykWB4vCfOzPtJCpBht                                                                                                                            DqtxykWB4vCfOzPtJCpBht
nyt-jkidd       anon                                            anon                                                                                                                                              anon

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] The nyt-jkidd cookie is a first-party cookie with a long value. I observed a substring value of this long value, “anon”, which matches a URL parameter sent to www.google-analytics.com. Since my exhibit shows only the substring value that was sent to
Google-associated domains, I reviewed the full nyt-jkidd values across Regular and Private Browsing Mode and found that the values associated with the Private Browsing Mode were always different.
[5] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
                                  Case 4:20-cv-03664-YGR                                                 Document 666-24                                     Filed 08/05/22                              Page 106 of 331
                                                                                                                                                                          CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                                                          Exhibit 1.2: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                             Browsers Tested on Windows 10
                                                                                                               https://www.apartments.com/

                                                                                                                                      Chrome
                                 Regular Mode                                    Regular Mode                                 Private Browsing Mode                            Private Browsing Mode                       Regular Mode
 Cookie Name              (Initial Session)                                  (Session 1)                                            (Session 1)                                       (Session 2)                        (Session 2)
IDE          AHWqTUkVCdi9Unh_6axnSrQRHf9e3-                      AHWqTUkVCdi9Unh_6axnSrQRHf9e3-                                                                                                              AHWqTUkVCdi9Unh_6axnSrQRHf9e3-
TDID         c95f593d-78d1-44f3-86c7-925b2d
_ga          741820916.1649093540                                741820916.1649093540                             1654030093.1649093665                            1113805356.1649093720                     741820916.1649093540
_gcl_au      1275291120.1649093540                               1275291120.1649093540                            122495526.1649093665                             579581357.1649093720                      1275291120.1649093540
_gid         369248429.1649093540                                369248429.1649093540                             296377553.1649093665                             708541216.1649093720                      369248429.1649093540
test_cookie  CheckForPermission

                                                                                                                                       Edge
                                 Regular Mode                                    Regular Mode                                 Private Browsing Mode                            Private Browsing Mode                       Regular Mode
Cookie Name              (Initial Session)                                      (Session 1)                                      (Session 1)                                      (Session 2)                               (Session 2)
_ga         597464165.1649623202                                 597464165.1649623202                             1256957579.1649623368                            922922173.1649623431                      597464165.1649623202
_gcl_au     222147690.1649623202                                 222147690.1649623202                             261178691.1649623368                             1968876362.1649623431                     222147690.1649623202
_gid        796645681.1649623202                                 796645681.1649623202                             753400918.1649623368                             240078578.1649623431                      796645681.1649623202

                                                                                                                                      Firefox
                                 Regular Mode                                    Regular Mode                                 Private Browsing Mode                            Private Browsing Mode                       Regular Mode
Cookie Name              (Initial Session)                                      (Session 1)                                         (Session 1)                                       (Session 2)                           (Session 2)
_ga         677770063.1649465050                                 677770063.1649465050                                                                                                                        677770063.1649465050
_gcl_au     1879048979.1649465050                                1879048979.1649465050                                                                                                                       1879048979.1649465050
_gid        1926130038.1649465050                                1926130038.1649465050                                                                                                                       1926130038.1649465050
_sctr       1649462400000                                        1649462400000                                                                                                                               1649462400000

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
                                  Case 4:20-cv-03664-YGR                                                 Document 666-24                                     Filed 08/05/22                              Page 107 of 331
                                                                                                                                                                          CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                                                          Exhibit 1.3: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                             Browsers Tested on Windows 10
                                                                                                               https://www.cnn.com/ (Part 1)

                                                                                                                                      Chrome
                                 Regular Mode                                    Regular Mode                                 Private Browsing Mode                            Private Browsing Mode                      Regular Mode
Cookie Name             (Initial Session)                                          (Session 1)                                      (Session 1)                                       (Session 2)                         (Session 2)
CMID        YksuFMusio6QBKUnOattzgAA                                                                                                                                                                         YksuFMusio6QBKUnOattzgAA
DSID        NO_DATA                                              NO_DATA                                                                                                                                     NO_DATA

                AHWqTUnMeZmUfdziMkbQah0KMNdxbs

IDE             AHWqTUl2XhJlmw74VfJg3g-N3EjYND                   AHWqTUl2XhJlmw74VfJg3g-N3EjYND                                                                                                              AHWqTUl2XhJlmw74VfJg3g-N3EjYND
TDID            3ea37b7d-4212-420b-96ee-6cd385
                                                                                                                                                                   oy8L2Hh9RuXf

V               gEn2iwNwRQ1v                                                                                                                                       s2tKHPyHOy7X
__106_cid       3ea37b7d-4212-420b-96ee-6cd385
__gads                                                           ID=2e3b16973ad1c208:T=16490941                   ID=e9906127e1685e9b-22fc8bb7ed                   ID=b731f294f0bcf29c-22a54dfbec            ID=2e3b16973ad1c208:T=16490941
__io_cid        3ea37b7d-4212-420b-96ee-6cd385
_kuid_                                                           Owjms0IS                                                                                                                                    Owjms0IS
indxexcg        YksuFMusio6QBKUnOattzgAAA54AAA                                                                                                                                                               YksuFMusio6QBKUnOattzgAAA54AAA
ljt_reader      201961fbd447ea19e3977301
ptrpp           gEn2iwNwRQ1v
ptrstk          h88zR_LZR3VeoalZQjghhBTnUu4
ptrt            3ea37b7d-4212-420b-96ee-6cd385
test_cookie     CheckForPermission
ttd             3ea37b7d-4212-420b-96ee-6cd385
ug              624b2e110106ca0a3f9083001438a3                   624b2e110106ca0a3f9083001438a3                   624b303f0ee9f40a3f9b5b00173ae8                   624b3108015bb90a3f85a100151760            624b2e110106ca0a3f9083001438a3
ug1             624b2e110106ca0a3f9083001438a3                                                                    624b303f0ee9f40a3f9b5b00173ae8                   624b3108015bb90a3f85a100151760

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Cookie “ug1” is set by www.ugdturner.com, which appears to be part of Turner Broadcasting System, Inc., the owner of CNN.
[5] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
                                  Case 4:20-cv-03664-YGR                                                 Document 666-24                                     Filed 08/05/22                              Page 108 of 331
                                                                                                                                                                          CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                                                          Exhibit 1.3: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                             Browsers Tested on Windows 10
                                                                                                               https://www.cnn.com/ (Part 2)

                                                                                                                                       Edge
                                 Regular Mode                                    Regular Mode                                 Private Browsing Mode                            Private Browsing Mode                      Regular Mode
Cookie Name                      (Initial Session)                                 (Session 1)                                      (Session 1)                                       (Session 2)                           (Session 2)
                                                                 ID=8cc9ee5e237302cc-222e2b5cff

__gads          ID=8cc9ee5e237302cc-222e2b5cff                   ID=8cc9ee5e237302cc:T=16495634                   ID=af22eb073c41cd68-22ca0d9126                   ID=2190aa990814fbc6:T=16495640            ID=8cc9ee5e237302cc:T=16495634
ug              6252570b04dcd30a3f8d7c0015f782                   6252570b04dcd30a3f8d7c0015f782                   625258b50aaf3f0a3f908300169892                   625259610a98670a3f85a1001610b1            6252570b04dcd30a3f8d7c0015f782
ug1             6252570b04dcd30a3f8d7c0015f782                                                                    625258b50aaf3f0a3f908300169892                   625259610a98670a3f85a1001610b1

                                                                                                                                      Firefox
                                 Regular Mode                                    Regular Mode                                 Private Browsing Mode                            Private Browsing Mode                      Regular Mode
 Cookie Name              (Initial Session)                                        (Session 1)                                      (Session 1)                                       (Session 2)                          (Session 2)
DSID                                                             NO_DATA                                                                                                                                     NO_DATA
__gads       ID=306369aa2bdc333a-22fd95db25                      ID=306369aa2bdc333a-22fd95db25                                                                                                              ID=306369aa2bdc333a-22fd95db25
dc_id        4d20a2b4851a4e81adf37e57e0bb3b
ug           6250d8e207fab30a3f8d7c0016cc55                      6250d8e207fab30a3f8d7c0016cc55                                                                                                              6250d8e207fab30a3f8d7c0016cc55
ug1          6250d8e207fab30a3f8d7c0016cc55
uuid         41ab32316e714eb5b9d5971624d816

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Cookie “ug1” is set by www.ugdturner.com, which appears to be part of Turner Broadcasting System, Inc., the owner of CNN.
[5] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
                                  Case 4:20-cv-03664-YGR                                                 Document 666-24                                     Filed 08/05/22                              Page 109 of 331
                                                                                                                                                                          CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                                                          Exhibit 1.4: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                             Browsers Tested on Windows 10
                                                                                                             https://www.latimes.com/ (Part 1)

                                                                                                                                      Chrome
                                 Regular Mode                                    Regular Mode                                 Private Browsing Mode                            Private Browsing Mode                      Regular Mode
Cookie Name              (Initial Session)                                         (Session 1)                                      (Session 1)                                       (Session 2)                           (Session 2)
CMID        YksztUu5-Odb-876ih.opAAA
DSID                                                             NO_DATA                                          NO_DATA                                                                                    NO_DATA

IDE             AHWqTUmcZ4r4YEBqWCvorm8RnYFn6W                   AHWqTUmcZ4r4YEBqWCvorm8RnYFn6W                                                                                                              AHWqTUmcZ4r4YEBqWCvorm8RnYFn6W
TDID            91e01a4e-542d-4f70-9812-b3cd8d
                ID=12900160c988ae12-22c463b0ed                                                                    ID=ed6accefacec9948-220735e8ec                   ID=b254a586fbefdcad-22f262bbee

__gads          ID=12900160c988ae12:T=16490956                   ID=12900160c988ae12:T=16490956                   ID=ed6accefacec9948:T=16490960                   ID=b254a586fbefdcad:T=16490961            ID=12900160c988ae12:T=16490956
_ga             1046244586.1649095605                            1046244586.1649095605                            1929415882.1649096015                            1999179419.1649096141                     1046244586.1649095605
_gid            1006204224.1649095605                            1006204224.1649095605                            474539410.1649096016                             1180894715.1649096141                     1006204224.1649095605
                AYg5qPIDmGplemylkpuuFdUXC2A22G

_rxuuid         AYg5qPJspe23BEbQlsw7vMJ43T-3n3
b                                                                624B34A614A89BDE61DB6890BLIS
                                                                                                                                                                                                             AYg5qPJY2vLmrxrlifd36PjW3JFUvw

google_push                                                                                                                                                                                                  AYg5qPJJ9vkOO6TeIozhCP6HckoF24
ljt_reader                                                       7d01d1656cdbc95b772b714e
permutive-id                                                     704a7fad-03c4-4a2e-b43a-8ed374                   5cca0f8d-5f26-4392-917f-8f9054                   84293d41-a539-44ee-a7d7-641dfd            704a7fad-03c4-4a2e-b43a-8ed374
sa-user-id-v2   RSX1qNzrTglvDZC9K8PwIhTnUu4                                                                                                                                                                  RSX1qNzrTglvDZC9K8PwIhTnUu4
ssh             triplelift
suid                                                             8E1BE579BCC7492FB56128D60FA4C5
suid_legacy                                                      8E1BE579BCC7492FB56128D60FA4C5
test_cookie     CheckForPermission
uuid            d1da6296-a849-4e07-a320-38946e                   d1da6296-a849-4e07-a320-38946e                   2b59a04a-8894-45a0-b684-4fab66                   a961437b-ad51-4b42-848a-1b5c88            d1da6296-a849-4e07-a320-38946e

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
                                  Case 4:20-cv-03664-YGR                                                 Document 666-24                                     Filed 08/05/22                              Page 110 of 331
                                                                                                                                                                          CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                                                          Exhibit 1.4: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                             Browsers Tested on Windows 10
                                                                                                             https://www.latimes.com/ (Part 2)

                                                                                                                                       Edge
                                 Regular Mode                                    Regular Mode                                 Private Browsing Mode                            Private Browsing Mode                      Regular Mode
Cookie Name               (Initial Session)                                        (Session 1)                                      (Session 1)                                       (Session 2)                           (Session 2)
DSID         NO_DATA                                             NO_DATA                                          NO_DATA                                          NO_DATA                                   NO_DATA
__gads       ID=905b2d82ddaaadac-224952effd                      ID=905b2d82ddaaadac:T=16494621                   ID=24b544a1662565d0-2235c83efc                   ID=71c1f237eb803732-22af934fff            ID=905b2d82ddaaadac:T=16494621
_ga          1200003065.1649462122                               1200003065.1649462122                            1638692517.1649462394                            1104984448.1649462516                     1200003065.1649462122
_gid         352573928.1649462122                                352573928.1649462122                             1329120513.1649462394                            792753936.1649462516                      352573928.1649462122
_sctr                                                                                                                                                              1649462400000
permutive-id                                                     4e26ce71-d419-4008-926c-6be891                   d42ae05d-b1ab-4cdc-9f48-4a017e                   49afd594-c2d9-4dc0-9cc0-5f5af2            4e26ce71-d419-4008-926c-6be891
uuid         9eecb0d2-3a70-4aa2-bc40-641373                      9eecb0d2-3a70-4aa2-bc40-641373                   cf36c165-5762-4404-9200-726283                   c1357280-9545-45c8-8fdf-3f655e            9eecb0d2-3a70-4aa2-bc40-641373

                                                                                                                                      Firefox
                                 Regular Mode                                    Regular Mode                                 Private Browsing Mode                            Private Browsing Mode                      Regular Mode
Cookie Name               (Initial Session)                                        (Session 1)                                      (Session 1)                                       (Session 2)                           (Session 2)
DSID         NO_DATA
__gads       ID=abbc5452537fcadb-22ef4d47fd                      ID=abbc5452537fcadb:T=16494673                                                                                                              ID=abbc5452537fcadb:T=16494673
_ga          1909485602.1649467321                               1909485602.1649467321                                                                                                                       1909485602.1649467321
_gid         1568002468.1649467321                                                                                                                                                                           1568002468.1649467321
permutive-id 6a13c7ed-b525-403f-babd-920943                      6a13c7ed-b525-403f-babd-920943                                                                                                              6a13c7ed-b525-403f-babd-920943
uuid         c0aa635c-4bc8-4a5c-9b11-c60e78                      c0aa635c-4bc8-4a5c-9b11-c60e78                                                                                                              c0aa635c-4bc8-4a5c-9b11-c60e78

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
                                  Case 4:20-cv-03664-YGR                                                 Document 666-24                                     Filed 08/05/22                              Page 111 of 331
                                                                                                                                                                          CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                                                          Exhibit 1.5: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                               Browsers Tested on Windows 10
                                                                                                          https://www.washingtonpost.com/ (Part 1)

                                                                                                                                      Chrome
                                 Regular Mode                                    Regular Mode                                 Private Browsing Mode                            Private Browsing Mode                       Regular Mode
 Cookie Name             (Initial Session)                                         (Session 1)                                      (Session 1)                                       (Session 2)                           (Session 2)
CMID         YktAw08aiLE0oOKr7xJYYAAA
DSID         NO_DATA                                             NO_DATA                                          NO_DATA                                                                                    NO_DATA
IDE          AHWqTUkE9eVNy1cRjx1K27ctAumt7I                      AHWqTUkE9eVNy1cRjx1K27ctAumt7I                                                                                                              AHWqTUkE9eVNy1cRjx1K27ctAumt7I
SCM          82c54452
SCMg         82c54452
             ID=9a82f095d4dbd4cb-22ffab57ed

__gads          ID=9a82f095d4dbd4cb:T=16490989                   ID=9a82f095d4dbd4cb:T=16490989                   ID=4379d0eb84f9f8ed-222cfaefed                   ID=90bd2ac36f34153a-22a68620ed            ID=9a82f095d4dbd4cb:T=16490989
_ga             25199709.1649098946                              25199709.1649098946                              973215853.1649099124                             1211309450.1649099213                     25199709.1649098946
_ga_WRCN6
8Y2LD           1649098945                                       1649099065                                       1649099123                                       1649099212                                1649099297
_gaexp          3gY8TfBUQy645wcR55Xl0w.1                         3gY8TfBUQy645wcR55Xl0w.1                         3gY8TfBUQy645wcR55Xl0w.1                         3gY8TfBUQy645wcR55Xl0w.1                  3gY8TfBUQy645wcR55Xl0w.1
_gid            1090736128.1649098946                            1090736128.1649098946                            1771791117.1649099124                            1380715884.1649099213                     1090736128.1649098946
suid            912FE61A0F9B4BD187DF04AF759C4E
suid_legacy     912FE61A0F9B4BD187DF04AF759C4E
test_cookie     CheckForPermission
wp_ak_subs      0|20220331                                                                                        0|20220331                                       0|20220331
wp_ak_v_m       0|20220331                                       0|20220331                                       0|20220331                                       0|20220331                                0|20220331
wp_geo          US|VA|511||                                      US|VA|511||                                      US|VA|511||                                      US|VA|511||                               US|VA|511||
wp_usp          1---                                             1---                                             1---                                             1---                                      1---

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
                                  Case 4:20-cv-03664-YGR                                                 Document 666-24                                     Filed 08/05/22                              Page 112 of 331
                                                                                                                                                                          CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                                                          Exhibit 1.5: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                               Browsers Tested on Windows 10
                                                                                                          https://www.washingtonpost.com/ (Part 2)

                                                                                                                                       Edge
                                 Regular Mode                                    Regular Mode                                 Private Browsing Mode                            Private Browsing Mode                       Regular Mode
Cookie Name                      (Initial Session)                                 (Session 1)                                      (Session 1)                                       (Session 2)                           (Session 2)
DSID                                                             NO_DATA
                                                                 ID=3b2e5a84ab44c87a-22a4c754fd                                                                    ID=7cf6e7dadb5e075b:T=16494616            ID=3b2e5a84ab44c87a-227f3e73fc

__gads          ID=3b2e5a84ab44c87a-22a4c754fd                   ID=3b2e5a84ab44c87a:T=16494613                   ID=f1285943f0100d75-2213bf41fd                   ID=7cf6e7dadb5e075b-220943b7fd            ID=3b2e5a84ab44c87a:T=16494613
_ga             899250726.1649461337                             899250726.1649461337                             1826560173.1649461556                            52084918.1649461642                       899250726.1649461337
_ga_WRCN6
8Y2LD           1649461336                                       1649461466                                       1649461555                                       1649461641                                1649461727
_gaexp          3gY8TfBUQy645wcR55Xl0w.0                         3gY8TfBUQy645wcR55Xl0w.0                         3gY8TfBUQy645wcR55Xl0w.0                         3gY8TfBUQy645wcR55Xl0w.0                  3gY8TfBUQy645wcR55Xl0w.0
_gid            645015223.1649461337                             645015223.1649461337                             223744946.1649461556                             1645226885.1649461642                     645015223.1649461337
wp_ak_subs      0|20220331                                                                                                                                         0|20220331
wp_ak_v_m       0|20220331                                       0|20220331                                       1|20220331                                       0|20220331                                0|20220331
wp_geo          US|VA|560||                                      US|VA|560||                                      US|VA|560||                                      US|VA|560||                               US|VA|560||
wp_usp          1---                                             1---                                             1---                                             1---                                      1---

                                                                                                                                      Firefox
                                 Regular Mode                                    Regular Mode                                 Private Browsing Mode                            Private Browsing Mode                       Regular Mode
Cookie Name              (Initial Session)                                      (Session 1)                                         (Session 1)                                       (Session 2)                           (Session 2)
__gads      ID=d1aaade5c37056ee-222b6c40ff                       ID=d1aaade5c37056ee-222b6c40ff                                                                                                              ID=d1aaade5c37056ee-222b6c40ff
_ga         1643073982.1649466845                                1643073982.1649466845                                                                                                                       1643073982.1649466845
_ga_WRCN6
8Y2LD       1649466847                                           1649466908                                                                                                                                  1649467049
_gaexp      3gY8TfBUQy645wcR55Xl0w.1                             3gY8TfBUQy645wcR55Xl0w.1                                                                                                                    3gY8TfBUQy645wcR55Xl0w.1
_gid        222965876.1649466850                                 222965876.1649466850                                                                                                                        222965876.1649466850
wp_ak_subs  0|20220331
wp_ak_v_m   0|20220331                                           0|20220331                                                                                                                                  0|20220331
wp_geo      US|VA|560||                                          US|VA|560||                                                                                                                                 US|VA|560||
wp_usp      1---                                                 1---                                                                                                                                        1---

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
                              Case 4:20-cv-03664-YGR                                                 Document 666-24                                    Filed 08/05/22                            Page 113 of 331
                                                                                                                                                                     CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                                                      Exhibit 1.6: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                            Browsers Tested on MacOS
                                                                                                             https://www.nytimes.com/

                                                                                                                                 Chrome
                                 Regular Mode                                  Regular Mode                              Private Browsing Mode                          Private Browsing Mode                               Regular Mode
 Cookie Name             (Initial Session)                                       (Session 1)                                    (Session 1)                                    (Session 2)                               (Session 2)
CMID         YlGnSQWw.AhehnyajMLFJgAA                                                                                                                                                                        YlGnSQWw.AhehnyajMLFJgAA
ID           41986b8187c383ad299652da8bd807

IDE             AHWqTUk2pt1v4p3AvRJ8Bp4SMTag-N                 AHWqTUk2pt1v4p3AvRJ8Bp4SMTag-N                                                                                                                AHWqTUk2pt1v4p3AvRJ8Bp4SMTag-N
                511=ErMhlTP5teg3H7UOTI1mh5YIY0                                                                                                                                                               511=WQKwerudOJqJM3v-jDy_0qIbvX

NID             511=WQKwerudOJqJM3v-jDy_0qIbvX                 511=WQKwerudOJqJM3v-jDy_0qIbvX                                                                                                                511=fdF34QAqltTRsJZQfjudWSToti
TDID            c552f04c-8884-4b8d-9e62-ac6ce7                                                                cc96810a-201c-48c3-a8c4-dfdbeb
                ID=586c9d0bf19ce1db-22be9ad426

__gads          ID=586c9d0bf19ce1db:T=16495184                 ID=586c9d0bf19ce1db:T=16495184                 ID=ef5550874ebe12b3-22241480ff                  ID=8605b9dec37c6d98-220ec231ff                 ID=586c9d0bf19ce1db:T=16495184
_ga             1364005265.1649518408                          1364005265.1649518408                          1166568481.1649518533                           1449434366.1649518599                          1364005265.1649518408
_gcl_au         1265247173.1649518411                          1265247173.1649518411                          179557806.1649518537                            282959307.1649518602                           1265247173.1649518411
_gid            881624777.1649518412                           881624777.1649518412                           1489659359.1649518538                           1168375711.1649518602                          881624777.1649518412
nyt-a           DtHEoMLfpp4tDTJTfaJDyW                         DtHEoMLfpp4tDTJTfaJDyW                         SNIq3lcyk8xh_M9L_-MIbl                          _ScK56cMj9RW07j18KM-6o                         DtHEoMLfpp4tDTJTfaJDyW
nyt-jkidd       anon                                           anon                                           anon                                            anon                                           anon
test_cookie     CheckForPermission
tv_UIDF         CAESENc-SVCHxILvB9mworPG_Es

                                                                                                                                  Safari
                                 Regular Mode                                  Regular Mode                              Private Browsing Mode                          Private Browsing Mode                               Regular Mode
Cookie Name                      (Initial Session)                               (Session 1)                                    (Session 1)                                    (Session 2)                                    (Session 2)
                                                                                                                                                                                                             ID=61cbf7e5a03ed9d1-22a5ff75ff

__gads          ID=61cbf7e5a03ed9d1-22a5ff75ff                 ID=61cbf7e5a03ed9d1-22a5ff75ff                 ID=9961355b5c845d22-22dff2bc26                  ID=4a361d48129eac30-22736d1226                 ID=61cbf7e5a03ed9d1-22a5ff75ff
_ga             876028807.1649473718                           876028807.1649473718                           789988728.1649473926                            732824226.1649474003                           876028807.1649473718
_gcl_au         1633697201.1649473720                          1633697201.1649473720                          1801524897.1649473926                           1364278623.1649474004                          1633697201.1649473720
_gid            1109884847.1649473723                          1109884847.1649473723                          1922564748.1649473927                           1380442505.1649474005                          1109884847.1649473723
nyt-a           GEVS5mJi1RQtDX4i5N_lyN                         GEVS5mJi1RQtDX4i5N_lyN                         L9IFlRHvIiFh9hc9zAyEJI                          wZyIPuhxuCVAR1XrcCSOF-                         GEVS5mJi1RQtDX4i5N_lyN
nyt-jkidd       anon                                           anon                                           anon                                            anon                                           anon

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] The nyt-jkidd cookie is a first-party cookie with a long value. I observed a substring value of this long value, “anon”, which matches a URL parameter sent to www.google-analytics.com. Since my exhibit shows only the substring value that was sent
to Google-associated domains, I reviewed the full nyt-jkidd values across Regular and Private Browsing Mode and found that the values associated with the Private Browsing Mode were always different.
[5] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
                              Case 4:20-cv-03664-YGR                                                  Document 666-24                                    Filed 08/05/22                             Page 114 of 331
                                                                                                                                                                      CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                                                       Exhibit 1.7: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                             Browsers Tested on MacOS
                                                                                                            https://www.apartments.com/

                                                                                                                                  Chrome
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                       Regular Mode
 Cookie Name             (Initial Session)                                     (Session 1)                                       (Session 1)                                     (Session 2)                        (Session 2)
IDE          AHWqTUkquDSpiaEWyojC2CXpXlpuCc                     AHWqTUkquDSpiaEWyojC2CXpXlpuCc                                                                                                           AHWqTUkquDSpiaEWyojC2CXpXlpuCc
TDID                                                            790583b5-ede2-4b06-9ade-959235
_ga          761064299.1649520844                               761064299.1649520844                            2041799495.1649520913                          1375465460.1649520952                     761064299.1649520844
_gcl_au      203245146.1649520845                               203245146.1649520845                            1932284121.1649520914                          1894760233.1649520953                     203245146.1649520845
_gid         295033893.1649520844                               295033893.1649520844                            683045336.1649520913                           1679466380.1649520952                     295033893.1649520844
test_cookie  CheckForPermission

                                                                                                                                   Safari
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                       Regular Mode
Cookie Name             (Initial Session)                                     (Session 1)                                     (Session 1)                                    (Session 2)                               (Session 2)
_ga         1956423945.1649187733                               1956423945.1649187733                           56642298.1649187842                            1353171259.1649187904                     1956423945.1649187733
_gcl_au     1056780030.1649187734                               1056780030.1649187734                           36293318.1649187843                            601872010.1649187904                      1056780030.1649187734
_gid        200632100.1649187733                                200632100.1649187733                            1362391677.1649187842                          407875132.1649187904                      200632100.1649187733

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
                                  Case 4:20-cv-03664-YGR                                                 Document 666-24                                     Filed 08/05/22                              Page 115 of 331
                                                                                                                                                                          CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                                                           Exhibit 1.8: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                                 Browsers Tested on MacOS
                                                                                                                    https://www.cnn.com/

                                                                                                                                          Chrome
                                       Regular Mode                                    Regular Mode                               Private Browsing Mode                          Private Browsing Mode                    Regular Mode
    Cookie Name             (Initial Session)                                            (Session 1)                                     (Session 1)                                    (Session 2)                         (Session 2)
CMID            YlEShrVdZUvaVCTZUj.quwAA
DSID                                                                   NO_DATA                                         NO_DATA                                         NO_DATA                                NO_DATA
IDE             AHWqTUnu_Vx_CIcUivsBYH-ZT0Ml9n                         AHWqTUnu_Vx_CIcUivsBYH-ZT0Ml9n                                                                                                         AHWqTUnu_Vx_CIcUivsBYH-ZT0Ml9n
KRTBCOOKIE_860                                                                                                                                                                                                x9Mk56wkT758O4qVPXnTUWQAw8Q
SCM                                                                    554c6e2a
SCM1001299                                                             554c6e2a
SCM1001609                                                             554c6e2a
SCMg                                                                   554c6e2a
SCMo                                                                   554c6e2a
SCMsas                                                                 554c6e2a
SCMtmp1001299                                                          554c6e2a
SCMtmp1001609                                                          554c6e2a
TDID                                                                   9183d6d9-353f-4b4e-aa39-c56e9f
V                                                                      ayiI00R9BRG2
__106_cid                                                              9183d6d9-353f-4b4e-aa39-c56e9f
                ID=89fb9468ddae041d-22b71b50ff

__gads                 ID=89fb9468ddae041d:T=16494803                  ID=89fb9468ddae041d:T=16494803                  ID=3619eb5f9d30a432-22410a84fc                  ID=0434968cb45b04fe-22d61af6fd         ID=89fb9468ddae041d:T=16494803
__gpi                  UID=000003f241fafe1a:T=1649480
__io_cid                                                               9183d6d9-353f-4b4e-aa39-c56e9f
_kuid_                                                                 OxHkcpL1                                                                                                                               OxHkcpL1
google_push                                                            AYg5qPIVdXfevXD-wjPA3lqnyJC978
indxexcg               YlEShrVdZUvaVCTZUj-quwAAA6kAAA                  YlEShrVdZUvaVCTZUj-quwAAA6kAAA                                                                                                         YlEShrVdZUvaVCTZUj-quwAAA6kAAA
ljt_reader             a6b4c2dc8242500acbf177d6
ptrpp                                                                  ayiI00R9BRG2
ptrt                                                                   9183d6d9-353f-4b4e-aa39-c56e9f
sa-user-id-v2                                                                                                                                                                                                 x9Mk56wkT758O4qVPXnTUWQAw8Q
smaato                                                                 554c6e2a
suid                                                                   0E070E7EA1C54C9FA0F6405FCB040A
test_cookie            CheckForPermission
ttd                                                                    9183d6d9-353f-4b4e-aa39-c56e9f
ug                     6251128806d11a0a3f8d7c0015e2d8                  6251128806d11a0a3f8d7c0015e2d8                  6251133603bc700a3f9b5b0019c2f6                  6251138101670d0a3f85a100154115         6251128806d11a0a3f8d7c0015e2d8
ug1                    6251128806d11a0a3f8d7c0015e2d8                                                                  6251133603bc700a3f9b5b0019c2f6                  6251138101670d0a3f85a100154115

                                                                                                                                           Safari
                                       Regular Mode                                    Regular Mode                               Private Browsing Mode                          Private Browsing Mode                    Regular Mode
   Cookie Name                         (Initial Session)                                 (Session 1)                                     (Session 1)                                    (Session 2)                         (Session 2)
DSID                   NO_DATA                                         NO_DATA                                         NO_DATA                                         NO_DATA                                NO_DATA
                                                                                                                                                                                                              ID=14254880f1ff44f6-22599d5600

__gads                 ID=14254880f1ff44f6-22599d5600                  ID=14254880f1ff44f6-22599d5600                  ID=f9b37754d51d93d8-226f2c6ffc                  ID=9a3ae2126314460e-223ee32fff         ID=14254880f1ff44f6-22599d5600
__gpi                  UID=000003f22783f069:T=1649472
dc_id                  71525275afd247a6b1005d9b98d597                  dc2e73e4ea5042fa9742be95eaaa6f                  15c3328082814e29bd67e932bb8674                  fe90cce0175d47fab5ce8004451b25         ad82a9f8b0d04ff1ba253cef37bc49
ug                     6250f2030954220a3f8d7c0015e0b9                  6250f2030954220a3f8d7c0015e0b9                  6250f2c006de5f0a3f908300156c77                  6250f31f0e8bf90a3f8d7c0016ccd1         6250f2030954220a3f8d7c0015e0b9
ug1                    6250f2030954220a3f8d7c0015e0b9                                                                  6250f2c006de5f0a3f908300156c77                  6250f31f0e8bf90a3f8d7c0016ccd1
uuid                   759e7b245f7445f1abaf1dfd0a68cd                  2a2a9fe8dd6b4bd88ee12b508ed763                  bdc5f1c702dd406bad8f362214847d                  fce404341bb146a6b37fbb606a2d30         a1144147f70348bcbb687857f2b195

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Cookie “ug1” is set by www.ugdturner.com, which appears to be part of Turner Broadcasting System, Inc., the owner of CNN.
[5] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
                              Case 4:20-cv-03664-YGR                                                  Document 666-24                                    Filed 08/05/22                             Page 116 of 331
                                                                                                                                                                      CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                                                       Exhibit 1.9: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                             Browsers Tested on MacOS
                                                                                                              https://www.latimes.com/

                                                                                                                                  Chrome
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                       Regular Mode
Cookie Name            (Initial Session)                                         (Session 1)                                     (Session 1)                                     (Session 2)                            (Session 2)
CMID        YlGrlUnS.YK7NARJ8H8naQAA
DSID        NO_DATA                                             NO_DATA                                         NO_DATA                                                                                  NO_DATA

                AHWqTUmkQTnqDxnORDLdwaCVvSMK6
                U

                AHWqTUk5vH_WaROcriubLJkCHrHMBU

IDE             AHWqTUkB5_d8Jq8-o88-KwPdTCFYL-                  AHWqTUkB5_d8Jq8-o88-KwPdTCFYL-                                                                                                           AHWqTUkB5_d8Jq8-o88-KwPdTCFYL-
NID                                                                                                                                                                                                      511=J9ryIwZBDCbTLYF19HQjQ0VDo8
TDID                                                            a149f5d6-a734-4680-a52f-5bdd1e
TapAd_DID                                                       a149f5d6-a734-4680-a52f-5bdd1e
                ID=9765afb399b41c5d-223e9b5cfc

__gads          ID=9765afb399b41c5d:T=16495195                  ID=9765afb399b41c5d:T=16495195                  ID=35528094fe5f08ba-226f93fcfd                 ID=e973b71f15587c0a-22a2e45700            ID=9765afb399b41c5d:T=16495195
_ga             1346638155.1649519509                           1346638155.1649519509                           1683537768.1649519626                          244998600.1649519686                      1346638155.1649519509
_gid            1544315240.1649519510                           1544315240.1649519510                           1724929403.1649519627                          432544252.1649519689                      1544315240.1649519510
b                                                                                                                                                                                                        6251ABDCF42572FC64BB9C47BLIS

google_push     AYg5qPIkCo42wiVZ_Dye6VE8SQhXu2
ljt_reader                                                      b82b7f6e17d609009c1e596b
permutive-id                                                    fe4d5d65-babe-4192-8848-c1ebd0                  fa0565f3-b63d-4f8b-9d61-79a32e                 4d0a7ee6-3eae-4f6d-a452-ad9ea8            fe4d5d65-babe-4192-8848-c1ebd0
sa-user-id-v2                                                   cO6UEbjSQZxi8wU6RoCJhGQAw8Q
suid                                                                                                                                                                                                     E1C195C16E2B493FA97FD551D65EEE
test_cookie     CheckForPermission
uuid            02e7b3f7-a6d9-4445-8e72-3e76fc                  02e7b3f7-a6d9-4445-8e72-3e76fc                  38ef5827-1d9d-4039-ae91-9faeb0                 a37406f4-1446-477f-9e6e-3b6278            02e7b3f7-a6d9-4445-8e72-3e76fc

                                                                                                                                   Safari
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                       Regular Mode
Cookie Name             (Initial Session)                                     (Session 1)                                      (Session 1)                                   (Session 2)                               (Session 2)
__gads      ID=3be5ea35554fca86-227f3a38ef                      ID=3be5ea35554fca86:T=16491886                  ID=1f7125f6c4f4a73b-22d5743aef                 ID=207ffb148426bd0a-229a1120ef            ID=3be5ea35554fca86:T=16491886

                ID=3be5ea35554fca86:T=16491886                                                                  ID=1f7125f6c4f4a73b:T=16491887
_ga             457594635.1649188629                            457594635.1649188629                            859545785.1649188755                           769416170.1649188825                      457594635.1649188629

_gid            1188808681.1649188633                           1188808681.1649188633                           1458161203.1649188759                          821401968.1649188829                      1188808681.1649188633

permutive-id                                                    85d92a15-45d0-4fa3-adf8-e9e61b                  3dd54268-de18-4ada-b976-054c1f                                                           85d92a15-45d0-4fa3-adf8-e9e61b
uuid            a67027a7-8a44-45fa-89ce-92625a                  a67027a7-8a44-45fa-89ce-92625a                  ec367644-d8e3-4a90-b86b-41c20e                 4a8bb92a-4c5a-4e5d-a1b6-13e71d            a67027a7-8a44-45fa-89ce-92625a

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
                              Case 4:20-cv-03664-YGR                                                  Document 666-24                                    Filed 08/05/22                             Page 117 of 331
                                                                                                                                                                      CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                                                      Exhibit 1.10: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                            Browsers Tested on MacOS
                                                                                                         https://www.washingtonpost.com/

                                                                                                                                  Chrome
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                        Regular Mode
Cookie Name             (Initial Session)                                        (Session 1)                                     (Session 1)                                     (Session 2)                            (Session 2)
CMID        YlGt8eoLnzTSfNA-qaSJgQAA
DSID        NO_DATA                                             NO_DATA                                                                                                                                  NO_DATA

IDE             AHWqTUnesxoZVUUDIiJY3WAJXG80xZ                  AHWqTUnesxoZVUUDIiJY3WAJXG80xZ                                                                                                           AHWqTUnesxoZVUUDIiJY3WAJXG80xZ
SCM                                                             53825b64
SCMg                                                            53825b64
__gads                                                          ID=61e844ac4a23a18a:T=16495201                  ID=dc6c554802a0303f-2223051bff                 ID=da4833ce6db11f45-22e428cd25            ID=61e844ac4a23a18a:T=16495201
_ga             459707053.1649520112                            459707053.1649520112                            1776625633.1649520222                          922131970.1649520278                      459707053.1649520112
_ga_WRCN6
8Y2LD           1649520111                                      1649520166                                      1649520220                                     1649520277                                1649520322
_gaexp          3gY8TfBUQy645wcR55Xl0w.1                        3gY8TfBUQy645wcR55Xl0w.1                        3gY8TfBUQy645wcR55Xl0w.0                       3gY8TfBUQy645wcR55Xl0w.1                  3gY8TfBUQy645wcR55Xl0w.1
_gid            198550334.1649520112                            198550334.1649520112                            1918595905.1649520222                          1957861325.1649520278                     198550334.1649520112
test_cookie     CheckForPermission
wp_ak_v_m       2|20220331                                      2|20220331                                      1|20220331                                     1|20220331                                2|20220331
wp_geo          US|MA|506||                                     US|MA|506||                                     US|MA|506||                                    US|MA|506||                               US|MA|506||
wp_usp          1---                                            1---                                            1---                                           1---                                      1---

                                                                                                                                   Safari
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                        Regular Mode
Cookie Name             (Initial Session)                                     (Session 1)                                     (Session 1)                                    (Session 2)                               (Session 2)
__gads      ID=23b1bfa17f37a4f9-22004b2f26                      ID=23b1bfa17f37a4f9-22004b2f26                  ID=0af56b5bbee3501a-22d41ec025                 ID=7e5fd83e524337cc-22f35afc25            ID=23b1bfa17f37a4f9-22004b2f26
_ga         1917203225.1649478958                               1917203225.1649478958                           632485580.1649479068                           1185711301.1649479118                     1917203225.1649478958
_ga_WRCN6
8Y2LD       1649478957                                          1649479003                                      1649479066                                     1649479116                                1649479181
_gaexp      3gY8TfBUQy645wcR55Xl0w.1                            3gY8TfBUQy645wcR55Xl0w.1                        3gY8TfBUQy645wcR55Xl0w.0                       3gY8TfBUQy645wcR55Xl0w.0                  3gY8TfBUQy645wcR55Xl0w.1
_gid        183146015.1649478958                                183146015.1649478958                            238236868.1649479068                           2014669845.1649479118                     183146015.1649478958
wp_ak_subs  0|20220331                                                                                          0|20220331                                     0|20220331
wp_ak_v_m   0|20220331                                          0|20220331                                      0|20220331                                     0|20220331                                0|20220331
wp_geo      US|MA|506||                                         US|MA|506||                                     US|MA|506||                                    US|MA|506||                               US|MA|506||
wp_usp      1---                                                1---                                            1---                                           1---                                      1---

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
                              Case 4:20-cv-03664-YGR                                                 Document 666-24                                    Filed 08/05/22                            Page 118 of 331
                                                                                                                                                                     CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                                                     Exhibit 1.11: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                           Browsers Tested on Android
                                                                                                            https://www.nytimes.com/

                                                                                                                                 Chrome
                                 Regular Mode                                  Regular Mode                              Private Browsing Mode                          Private Browsing Mode                               Regular Mode
 Cookie Name             (Initial Session)                                       (Session 1)                                    (Session 1)                                    (Session 2)                                    (Session 2)
CMID         YlCrtRsITzZLTa8a3S7N.gAA
IDE          AHWqTUkEFDxaqbhRBq1q8edRZYO3jA                    AHWqTUkEFDxaqbhRBq1q8edRZYO3jA                                                                                                                AHWqTUkEFDxaqbhRBq1q8edRZYO3jA
             511=Tr2u8L4SDRzDqGx2AGD1a_Ge51

NID             511=ECmW6x7l0DI-qpZDKFMaNFbzjx                 511=ECmW6x7l0DI-qpZDKFMaNFbzjx                                                                                                                511=ECmW6x7l0DI-qpZDKFMaNFbzjx
TDID                                                           1cb4582e-69ad-445f-b42d-9e3b39
__gads          ID=96b055f8d88c6171:T=16494540                 ID=96b055f8d88c6171:T=16494540                 ID=3f24f38b7b1737e9-2227894226                                                                 ID=96b055f8d88c6171:T=16494540
_ga             2046280019.1649454006                          2046280019.1649454006                          2049931615.1649454125                                                                          2046280019.1649454006
_gcl_au         836349450.1649454005                           836349450.1649454005                           864673463.1649454125                                                                           836349450.1649454005
_gid            1560838507.1649454006                          1560838507.1649454006                          376221583.1649454125                                                                           1560838507.1649454006
nyt-a           SGm9_fTP7L2We59V4lQaKO                         SGm9_fTP7L2We59V4lQaKO                         A-8Rdj8gak2tBcw4ZHsXlH                                                                         SGm9_fTP7L2We59V4lQaKO
nyt-jkidd       anon                                           anon                                           anon                                                                                           anon
test_cookie     CheckForPermission                             CheckForPermission

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] The nyt-jkidd cookie is a first-party cookie with a long value. I observed a substring value of this long value, “anon”, which matches a URL parameter sent to www.google-analytics.com. Since my exhibit shows only the substring value that was sent
to Google-associated domains, I reviewed the full nyt-jkidd values across Regular and Private Browsing Mode and found that the values associated with the Private Browsing Mode were always different.
[5] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
                              Case 4:20-cv-03664-YGR                                                  Document 666-24                                    Filed 08/05/22                             Page 119 of 331
                                                                                                                                                                      CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                                                      Exhibit 1.12: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                            Browsers Tested on Android
                                                                                                            https://www.apartments.com/

                                                                                                                                  Chrome
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                      Regular Mode
 Cookie Name             (Initial Session)                                  (Session 1)                                          (Session 1)                                     (Session 2)                         (Session 2)
IDE          AHWqTUn-MtscG_ayK452agrBIam27d                     AHWqTUn-MtscG_ayK452agrBIam27d                                                                                                           AHWqTUn-MtscG_ayK452agrBIam27d
TDID         1c714a60-7d46-4a0a-b5c0-5d8bb2
_ga          454986845.1649456431                               454986845.1649456431                            971397072.1649456551                           660890431.1649456611                      454986845.1649456431
_gcl_au      566103971.1649456431                               566103971.1649456431                            1138193668.1649456551                          1783034376.1649456612                     566103971.1649456431
_gid         282083662.1649456431                               282083662.1649456431                            1562971562.1649456551                          1907930620.1649456611                     282083662.1649456431
test_cookie  CheckForPermission

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
                              Case 4:20-cv-03664-YGR                                                  Document 666-24                                    Filed 08/05/22                             Page 120 of 331
                                                                                                                                                                      CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                                                      Exhibit 1.13: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                            Browsers Tested on Android
                                                                                                                https://www.cnn.com/

                                                                                                                                  Chrome
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                       Regular Mode
 Cookie Name          (Initial Session)                                        (Session 1)                                       (Session 1)                                     (Session 2)                            (Session 2)
2_C_18                                                          2de27a3d7cba7fd27e8aafa1
CMID                                                            YlCpfY3UG8Qq9b9vyShnBwAA
DSID                                                            NO_DATA                                                                                                                                  NO_DATA
IDE          AHWqTUm9azoDAjmcnox5PA8ePEjVpT                     AHWqTUm9azoDAjmcnox5PA8ePEjVpT                                                                                                           AHWqTUm9azoDAjmcnox5PA8ePEjVpT
V                                                               1wHocdEMeHe1
__gads                                                          ID=defa4b8c27a0ed17:T=16494534                  ID=f610230b8a4f05d4-2272156226                                                           ID=defa4b8c27a0ed17:T=16494534
google_push                                                                                                                                                                                              AYg5qPJxsxh5Hc74tcaH03vZHGtTw3

indxexcg                                                        YlCpfY3UG8Qq9b9vyShnBwAAAY4AAA
ljt_reader                                                      2de27a3d7cba7fd27e8aafa1                                                                                                                 2de27a3d7cba7fd27e8aafa1
ptrm                                                            10e26250-a979-4100-bd87-836b61
ssh             yieldmo
test_cookie     CheckForPermission
ug                                                              6250a9b40192ef0a3f85a1001602f6                  6250a9f0022f5a0a3f8d7c0015dae5                                                           6250a9b40192ef0a3f85a1001602f6
ug1                                                             6250a9b40192ef0a3f85a1001602f6                  6250a9f0022f5a0a3f8d7c0015dae5
uid-bp-529                                                      10e26250-a979-4100-bd87-836b61
uuid                                                            10e26250-a979-4100-bd87-836b61

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Cookie “ug1” is set by www.ugdturner.com, which appears to be part of Turner Broadcasting System, Inc., the owner of CNN.
[5] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
                              Case 4:20-cv-03664-YGR                                                  Document 666-24                                    Filed 08/05/22                             Page 121 of 331
                                                                                                                                                                      CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                                                      Exhibit 1.14: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                            Browsers Tested on Android
                                                                                                              https://www.latimes.com/

                                                                                                                                  Chrome
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                       Regular Mode
 Cookie Name              (Initial Session)                                   (Session 1)                                        (Session 1)                                     (Session 2)                            (Session 2)
CMID                                                            YlCuvsJZ4Pyhh9OrFDI2oAAA
DSID                                                                                                            NO_DATA                                        NO_DATA                                   NO_DATA
IDE          AHWqTUlZntLLEAp5qSERLlrJ0vG4PN                     AHWqTUlZntLLEAp5qSERLlrJ0vG4PN                                                                                                           AHWqTUlZntLLEAp5qSERLlrJ0vG4PN
SCM                                                             6b870045
SCMg                                                            6b870045
TDID         46612b92-f315-47a9-8427-96d546
                                                                                                                ID=6e37fb1a9e3c783f-2201f8ea25

__gads                                                          ID=60b016050e04c2c3:T=16494547                  ID=6e37fb1a9e3c783f:T=16494548                 ID=b15b0bac8cd13ef3:T=16494549            ID=60b016050e04c2c3:T=16494547
__gpi                                                           UID=0000045b5f02f881:T=1649454
__uis                                                           1ccb9747-4abe-4ee9-83c9-d21b76
_ga             1357651461.1649454723                           1357651461.1649454723                           1568643583.1649454842                          1754243864.1649454902                     1357651461.1649454723
_gcl_au         1446559399.1649454723                           1446559399.1649454723                           909784794.1649454842                           120056235.1649454902                      1446559399.1649454723
_gid            2067910102.1649454723                           2067910102.1649454723                           562276455.1649454842                           1639857143.1649454903                     2067910102.1649454723
_rxuuid                                                         AYg5qPIrW2RkZHWGIiPp9mN2B28Ds7
indxexcg                                                        YlCuvsJZ4Pyhh9OrFDI2oAAAADAAAA
ljt_reader                                                                                                                                                                                               ed96f5acb8dc0feea01e5643
permutive-id                                                    681c1821-2ffb-469e-856f-046854                  dcbb7820-6192-44be-882a-dd219a                 48ba868e-61e6-4a7f-b99f-e6e96f            681c1821-2ffb-469e-856f-046854
ssh                                                             triplelift
test_cookie     CheckForPermission
uuid                                                            e4930c66-ebc4-4731-acb5-61b225                  41e467d4-8e56-4997-8fd9-59939f                 38c2772b-6549-461b-802e-698bf5            e4930c66-ebc4-4731-acb5-61b225

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
                              Case 4:20-cv-03664-YGR                                                  Document 666-24                                    Filed 08/05/22                             Page 122 of 331
                                                                                                                                                                      CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                                                      Exhibit 1.15: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                            Browsers Tested on Android
                                                                                                         https://www.washingtonpost.com/

                                                                                                                                  Chrome
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                        Regular Mode
Cookie Name            (Initial Session)                                         (Session 1)                                     (Session 1)                                     (Session 2)                            (Session 2)
1P_JAR      2022-04-08
CMID        YlCxOKhasUkZtlblkM-7dgAA                            YlCxOKhasUkZtlblkM-7dgAA
DSID        NO_DATA                                             NO_DATA                                         NO_DATA                                        NO_DATA                                   NO_DATA

IDE             AHWqTUm94RDjDksPaWGZfqIRSMHXxe AHWqTUm94RDjDksPaWGZfqIRSMHXxe                                                                                                                            AHWqTUm94RDjDksPaWGZfqIRSMHXxe
SCM                                                                                                                                                                                                      d6a38ad
SCMg                                                                                                                                                                                                     d6a38ad
TDID                                                                                                                                                                                                     581b0a00-8906-48f1-8bce-7a6bf4
                ID=6b63382e564b13a5-220e0b85fc

__gads          ID=6b63382e564b13a5:T=16494554                  ID=6b63382e564b13a5:T=16494554                  ID=bffa67ba3eaf3d0c:T=16494555                 ID=654435610230d2f7-2204c64026            ID=6b63382e564b13a5:T=16494554
_ga             1657852058.1649455414                           1657852058.1649455414                           1435654157.1649455534                          1426105914.1649455594                     1657852058.1649455414
_ga_WRCN6
8Y2LD           1649455413                                      1649455473                                      1649455534                                     1649455593                                1649455651
_gaexp          3gY8TfBUQy645wcR55Xl0w.1                        3gY8TfBUQy645wcR55Xl0w.1                        3gY8TfBUQy645wcR55Xl0w.0                       3gY8TfBUQy645wcR55Xl0w.1                  3gY8TfBUQy645wcR55Xl0w.1
_gid            601731851.1649455414                            601731851.1649455414                            1497313869.1649455534                          1237172094.1649455594                     601731851.1649455414
test_cookie     CheckForPermission
wp_ak_subs      0|20220331                                                                                      0|20220331
wp_ak_v_m       0|20220331                                      0|20220331                                      0|20220331                                     1|20220331                                0|20220331
wp_geo          US|MA|506||                                     US|MA|506||                                     US|MA|506||                                    US|MA|506||                               US|MA|506||
wp_usp          1---                                            1---                                            1---                                           1---                                      1---

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
                              Case 4:20-cv-03664-YGR                                                 Document 666-24                                    Filed 08/05/22                            Page 123 of 331
                                                                                                                                                                     CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                                                     Exhibit 1.16: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                             Browsers Tested on iOS
                                                                                                            https://www.nytimes.com/

                                                                                                                                 Chrome
                                 Regular Mode                                  Regular Mode                              Private Browsing Mode                          Private Browsing Mode                               Regular Mode
Cookie Name              (Initial Session)                                       (Session 1)                                    (Session 1)                                    (Session 2)                                  (Session 2)
DSID                                                           NO_DATA                                                                                        NO_DATA                                        NO_DATA
TDID        8545e132-0e8d-4dfb-bb94-6c6058                                                                                                                                                                   b0393b7f-3707-4d08-8412-6dc08a
__gads                                                         ID=ae484d0ff5797ff9-223de360f8                 ID=f32763d4499cc10c-2225b660f8                  ID=dc3af9b268aeae77-225c3624f8                 ID=ae484d0ff5797ff9-223de360f8
_ga         609226067.1649286542                               609226067.1649286542                           1321434774.1649286665                           94138977.1649286723                            609226067.1649286542
_gcl_au     880518413.1649286542                               880518413.1649286542                           1621042455.1649286665                           1300394778.1649286724                          880518413.1649286542
_gid        686709648.1649286542                               686709648.1649286542                           212826784.1649286665                            668196665.1649286724                           686709648.1649286542
nyt-a       1v7b5uT-OEi3cV99UySWw7                             1v7b5uT-OEi3cV99UySWw7                         IvTzlq-Wqq-RfGLQIIa_hp                          O3w3RGofMBQVYBnQl_d2IZ                         1v7b5uT-OEi3cV99UySWw7
nyt-jkidd   anon                                               anon                                           anon                                            anon                                           anon

                                                                                                                                  Safari
                                 Regular Mode                                  Regular Mode                              Private Browsing Mode                          Private Browsing Mode                               Regular Mode
Cookie Name             (Initial Session)                                        (Session 1)                                    (Session 1)                                    (Session 2)                                    (Session 2)
DSID        NO_DATA                                            NO_DATA                                        NO_DATA
TDID                                                                                                          89e16966-da4a-43eb-a99d-bb2b6b                  e27dd315-8bf3-4a88-97a0-2fadd3
__gads      ID=14b3c74663f317f5-22694201f2                     ID=14b3c74663f317f5-22694201f2                 ID=77ccf1d59da01fbd-22cda615f4                  ID=48228a63e81c41eb-22bfebe8f1                 ID=14b3c74663f317f5-22694201f2
_ga         1275231825.1649253871                              1275231825.1649253871                          607645829.1649253994                            406951478.1649254057                           1275231825.1649253871
_gcl_au     69090282.1649253871                                69090282.1649253871                            1779474278.1649253995                           1007541296.1649254057                          69090282.1649253871
_gid        1389587030.1649253871                              1389587030.1649253871                          783507812.1649253995                            1226584434.1649254057                          1389587030.1649253871
nyt-a       lCMF3dkXm1LtOX9zM4KWq-                             lCMF3dkXm1LtOX9zM4KWq-                         5bryYuTTaUXqwqtq-NQYQV                          OJnbOpV0PtDISv_6nTMlAF                         lCMF3dkXm1LtOX9zM4KWq-
nyt-jkidd   anon                                               anon                                           anon                                            anon                                           anon

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] The nyt-jkidd cookie is a first-party cookie with a long value. I observed a substring value of this long value, “anon”, which matches a URL parameter sent to www.google-analytics.com. Since my exhibit shows only the substring value that was sent
to Google-associated domains, I reviewed the full nyt-jkidd values across Regular and Private Browsing Mode and found that the values associated with the Private Browsing Mode were always different.
[5] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
                              Case 4:20-cv-03664-YGR                                                  Document 666-24                                    Filed 08/05/22                             Page 124 of 331
                                                                                                                                                                      CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                                                      Exhibit 1.17: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                              Browsers Tested on iOS
                                                                                                                https://www.cnn.com/

                                                                                                                                  Chrome
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                       Regular Mode
 Cookie Name               (Initial Session)                                     (Session 1)                                     (Session 1)                                     (Session 2)                           (Session 2)
DSID         NO_DATA                                            NO_DATA                                                                                                                                  NO_DATA
__gads       ID=dc76151c9f730ede-22bf7b45ff                     ID=dc76151c9f730ede-22bf7b45ff                  ID=11d2e1045d8a6311-22b415da26                 ID=c3b8ba15512c4b20-22f512cd25            ID=dc76151c9f730ede-22bf7b45ff
dc_id        ee5f4ff5c9de42a7977ef8ddcbd300                                                                     8e58b8483c034e01a385ed2c3e6c8c                 3fce806803744583899832b8b7c399
ug           62522c130d9aee0a3f85a1001445f2                     62522c130d9aee0a3f85a1001445f2                  62522c8a077bac0a3f908300169703                 62522cc60639e00a3f85a1001547ac            62522c130d9aee0a3f85a1001445f2
ug1          62522c130d9aee0a3f85a1001445f2                                                                     62522c8a077bac0a3f908300169703                 62522cc60639e00a3f85a1001547ac
uuid         72a978b1c687498197c23155fc3ef2                                                                     2e8d63a58dcd43c28b0148d3b62de8                 534d8334e5604db99f73c8a9055752

                                                                                                                                   Safari
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                       Regular Mode
 Cookie Name              (Initial Session)                                    (Session 1)                                     (Session 1)                                   (Session 2)                                (Session 2)
__gads       ID=3595a639744a8d80-22f37b5925                     ID=3595a639744a8d80-22f37b5925                  ID=247981b324f7b222-22ca219924                 ID=ccb96a7d32cef561-2223d45c25            ID=3595a639744a8d80-22f37b5925
dc_id        c0e926af2073405c9c13172128b1e7                     17b84fccb9fd41f3aa8991b74038cc                  9dad98e98123434b80d03989a40a48                                                           9e452973f6c04f03bbdd37f61c00f4
ug           624eefda0a60a40a3f8d7c0016c0ab                     624eefda0a60a40a3f8d7c0016c0ab                  624ef04101e17c0a3f85a1001793d3                 624ef08007201d0a3f908300155e2a            624eefda0a60a40a3f8d7c0016c0ab
ug1          624eefda0a60a40a3f8d7c0016c0ab                                                                     624ef04101e17c0a3f85a1001793d3                 624ef08007201d0a3f908300155e2a
uuid         4fce07d59bb84fb8bb7fce41f136ec                     4f0a65c2f0994769973bed3f43da45                  ef0b53dda69544f299a2583afcb418                                                           426c06abe05b48dd9096aa5fe0e53f

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Cookie “ug1” is set by www.ugdturner.com, which appears to be part of Turner Broadcasting System, Inc., the owner of CNN.
[5] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
                              Case 4:20-cv-03664-YGR                                                  Document 666-24                                    Filed 08/05/22                             Page 125 of 331
                                                                                                                                                                      CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                                                      Exhibit 1.18: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                               Browsers Tested on iOS
                                                                                                            https://www.apartments.com/

                                                                                                                                  Chrome
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                       Regular Mode
Cookie Name             (Initial Session)                                     (Session 1)                                     (Session 1)                                    (Session 2)                               (Session 2)
_ga         1215918531.1649278474                               1215918531.1649278474                           904324615.1649278592                           1470994837.1649278654                     1215918531.1649278474
_gcl_au     68406730.1649278475                                 68406730.1649278475                             1976975808.1649278592                          483202882.1649278654                      68406730.1649278475
_gid        1971561414.1649278474                               1971561414.1649278474                           682329440.1649278592                           165650196.1649278654                      1971561414.1649278474

                                                                                                                                   Safari
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                       Regular Mode
Cookie Name             (Initial Session)                                     (Session 1)                                     (Session 1)                                    (Session 2)                               (Session 2)
_ga         913533915.1649246581                                913533915.1649246581                            173766356.1649246699                           1227956426.1649246760                     913533915.1649246581
_gcl_au     867042350.1649246582                                867042350.1649246582                            1238963312.1649246699                          2123622132.1649246761                     867042350.1649246582
_gid        1381506130.1649246581                               1381506130.1649246581                           161524131.1649246699                           1899095100.1649246760                     1381506130.1649246581

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
                              Case 4:20-cv-03664-YGR                                                  Document 666-24                                    Filed 08/05/22                             Page 126 of 331
                                                                                                                                                                      CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                                                      Exhibit 1.19: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                              Browsers Tested on iOS
                                                                                                              https://www.latimes.com/

                                                                                                                                  Chrome
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                       Regular Mode
Cookie Name                      (Initial Session)                               (Session 1)                                     (Session 1)                                     (Session 2)                            (Session 2)
                                                                                                                ID=3fe4f2c48675f7e7-227cbd77f8

__gads          ID=981e87be546bbac2:T=16492837                  ID=981e87be546bbac2:T=16492837                  ID=3fe4f2c48675f7e7:T=16492839                 ID=e33d24566c38f61d:T=16492839            ID=981e87be546bbac2:T=16492837
__gpi                                                                                                           UID=000003cdd6764c94:T=1649283
_ga             826127504.1649283782                            826127504.1649283782                            974125148.1649283902                           1110771125.1649283963                     826127504.1649283782
_gid            1689258322.1649283782                           1689258322.1649283782                           1504429100.1649283903                          1842974166.1649283964                     1689258322.1649283782
permutive-id                                                    a3e50f8a-c572-40a9-bc31-fa73ff                                                                                                           a3e50f8a-c572-40a9-bc31-fa73ff
uuid            74e01dde-cdba-4d90-be8e-10c248                  74e01dde-cdba-4d90-be8e-10c248                  d4546d93-bfce-4c17-8ab9-47eeed                 a476408a-4990-4e92-a95a-8d005c            74e01dde-cdba-4d90-be8e-10c248

                                                                                                                                   Safari
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                       Regular Mode
Cookie Name                 (Initial Session)                                 (Session 1)                                      (Session 1)                                   (Session 2)                               (Session 2)
                ID=9c9ebbf8ad5f59f5-2215c89ff3                  ID=9c9ebbf8ad5f59f5:T=16492473                  ID=f9f0b0c394ce59d6-22e8969ef3                 ID=457e5cd3303f940c-2228d610f2            ID=9c9ebbf8ad5f59f5:T=16492473

__gads          ID=9c9ebbf8ad5f59f5:T=16492473                                                                  ID=f9f0b0c394ce59d6:T=16492474                 ID=457e5cd3303f940c:T=16492475
__gpi                                                           UID=000003c76dfb24d1:T=1649247
_ga             1310634745.1649247332                           1310634745.1649247332                           826099050.1649247456                           847134733.1649247512                      1310634745.1649247332
_gid            1721851811.1649247332                           1721851811.1649247332                           2086054811.1649247456                          1794537520.1649247513                     1721851811.1649247332
permutive-id                                                    99de973b-577f-45bb-811a-6b3b8b                                                                 86fd053b-dffa-41aa-ab18-b8be1a            99de973b-577f-45bb-811a-6b3b8b
uuid            7856be3d-32a9-4313-a9ff-b314e7                  7856be3d-32a9-4313-a9ff-b314e7                  4d3387f6-9f3b-471a-b11c-92672b                 8a421678-5c1f-4acf-ace3-3df2d5            7856be3d-32a9-4313-a9ff-b314e7

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
                              Case 4:20-cv-03664-YGR                                                  Document 666-24                                    Filed 08/05/22                             Page 127 of 331
                                                                                                                                                                      CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                                                      Exhibit 1.20: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                              Browsers Tested on iOS
                                                                                                         https://www.washingtonpost.com/

                                                                                                                                  Chrome
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                        Regular Mode
Cookie Name             (Initial Session)                                     (Session 1)                                        (Session 1)                                     (Session 2)                           (Session 2)
__gads      ID=46a38265bd177d35-2258097bf8                      ID=46a38265bd177d35-2258097bf8                                                                                                           ID=46a38265bd177d35-2258097bf8
_ga         1529774417.1649285421                               1529774417.1649285421                           84592648.1649285529                            2143282438.1649285586                     1529774417.1649285421
8Y2LD       1649285420                                          1649285468                                      1649285528                                     1649285585                                1649285643
_gaexp      3gY8TfBUQy645wcR55Xl0w.1                            3gY8TfBUQy645wcR55Xl0w.1                        3gY8TfBUQy645wcR55Xl0w.0                       3gY8TfBUQy645wcR55Xl0w.0                  3gY8TfBUQy645wcR55Xl0w.1
_gid        1042611665.1649285421                               1042611665.1649285421                           57941596.1649285529                            1778662269.1649285586                     1042611665.1649285421
wp_ak_subs  0|20220331
wp_ak_v_m   0|20220331                                          0|20220331                                      2|20220331                                     1|20220331                                0|20220331
wp_geo      US|MA|506||                                         US|MA|506||                                     US|MA|506||                                    US|MA|506||                               US|MA|506||
wp_usp      1---                                                1---                                            1---                                           1---                                      1---

                                                                                                                                   Safari
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                        Regular Mode
Cookie Name             (Initial Session)                                     (Session 1)                                     (Session 1)                                    (Session 2)                               (Session 2)
__gads      ID=64e4ce0a583468d6-22b76cf8f1                      ID=64e4ce0a583468d6-22b76cf8f1                  ID=62d3d68d475f31ad-2232ec22f4                 ID=1990c1b27e4d681a-229d7afef1            ID=64e4ce0a583468d6-22b76cf8f1
_ga         1459139403.1649248533                               1459139403.1649248533                           465309642.1649248653                           1955154597.1649248714                     1459139403.1649248533
_ga_WRCN6
8Y2LD       1649248531                                          1649248593                                      1649248651                                     1649248712                                1649248770
_gaexp      3gY8TfBUQy645wcR55Xl0w.1                            3gY8TfBUQy645wcR55Xl0w.1                        3gY8TfBUQy645wcR55Xl0w.0                       3gY8TfBUQy645wcR55Xl0w.1                  3gY8TfBUQy645wcR55Xl0w.1
_gid        818063765.1649248533                                818063765.1649248533                            923378556.1649248653                           163207506.1649248714                      818063765.1649248533
wp_ak_subs  0|20220331
wp_ak_v_m   0|20220331                                          0|20220331                                      2|20220331                                     1|20220331                                0|20220331
wp_geo      US|MA|506||                                         US|MA|506||                                     US|MA|506||                                    US|MA|506||                               US|MA|506||
wp_usp      1---                                                1---                                            1---                                           1---                                      1---

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
Case 4:20-cv-03664-YGR                                        Document 666-24                                    Filed 08/05/22                               Page 128 of 331
                                                                                                                               CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                               Exhibit 2.1: Comparison of Cookie Values Transmitted to Google Domains
                                                                        Cookie Blocking Test
                                                 Chrome Browser Tested on Windows 10 in Regular Browsing Mode
                                                                      https://www.nytimes.com/

    Cookie Name                    All Cookies Allowed                            Third-Party Cookies Blocked                           All Cookies Blocked
    CMID                  Ykt3xkNL4d2RB-ccS4d.EAAA
    DSID                  NO_DATA

    IDE                   AHWqTUna_YBa1VlgiS4PvIMhqPWCmG
    NID                   511=dXb2DsuyaVRWxI1OEWu_3ShxKD
    TDID                  55f3c6bb-be1a-47c6-a02f-708492
                          ID=7daab1ea7e0c2bfd-229c5916ef

    __gads                ID=7daab1ea7e0c2bfd:T=16491130                   ID=c812a6115292ec74-22e4581eef
    _ga                   2086276930.1649113029                            1874936498.1649113314
    _gcl_au               1104313509.1649113031                            1661519211.1649113316
    _gid                  159707026.1649113031                             2082113795.1649113317
    nyt-a                 oy1qGEePBBoEyfGfuiXEgB                           RABLaoBVSl-w7akUWOiGnx
    nyt-jkidd             anon                                             anon
    test_cookie           CheckForPermission
    tuuid                 cd9d156c-e16c-48b2-ae69-c2ccfd

    Notes:
    [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file
    “settings_full_value.xlsx” of the backup production.
    [2] Bold, italicized cookie names and values denote first-party cookies.
    [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
    [4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

    Source:
    [1] Network transmission data.
Case 4:20-cv-03664-YGR                                               Document 666-24                                     Filed 08/05/22                             Page 129 of 331
                                                                                                                                      CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                      Exhibit 2.2: Comparison of Cookie Values Transmitted to Google Domains
                                                                               Cookie Blocking Test
                                                        Chrome Browser Tested on Windows 10 in Regular Browsing Mode
                                                                               https://www.cnn.com/

 Cookie Name                        All Cookies Allowed                                  Third-Party Cookies Blocked                                  All Cookies Blocked
 CMID                  YktiyrJeL4230ZaiKS1D5wAA
 IDE                   AHWqTUmo3IWU5r_-wP3WVzVYJVuPiT
 V                     EGP4VCLm7HML
                       ID=b1feac9e314e9ca5-222ac105ef

 __gads                ID=b1feac9e314e9ca5:T=16491076                          ID=a6ce9bde480e43d9-22d2ef0eef
 __gpi                                                                         UID=000003b2c2d7402a:T=1649108
 bdswch                256892f1-2deb-4ba1-ad03-f83b5f
 buid                  256892f1-2deb-4ba1-ad03-f83b5f
 indxexcg              YktiyrJeL4230ZaiKS1D5wAAA7QAAA
 ptrbsw                256892f1-2deb-4ba1-ad03-f83b5f
 ptrpp                 EGP4VCLm7HML
 test_cookie           CheckForPermission
 tuuid                 256892f1-2deb-4ba1-ad03-f83b5f
 ug                    624b62c8005b1c0a3f908300165dcd                          624b64e80c4ccc0a3f908300154520
 ug1                   624b62c8005b1c0a3f908300165dcd                          624b64e80c4ccc0a3f908300154520

 Notes:
 [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “settings_full_value.xlsx” of the
 backup production.
 [2] Bold, italicized cookie names and values denote first-party cookies.
 [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
 [4] Cookie “ug1” is set by www.ugdturner.com, which appears to be part of Turner Broadcasting System, Inc., the owner of CNN.
 [5] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

 Source:
 [1] Network transmission data.
Case 4:20-cv-03664-YGR                                               Document 666-24                                     Filed 08/05/22                             Page 130 of 331
                                                                                                                                      CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                      Exhibit 2.3: Comparison of Cookie Values Transmitted to Google Domains
                                                                               Cookie Blocking Test
                                                        Chrome Browser Tested on Windows 10 in Regular Browsing Mode
                                                                           https://www.apartments.com/

 Cookie Name                       All Cookies Allowed                                   Third-Party Cookies Blocked                                  All Cookies Blocked
 IDE                   AHWqTUnPoC9ZcjLX3rBJP1dmBdlYnu
 _ga                   2136294989.1649106224                                   1104986070.1649106543
 _gcl_au               2140085877.1649106224                                   796005447.1649106543
 _gid                  71093476.1649106224                                     380695983.1649106543
 test_cookie           CheckForPermission

 Notes:
 [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “settings_full_value.xlsx” of the
 backup production.
 [2] Bold, italicized cookie names and values denote first-party cookies.
 [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
 [4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

 Source:
 [1] Network transmission data.
Case 4:20-cv-03664-YGR                                               Document 666-24                                     Filed 08/05/22                             Page 131 of 331
                                                                                                                                      CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                      Exhibit 2.4: Comparison of Cookie Values Transmitted to Google Domains
                                                                               Cookie Blocking Test
                                                        Chrome Browser Tested on Windows 10 in Regular Browsing Mode
                                                                             https://www.latimes.com/

 Cookie Name                        All Cookies Allowed                                  Third-Party Cookies Blocked                                  All Cookies Blocked
 CMID                  YktrAIIf3Zd5iNP2SiHpqAAA
 DSID                  NO_DATA                                                 NO_DATA
 IDE                   AHWqTUmfYMJH7_jyOL__9TCchFnGXO
 TDID                  025216e0-ff41-4fd3-a113-c87854
                       ID=a60a78df2b4d7cfa-224aa90cef                          ID=8219a7932f875459-22cd4c35ef

 __gads                ID=a60a78df2b4d7cfa:T=16491097                          ID=8219a7932f875459:T=16491101
 __uis                 b8071472-7593-4c4a-a903-279140
 _ga                   2132850896.1649109759                                   182528510.1649110193
 _gid                  2118316826.1649109760                                   1173053119.1649110193
 permutive-id                                                                  19744878-8f64-4514-84c4-cbc522
 ssh                   triplelift
 test_cookie           CheckForPermission
 ttd                   025216e0-ff41-4fd3-a113-c87854
 uid-bp-892            025216e0-ff41-4fd3-a113-c87854
 uuid                  a872e0ba-bcde-44ef-b6ae-a5ba54                          529f8d48-3dff-408a-a971-24104d

 Notes:
 [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “settings_full_value.xlsx” of the
 backup production.
 [2] Bold, italicized cookie names and values denote first-party cookies.
 [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
 [4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

 Source:
 [1] Network transmission data.
Case 4:20-cv-03664-YGR                                               Document 666-24                                     Filed 08/05/22                             Page 132 of 331
                                                                                                                                      CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                      Exhibit 2.5: Comparison of Cookie Values Transmitted to Google Domains
                                                                                Cookie Blocking Test
                                                        Chrome Browser Tested on Windows 10 in Regular Browsing Mode
                                                                         https://www.washingtonpost.com/

 Cookie Name                        All Cookies Allowed                                  Third-Party Cookies Blocked                                  All Cookies Blocked
 CMID                  Ykt.RiKyIVI68lkLc3ItFgAA
 DSID                  NO_DATA
 IDE                   AHWqTUmVj-VjMQZ8aD41TxtACOsH_O
                       ID=f8245f857df1b360-22937904ef

 __gads                ID=f8245f857df1b360:T=16491146                          ID=7b12db9ffc3853a2-22f8362def
 _ga                   632871189.1649114693                                    403485201.1649114924
 _ga_WRCN68Y2
 LD                    1649114692                                              1649114923
 _gaexp                3gY8TfBUQy645wcR55Xl0w.0                                3gY8TfBUQy645wcR55Xl0w.1
 _gid                  372893291.1649114693                                    814725271.1649114924
 test_cookie           CheckForPermission
 wp_ak_subs            0|20220331
 wp_ak_v_m             0|20220331                                              1|20220331
 wp_geo                US|VA|511||                                             US|VA|511||
 wp_usp                1---                                                    1---

 Notes:
 [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “settings_full_value.xlsx” of the
 backup production.
 [2] Bold, italicized cookie names and values denote first-party cookies.
 [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
 [4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

 Source:
 [1] Network transmission data.
         Case 4:20-cv-03664-YGR                                                  Document 666-24                                     Filed 08/05/22                             Page 133 of 331
                                                                                                                                                  CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                                  Exhibit 2.6: Comparison of Cookie Values Transmitted to Google Domains
                                                                                         JavaScript Blocking Test
                                                                    Chrome Browser Tested on Windows 10 in Regular Browsing Mode
                                                                                         https://www.nytimes.com/

Cookie Name                            JavaScript Enabled                                                     Sybu Enabled                                                 JavaScript Disabled
CMID                  Ykt3xkNL4d2RB-ccS4d.EAAA
DSID                  NO_DATA
IDE                   AHWqTUna_YBa1VlgiS4PvIMhqPWCmG
NID                   511=dXb2DsuyaVRWxI1OEWu_3ShxKD
TDID                  55f3c6bb-be1a-47c6-a02f-708492
                      ID=7daab1ea7e0c2bfd-229c5916ef

__gads                ID=7daab1ea7e0c2bfd:T=16491130
_ga                   2086276930.1649113029
_gcl_au               1104313509.1649113031
_gid                  159707026.1649113031
nyt-a                 oy1qGEePBBoEyfGfuiXEgB
nyt-jkidd             anon
test_cookie           CheckForPermission                                               CheckForPermission
tuuid                 cd9d156c-e16c-48b2-ae69-c2ccfd                                   3f54261b-68a1-4b16-bd48-1ffaaf

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “settings_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
         Case 4:20-cv-03664-YGR                                                  Document 666-24                                     Filed 08/05/22                             Page 134 of 331
                                                                                                                                                  CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                                  Exhibit 2.7: Comparison of Cookie Values Transmitted to Google Domains
                                                                                         JavaScript Blocking Test
                                                                    Chrome Browser Tested on Windows 10 in Regular Browsing Mode
                                                                                           https://www.cnn.com/

Cookie Name                            JavaScript Enabled                                                Sybu Enabled                                                      JavaScript Disabled
CMID                  YktiyrJeL4230ZaiKS1D5wAA                                         YldiK-TzeYjLgaKtRQFwkQAA
IDE                   AHWqTUmo3IWU5r_-wP3WVzVYJVuPiT                                   AHWqTUlXtZQxbB40YS5Cadv7ggV0hd
V                     EGP4VCLm7HML
                      ID=b1feac9e314e9ca5-222ac105ef

__gads                ID=b1feac9e314e9ca5:T=16491076
bdswch                256892f1-2deb-4ba1-ad03-f83b5f
buid                  256892f1-2deb-4ba1-ad03-f83b5f
indxexcg              YktiyrJeL4230ZaiKS1D5wAAA7QAAA
ptrbsw                256892f1-2deb-4ba1-ad03-f83b5f
ptrpp                 EGP4VCLm7HML
test_cookie           CheckForPermission                                               CheckForPermission
tuuid                 256892f1-2deb-4ba1-ad03-f83b5f
ug                    624b62c8005b1c0a3f908300165dcd
ug1                   624b62c8005b1c0a3f908300165dcd

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “settings_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
[4] Cookie “ug1” is set by www.ugdturner.com, which appears to be part of Turner Broadcasting System, Inc., the owner of CNN.
[5] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
         Case 4:20-cv-03664-YGR                                                  Document 666-24                                     Filed 08/05/22                             Page 135 of 331
                                                                                                                                                  CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                                  Exhibit 2.8: Comparison of Cookie Values Transmitted to Google Domains
                                                                                         JavaScript Blocking Test
                                                                    Chrome Browser Tested on Windows 10 in Regular Browsing Mode
                                                                                       https://www.apartments.com/

Cookie Name                            JavaScript Enabled                                                     Sybu Enabled                                                 JavaScript Disabled
IDE                   AHWqTUnPoC9ZcjLX3rBJP1dmBdlYnu
_ga                   2136294989.1649106224
_gcl_au               2140085877.1649106224
_gid                  71093476.1649106224
test_cookie           CheckForPermission

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “settings_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
         Case 4:20-cv-03664-YGR                                                  Document 666-24                                     Filed 08/05/22                             Page 136 of 331
                                                                                                                                                  CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                                  Exhibit 2.9: Comparison of Cookie Values Transmitted to Google Domains
                                                                                         JavaScript Blocking Test
                                                                    Chrome Browser Tested on Windows 10 in Regular Browsing Mode
                                                                                         https://www.latimes.com/

Cookie Name                             JavaScript Enabled                                                    Sybu Enabled                                                 JavaScript Disabled
CMID                  YktrAIIf3Zd5iNP2SiHpqAAA
DSID                  NO_DATA
IDE                   AHWqTUmfYMJH7_jyOL__9TCchFnGXO
TDID                  025216e0-ff41-4fd3-a113-c87854
                      ID=a60a78df2b4d7cfa-224aa90cef

__gads                ID=a60a78df2b4d7cfa:T=16491097
__uis                 b8071472-7593-4c4a-a903-279140
_ga                   2132850896.1649109759
_gid                  2118316826.1649109760
ssh                   triplelift
test_cookie           CheckForPermission
ttd                   025216e0-ff41-4fd3-a113-c87854
uid-bp-892            025216e0-ff41-4fd3-a113-c87854
uuid                  a872e0ba-bcde-44ef-b6ae-a5ba54

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “settings_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
          Case 4:20-cv-03664-YGR                                                 Document 666-24                                     Filed 08/05/22                             Page 137 of 331
                                                                                                                                                  CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                                  Exhibit 2.10: Comparison of Cookie Values Transmitted to Google Domains
                                                                                          JavaScript Blocking Test
                                                                     Chrome Browser Tested on Windows 10 in Regular Browsing Mode
                                                                                     https://www.washingtonpost.com/

Cookie Name                            JavaScript Enabled                                                     Sybu Enabled                                                 JavaScript Disabled
CMID                  Ykt.RiKyIVI68lkLc3ItFgAA
DSID                  NO_DATA
IDE                   AHWqTUmVj-VjMQZ8aD41TxtACOsH_O
                      ID=f8245f857df1b360-22937904ef

__gads                ID=f8245f857df1b360:T=16491146
_ga                   632871189.1649114693
_ga_WRCN68Y2
LD                    1649114692
_gaexp                3gY8TfBUQy645wcR55Xl0w.0
_gid                  372893291.1649114693
test_cookie           CheckForPermission
wp_ak_subs            0|20220331
wp_ak_v_m             0|20220331
wp_geo                US|VA|511||
wp_usp                1---

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “settings_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
Case 4:20-cv-03664-YGR                           Document 666-24                                    Filed 08/05/22                         Page 138 of 331
                                                                                                                  CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                  Exhibit 2.11: Comparison of Cookie Values Transmitted to Google Domains
                                                  Google Analytics Opt-Out Extension Test
                                     Chrome Browser Tested on Windows 10 in Regular Browsing Mode
                                                         https://www.nytimes.com/

          Cookie Name                 Google Analytics Opt-Out Disabled                      Google Analytics Opt-Out Enabled
          CMID                  Ykt3xkNL4d2RB-ccS4d.EAAA                               Ykt71xG8Sbyit5c4hafbEgAA
          DSID                  NO_DATA                                                NO_DATA
          IDE                   AHWqTUna_YBa1VlgiS4PvIMhqPWCmG                         AHWqTUmUSHJkfpdgBl6QY8PEJXBVws
          NID                   511=dXb2DsuyaVRWxI1OEWu_3ShxKD                         511=IjA2XAoGdJx_FjMCFHQ4H_FNfm
          TDID                  55f3c6bb-be1a-47c6-a02f-708492
                                ID=7daab1ea7e0c2bfd-229c5916ef                         ID=5d83d68676d09653-222ec42bef

          __gads                ID=7daab1ea7e0c2bfd:T=16491130                         ID=5d83d68676d09653:T=16491140
          _ga                   2086276930.1649113029
          _gcl_au               1104313509.1649113031                                  1916057142.1649114074
          _gid                  159707026.1649113031
          nyt-a                 oy1qGEePBBoEyfGfuiXEgB                                 RXnfezEaR8UvdGRKa-xnVS
          nyt-jkidd             anon
          test_cookie           CheckForPermission                                     CheckForPermission
          tuuid                 cd9d156c-e16c-48b2-ae69-c2ccfd

          Notes:
          [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full
          value is included in file “settings_full_value.xlsx” of the backup production.
          [2] Bold, italicized cookie names and values denote first-party cookies.
          [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup
          production.
          [4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

          Source:
          [1] Network transmission data.
Case 4:20-cv-03664-YGR                           Document 666-24                                    Filed 08/05/22                         Page 139 of 331
                                                                                                                  CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                  Exhibit 2.12: Comparison of Cookie Values Transmitted to Google Domains
                                                  Google Analytics Opt-Out Extension Test
                                     Chrome Browser Tested on Windows 10 in Regular Browsing Mode
                                                            https://www.cnn.com/

          Cookie Name                  Google Analytics Opt-Out Disabled                     Google Analytics Opt-Out Enabled
          CMID                  YktiyrJeL4230ZaiKS1D5wAA                               YktneWgCqMmmICitT-W0kgAA
          IDE                   AHWqTUmo3IWU5r_-wP3WVzVYJVuPiT                         AHWqTUmwBsyhCEOmnm-IaqGsKjsGow
          V                     EGP4VCLm7HML
                                ID=b1feac9e314e9ca5-222ac105ef                         ID=664c721f0a03cd49-22bf211def

          __gads                ID=b1feac9e314e9ca5:T=16491076                         ID=664c721f0a03cd49:T=16491088
          bdswch                256892f1-2deb-4ba1-ad03-f83b5f
          buid                  256892f1-2deb-4ba1-ad03-f83b5f
          indxexcg              YktiyrJeL4230ZaiKS1D5wAAA7QAAA                         YktneWgCqMmmICitT_W0kgAAA74AAA
          ptrbsw                256892f1-2deb-4ba1-ad03-f83b5f
          ptrpp                 EGP4VCLm7HML
          test_cookie           CheckForPermission                                     CheckForPermission
          tuuid                 256892f1-2deb-4ba1-ad03-f83b5f
          ug                    624b62c8005b1c0a3f908300165dcd                         624b6776052e150a3f85a10016d5a0
          ug1                   624b62c8005b1c0a3f908300165dcd                         624b6776052e150a3f85a10016d5a0

          Notes:
          [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full
          value is included in file “settings_full_value.xlsx” of the backup production.
          [2] Bold, italicized cookie names and values denote first-party cookies.
          [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup
          production.
          [4] Cookie “ug1” is set by www.ugdturner.com, which appears to be part of Turner Broadcasting System, Inc., the owner of
          CNN.
          [5] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

          Source:
          [1] Network transmission data.
Case 4:20-cv-03664-YGR                           Document 666-24                                    Filed 08/05/22                         Page 140 of 331
                                                                                                                  CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                  Exhibit 2.13: Comparison of Cookie Values Transmitted to Google Domains
                                                  Google Analytics Opt-Out Extension Test
                                     Chrome Browser Tested on Windows 10 in Regular Browsing Mode
                                                        https://www.apartments.com/

          Cookie Name               Google Analytics Opt-Out Disabled                        Google Analytics Opt-Out Enabled
          IDE                   AHWqTUnPoC9ZcjLX3rBJP1dmBdlYnu                         AHWqTUlG62-jYn2lHxd7i1J5XG-TPH
          TDID                                                                         e4c0e944-bf51-4c67-9a49-3e3b7e
          _ga                   2136294989.1649106224
          _gcl_au               2140085877.1649106224                                  1767913044.1649107071
          _gid                  71093476.1649106224
          test_cookie           CheckForPermission                                     CheckForPermission

          Notes:
          [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full
          value is included in file “settings_full_value.xlsx” of the backup production.
          [2] Bold, italicized cookie names and values denote first-party cookies.
          [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup
          production.
          [4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

          Source:
          [1] Network transmission data.
Case 4:20-cv-03664-YGR                           Document 666-24                                    Filed 08/05/22                         Page 141 of 331
                                                                                                                  CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                  Exhibit 2.14: Comparison of Cookie Values Transmitted to Google Domains
                                                  Google Analytics Opt-Out Extension Test
                                     Chrome Browser Tested on Windows 10 in Regular Browsing Mode
                                                          https://www.latimes.com/

          Cookie Name                 Google Analytics Opt-Out Disabled                     Google Analytics Opt-Out Enabled
          CMID                  YktrAIIf3Zd5iNP2SiHpqAAA                               YktvGN2clHmCx28oTPE14gAA
          DSID                  NO_DATA
          IDE                   AHWqTUmfYMJH7_jyOL__9TCchFnGXO                         AHWqTUl_ZbR6k8L1JzchJYMDpinniJ
          TDID                  025216e0-ff41-4fd3-a113-c87854                         4427e8d9-1752-4a3b-b97f-8a5074
                                ID=a60a78df2b4d7cfa-224aa90cef

          __gads                ID=a60a78df2b4d7cfa:T=16491097                         ID=c89cf5d553be072e:T=16491108
          __uis                 b8071472-7593-4c4a-a903-279140
          _ga                   2132850896.1649109759
          _gid                  2118316826.1649109760
          _rxuuid                                                                      AYg5qPJPWB2BYGkvJxuQfbDT7novZQ
          google_push                                                                  AYg5qPLsUoaI7TaWYE5vjYzQ_VFSQV
          permutive-id                                                                 2aaeb062-2e32-4406-b30e-065dae
          sa-user-id-v2                                                                wCMjxm_iTW1Hva6HXgaz7RTnUu4
          ssh                   triplelift                                             triplelift
          test_cookie           CheckForPermission                                     CheckForPermission
          ttd                   025216e0-ff41-4fd3-a113-c87854
          tv_UIDF                                                                      CAESEFznsLkm0y_OQIaOf2uiFEU
          uid-bp-892            025216e0-ff41-4fd3-a113-c87854
          uuid                  a872e0ba-bcde-44ef-b6ae-a5ba54                         7f2ea8be-c8a3-4e08-95b0-34d954

          Notes:
          [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full
          value is included in file “settings_full_value.xlsx” of the backup production.
          [2] Bold, italicized cookie names and values denote first-party cookies.
          [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup
          production.
          [4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

          Source:
          [1] Network transmission data.
Case 4:20-cv-03664-YGR                           Document 666-24                                    Filed 08/05/22                         Page 142 of 331
                                                                                                                  CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                  Exhibit 2.15: Comparison of Cookie Values Transmitted to Google Domains
                                                  Google Analytics Opt-Out Extension Test
                                     Chrome Browser Tested on Windows 10 in Regular Browsing Mode
                                                     https://www.washingtonpost.com/

          Cookie Name                 Google Analytics Opt-Out Disabled                     Google Analytics Opt-Out Enabled
          CMID                  Ykt.RiKyIVI68lkLc3ItFgAA                               YkuBqOQnm2lH-bn4fLb01QAA
          DSID                  NO_DATA                                                NO_DATA
          IDE                   AHWqTUmVj-VjMQZ8aD41TxtACOsH_O                         AHWqTUmZ7Refb7gTkcM5hzTayBORmW
                                ID=f8245f857df1b360-22937904ef                         ID=29d1dc3fab2891b3-22305c0fef

          __gads                ID=f8245f857df1b360:T=16491146                         ID=29d1dc3fab2891b3:T=16491155
          _ga                   632871189.1649114693
          _ga_WRCN68Y2
          LD                    1649114692
          _gaexp                3gY8TfBUQy645wcR55Xl0w.0
          _gid                  372893291.1649114693
          test_cookie           CheckForPermission                                     CheckForPermission
          wp_ak_subs            0|20220331
          wp_ak_v_m             0|20220331
          wp_geo                US|VA|511||
          wp_usp                1---                                                   1---

          Notes:
          [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full
          value is included in file “settings_full_value.xlsx” of the backup production.
          [2] Bold, italicized cookie names and values denote first-party cookies.
          [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup
          production.
          [4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

          Source:
          [1] Network transmission data.
Case 4:20-cv-03664-YGR                                 Document 666-24                                     Filed 08/05/22                            Page 143 of 331
                                                                                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                        Exhibit 2.16: Comparison of Cookie Values Transmitted to Google Domains
                                                                 uBlock Extension Test
                                           Chrome Browser Tested on Windows 10 in Regular Browsing Mode
                                                               https://www.nytimes.com/

       Cookie Name                              uBlock Disabled                                   uBlock Enabled
       CMID                  Ykt3xkNL4d2RB-ccS4d.EAAA
       DSID                  NO_DATA
       IDE                   AHWqTUna_YBa1VlgiS4PvIMhqPWCmG
       NID                   511=dXb2DsuyaVRWxI1OEWu_3ShxKD                      511=mhOfLbkN9lyhJUFLWam-U9s8Ps
       TDID                  55f3c6bb-be1a-47c6-a02f-708492
       __gads                ID=7daab1ea7e0c2bfd-229c5916efID=7daab1ea7e0c2bfd:T
       _ga                   2086276930.1649113029
       _gcl_au               1104313509.1649113031
       _gid                  159707026.1649113031
       nyt-a                 oy1qGEePBBoEyfGfuiXEgB
       nyt-jkidd             anon
       test_cookie           CheckForPermission
       tuuid                 cd9d156c-e16c-48b2-ae69-c2ccfd

       Notes:
       [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in
       file “settings_full_value.xlsx” of the backup production.
       [2] Bold, italicized cookie names and values denote first-party cookies.
       [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
       [4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

       Source:
       [1] Network transmission data.
Case 4:20-cv-03664-YGR                                 Document 666-24                                     Filed 08/05/22                            Page 144 of 331
                                                                                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                        Exhibit 2.17: Comparison of Cookie Values Transmitted to Google Domains
                                                                 uBlock Extension Test
                                           Chrome Browser Tested on Windows 10 in Regular Browsing Mode
                                                                  https://www.cnn.com/

       Cookie Name                             uBlock Disabled                                                     uBlock Enabled
       CMID                  YktiyrJeL4230ZaiKS1D5wAA
       IDE                   AHWqTUmo3IWU5r_-wP3WVzVYJVuPiT
       V                     EGP4VCLm7HML
                             ID=b1feac9e314e9ca5-222ac105ef

       __gads                ID=b1feac9e314e9ca5:T=16491076
       bdswch                256892f1-2deb-4ba1-ad03-f83b5f
       buid                  256892f1-2deb-4ba1-ad03-f83b5f
       indxexcg              YktiyrJeL4230ZaiKS1D5wAAA7QAAA
       ptrbsw                256892f1-2deb-4ba1-ad03-f83b5f
       ptrpp                 EGP4VCLm7HML
       test_cookie           CheckForPermission
       tuuid                 256892f1-2deb-4ba1-ad03-f83b5f
       ug                    624b62c8005b1c0a3f908300165dcd
       ug1                   624b62c8005b1c0a3f908300165dcd

       Notes:
       [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in
       file “settings_full_value.xlsx” of the backup production.
       [2] Bold, italicized cookie names and values denote first-party cookies.
       [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
       [4] Cookie “ug1” is set by www.ugdturner.com, which appears to be part of Turner Broadcasting System, Inc., the owner of CNN.
       [5] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

       Source:
       [1] Network transmission data.
Case 4:20-cv-03664-YGR                                 Document 666-24                                     Filed 08/05/22                            Page 145 of 331
                                                                                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                        Exhibit 2.18: Comparison of Cookie Values Transmitted to Google Domains
                                                                  uBlock Extension Test
                                           Chrome Browser Tested on Windows 10 in Regular Browsing Mode
                                                              https://www.apartments.com/

       Cookie Name                              uBlock Disabled                                                    uBlock Enabled
       IDE                   AHWqTUnPoC9ZcjLX3rBJP1dmBdlYnu
       _ga                   2136294989.1649106224
       _gcl_au               2140085877.1649106224
       _gid                  71093476.1649106224
       test_cookie           CheckForPermission

       Notes:
       [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in
       file “settings_full_value.xlsx” of the backup production.
       [2] Bold, italicized cookie names and values denote first-party cookies.
       [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
       [4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

       Source:
       [1] Network transmission data.
Case 4:20-cv-03664-YGR                                 Document 666-24                                     Filed 08/05/22                            Page 146 of 331
                                                                                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                        Exhibit 2.19: Comparison of Cookie Values Transmitted to Google Domains
                                                                 uBlock Extension Test
                                           Chrome Browser Tested on Windows 10 in Regular Browsing Mode
                                                                https://www.latimes.com/

       Cookie Name                               uBlock Disabled                                                   uBlock Enabled
       CMID                  YktrAIIf3Zd5iNP2SiHpqAAA
       DSID                  NO_DATA
       IDE                   AHWqTUmfYMJH7_jyOL__9TCchFnGXO
       TDID                  025216e0-ff41-4fd3-a113-c87854
                             ID=a60a78df2b4d7cfa-224aa90cef

       __gads                ID=a60a78df2b4d7cfa:T=16491097
       __uis                 b8071472-7593-4c4a-a903-279140
       _ga                   2132850896.1649109759
       _gid                  2118316826.1649109760
       ssh                   triplelift
       test_cookie           CheckForPermission
       ttd                   025216e0-ff41-4fd3-a113-c87854
       uid-bp-892            025216e0-ff41-4fd3-a113-c87854
       uuid                  a872e0ba-bcde-44ef-b6ae-a5ba54

       Notes:
       [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in
       file “settings_full_value.xlsx” of the backup production.
       [2] Bold, italicized cookie names and values denote first-party cookies.
       [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
       [4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

       Source:
       [1] Network transmission data.
Case 4:20-cv-03664-YGR                                 Document 666-24                                     Filed 08/05/22                            Page 147 of 331
                                                                                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                        Exhibit 2.20: Comparison of Cookie Values Transmitted to Google Domains
                                                                 uBlock Extension Test
                                           Chrome Browser Tested on Windows 10 in Regular Browsing Mode
                                                           https://www.washingtonpost.com/

       Cookie Name                              uBlock Disabled                                                    uBlock Enabled
       CMID                  Ykt.RiKyIVI68lkLc3ItFgAA
       DSID                  NO_DATA
       IDE                   AHWqTUmVj-VjMQZ8aD41TxtACOsH_O
                             ID=f8245f857df1b360-22937904ef

       __gads                ID=f8245f857df1b360:T=16491146
       _ga                   632871189.1649114693
       _ga_WRCN68Y2
       LD                    1649114692
       _gaexp                3gY8TfBUQy645wcR55Xl0w.0
       _gid                  372893291.1649114693
       test_cookie           CheckForPermission
       wp_ak_subs            0|20220331
       wp_ak_v_m             0|20220331
       wp_geo                US|VA|511||
       wp_usp                1---

       Notes:
       [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in
       [2] Bold, italicized cookie names and values denote first-party cookies.
       [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
       [4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

       Source:
       [1] Network transmission data.
Case 4:20-cv-03664-YGR                                        Document 666-24                                    Filed 08/05/22                               Page 148 of 331
                                                                                                                               CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                              Exhibit 2.21: Comparison of Cookie Values Transmitted to Google Domains
                                                                        Cookie Blocking Test
                                                 Chrome Browser Tested on Windows 10 in Private Browsing Mode
                                                                     https://www.nytimes.com/

    Cookie Name                      All Cookies Allowed                          Third-Party Cookies Blocked                           All Cookies Blocked
    CMID                  YkSm6cGa8vBVshi-1svQ5AAA
    IDE                   AHWqTUkIT-yqMsUNu3cbkrW3r4Htdq
    NID                   511=E6GMvYAlEN_gpE_wCyehptITCz
    TDID                  fea87c34-72ba-4e52-8034-66aa66
                          ID=3bc9fc006ac6d5ba-22941fdf12

    __gads                ID=3bc9fc006ac6d5ba:T=16486663                   ID=3c96f2ea57947042-2249e2afe4
    _ga                   1608007200.1648666345                            1838268510.1648666801
    _gcl_au               1380625421.1648666346                            157853512.1648666802
    _gid                  1052484163.1648666346                            619398206.1648666802
    nyt-a                 Ag3lx0c716TuLX0Wf6jid2                           8Rls1jZfEdlyWm-M5VB98t
    nyt-jkidd             anon                                             anon
    test_cookie           CheckForPermission

    Notes:
    [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file
    “settings_full_value.xlsx” of the backup production.
    [2] Bold, italicized cookie names and values denote first-party cookies.
    [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
    [4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

    Source:
    [1] Network transmission data.
Case 4:20-cv-03664-YGR                                               Document 666-24                                     Filed 08/05/22                             Page 149 of 331
                                                                                                                                      CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                     Exhibit 2.22: Comparison of Cookie Values Transmitted to Google Domains
                                                                               Cookie Blocking Test
                                                        Chrome Browser Tested on Windows 10 in Private Browsing Mode
                                                                               https://www.cnn.com/

 Cookie Name                      All Cookies Allowed                                    Third-Party Cookies Blocked                                  All Cookies Blocked
 CMID                  YkOY8S14hoZyRefj4pJ27wAA
 DSID                  NO_DATA                                                 NO_DATA
 IDE                   AHWqTUlDhvnsjX9rw3qdlu0e6RqoWd
 V                                                                             HOmxJXMhswcM
                       ID=3eb5ab291c6b5b44-22bdec2a10

 __gads                ID=3eb5ab291c6b5b44:T=16485972                          ID=1e2d765b0fbeab4a:T=16485977
 indxexcg              YkOY8S14hoZyRefj4pJ27wAAA8kAAA
 test_cookie           CheckForPermission
 ug                    624398ed0cef2f0a3f9b5b0016a2c3                          62439ae900f8050a3f85a100173520
 ug1                   624398ed0cef2f0a3f9b5b0016a2c3                          62439ae900f8050a3f85a100173520

 Notes:
 [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “settings_full_value.xlsx” of the
 backup production.
 [2] Bold, italicized cookie names and values denote first-party cookies.
 [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
 [4] Cookie “ug1” is set by www.ugdturner.com, which appears to be part of Turner Broadcasting System, Inc., the owner of CNN.
 [5] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

 Source:
 [1] Network transmission data.
Case 4:20-cv-03664-YGR                                               Document 666-24                                     Filed 08/05/22                             Page 150 of 331
                                                                                                                                      CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                     Exhibit 2.23: Comparison of Cookie Values Transmitted to Google Domains
                                                                               Cookie Blocking Test
                                                        Chrome Browser Tested on Windows 10 in Private Browsing Mode
                                                                           https://www.apartments.com/

 Cookie Name                        All Cookies Allowed                                  Third-Party Cookies Blocked                                  All Cookies Blocked
 IDE                   AHWqTUkPbb2UC8BHZKez6UJYfwWCar
 TDID                  d076f26e-7627-40ee-b467-b52ec6
 _ga                   472975019.1648608753                                    1733023998.1648609275
 _gcl_au               1583386961.1648608754                                   1736737948.1648609275
 _gid                  420769323.1648608753                                    2027979523.1648609275
 test_cookie           CheckForPermission

 Notes:
 [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “settings_full_value.xlsx” of the
 backup production.
 [2] Bold, italicized cookie names and values denote first-party cookies.
 [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
 [4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

 Source:
 [1] Network transmission data.
Case 4:20-cv-03664-YGR                                               Document 666-24                                     Filed 08/05/22                             Page 151 of 331
                                                                                                                                      CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                     Exhibit 2.24: Comparison of Cookie Values Transmitted to Google Domains
                                                                               Cookie Blocking Test
                                                        Chrome Browser Tested on Windows 10 in Private Browsing Mode
                                                                             https://www.latimes.com/

 Cookie Name                        All Cookies Allowed                                  Third-Party Cookies Blocked                                  All Cookies Blocked
 CMID                  YkTDtIS-ihY3vf6uYAWLvAAA
 DSID                  NO_DATA                                                 NO_DATA
 IDE                   AHWqTUlOb8GMSb6siXdw21AtjQLFMO
 TDID                  7dceb479-b2b4-4cae-a8b0-d185e2
 __gads                ID=28131598daf97978-22a072a6e4                          ID=c7d409668150a0fb-22636d5513
 __uis                 75271540-1260-4982-83d8-e9aca9
 _ga                   1248574119.1648673716                                   1173847638.1648674216
 _gid                  1259003467.1648673716                                   1397726901.1648674217
                       AYg5qPJGHaE5RMRghcVF_0ZyoZPsRV

 _rxuuid               AYg5qPJ0SD_m6nQPo5rT-Vyrnoqc5K
                       AYg5qPL2QduhQQE3oHFbhQvqbI9ivz

 google_push           AYg5qPJo9WJdRJdOaYRXuwAeQN8OZq
 ljt_reader            b80ed4f7864894252f7b05b1
 permutive-id          74f04ab6-e373-4380-ac5c-f2b695                          282078e5-2c9f-4363-a1ef-4acd31
 sa-user-id-v2         NXPuFFGjSPJ_m-PWFUOHaBTnUu4
 ssh                   triplelift
 suid                  5943A252DD7143BAB83FF9326084B7
 suid_legacy           5943A252DD7143BAB83FF9326084B7
 test_cookie           CheckForPermission
 uuid                  d3d51d00-18c7-4a02-91f1-94b062                          aba50388-dce8-49d9-9bda-83a543

 Notes:
 [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “settings_full_value.xlsx” of the
 backup production.
 [2] Bold, italicized cookie names and values denote first-party cookies.
 [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
 [4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

 Source:
 [1] Network transmission data.
Case 4:20-cv-03664-YGR                                               Document 666-24                                     Filed 08/05/22                             Page 152 of 331
                                                                                                                                      CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                     Exhibit 2.25: Comparison of Cookie Values Transmitted to Google Domains
                                                                               Cookie Blocking Test
                                                        Chrome Browser Tested on Windows 10 in Private Browsing Mode
                                                                        https://www.washingtonpost.com/

 Cookie Name                         All Cookies Allowed                                 Third-Party Cookies Blocked                                  All Cookies Blocked
 CMID                  YkTOfQQp2SdTVT3cJA5OWwAA
 DSID                  NO_DATA                                                 NO_DATA
 IDE                   AHWqTUlll7nlxljrl1oi9QVtssikcp
 TDID                  ff574a88-7f6b-4e6c-80d1-da6d01
                       ID=6dc3dcbe2105f2af-22bcd07913

 __gads                ID=6dc3dcbe2105f2af:T=16486764                          ID=dd603e395fd45b34-228b18c0e4
 _ga                   1297367007.1648676476                                   921166568.1648676776
 _ga_WRCN68Y2
 LD                    1648676475                                              1648676775
 _gaexp                3gY8TfBUQy645wcR55Xl0w.0                                3gY8TfBUQy645wcR55Xl0w.0
 _gid                  481785167.1648676476                                    394318624.1648676776
 test_cookie           CheckForPermission
 wp_geo                US|VA|511||                                             US|VA|511||
 wp_usp                1---                                                    1---

 Notes:
 [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “settings_full_value.xlsx” of the
 backup production.
 [2] Bold, italicized cookie names and values denote first-party cookies.
 [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
 [4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

 Source:
 [1] Network transmission data.
     Case 4:20-cv-03664-YGR                                                  Document 666-24                                     Filed 08/05/22                             Page 153 of 331
                                                                                                                                              CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                         Exhibit 2.26: Comparison of Cookie Values Transmitted to Google Domains
                                                                                 JavaScript Blocking Test
                                           Chrome Browser Tested on Windows 10 in Default Private Browsing Mode with Third-Party Cookies Blocked
                                                                                https://www.nytimes.com/

Cookie Name                          JavaScript Enabled                                                   Sybu Enabled                                               JavaScript Disabled
__gads                ID=3c96f2ea57947042-2249e2afe4
_ga                   1838268510.1648666801
_gcl_au               157853512.1648666802
_gid                  619398206.1648666802
nyt-a                 8Rls1jZfEdlyWm-M5VB98t
nyt-jkidd             anon

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “settings_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
     Case 4:20-cv-03664-YGR                                                  Document 666-24                                     Filed 08/05/22                             Page 154 of 331
                                                                                                                                              CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                         Exhibit 2.27: Comparison of Cookie Values Transmitted to Google Domains
                                                                                 JavaScript Blocking Test
                                           Chrome Browser Tested on Windows 10 in Default Private Browsing Mode with Third-Party Cookies Blocked
                                                                                   https://www.cnn.com/

Cookie Name                          JavaScript Enabled                                                   Sybu Enabled                                               JavaScript Disabled
DSID                  NO_DATA
V                     HOmxJXMhswcM
__gads                ID=1e2d765b0fbeab4a:T=16485977
ug                    62439ae900f8050a3f85a100173520
ug1                   62439ae900f8050a3f85a100173520

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “settings_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
[4] Cookie “ug1” is set by www.ugdturner.com, which appears to be part of Turner Broadcasting System, Inc., the owner of CNN.
[5] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
     Case 4:20-cv-03664-YGR                                                  Document 666-24                                     Filed 08/05/22                             Page 155 of 331
                                                                                                                                              CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                         Exhibit 2.28: Comparison of Cookie Values Transmitted to Google Domains
                                                                                 JavaScript Blocking Test
                                           Chrome Browser Tested on Windows 10 in Default Private Browsing Mode with Third-Party Cookies Blocked
                                                                               https://www.apartments.com/

Cookie Name                          JavaScript Enabled                                                   Sybu Enabled                                               JavaScript Disabled
_ga                   1733023998.1648609275
_gcl_au               1736737948.1648609275
_gid                  2027979523.1648609275

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “settings_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
     Case 4:20-cv-03664-YGR                                                  Document 666-24                                     Filed 08/05/22                             Page 156 of 331
                                                                                                                                              CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                         Exhibit 2.29: Comparison of Cookie Values Transmitted to Google Domains
                                                                                 JavaScript Blocking Test
                                           Chrome Browser Tested on Windows 10 in Default Private Browsing Mode with Third-Party Cookies Blocked
                                                                                 https://www.latimes.com/

Cookie Name                           JavaScript Enabled                                                  Sybu Enabled                                               JavaScript Disabled
DSID                  NO_DATA
__gads                ID=c7d409668150a0fb-22636d5513
_ga                   1173847638.1648674216
_gid                  1397726901.1648674217
permutive-id          282078e5-2c9f-4363-a1ef-4acd31
uuid                  aba50388-dce8-49d9-9bda-83a543

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “settings_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
      Case 4:20-cv-03664-YGR                                                 Document 666-24                                     Filed 08/05/22                             Page 157 of 331
                                                                                                                                              CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                         Exhibit 2.30: Comparison of Cookie Values Transmitted to Google Domains
                                                                                 JavaScript Blocking Test
                                           Chrome Browser Tested on Windows 10 in Default Private Browsing Mode with Third-Party Cookies Blocked
                                                                            https://www.washingtonpost.com/

Cookie Name                          JavaScript Enabled                                                   Sybu Enabled                                               JavaScript Disabled
DSID                  NO_DATA
__gads                ID=dd603e395fd45b34-228b18c0e4
_ga                   921166568.1648676776
_ga_WRCN68Y2
LD                    1648676775
_gaexp                3gY8TfBUQy645wcR55Xl0w.0
_gid                  394318624.1648676776
wp_geo                US|VA|511||
wp_usp                1---

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “settings_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
Case 4:20-cv-03664-YGR                                 Document 666-24                                     Filed 08/05/22                            Page 158 of 331
                                                                                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                    Exhibit 2.31: Comparison of Cookie Values Transmitted to Google Domains
                                                    Google Analytics Opt-Out Extension Test
                      Chrome Browser Tested on Windows 10 in Default Private Browsing Mode with Third-Party Cookies Blocked
                                                           https://www.nytimes.com/

       Cookie Name                     Google Analytics Opt-Out Disabled                              Google Analytics Opt-Out Enabled
       __gads                ID=3c96f2ea57947042-2249e2afe4                                  ID=9dcbd1eb652322be-22e80ec926
       _ga                   1838268510.1648666801
       _gcl_au               157853512.1648666802                                            1589155738.1649656530
       _gid                  619398206.1648666802
       nyt-a                 8Rls1jZfEdlyWm-M5VB98t                                          BPayFwhF7hj0avAC05npjS
       nyt-jkidd             anon

       Notes:
       [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in
       file “settings_full_value.xlsx” of the backup production.
       [2] Bold, italicized cookie names and values denote first-party cookies.
       [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
       [4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

       Source:
       [1] Network transmission data.
Case 4:20-cv-03664-YGR                                 Document 666-24                                     Filed 08/05/22                            Page 159 of 331
                                                                                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                    Exhibit 2.32: Comparison of Cookie Values Transmitted to Google Domains
                                                    Google Analytics Opt-Out Extension Test
                      Chrome Browser Tested on Windows 10 in Default Private Browsing Mode with Third-Party Cookies Blocked
                                                              https://www.cnn.com/

       Cookie Name                    Google Analytics Opt-Out Disabled                                  Google Analytics Opt-Out Enabled
       DSID                  NO_DATA
       V                     HOmxJXMhswcM                                                    tBZBxoJtH4fe
       __gads                ID=1e2d765b0fbeab4a:T=16485977                                  ID=50cdc1fcbd2f7e90-22ab1f2e28
       __gpi                                                                                 UID=000004690a9dbf40:T=1649653
       ug                    62439ae900f8050a3f85a100173520                                  6253b8880da7500a3f9b5b00181a23
       ug1                   62439ae900f8050a3f85a100173520                                  6253b8880da7500a3f9b5b00181a23

       Notes:
       [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in
       file “settings_full_value.xlsx” of the backup production.
       [2] Bold, italicized cookie names and values denote first-party cookies.
       [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
       [4] Cookie “ug1” is set by www.ugdturner.com, which appears to be part of Turner Broadcasting System, Inc., the owner of CNN.
       [5] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

       Source:
       [1] Network transmission data.
Case 4:20-cv-03664-YGR                                 Document 666-24                                     Filed 08/05/22                            Page 160 of 331
                                                                                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                    Exhibit 2.33: Comparison of Cookie Values Transmitted to Google Domains
                                                    Google Analytics Opt-Out Extension Test
                      Chrome Browser Tested on Windows 10 in Default Private Browsing Mode with Third-Party Cookies Blocked
                                                          https://www.apartments.com/

       Cookie Name                    Google Analytics Opt-Out Disabled                                  Google Analytics Opt-Out Enabled
       _ga                   1733023998.1648609275
       _gcl_au               1736737948.1648609275                                           1489613522.1649652675
       _gid                  2027979523.1648609275

       Notes:
       [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in
       file “settings_full_value.xlsx” of the backup production.
       [2] Bold, italicized cookie names and values denote first-party cookies.
       [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
       [4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

       Source:
       [1] Network transmission data.
Case 4:20-cv-03664-YGR                                 Document 666-24                                     Filed 08/05/22                            Page 161 of 331
                                                                                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                    Exhibit 2.34: Comparison of Cookie Values Transmitted to Google Domains
                                                    Google Analytics Opt-Out Extension Test
                      Chrome Browser Tested on Windows 10 in Default Private Browsing Mode with Third-Party Cookies Blocked
                                                            https://www.latimes.com/

       Cookie Name                     Google Analytics Opt-Out Disabled                                 Google Analytics Opt-Out Enabled
       DSID                  NO_DATA
       __gads                ID=c7d409668150a0fb-22636d5513                                  ID=7346b03642f9b0f7:T=16496552
       _ga                   1173847638.1648674216
       _gid                  1397726901.1648674217
       permutive-id          282078e5-2c9f-4363-a1ef-4acd31                                  c26699b9-978b-4fe5-b0ec-df3241
       uuid                  aba50388-dce8-49d9-9bda-83a543                                  0a3efc60-5d68-40b8-a8cb-067e74

       Notes:
       [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in
       file “settings_full_value.xlsx” of the backup production.
       [2] Bold, italicized cookie names and values denote first-party cookies.
       [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
       [4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

       Source:
       [1] Network transmission data.
Case 4:20-cv-03664-YGR                                 Document 666-24                                     Filed 08/05/22                            Page 162 of 331
                                                                                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                    Exhibit 2.35: Comparison of Cookie Values Transmitted to Google Domains
                                                    Google Analytics Opt-Out Extension Test
                      Chrome Browser Tested on Windows 10 in Default Private Browsing Mode with Third-Party Cookies Blocked
                                                       https://www.washingtonpost.com/

       Cookie Name                    Google Analytics Opt-Out Disabled                                  Google Analytics Opt-Out Enabled
       DSID                  NO_DATA
       __gads                ID=dd603e395fd45b34-228b18c0e4                                  ID=2509e86e03197d5d-222a606927
       _ga                   921166568.1648676776
       _ga_WRCN68Y2
       LD                    1648676775
       _gaexp                3gY8TfBUQy645wcR55Xl0w.0
       _gid                  394318624.1648676776
       wp_geo                US|VA|511||
       wp_usp                1---                                                            1---

       Notes:
       [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in
       file “settings_full_value.xlsx” of the backup production.
       [2] Bold, italicized cookie names and values denote first-party cookies.
       [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
       [4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

       Source:
       [1] Network transmission data.
Case 4:20-cv-03664-YGR                                 Document 666-24                                     Filed 08/05/22                            Page 163 of 331
                                                                                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                    Exhibit 2.36: Comparison of Cookie Values Transmitted to Google Domains
                                                             uBlock Extension Test
                      Chrome Browser Tested on Windows 10 in Default Private Browsing Mode with Third-Party Cookies Blocked
                                                           https://www.nytimes.com/

       Cookie Name                             uBlock Disabled                                                     uBlock Enabled
       __gads                ID=3c96f2ea57947042-2249e2afe4
       _ga                   1838268510.1648666801
       _gcl_au               157853512.1648666802
       _gid                  619398206.1648666802
       nyt-a                 8Rls1jZfEdlyWm-M5VB98t
       nyt-jkidd             anon

       Notes:
       [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in
       file “settings_full_value.xlsx” of the backup production.
       [2] Bold, italicized cookie names and values denote first-party cookies.
       [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
       [4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

       Source:
       [1] Network transmission data.
Case 4:20-cv-03664-YGR                                 Document 666-24                                     Filed 08/05/22                            Page 164 of 331
                                                                                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                    Exhibit 2.37: Comparison of Cookie Values Transmitted to Google Domains
                                                             uBlock Extension Test
                      Chrome Browser Tested on Windows 10 in Default Private Browsing Mode with Third-Party Cookies Blocked
                                                              https://www.cnn.com/

       Cookie Name                             uBlock Disabled                                                     uBlock Enabled
       DSID                  NO_DATA
       V                     HOmxJXMhswcM
       __gads                ID=1e2d765b0fbeab4a:T=16485977
       ug                    62439ae900f8050a3f85a100173520
       ug1                   62439ae900f8050a3f85a100173520

       Notes:
       [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in
       file “settings_full_value.xlsx” of the backup production.
       [2] Bold, italicized cookie names and values denote first-party cookies.
       [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
       [4] Cookie “ug1” is set by www.ugdturner.com, which appears to be part of Turner Broadcasting System, Inc., the owner of CNN.
       [5] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

       Source:
       [1] Network transmission data.
Case 4:20-cv-03664-YGR                                 Document 666-24                                     Filed 08/05/22                            Page 165 of 331
                                                                                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                    Exhibit 2.38: Comparison of Cookie Values Transmitted to Google Domains
                                                              uBlock Extension Test
                      Chrome Browser Tested on Windows 10 in Default Private Browsing Mode with Third-Party Cookies Blocked
                                                          https://www.apartments.com/

       Cookie Name                             uBlock Disabled                                                     uBlock Enabled
       _ga                   1733023998.1648609275
       _gcl_au               1736737948.1648609275
       _gid                  2027979523.1648609275

       Notes:
       [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in
       file “settings_full_value.xlsx” of the backup production.
       [2] Bold, italicized cookie names and values denote first-party cookies.
       [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
       [4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

       Source:
       [1] Network transmission data.
Case 4:20-cv-03664-YGR                                 Document 666-24                                     Filed 08/05/22                            Page 166 of 331
                                                                                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                    Exhibit 2.39: Comparison of Cookie Values Transmitted to Google Domains
                                                             uBlock Extension Test
                      Chrome Browser Tested on Windows 10 in Default Private Browsing Mode with Third-Party Cookies Blocked
                                                            https://www.latimes.com/

       Cookie Name                              uBlock Disabled                                                    uBlock Enabled
       DSID                  NO_DATA
       __gads                ID=c7d409668150a0fb-22636d5513
       _ga                   1173847638.1648674216
       _gid                  1397726901.1648674217
       permutive-id          282078e5-2c9f-4363-a1ef-4acd31
       uuid                  aba50388-dce8-49d9-9bda-83a543

       Notes:
       [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in
       file “settings_full_value.xlsx” of the backup production.
       [2] Bold, italicized cookie names and values denote first-party cookies.
       [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
       [4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

       Source:
       [1] Network transmission data.
Case 4:20-cv-03664-YGR                                 Document 666-24                                     Filed 08/05/22                            Page 167 of 331
                                                                                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                    Exhibit 2.40: Comparison of Cookie Values Transmitted to Google Domains
                                                             uBlock Extension Test
                      Chrome Browser Tested on Windows 10 in Default Private Browsing Mode with Third-Party Cookies Blocked
                                                       https://www.washingtonpost.com/

       Cookie Name                             uBlock Disabled                                                     uBlock Enabled
       DSID                  NO_DATA
       __gads                ID=dd603e395fd45b34-228b18c0e4
       _ga                   921166568.1648676776
       _ga_WRCN68Y2
       LD                    1648676775
       _gaexp                3gY8TfBUQy645wcR55Xl0w.0
       _gid                  394318624.1648676776
       wp_geo                US|VA|511||
       wp_usp                1---

       Notes:
       [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in
       file “settings_full_value.xlsx” of the backup production.
       [2] Bold, italicized cookie names and values denote first-party cookies.
       [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
       [4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

       Source:
       [1] Network transmission data.
  Case 4:20-cv-03664-YGR               Appendix
                                   Document     A
                                            666-24           Filed 08/05/22      Page 168 of 331




Georgios Zervas
Boston University                    Phone:            (617) 358-3319 (office)
Questrom School of Business          Email:            zg@bu.edu
595 Commonwealth Ave (Ofc. 605)      Homepage:         http://people.bu.edu/zg/
Boston, MA 02215                     Google Scholar:   https://scholar.google.com/citations?user=5L8vEA4AAAAJ
Last updated: Dec. 21, 2021


Employment & Affiliations
Current
Associate Professor of Marketing                                                        2019–to date
Questrom School of Business, Boston University, Boston, MA

Faculty Director, MS in Business Analytics                                              2019–to-date
Questrom School of Business, Boston University, Boston, MA
Founding Member, Faculty of Computing & Data Science                                    2019–to date
Boston University, Boston, MA
Affiliated Faculty in Computer Science                                                  2016–to date
Boston University, Boston, MA
Visiting Researcher                                                                     2013–to date
Microsoft Research New England, Cambridge, MA

Prior
Assistant Professor of Marketing                                                          2013–2019
Questrom School of Business, Boston University, Boston, MA
Visiting Scholar                                                                         Spring 2018
MIT Sloan, Cambridge, MA
Simons Postdoctoral Fellow                                                                2011–2013
Yale University, New Haven, CT
Advisor: Joan Feigenbaum

Affiliate at the Center for Research & Computation in Society                             2011–2013
Harvard University, Cambridge, MA
Research Scientist                                                                        2006–2012
CogoLabs Inc., Cambridge, MA, USA
Cofounder                                                                                 2000–2005
Perlfect Solutions, London, UK




                                                A-1
  Case 4:20-cv-03664-YGR               Document 666-24            Filed 08/05/22        Page 169 of 331

Georgios Zervas, Associate Professor of Marketing, Questrom School of Business, Boston University          2


Education
Ph.D. Computer Science                                                                              2005–2011
Boston University, Boston, MA, USA.
Thesis: Data-Driven Analysis of Electronic Commerce Systems.
Advisors: John W. Byers (BU) & Michael Mitzenmacher (Harvard).
M.A. Interactive Media                                                                              1999–2000
London College of Communication, London, UK.
Thesis: Automatic Website Generation Using Genetic Algorithms.
Advisor: Alan Sekers.

M.Sc. Computer Science                                                                              1998–1999
Imperial College, London, UK.
Thesis: Thesis: Advanced Clustering Algorithms.
Advisor: Stefan Rüger.
B.Eng. Computer Science                                                                             1995–1998
Imperial College, London, UK.
Thesis: Object Linking & Embedding for Linux.
Advisor: Steffen van Bakel.


Publications
Journals
1. Shrabastee Banerjee, Chris Dellarocas Chris, and Georgios Zervas
   Interacting User-Generated Content Technologies: How Questions and Answers Affect Consumer
   Reviews.
   Journal of Marketing Research, (2021);58(4): 742-761.
2. Georgios Zervas, Davide Proserpio, and John W. Byers
   A first look at online reputation on Airbnb, where every stay is above average
   Marketing Letters, (2020): 1-16.
3. Giana Eckhardt, Mark Houston, Baojun Jiang, Cait Lamberton, Aric Rindfleisch, and Georgios Zervas
   Marketing in the Sharing Economy
   Journal of Marketing, 83.5 (2019): 5-27.
4. Giana Eckhardt, Mark Houston, Baojun Jiang, Cait Lamberton, Aric Rindfleisch, and Georgios Zervas
   Marketing in the Sharing Economy
   Journal of Marketing, 83.5 (2019): 5-27.
5. Davide Proserpio, Wendy Xu, and Georgios Zervas
   You Get What You Give: Theory and Evidence of Reciprocity in the Sharing Economy
   Quantitative Marketing and Economics, 16(4), (2018): 371-407.
6. Georgios Zervas, Davide Proserpio, and John W. Byers
   The Rise of the Sharing Economy: Estimating the Impact of Airbnb on the Hotel Industry
   Journal of Marketing Research, 54, no. 5 (2017): 687-705.
   – Finalist for the 2018 Paul E. Green Award.




                                                      A-2
  Case 4:20-cv-03664-YGR               Document 666-24            Filed 08/05/22        Page 170 of 331

Georgios Zervas, Associate Professor of Marketing, Questrom School of Business, Boston University         3


7. Davide Proserpio and Georgios Zervas
   Online Reputation Management: Estimating the Impact of Management Responses on Consumer
   Reviews
   Marketing Science, 36, no. 5 (2017): 645-665
   – Finalist for the 2018 John D. C. Little Award.

8. Michael Luca, and Georgios Zervas
   Fake It Till You Make It: Reputation, Competition, and Yelp Review Fraud
   Management Science, 62, no. 12 (2016): 3412-3427

Full Papers in Peer-reviewed Conferences with Proceedings
1. Ceren Budak, Sharad Goel, Justin M. Rao, and Georgios Zervas
   Understanding Emerging Threats to Online Advertising
   In Proceedings of the Sixteenth ACM Conference on Economics and Computation (EC ’16). ACM, 2016.

2. John Byers, Michael Mitzenmacher, and Georgios Zervas
   The Daily Deals Marketplace: Empirical Observations and Managerial Implications
   In ACM SIGecom Exchanges, Vol. 11, No. 2, December 2012, Pages 29–31.
3. Joan Feigenbaum, Michael Mitzenmacher, and Georgios Zervas
   An Economic Analysis of User-Privacy Options in Ad-Supported Services
   In Proceedings of the 8th Workshop on Internet & Network Economics, WINE ’12, pages 30–43. Springer
   Berlin Heidelberg, 2012.
4. John W. Byers, Michael Mitzenmacher, and Georgios Zervas
   The Groupon Effect on Yelp Ratings: A Root Cause Analysis
   In Proceedings of the 13th ACM Conference on Electronic Commerce, EC ’12, pages 248–265. Valencia, Spain,
   2012. ACM.
5. John W. Byers, Michael Mitzenmacher, and Georgios Zervas
   Daily Deals: Prediction, Social Diffusion, and Reputational Ramifications
   In Proceedings of the 5th ACM international conference on Web Search and Data Mining, WSDM ’12, pages
   543–552. Seattle, WA, USA, 2012. ACM.
6. John W. Byers, Brent Heeringa, Michael Mitzenmacher, and Georgios Zervas.
   Heapable Sequences and Subsequences
   In Proceedings of the Workshop on Analytic Algorithmics and Combinatorics, ANALCO ’11, pages 33–44, San
   Fransisco, CA, USA, 2011. ACM.
7. John W. Byers, Michael Mitzenmacher, and Georgios Zervas
   Information asymmetries in pay-per-bid auctions
   In Proceedings of the 11th ACM conference on Electronic Commerce, EC ’10, pages 1–12, New York, NY,
   USA, 2010. ACM.
8. John W. Byers, Michael Mitzenmacher, and Georgios Zervas
   Adaptive Weighing Designs for Keyword Value Computation
   In Proceedings of the third ACM international conference on Web search and data mining, WSDM ’10, pages
   331–340, New York, NY, USA, 2010. ACM.
9. Nikolaos Laoutaris, Georgios Zervas, Azer Bestavros, and George Kollios
   The Cache Inference Problem and its Application to Content and Request Routing
   In Proceedings of the 26th Annual IEEE Conference on Computer Communications, INFOCOM ’07, pages
   848–856, Anchorage, AK, USA, 2007. IEEE.




                                                      A-3
   Case 4:20-cv-03664-YGR                Document 666-24            Filed 08/05/22         Page 171 of 331

 Georgios Zervas, Associate Professor of Marketing, Questrom School of Business, Boston University               4


10. Georgios Zervas, and Stefan M. Rüger
    The Curse of Dimensionality and Document Clustering
    In IEEE Seminar, Searching for Information: Artificial Intelligence and Information Retrieval Approaches, pages
    19/1–19/3, Glasgow, UK, 1999.

 Abstracts in Peer-reviewed Conferences with Proceedings
 1. Greg Lewis and Georgios Zervas
    The Supply and Demand Effects of Review Platforms
    In Proceedings of the 2019 ACM Conference on Economics and Computation (EC ’19)., pp. 197-197. ACM,
    2019.
 2. Shrabastee Banerjee, Chris Dellarocas, and Georgios Zervas
    Interacting User Generated Content Technologies: How Q&As Affect Ratings & Reviews
    In Proceedings of the 2017 ACM Conference on Economics and Computation (EC ’17)., pp. 539-539. ACM,
    2017.
 3. Georgios Zervas, Davide Proserpio, and John W. Byers
    The Impact of the Sharing Economy on the Hotel Industry: Evidence from Airbnb’s Entry Into the
    Texas Market
    In Proceedings of the 2015 ACM Conference on Economics and Computation (EC ’15)., pp. 637-637. ACM,
    2015.
 4. Davide Proserpio and Georgios Zervas
    Online Reputation Management: Estimating the Impact of Management Responses on Consumer
    Reviews
    In Proceedings of the 2015 ACM Conference on Economics and Computation (EC ’15)., pp. 79-79. ACM, 2015.

 Invited Articles
 1. Davide Proserpio and Georgios Zervas
    Replying to Customer Reviews Results in Better Ratings
    Harvard Business Review, Feb. 14, 2018.


 Working Papers
 1. Greg Lewis, Bora Ozaltun, and Georgios Zervas
    Maximum Likelihood Estimation of Differentiated Products Demand Systems
 2. Luis Armona, Greg Lewis, and Georgios Zervas
    Learning Product Characteristics and Consumer Preferences from Search Data
 3. Stephan Seiler, Song Yao, Georgios Zervas
    Causal Inference in Word-of-Mouth Research: Methods and Results
 4. Chiara Farronato and Georgios Zervas
    Consumer Reviews and Regulation: Evidence from NY Restaurants

 5. Greg Lewis and Georgios Zervas
    The Welfare Impact of Consumer Reviews: A Case Study of the Hotel Industry
 6. Greg Lewis and Georgios Zervas
    Supply and Demand Responses to Consumer Review Platforms




                                                        A-4
  Case 4:20-cv-03664-YGR               Document 666-24            Filed 08/05/22        Page 172 of 331

Georgios Zervas, Associate Professor of Marketing, Questrom School of Business, Boston University             5


Grants, Awards, & Honors
1. Marketing Science Institute (MSI) Young Scholars                                                        2019
2. Dean’s Research Scholar, Questrom School of Business                                                 08/2018
3. Shahdadpuri Research Award, Questrom School of Business                                              10/2017
4. Hariri Institute Graduate Fellowship                                                                  6/2015
   ($25,000 award)
5. Google Faculty Research Award                                                                         2/2015
   ($35,000 unrestricted gift, plus $10,000 in Google Cloud credits)
6. Hariri Institute Junior Faculty Fellow                                                             2013–2015
7. Hariri Institute Research Grant                                                                       1/2013
   Principal Investigator, with co-PI John W. Byers ($26,500)
8. Departmental Research Achievement Award, Computer Science Dept., Boston U.                         2010–2011


Student Advising
1. Hannah Catabia, PhD Student, Computer Science Dept., Co-advisor                                  2019–to date
2. Philip Zhao, PhD Student, Marketing Dept., Advisor                                               2018–to date
3. Shrabastee Banerjee, PhD Student, Marketing Dept., Advisor                                         2015–2021
   Placement: Tilburg University, Marketing
4. Davide Proserpio, PhD Student, Computer Science Dept., Co-advisor                                  2012–2015
   Placement: USC Marshall, Marketing


Presentations and Invited Talks
Learning Market Structure & Consumer Preferences from Search Data: An Application to Hotel De-
mand Estimation
 Conferences:
 - Marketing Science 2019, Rome, Italy                                                              06/20/2019
Consumer Reviews and Regulation: Evidence from NY Restaurants
 Academia:
 - Technische Universität Berlin, Germany                                                           10/04/2021
 - Universitat zu Koln, Germany                                                                     07/31/2021
 - Brandeis University, Walthman, MA                                                                04/07/2021
 - Yale School of Management, New Haven, CT                                                         10/30/2020
 - University of Miami, Miami, FL                                                                   10/23/2020
 - UMass Amherst Isenberg School of Management, Amherst, MA                                         02/03/2018

 Conferences:
 - Marketing Science 2018, Philadelphia, PA                                                         06/14/2018




                                                      A-5
  Case 4:20-cv-03664-YGR               Document 666-24            Filed 08/05/22        Page 173 of 331

Georgios Zervas, Associate Professor of Marketing, Questrom School of Business, Boston University            6


 - BU Data Science Day, Boston University, Boston MA                                                01/26/2018
 - Digital, Mobile Marketing, and Social Media Analytics Conference, NYU, New York, NY              09/12/2017
 - Marketing Science, USC Marshall, Los Angeles, CA                                                 06/10/2017
 - Health Sector Data Blitz, Questom School of Business, Boston, MA                                 03/11/2017
 - Marketing Analytics and Big Data conference, Columbia University, New York, NY                   16/09/2017
The Welfare Impact of Consumer Reviews: A Case Study of the Hotel Industry
 Academia:
 - HEC, Paris, France                                                                               11/07/2019
 - Duke Fuqua, Durham, North Carolina                                                               05/01/2019
 - Harvard Business School, Boston, MA                                                              03/12/2019
 - NYU Stern, New York, NY                                                                          02/14/2019
 - Columbia GSB, New York, NY                                                                       10/16/2018
 - USC Marshall, Los Angeles, CA                                                                     4/14/2017
 - Stanford GSB, Palo Alto, CA                                                                       4/12/2017
 - Michigan Ross, Ann Arbon, MI                                                                      4/10/2017
 - University of Toronto Rotman, Toronto, ON                                                         2/17/2017
 - University of Chicago Booth, Chicago, IL                                                          1/31/2017
 - Wharton, Philadelphia, PA                                                                         1/25/2017
 - MIT Economics Dept., Cambridge, MA                                                               10/24/2016

 Conferences:
 - QME 2016, Kellogg School of Management, Evanston, IL                                             09/01/2016
 - SCECR 2016, Naxos, Greece                                                                        06/24/2016
 - Greater China Conference on Mobile Big Data Marketing, Hong Kong                                 06/13/2016
 - Marketing Science 2016, Shanghai, China                                                          06/16/2016
Online Reputation Management: Estimating the Impact of Management Responses on Consumer Re-
views.
 Academia:
 - Havard EconCS Seminar, Cambridge, MA                                                             10/02/2015
 - Hebrew University, Computer Science dept., Jerusalem, Israel                                     06/14/2015
The Rise of the Sharing Economy: Estimating the Impact of Airbnb on the Hotel Industry
 Conferences:
 - Open & User Innovation Conference 2015, Harvard Business School, Boston MA                       08/03/2016
 - CODE@MIT, Cambridge MA                                                                           10/16/2015
 - Marketing Science 2015, Baltimore                                                                05/20/2015
 - NYU 2015 Conference on Digital Big Data, Smart Life, Mobile Marketing Analytics                  23/10/2015

 Academia:
 - Simon Business School, University of Rochester                                                   2/29/2016

 Industry:
 - Microsoft Research New England                                                                   11/18/2015




                                                      A-6
  Case 4:20-cv-03664-YGR               Document 666-24            Filed 08/05/22        Page 174 of 331

Georgios Zervas, Associate Professor of Marketing, Questrom School of Business, Boston University            7


 Government:
 - Cambridge City Council, Cambridge, MA                                                            7/19/2016
Understanding Emerging Threats to Online Advertising
 Academia:
 - Goizueta Business School, Emory University                                                       02/27/2015
 - MSR/Harvard Game Theory Seminar                                                                  12/17/2014
 - Questrom School of Business, MPPL Seminar                                                        04/17/2015

 Industry:
 - Betaworks, NYC                                                                                   07/23/2015
Fake It Till You Make It: Reputation, Competition, and Yelp Review Fraud
 Conferences:
 - Marketing Science 2014, Emory University, Atlanta                                                06/13/2014
 - WIN 2013: The 5th Workshop on Information in Networks                                            10/04/2013
 - DIMACS Workshop on Economic Aspects of Information Sharing                                       02/08/2013

 Industry:
 - Google, Palo Alto, CA                                                                            02/12/2013
The Groupon Effect on Yelp Ratings: A Root Cause Analysis
 Conferences:
 - Marketing Science 2013, Istanbul, Turkey                                                         07/13/2013
 - SCECR 2012, Montreal, Canada                                                                     06/29/2012
 - ACM EC 2012, Valencia, Spain                                                                     06/05/2012
 - Yale Customer Insights Conference, New Haven, CT                                                 03/15/2013
 - CAOSS 2012: Workshop on Computational and Online Social Science, New York, NY                    10/12/2012

 Academia:
 - Wellesley University, Computer Science Dept                                                      02/27/2012
 - Northeastern University, Computer Science Dept                                                   03/28/2012
 - Harvard University, School of Eng. & Appl. Sci., Joint EconCS/Theory Seminar                     04/16/2012
 - Berkeley University, Computer Science Dept                                                       04/10/2012

 Industry:
 - Microsoft Research New York                                                                      02/27/2013
 - Google, Palo Alto, CA                                                                            04/09/2012
 - Yelp, San Francisco, CA                                                                          04/11/2012
Daily Deals: Prediction, Social Diffusion, and Reputational Ramifications
 Conferences:
 - New York Computer Science and Economics Day (Poster session.)                                    09/16/2011
 - Cambridge Area Economics and Computation Day (Poster session.)                                   11/18/2011
 - ACM WSDM 2012                                                                                    02/11/2012




                                                      A-7
   Case 4:20-cv-03664-YGR               Document 666-24            Filed 08/05/22        Page 175 of 331

 Georgios Zervas, Associate Professor of Marketing, Questrom School of Business, Boston University            8


  Academia:
  - Harvard University, School of Eng. & Appl. Sci., Joint EconCS/Theory Seminar                     10/20/2011
  - Boston University, Mathematics Dept., Statistics and Probability Seminar                         11/17/2011
  - Columbia University, Computer Science Dept., Seminar                                             12/08/2011

  Industry:
  - IBM Research, Hawthorne, NY, Seminar                                                             12/07/2011
  - Microsoft Research New England, Economics Research Working Group                                 10/14/2011
 Information Asymmetries in Pay-Per-Bid Auctions: How Swoopo Makes Bank
  Conferences:
  - ACM EC 2010                                                                                      06/09/2010

  Academia:
  - Boston University, Computer Science Dept., Theory Seminar                                        03/19/2010
  - Harvard University, School of Eng. & Appl. Sci., Joint EconCS/Theory Seminar                     03/29/2010
  - Northeastern University, Coll. of Comp. & Inf. Sci., Graduate Student Seminar                    04/03/2010
  - Williams College, Computer Science Dept., Invited Colloquium                                     10/22/2010
 Adaptive Weighing Designs for Keyword Value Computation
  Conferences:
  - ACM WSDM 2010                                                                                    02/06/2010

  Academia:
  - Boston University, Computer Science Dept., Networking Reading Group                              02/08/2010
  - Boston University, Computer Science Dept., CS565 Data Mining, Guest Lecture                      03/23/2010


 Teaching
 1. BA810: Supervised Machine Learning (44 students)                                                   Fall 2019
 2. BA810: Supervised Machine Learning (42 students)                                                   Fall 2019
 3. MK476: Machine Learning for Business Analytics (26 students)                                     Spring 2019
 4. MK824: Machine Learning for Business Analytics (44 students)                                     Spring 2019
 5. MK824: Machine Learning for Business Analytics (40 students)                                     Spring 2018
 6. MK824: Machine Learning for Business Analytics (43 students)                                     Spring 2017
 7. MK323: Marketing Management (49 students)                                                        Spring 2017
 8. MK323: Marketing Management (48 students)                                                          Fall 2015
 9. MK323: Marketing Management (50 students)                                                          Fall 2015
10. MK323: Marketing Management (47 students)                                                          Fall 2014
11. MK323: Marketing Management (47 students)                                                          Fall 2014
12. MK323: Marketing Management (49 students)                                                          Fall 2013
13. MK323: Marketing Management (50 students)                                                          Fall 2013




                                                       A-8
  Case 4:20-cv-03664-YGR               Document 666-24            Filed 08/05/22        Page 176 of 331

Georgios Zervas, Associate Professor of Marketing, Questrom School of Business, Boston University             9


Course Development
MK476, MK842, and BA810 are courses that I developed that introduce undergraduate, MBA, and MSBA
students to machine learning methods with applications in business analytics.


Service
Editorial Review Board                                                                              2020–to-date
Marketing Science
Steering Committee Member                                                                           2019–to-date
Rafik B. Hariri Institute for Computing, Boston University


Editorial Review Board                                                                              2019–to-date
Journal of Marketing
Editorial Review Board                                                                              2019–to-date
Journal of Marketing Research
Associate Editor                                                                                    2019–to date
ACM Transactions on Economics and Computation

Program committees: EC 2021 (Program Committee), EC 2020 (Senior Program Committee), WebConf
2020, EC 2019 (Senior Program Committee), EC 2018 (Senior Program Committee), EC 2018, WWW 2018,
ICIS 2018, EC 2017 (Senior Program Committee), EC 2016 (Senior Program Committee), WWW 2016
(Senior Program Committee), ICIS 2016, SCECR 2016, EC 2015, WSDM 2015, WWW 2015, AMMA 2015,
COBE 2015, EC 2014, WSDM 2014, WWW 2014, ICWSM 2014, WWW 2013, WSDM 2013, EC 2012.

Ad-hoc reviewer: Management Science, Marketing Science, Journal of Marketing Research, Information
Systems Research, Games and Economic Behavior, Review of Industrial Organization, Operations Let-
ters, Management Information Systems Quarterly, Journal of Public Economics, Manufacturing & Service
Operations Management.


Media coverage
1. Some Smiling Faces in Online Customer Testimonials Are Stock Photos                              05/16/2019
   The Wall Street Journal
2. Why ranting on Yelp is the wrong way to complain about awful service                             04/03/2018
   The Boston Globe
3. Does a ’Sharing Economy’ Foster Better Behavior?                                                 03/27/2018
   PC Magazine
4. For Hotels, Online Reviews Really Matter to the Bottom Line                                      11/18/2016
   The Wall Street Journal
5. Don’t Necessarily Judge Your Next E-Book By Its Online Review                                    10/26/2015
   NPR All Things Considered
6. Five-star fakes                                                                                  10/24/2015
   The Economist




                                                      A-9
   Case 4:20-cv-03664-YGR               Document 666-24            Filed 08/05/22        Page 177 of 331

 Georgios Zervas, Associate Professor of Marketing, Questrom School of Business, Boston University           10


 7. Ratings Now Cut Both Ways, So Don’t Sass Your Uber Driver                                        01/30/2015
    The New York Times
 8. Airbnb, Uber, Lyft: de l’économie collaborative au business du partage                           08/16/2014
    Le nouvel Observateur

 9. Airbnb versus hotels: Room for all, for now                                                      04/26/2014
    The Economist
10. Keeping crowdsourcing honest: can we trust the reviews?                                          02/18/2014
    BBC News
11. Why It’s So Hard to Figure Out the Sharing Economy’s Winners and Losers                          02/10/2014
    The Atlantic Cities
12. Sharing Is Caring, Unless It Costs You Your Job                                                  02/05/2014
    The New York Times Bits Blog
13. Yelp Reviews: Can You Trust Them?                                                                11/04/2013
    BU Today
14. Fake reviews on Yelp?! Don’t worry, we’ve got your back                                          09/27/2013
    Yelp Official Blog
15. Yelp deems 20% of user reviews ‘suspicious’                                                      09/24/2013
    Marketwatch, The Wall Street Journal
16. Yelp admits a quarter of submitted reviews could be fake                                         09/13/2013
    BBC News
17. Underdog Businesses Are More Likely to Post Fake Yelp Reviews                                    08/30/2013
    Harvard Business Review Blog Network
18. How Good Groupon Leads to Bad Yelp                                                               03/11/2013
    The Freaknomics Blog
19. For Some Businesses, Daily Deals Have A Dark Side                                                07/06/2012
    NPR Morning Edition
20. Using Groupon Deals? Your Yelp Rating May Suffer                                                 04/11/2012
    The Huffington Post
21. Help for Yelp                                                                                    11/09/2011
    BU Today
22. Groupon IPO: An Internet star falls to Earth                                                     10/23/2011
    Christian Science Monitor
23. Is Groupon Bad For Business?                                                                     10/18/2011
    WBUR
24. Groupon: Bad for Business?                                                                       10/05/2011
    BU Today
25. Groupon’s Morning After Problem                                                                  10/04/2011
    Time Magazine




                                                      A-10
   Case 4:20-cv-03664-YGR               Document 666-24            Filed 08/05/22        Page 178 of 331

 Georgios Zervas, Associate Professor of Marketing, Questrom School of Business, Boston University           11


26. Coupon Sites Are a Great Deal, but Not Always to Merchants                                       10/02/2011
    The New York Times
27. Groupon Deals May Hurt Your Yelp Ratings                                                         09/12/2011
    The Atlantic

28. Study: Daily Deals Hurt Businesses’ Reputations                                                  07/06/2011
    The Wall Street Journal, “In Charge” blog
29. Groupon’s Hidden Influence on Reputation                                                         09/12/2011
    The MIT Technology Review




                                                      A-11
  Case 4:20-cv-03664-YGR         Document 666-24       Filed 08/05/22     Page 179 of 331
                                             CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                       APPENDIX B
        LIST OF PRIOR EXPERT TESTIMONY FOR DR. GEORGIOS ZERVAS


Calhoun et al. v. Google LLC, U.S. District Court for the Northern District of California –
San Jose Division, Case No. 5:20-cv-05146
       Expert Report (December 2021) and Deposition Testimony (January 2022).




                                             B-1
  Case 4:20-cv-03664-YGR         Document 666-24        Filed 08/05/22     Page 180 of 331
                                              CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                         Appendix C
                                    Materials Considered
Case Documents
Third Amended Class Action Complaint, Chasom Brown, et al., v. Google LLC, United States
District Court Northern District of California, February 3, 2022.
Deposition of AbdelKarim Mardini Volume I, November 23, 2021.
Deposition of AbdelKarim Mardini Volume II, November 24, 2021.
Deposition of Glenn Berntson Volume I, March 18, 2022.
Deposition of Huei-Hung (Chris) Liao Volume I, December 2, 2021.
Deposition of Huei-Hung (Chris) Liao Volume II, December 3, 2021.
Deposition of Michael Kleber, March 18, 2022.
Deposition of Rory McClelland, February 18, 2022.
Deposition of Stephen Chung 30(b)(6), March 10, 2022.
Deposition of Steve Ganem, February 11, 2022.
Deposition of Steve Ganem, March 23, 2022.
Deposition of Wing Pan “Bert” Leung, March 4, 2022.


Academic Literature
Kurose, James F. & Ross, Keith W., “Computer Networking: A Top-Down Approach,” 8th
Edition, Pearson, 2021.
Garett, Renee et al., “A Literature Review: Website Design and User Engagement,” Online
journal of communication and media technologies, Vol. 6,3 (2016): 1-14, available at
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4974011/.
Rodden, Kerry et al., “Measuring the User Experience on a Large Scale: User-Centered Metrics
for Web Applications,” ACM Press, April 2010, available at
https://static.googleusercontent.com/media/research.google.com/en//pubs/archive/36299.pdf.


Publicly Available Sources
“[GA4] Activate Google signals for Google Analytics 4 properties,” Analytics Help, Google,
available at https://support.google.com/analytics/answer/9445345?hl=en.
“[GA4] Link Google Ads and Analytics,” Analytics Help, Google, available at
https://support.google.com/analytics/answer/9379420?hl=en.
“[GA4] Measure activity across platforms,” Analytics Help, Google, available at
https://support.google.com/analytics/answer/9213390?hl=en.



                                             C-1
  Case 4:20-cv-03664-YGR          Document 666-24         Filed 08/05/22      Page 181 of 331
                                               CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


“A beginner’s guide to programmatic advertising,” Amazon Ads, Amazon, March 11, 2021,
available at https://advertising.amazon.com/blog/programmatic-advertising.
“About Advertising Features,” Analytics Help, Google, available at
https://support.google.com/analytics/answer/3450482.
“About Google Tag Manager,” Tag Manager, Google, available at
https://developers.google.com/tag-platform/tag-manager.
“About privacy & messaging,” Google Ad Manager Help, Google, available at
https://support.google.com/admanager/answer/10075997?hl=en.
“About publisher provided identifiers,” Google Ad Manager Help, Google, available at
https://support.google.com/admanager/answer/2880055?hl=en.
“About the IETF,” Internet Society, available at https://www.internetsociety.org/about-the-ietf/.
“About the User-ID feature,” Analytics Help, Google,
https://support.google.com/analytics/answer/3123662#zippy=%2Cin-this-article.
“Activate Google signals,” Analytics Help, Google, available at
https://support.google.com/analytics/answer/7532985#zippy=%2Cin-this-article.
“Ad Choices for the Google Display Network,” Google Ad Manager Help, Google, available at
https://support.google.com/admanager/answer/2695279?hl=en.
“Ad personalization settings in Google’s publisher ad tags,” Google Ad Manager Help, Google,
available at https://support.google.com/admanager/answer/7678538.
“Ad selection white paper,” Google Ad Manager Help, Google, available at
https://support.google.com/admanager/answer/1143651#zippy=%2Csummary-of-data-types-
table.
“Ad sizes,” Google Publisher Tag, Google, available at https://developers.google.com/publisher-
tag/guides/ad-sizes.
“AdBlock –- best ad blocker,” Chrome Web Store, Google, available at
https://chrome.google.com/webstore/detail/adblock-%E2%80%94-best-ad-
blocker/gighmmpiobklfepjocnamgkkbiglidom?hl=en-US.
“AdButler,” AdButler, available at https://www.adbutler.com/.
“Add gtag.js to your site,” Google Analytics, Google, available at
https://developers.google.com/analytics/devguides/collection/gtagjs.
“AdGuard” AdGuard, available at https://adguard.com/en/welcome.html.
“Advertising with Google Ad Manager,” Google Ad Manager Help, Google, available at
https://support.google.com/admanager/answer/6022000?hl=en.
“Allow private browsing,” Chrome Enterprise and Education Help, Google, available at
https://support.google.com/chrome/a/answer/9302896?hl=en.



                                               C-2
  Case 4:20-cv-03664-YGR          Document 666-24        Filed 08/05/22      Page 182 of 331
                                               CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


“Analytics anywhere in the customer journey,” Adobe Analytics, Adobe, available at
https://www.adobe.com/analytics/adobe-analytics.html.
“Analyze the customer journey across websites and apps,” PIWIK PRO, available at
https://piwik.pro/.
“APIs: The Proven Tool for Efficient Business Growth,” Axos Bank, July 1, 2020, available at
https://www.axosbank.com/blog/APIs-The-Proven-Tool-for-Efficient-Business-Growth#.
“Block certain ads,”Ads Help, Google, available at
https://support.google.com/ads/answer/2662922?hl=en.
“Browse in private,” Google Chrome Help, Google, available at
https://support.google.com/chrome/answer/95464?hl=en&co=GENIE.Platform%3DDesktop.
“Browse InPrivate in Microsoft Edge,” Microsoft Support, Microsoft, available at
https://support.microsoft.com/en-us/microsoft-edge/browse-inprivate-in-microsoft-edge-
cd2c9a48-0bc4-b98e-5e46-ac40c84e27e2.
“Build Better Products,” Mixpanel, available at https://mixpanel.com/.
“Choose your privacy settings,” Google Chrome Help, Google, available at
https://support.google.com/chrome/answer/114836?hl=en&co=GENIE.Platform%3DDesktop.
“Chrome DevTools,” Chrome Developers, Google, available at
https://developer.chrome.com/docs/devtools/.
“Client-side Storage,” World Wide Web Consortium, available at
https://www.w3.org/2001/tag/2010/09/ClientSideStorage.html.
“Common Myths about Private Browsing,” Support Mozilla, Mozilla, available at
https://support.mozilla.org/en-US/kb/common-myths-about-private-
browsing?as=u&utm_source=inproduct.
“Computer Cookies: What They Are and How They Work,” HP Tech Takes, November 26,
2018, available at https://www.hp.com/us-en/shop/tech-takes/what-are-computer-cookies.
“Consent Mode,” Analytics Help, Google, available at
https://support.google.com/analytics/answer/9976101?hl=en.
“Cookie Rejection Report 2020,” Flashtalking, available at
https://static1.squarespace.com/static/5c17fee58ab722e19b765b9d/t/5ebb2cad66d47b4c5c9f21a
9/1589324990858/Flashtalking_Cookie_Rejection_Report_2020.pdf.
“Cookies and user identification with gtag.js,” Google Analytics, Google, available at
https://developers.google.com/analytics/devguides/collection/gtagjs/cookies-user-id.
“Cookies and User Identification,” Google Analytics, Google, available at
https://developers.google.com/analytics/devguides/collection/analyticsjs/cookies-user-id.
“cookies and website data,” Apple Support, Apple, available at
https://support.apple.com/guide/safari/aside/glos0126d795/15.1/mac/12.0.


                                               C-3
  Case 4:20-cv-03664-YGR          Document 666-24        Filed 08/05/22     Page 183 of 331
                                              CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


“Disable Google Analytics measurement,” Google Analytics, Google, available at
https://developers.google.com/analytics/devguides/collection/gtagjs/user-opt-out.
“Disable JavaScript in Chrome, Edge, Firefox, Opera, Internet Explorer on Windows 11/10,”
The Windows Club, available at https://www.thewindowsclub.com/disable-javascript-chrome-ie-
firefox-opera.
“Does firefox prevent sites and javascript code from accessing existing cookies and web sites
data when browsing in Private Browsing mode?” Support Mozilla, Mozilla Corporation,
February 24, 2019, available at https://support.mozilla.org/en-US/questions/1251227.
“Does Safari Web Extensions include Private Browsing?” Developer Forums, Apple, available at
https://developer.apple.com/forums/thread/650294.
“Download NordVPN app for Windows PC,” NordVPN, available at
https://nordvpn.com/download/windows/.
“Enable Google signed-in, cross-device personalized ads,” Google Ad Manager Help, Google,
available at https://support.google.com/admanager/answer/7204537?hl=en.
“Enable Remarketing and Avertising Reporting Features in Analytics,” Analytics Help, Google,
available at https://support.google.com/analytics/answer/2444872.
“Extensions in Private Browsing,” Support Mozilla, Mozilla, available at
https://support.mozilla.org/en-US/kb/extensions-private-browsing.
“Facebook Advertisers: Direct vs Programmatic Buying Trends,” MediaRadar, May 27, 2021,
available at https://mediaradar.com/blog/facebook-advertisers-direct-vs-programmatic/.
“Get started with ads in Google Ad Manager,” Google Ad Manager Help, Google, available at
https://support.google.com/admanager/answer/6027116?hl=en&ref_topic=7506292.
“Get Started with Google Publisher Tags,” Google Publisher Tag, Google, available at
https://developers.google.com/publisher-tag/guides/get-started.
“Google Analytics 4 SDK, and User ID Feature Policy,” Analytics Help, Google, available at
https://developers.google.com/analytics/devguides/collection/ga4/policy.
“Google Analytics 4 tags,” Tag Manager Help, Google, available at
https://support.google.com/tagmanager/answer/9442095.
“Google Analytics alternative that protects your data and your customers’ privacy,” Matomo,
available at https://matomo.org/.
“Google Analytics Cookie Usage on Websites,” Google Analytics, Google,
https://developers.google.com/analytics/devguides/collection/gtagjs/cookie-usage.
“Google Analytics Opt-out Add-on (by Google),” Chrome Web Store, Google, available at
https://chrome.google.com/webstore/detail/google-analytics-opt-
out/fllaojicojecljbmefodhfapmkghcbnh?hl=en.
“Google Analytics Opt-out Browser Add-on,” Google Tools, Google, available at
https://tools.google.com/dlpage/gaoptout/.

                                              C-4
  Case 4:20-cv-03664-YGR         Document 666-24        Filed 08/05/22     Page 184 of 331
                                              CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


“Google Analytics Terms of Service,” Google Marketing Platform, Google, available at
https://marketingplatform.google.com/about/analytics/terms/us/.
“Google and TCF 2.0: how to collect consent for personalized ads,” iubenda, available at
https://www.iubenda.com/en/help/16041-google-tcf-consent-personalized-ads.
“Google Chrome Privacy Notice,” Google Chrome, Google, September 23, 2021, available at
https://www.google.com/chrome/privacy/.
“Google Publisher Policies,” Google Ad Manager Help, Google, available at
https://support.google.com/admanager/answer/10502938?visit_id=637746843701355304-
1137658824&rd=1#privacy.
“Growing your business with APIs.,” Visa, available at
https://usa.visa.com/content/dam/VCOM/download/partner-with-us/growing-business-api-
whitepaper.pdf
“Guide to Third-party Cookies,” CookieYes, March 24, 2022, available at
https://www.cookieyes.com/blog/third-party-cookies/.
“Hello Analytics API: JavaScript quickstart for web applications,” Google Analytics, Google,
available at https://developers.google.com/analytics/devguides/config/mgmt/v3/quickstart/web-
js.
“How Chrome Incognito keeps your browsing private,” Google Chrome Help, Google, available
at https://support.google.com/chrome/answer/9845881.
“How do I turn on the Do Not Track feature,” Support Mozilla, Mozilla Corporation, available
at https://support.mozilla.org/en-US/kb/how-do-i-turn-do-not-track-feature.
“How Google Uses Cookies,” Google Privacy & Terms, Google, available at
https://policies.google.com/technologies/cookies?hl=en-US.
“How Google uses information from sites or apps that use our services,” Google Privacy &
Terms, Google, available at https://policies.google.com/technologies/partner-sites.
“How often do you use a VPN?” Statista, available at
https://www.statista.com/statistics/1219770/virtual-private-network-use-frequency-us-uk/.
“How private browsing works in Chrome,” Google Chrome Help, Google, available at
https://support.google.com/chrome/answer/7440301?hl=en.
“How private browsing works,” Google, archived by the Wayback Machine, May 03, 2020,
available at
https://web.archive.org/web/20200503180118/https://support.google.com/chrome/?p=incognito.
“HTTP Request Methods,” W3 Schools, available at
https://www.w3schools.com/tags/ref_httpmethods.asp.
“HTTP Status Messages,” W3 Schools, available at
https://www.w3schools.com/tags/ref_httpmessages.asp.


                                              C-5
  Case 4:20-cv-03664-YGR          Document 666-24        Filed 08/05/22      Page 185 of 331
                                               CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


“IBA Opt-out (by Google), Chrome Web Store, Google, available at
https://chrome.google.com/webstore/detail/iba-opt-out-by-
google/gbiekjoijknlhijdjbaadobpkdhmoebb?hl=en.
“Incognito browser: What it really means,” Mozilla, available at https://www.mozilla.org/en-
US/firefox/browsers/incognito-browser/.
“IP Anonymization (or IP masking) in Google Analytics,” Analytics Help, Google, available at
https://support.google.com/analytics/answer/2763052.
“IPv4 and IPv6 address formats,” IBM, March 2, 2021, https://www.ibm.com/docs/en/ts3500-
tape-library?topic=functionality-ipv4-ipv6-address-formats.
“Learn about Google Analytics,” Google Analytics, Google, accessed March 22, 2022, available
at https://developers.google.com/analytics/devguides/platform.
“Limited Ads,” Google Ad Manager Help, Google, available at
https://support.google.com/admanager/answer/9882911.
“Manage my Browser’s Opt Outs,” NAI, available at https://thenai.org/opt-out/.
“Manage user privacy,” Tags, Google, available at https://developers.google.com/tag-
platform/devguides/privacy.
“Manage your cookies and site data,” Google, archived by the Wayback Machine, May 17, 2013,
available at
https://web.archive.org/web/20130517102706/https://support.google.com/chrome/answer/95647
?hl=en#.
“Measurement Protocol, SDK, and User ID Feature Policy,” Google Analytics, Google, available
at https://developers.google.com/analytics/devguides/collection/protocol/ga4/policy.
“Measurement Protocol, SDK, and User ID Feature Policy,” Google Analytics, Google, available
at https://developers.google.com/analytics/devguides/collection/protocol/policy.
“Migrate from analytics.js to gtag.js (Universal Analytics),” Google Analytics, Google, available
at https://developers.google.com/analytics/devguides/migration/ua/analyticsjs-to-gtagjs.
“OpenX,” OpenX, available at https://www.openx.com/.
“Personalized and non-personalized ads,” Google Ad Manager Help, Google, available at
https://support.google.com/admanager/answer/9005435.
“Policy requirements for Google Analytics Advertising Features,” Analytics Help, Google,
available at https://support.google.com/analytics/answer/2700409.
“POST,” MDN Web Docs, Mozilla, available at https://developer.mozilla.org/en-
US/docs/Web/HTTP/Methods/POST.
“Restricted data processing (CCPA) settings in Google’s publisher ad tags,” Google Ad Manager
Help, Google, available at https://support.google.com/admanager/answer/9598414#other-tags.



                                              C-6
  Case 4:20-cv-03664-YGR          Document 666-24         Filed 08/05/22     Page 186 of 331
                                               CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


“Safeguarding your data,” Analytics Help, Google, available at
https://support.google.com/analytics/answer/6004245.
“Search & browse privately”, Google Search Help, Google, available at
https://support.google.com/websearch/answer/4540094?hl=en&co=GENIE.Platform%3DDeskto
p.
“Static vs. dynamic IP addresses,” Google Fiber Help, Google, available at
https://support.google.com/fiber/answer/3547208?hl=en
“Sybu JavaScript Blocker,” Chrome Web Store, Google, available at
https://chrome.google.com/webstore/detail/sybu-javascript-
blocker/ceicidjdokcfbnkdenbhmnonehglgilk.
“Tag Manager overview,” Tag Manager Help, Google, available at
https://support.google.com/tagmanager/answer/6102821?hl=en.
“Tag,” At Internet, available at https://www.atinternet.com/en/glossary/tag-3/.
“Temporarily allow cookies and site data in Microsoft Edge,” Microsoft Edge Support,
Microsoft, available at https://support.microsoft.com/en-us/microsoft-edge/temporarily-allow-
cookies-and-site-data-in-microsoft-edge-597f04f2-c0ce-f08c-7c2b-541086362bd2.
“Three Ways APIs Are Keeping Small Businesses Digitally Competitive,” Small Business
Trends, February 10, 2022, available at https://smallbiztrends.com/2022/02/api-and-digital-
transformation.html.
“Tracking prevention in Microsoft Edge,” Microsoft, available at https://docs.microsoft.com/en-
us/microsoft-edge/web-platform/tracking-prevention.
“Types of Network Protocols, Explained,” CDW Research Hub, available at
https://www.cdw.com/content/cdw/en/articles/networking/types-of-network-protocols.html.
“uBlock Origin,” Chrome Web Store, Google, available at
https://chrome.google.com/webstore/detail/ublock-
origin/cjpalhdlnbpafiamejdnhcphjbkeiagm?hl=en.
“Understand how users behave on your site, what they need, and how they feel, fast,” Hotjar,
available at https://www.hotjar.com/.
“Universal Analytics will be going away,” Analytics Help, Google, available at
https://support.google.com/analytics/answer/11583528?hl=en.
“URIs, Addressability, and the use of HTTP GET and POST,” World Wide Web Consortium,
March 21, 2004, available at https://www.w3.org/2001/tag/doc/whenToUseGet.html#checklist.
“Use first-party cookies for programmatic frequency caps,” Google Ad Manager Help, Google,
available at https://support.google.com/admanager/answer/10650804?hl=en.
“Use Private Browsing in Safari on Mac,” Apple Support, Apple, available at
https://support.apple.com/guide/safari/browse-privately-ibrw1069/mac.


                                               C-7
  Case 4:20-cv-03664-YGR          Document 666-24         Filed 08/05/22     Page 187 of 331
                                               CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


“User-ID limits,” Analytics Help, Google, available at
https://support.google.com/analytics/answer/3123668#zippy=%2Cin-this-article.
“Using HTTP cookies,” MDN Web Docs, Mozilla, available at https://developer.mozilla.org/en-
US/docs/Web/HTTP/Cookies.
“W3C TAG Observations on Private Browsing Modes,” World Wide Web Consortium, April 9,
2020, available at https://w3ctag.github.io/private-browsing-modes/#evolving.
“What are cookies | Cookies definition,” Cloudflare, available at
https://www.cloudflare.com/learning/privacy/what-are-cookies/.
“What is a First-Party Cookie?” CookiePro Knowledgebase, September 17, 2021, available at
https://www.cookiepro.com/knowledge/what-is-a-first-party-cookie/.
“What is Amazon DSP?” Amazon Ads, Amazon, available at
https://advertising.amazon.com/solutions/products/amazon-dsp.
“What is JavaScript?” MDN Web Docs, Mozilla Corporation, available at
https://developer.mozilla.org/en-US/docs/Learn/JavaScript/First_steps/What_is_JavaScript.
“Which Tracking Prevention Setting Should You Use in Microsoft Edge,” How-To Geek,
February 11, 2020, available at https://www.howtogeek.com/569951/which-tracking-prevention-
setting-should-you-use-in-microsoft-edge/.
“XML HttpRequest,” W3 Schools, available at https://www.w3schools.com/xml/xml_http.asp.
“XMLHttpRequest,” MDN Web Docs, Mozilla, available at https://developer.mozilla.org/en-
US/docs/Web/API/XMLHttpRequest.
Bacinger, Tomislav, “What is Bootstrap? A Short Bootstrap Tutorial on the What, Why, and
How,” TopTotal, available at https://www.toptal.com/front-end/what-is-bootstrap-a-short-
tutorial-on-the-what-why-and-how.
Blumenthal, Eli, “Apple updates Safari on iOS to block third-party cookies,” CNET, March 25,
2020, availible at https://www.cnet.com/tech/computing/apple-updates-safari-on-ios-and-mac-
to-block-third-party-cookies/.
Cranor, Lorrie & Habib, Hana, “Private browsing: What it does - and doesn’t do - to shield you
from prying eyes on the web,” The Conversation, July 30, 2020, available at
https://theconversation.com/private-browsing-what-it-does-and-doesnt-do-to-shield-you-from-
prying-eyes-on-the-web-142445.
Edelstein, Arthur, “Firefox 89 blocks cross-site cookie tracking by default in private browsing,”
Mozilla Security Blog, Mozilla Corporation, June 1, 2021, available at
https://blog.mozilla.org/security/2021/06/01/total-cookie-protection-in-private-browsing/.
Finley, Klint, “I Turned Off JavaScript for a Whole Week and It Was Glorious,” Wired,
November 18, 2015, available at https://www.wired.com/2015/11/i-turned-off-javascript-for-a-
whole-week-and-it-was-glorious/.



                                               C-8
  Case 4:20-cv-03664-YGR          Document 666-24        Filed 08/05/22      Page 188 of 331
                                               CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


Herman, Scott, “Measure conversions while respecting user consent choices,” Google Marketing
Platform, Google, September 3, 2020, available at
https://blog.google/products/marketingplatform/360/measure-conversions-while-respecting-user-
consent-choices/.
Hodge, Rae, “If You Care About Your Privacy, You Need to Change These Browser Settings
Right Now,” CNET, February 26, 2022, available at https://www.cnet.com/tech/services-and-
software/if-you-care-about-your-privacy-you-need-to-change-these-browser-settings-right-now/.
Hodge, Rae, Holly, Russell, & David Gewirtz, “Best VPN Service of 2022,” CNET, March 26,
2022, available at https://www.cnet.com/tech/services-and-software/best-vpn/.
Hoffman, Chris, “What Is NoScript, and Should You Use It to Disable JavaScript?” How-To
Geek, November 21, 2017, avaiable at https://www.howtogeek.com/138865/htg-explains-
should-you-disable-javascript/.
Kopachovets, Oleg, “3rd Party API [Benefits, Our Experience, How-To],” PRCoders, October 6,
2021, available at https://procoders.tech/blog/how-to-integrate-third-party-api/.
Kyrnin, Jennifer, “Splash Pages: Pros and Cons,” ThoughtCo., February 25, 2021, available at
https://www.thoughtco.com/splash-pages-pros-cons-3469116.
Mardini, AbdelKarim, “More intuitive privacy and security controls in Chrome,” The Keyword,
Google, May 19, 2020, available at https://blog.google/products/chrome/more-intuitive-privacy-
and-security-controls-chrome/.
Patwegar, Waseem “How to Enable or Disable JavaScript In Chrome Browser,” Techbout,
available at https://www.techbout.com/enable-disable-javascript-chrome-36943/.
Paul, Ian, “How to automatically delete your cookies every time you close your broswer,” PC
World, November 11, 2014, available at https://www.pcworld.com/article/436317/how-to-
automatically-delete-your-cookies-every-time-you-close-your-browser.html.
Prime, Joshua, “What is a Dynamic IP Address?” OpenDNS, available at
https://support.opendns.com/hc/en-us/articles/227987827-What-is-a-Dynamic-IP-Address-.
Protalinski, Emil, “Chrome 83 arrives with redesigned security settings, third-party cookies
blocked in Incognito,” VentureBeat, May 19, 2020, available at
https://venturebeat.com/2020/05/19/google-chrome-83/.
Spadafora, Anthony, “New Chrome build will allow you to block all cookies,” TechRadar,
March 17, 2020, available at https://www.techradar.com/news/new-chrome-build-will-allow-
you-to-block-all-cookies,
Vrountas, Ted, “What Is Meta Pixel & What Does It Do?” Instapage by Postclick, February 14,
2022, available at https://instapage.com/blog/meta-pixel.
Zola, Andrew and Alexander S. Gillis, “network packet,” TechTarget, available at
https://www.techtarget.com/searchnetworking/definition/packet.



                                               C-9
     Case 4:20-cv-03664-YGR           Document 666-24         Filed 08/05/22      Page 189 of 331
                                                           CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                             APPENDIX D

                                    TESTING METHODOLOGY



         1.      This appendix describes technical details and testing methodology related to the

analysis in my report.


I.       PRIVATE BROWSING MODE FUNCTIONALITY TEST

         2.      To evaluate how data transmission differs between Regular and Private Browsing

Modes, I accessed websites identified in the Complaint with testing variations in operating

systems, browsers, and browsing modes. Websites mentioned in the Complaint include: 1

                 ●       https://www.nytimes.com/
                 ●       https://www.apartments.com/
                 ●       https://www.cnn.com/
                 ●       https://www.latimes.com/
                 ●       https://www.washingtonpost.com/

         3.      I conducted tests on a variety of browser and operating system combinations:


              a. On Windows 10 (version 20H2), I evaluated Chrome (version 100), Firefox
                 (version 99), and Edge (version 100).

              b. On macOS (version 12.2.1), I evaluated Chrome (version 100) and Safari (version
                 15).

              c. On Android (version 12), I evaluated Chrome (version 100).


1
      I understand that Plaintiffs provide these websites as examples and that these websites do not
      constitute an exhaustive list of all websites Plaintiffs visited during the Class Period. Based on
      my professional experience, I understand the results I present in my report based on these five
      websites would be also applicable to a larger sample of websites that use Google Analytics and
      Google Ad Manager services.

                                                  D-1
    Case 4:20-cv-03664-YGR          Document 666-24         Filed 08/05/22      Page 190 of 331
                                                         CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


             d. On iOS (version 15.3.1), I evaluated Chrome (version 99) and Safari (version 15).

        4.      I used Fiddler Everywhere to record data transmission logs. 2 I followed a testing

protocol as outlined below. The protocol is designed to (1) mimic a typical user’s browsing

behavior in that data are not cleared between browsing sessions, and (2) examine data transmitted

during a Private Browsing Session as compared to a Regular Mode Session. I followed the steps

described below for each website I visited in the respective browser-operating system variation:


             a. Open browser in Regular Mode.

             b. Clear all browsing data (i.e., cookies, caches, and other browser information). 3

             c. Check that default browser settings are in place (default cookie settings, all
                extensions disabled) by navigating to the respective settings pages.

             d. Close the Regular Mode session.

             e. “Regular Mode (Initial Session)” recording:

                     i. Enable Fiddler Everywhere transmission recording.

                    ii. Open browser in Regular Mode.

                   iii. Copy the URL into the address bar.

                   iv. Wait for all visible webpage elements to load and scroll to the bottom of the
                        webpage.


2
     Fiddler Everywhere is a software tool similar to Developer Tools in Chrome (which is a built-
     in Chrome browser feature). In contrast to Developer Tools, Fiddler Everywhere can capture
     HTTP transmissions irrespective of whether they occur as a result of web browsing or due to
     any other network transmission activity (e.g., other software running in the background such
     as Spotify). As my testing involved multiple browsers and operating systems, I used Fiddler
     Everywhere to record these tests in a consistent way.
3
     Clearing browsing data before the start of each test serves the purpose of ensuring that all the
     data captured on the browser is directly related to my tests.
                                                 D-2
    Case 4:20-cv-03664-YGR          Document 666-24        Filed 08/05/22      Page 191 of 331
                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                    v. Close the browser and stop capturing transmissions.

             f. “Regular Mode (Session 1)” recording:

                    i. Repeat steps in (e).

             g. “Private Browsing Mode (Session 1)” recording:

                    i. Open the browser in private browsing mode. 4

                    ii. Copy the URL into the address bar.

                   iii. Wait for all visible webpage elements to load and scroll to the bottom of the
                       webpage.

             h. Close the browser and stop capturing transmissions. “Private Browsing Mode
                (Session 2)” recording:

                    i. Repeat steps in (g).

             i. “Regular Mode (Session 2)” recording:

                    i. Repeat steps in (e).

        5.      I saved the files in an HTTP Archive format (HAR files). I used the Python

programming language to parse and analyze HAR files. My analysis focused on HTTP requests

including and following the initial request to the website of interest (e.g., when accessing


4
     In Windows, I opened a Private Browsing Session in Chrome, Firefox, and Edge by right-
     clicking on the browser icon and selecting to open a Private Browsing Session (the exact phrase
     of the relevant option differs). For macOS, I opened a Safari Private Browsing Session by
     navigating to Preferences and changing the settings for “Safari opens with” from “A new
     window” to “A new private window.” For Chrome in macOS, I was not able to open Incognito
     Mode directly as on Windows. Therefore, I opened Chrome on macOS by first opening a
     Regular Mode Session and then selecting to open an Incognito window through the browser
     menu. In this test case, I closed the Regular Mode Session before starting the Private Browsing
     Session. For iOS and Android, I opened a private browsing session by long-tapping the
     browser icon and selected the drop-down for a Private Browsing Session.

                                                D-3
    Case 4:20-cv-03664-YGR         Document 666-24        Filed 08/05/22      Page 192 of 331
                                                       CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


https://www.nytimes.com/, I analyze all requests starting from the request to nytimes.com domain)

in order to exclude any automatic communications by the browsers that are not tied to Regular

Mode or Private Browsing Sessions and are not directly associated with user browsing activity.


        6.      In my analysis, I focused on cookie values transmitted to Google-associated

domains. 5 Cookie values may be transmitted in two ways. First, cookie values can be sent in an

HTTP request header. Second, cookie values may be transmitted as part of a URL parameter.


        7.      To analyze cookie values transmitted as part of HTTP request headers sent to

Google, I extracted all cookies sent under both “cookies” and “headers” fields in all HTTP requests

to Google domains.


        8.      I also systematically analyzed parameter values contained in the URLs associated

with Google domains. URL parameters have a standardized structure with a parameter key (name)

and an associated value separated by an equal sign (“=”). Key-value pairs for different URL

parameters are separated by the “&” sign. As an example, the following URL with query string

parameters can be found in the HAR file provided in my backup. 6 I highlighted keys with yellow

color and associated values with blue color.


                "url":

        "https://mwcm.nytimes.com/capi/metered_assets/?plat=web&mc=0&mr=1&ma=




5
     Similarly to my analysis in Section IV, I relied on the list of Google domains obtained from
     DuckDuckGo. https://github.com/duckduckgo/tracker-
     radar/blob/main/entities/Google%20LLC.json
6
     File baseline0.har related to my testing of https://www.nytimes.com/ in Chrome on
     Windows.

                                               D-4
    Case 4:20-cv-03664-YGR         Document 666-24         Filed 08/05/22     Page 193 of 331
                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


        1&counted=false&granted=true&us=anon&context-

        type=&areas=barOne&areas=welcomeAd"


        9.      Although URL parameters can be used to transmit cookie values, they can also be

used to transmit many other types of information unrelated to cookies. Therefore, not all

parameters observed in a URL are associated with a cookie value. Further, even if cookie values

are transmitted, the cookie name is not necessarily the same as the URL parameter name.

Therefore, my approach to identify relevant URL parameters associated with cookie values is

focused on analyzing transmitted values and matching them to the cookie values identified either

in the request or response for all HTTP requests observed in the corresponding HAR file.


        10.     To identify potential cookie values that are passed through URL parameters, I first

recorded all cookie values sent under both “cookies” and “headers” fields in the requests as well

as cookies set under both “cookie” and “headers” fields in the responses (collectively referred to

as “cookie values encountered”) that I observed in a HAR file. I then analyzed all URL parameters

that appear in the requests to Google-associated domains. 7


        11.     For each URL parameter sent to a Google-associated domain, I looked for whether

the value contained in the URL parameter is at least a substring of a value contained in an observed

cookie value, or vice versa (whether a cookie value is at least a substring of any observed URL

parameter). For example, if there was a URL parameter with value “369248429.1649093540”, and

there was a cookie value encountered with a value “GA1.2.369248429.1649093540,” I identified



7
      File Fiddler Everywhere does not capture the contents of a browser’s cookie jar. For
     scenarios where third-party cookies were blocked by default and were passed as a URL
     parameter to Google-associated domains, I further investigated these instances with the
     browser’s developer tools to verify that the cookies were not set in the browser.

                                                D-5
    Case 4:20-cv-03664-YGR          Document 666-24         Filed 08/05/22     Page 194 of 331
                                                         CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


the URL parameter as a substring of the cookie value. If a parameter is not a substring of a cookie

value and there is no cookie value that is a substring of the parameter, I excluded this parameter

from further analysis.


         12.     Among the URL parameters that are identified as being a substring or having a

substring among cookie values, I reviewed each case individually to determine whether the URL

parameter indeed matches with the associated cookie value. For example, a URL parameter with

value “1” would not be matched to a cookie value of “5299123”; however, I would identify

“369248429.1649093540” in the URL parameter as a match with a cookie value of

“GA1.2.369248429.1649093540”. To limit the scope of this review, I did not perform this

matching protocol for URL parameters and cookie values with a value length equal to or less than

three characters. I also excluded from my analysis URL parameters with the following values:

“true”, “false”, and “null.” 8 I did not limit cookies I analyze based on the length of cookie value

as these limitations only apply to matching cookies to respective URL parameters.


         13.     I provided the list of matches that I reviewed manually to determine if the matches

are associated with transmitted cookies in backup production.


II.      SETTINGS AND EXTENSIONS

         14.     In my experiments described in Section V.D, I included the same websites I studied

in Section IV of my report:

                 ●       https://www.nytimes.com/
                 ●       https://www.apartments.com/
                 ●       https://www.cnn.com/

8
      I transformed values to lowercase to avoid case differences.

                                                 D-6
  Case 4:20-cv-03664-YGR             Document 666-24           Filed 08/05/22    Page 195 of 331
                                                           CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                 ●       https://www.latimes.com/
                 ●       https://www.washingtonpost.com/

       15.       I conducted all my tests using Chrome (version 100) on Windows 10 (version

20H2) to illustrate how the settings impact transmissions of At-Issue Data. Based on my

professional experience with browsers and operating systems, similar types of browser settings

and extensions are available on other browser-operating system pairs.


       16.       I tested the following settings in my report:


              a. Cookie blocking: These tests include changing the cookie settings to: “Allow all
                 cookies”, “Block third-party cookies”, and “Block all cookies” settings.

              b. JavaScript: These tests include allowing JavaScript, changing the browser setting
                 to block JavaScript, and using the Sybu extension to block JavaScript.

              c. uBlock Origin extension: These tests include testing the uBlock Origin extension
                 disabled and the uBlock Origin extension enabled.

              d. Google Analytics Opt-out Add-on extension: These tests include testing the Google
                 Analytics Opt-out Add-on disabled and Google Analytics Opt-out Add-on enabled.

       17.       In each of these tests except the Cookie blocking, I used the default cookie settings.

In Regular Mode, Chrome allows all cookies. In Incognito Mode, third-party cookies are blocked

by default.


       18.       I used Fiddler Everywhere to collect HTTP transmissions in both Regular and

Private Browsing Modes following a testing protocol as outlined below. The procedure is repeated

for all website-setting-mode combinations.


              a. Open a browser instance in Regular Mode, clear browsing data (i.e., cookies and
                 cache), and select the setting of interest.

                                                   D-7
  Case 4:20-cv-03664-YGR           Document 666-24         Filed 08/05/22      Page 196 of 331
                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


             b. Close the Regular Mode session.

             c. Start recording data using Fiddler Everywhere and open a respective browsing
                mode session (Regular Mode or Private Browsing Mode, depending on the
                combination being tested).

                    i. Regular Browsing Session is opened by clicking on the Chrome browser
                        icon.

                    ii. Private Browsing Session is opened by right-clicking on the Chrome
                        browser icon and selecting “New Incognito window” to ensure a clean
                        testing procedure.

             d. Visit a website of interest by copying and pasting a respective URL to the address
                bar, wait until the website is finished loading, and scroll down to the bottom of
                the webpage.

             e. Close the browsing session.

             f. Stop data recording and save the associated network transmissions.

             g. Close browser.

       19.       In my analysis, I followed the same procedure to identify cookie values that are

transmitted to Google-associated domains as I described in Section I of this Appendix.




                                                D-8
                              Case 4:20-cv-03664-YGR                                                 Document 666-24                                    Filed 08/05/22                            Page 197 of 331
                                                                                                                                                                     CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                                                     Appendix E.1: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                    Chrome Version 81 Tested on Windows 10
                                                                                                            https://www.nytimes.com/

                                                                                                                                 Chrome
                                 Regular Mode                                  Regular Mode                              Private Browsing Mode                          Private Browsing Mode                               Regular Mode
 Cookie Name             (Initial Session)                                       (Session 1)                                (Session 1)                                      (Session 2)                                      (Session 2)
CMID         Ykz9qFbixl0zYMDlDVWocAAA                                                                         Ykz.tYt7nX6Cde0JMwdX0gAA                        Ykz-XIudpbczrmBmwUNZPQAA
DSID                                                           NO_DATA                                                                                        NO_DATA                                        NO_DATA
ID                                                                                                                                                            c22f8f3ad7ec80601fa6b750a5d926

IDE             AHWqTUky1u46zdsEaAU3deV8RhjnfR                 AHWqTUky1u46zdsEaAU3deV8RhjnfR                 AHWqTUkMJQWHRC_U5UKaCaKvAidt_5 AHWqTUlo0BFGBvY8aX3SeDQnI8K-s2                                  AHWqTUky1u46zdsEaAU3deV8RhjnfR
                                                               511=fPz-VCYuOGvFUO5s9Nayx2WnTa

NID             511=fPz-VCYuOGvFUO5s9Nayx2WnTa                 511=tApLKj8llIIlBi8g2-B6Uy9cDs                 511=ExiiSvNJk-unGywfP29E6NTpo4                  511=vkChIJSDR54ydhHjrATi-sz4b9                 511=tApLKj8llIIlBi8g2-B6Uy9cDs
TDID            809893ac-834c-43f9-a196-f08caf                 809893ac-834c-43f9-a196-f08caf                 939aa204-acac-468e-98e7-a48075
                ID=7c31edb0b1f6b5fb-22f09af8f1                                                                ID=5698b91d4059c7fe-228446fbf1

__gads          ID=7c31edb0b1f6b5fb:T=16492128                 ID=7c31edb0b1f6b5fb:T=16492128                 ID=5698b91d4059c7fe:T=16492131                  ID=8d6f0de99d2245c2:T=16492132                 ID=7c31edb0b1f6b5fb:T=16492128
_ga             1952030859.1649212839                          1952030859.1649212839                          1167649907.1649213107                           792126254.1649213278                           1952030859.1649212839
_gcl_au         1383473507.1649212840                          1383473507.1649212840                          1377810974.1649213109                           1221338006.1649213279                          1383473507.1649212840
_gid            332175566.1649212841                           332175566.1649212841                           786669721.1649213110                            2061444676.1649213279                          332175566.1649212841
callback        AYg5qPIZZWZZeR6YI6IL1lliIo6e-3
google_push                                                                                                                                                   AYg5qPK2yaJBJma79bnzsijkiAvShp
nyt-a           s_0MdNi9p7xRpbq6xjM2up                         s_0MdNi9p7xRpbq6xjM2up                         ve6wR5qvDxVt9-VpZu8dNg                          _vc--mENQ998zqoXeypKJ6                         s_0MdNi9p7xRpbq6xjM2up
nyt-jkidd       anon                                           anon                                           anon                                            anon                                           anon
sa-user-id-v2                                                                                                 LaVOXvuwQ6NlWm-zaUakQRQWv7E
test_cookie     CheckForPermission                                                                            CheckForPermission                              CheckForPermission

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] The nyt-jkidd cookie is a first-party cookie with a long value. I observed a substring value of this long value, “anon”, which matches a URL parameter sent to www.google-analytics.com. Since my exhibit shows only the substring value that was sent
to Google-associated domains, I reviewed the full nyt-jkidd values across Regular and Private Browsing Mode and found that the values associated with the Private Browsing Mode were always different.
[5] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
                              Case 4:20-cv-03664-YGR                                                  Document 666-24                                    Filed 08/05/22                             Page 198 of 331
                                                                                                                                                                      CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                                                     Appendix E.2: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                    Chrome Version 81 Tested on Windows 10
                                                                                                          https://www.apartments.com/

                                                                                                                                  Chrome
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                      Regular Mode
 Cookie Name              (Initial Session)                                (Session 1)                                         (Session 1)                                (Session 2)                               (Session 2)
IDE          AHWqTUnCq50dsrsWcWGiwNhje5QgTh                     AHWqTUnCq50dsrsWcWGiwNhje5QgTh                  AHWqTUkk6kuPFT9u9mawSGtpgV9Zrq                 AHWqTUm6uOoYkj5acvi6yRqvrapSGi            AHWqTUnCq50dsrsWcWGiwNhje5QgTh
TDID         d88e9dd8-1d1e-4bdf-a7a0-a30d1d                                                                     32e6a398-a910-46e1-b68b-f733ca
_ga          783246969.1649208661                               783246969.1649208661                            435644190.1649208788                           1588341551.1649208869                     783246969.1649208661
_gcl_au      512778226.1649208661                               512778226.1649208661                            1516401421.1649208789                          825676942.1649208869                      512778226.1649208661
_gid         619666159.1649208661                               619666159.1649208661                            134384889.1649208788                           1758351473.1649208869                     619666159.1649208661
test_cookie  CheckForPermission                                                                                 CheckForPermission                             CheckForPermission

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
                              Case 4:20-cv-03664-YGR                                                  Document 666-24                                    Filed 08/05/22                             Page 199 of 331
                                                                                                                                                                      CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                                                     Appendix E.3: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                    Chrome Version 81 Tested on Windows 10
                                                                                                              https://www.cnn.com/

                                                                                                                                  Chrome
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                      Regular Mode
Cookie Name           (Initial Session)                                     (Session 1)                                      (Session 1)                                    (Session 2)                              (Session 2)
CMID        YkzwId8kVWVIEzUr1enyzQAA                            YkzwId8kVWVIEzUr1enyzQAA                        YkzyPCucv26xbN-SwMhAQgAA                       YkzzZP6xEQUo.K38vGtZ5wAA                  YkzwId8kVWVIEzUr1enyzQAA
DSID                                                            NO_DATA                                                                                                                                  NO_DATA

IDE             AHWqTUlN2XemEwBMOvR1CCdswNIzna AHWqTUlN2XemEwBMOvR1CCdswNIzna AHWqTUkZVdzlCb6hbCwEXw1OakmuZA AHWqTUmIMxouNbkIFu9fZ8AipATpJs                                                              AHWqTUlN2XemEwBMOvR1CCdswNIzna
SCM                                                                           23d0b713
SCMg                                                                          23d0b713
SCMo                                                                          23d0b713
TDID            a64cfaa5-60ad-4856-9d99-4e4d7f
V               VOKn6p8JHE59
                ID=21321b8f5833ebdf-221e78e7f1                                                               ID=602c6fb315a6db66-22d37eccf1

__gads          ID=21321b8f5833ebdf:T=16492093                  ID=21321b8f5833ebdf:T=16492093                  ID=993a7e023854705a:T=16492099                 ID=602c6fb315a6db66:T=16492102            ID=21321b8f5833ebdf:T=16492093
_kuid_                                                          OwuVbYKy                                                                                                                                 OwuVbYKy
b               624CF042C5558BC40247A47BBLIS
bdswch                                                                                                          570a5b22-d0e5-4b4d-895b-10bd99
bsw_uid                                                                                                         570a5b22-d0e5-4b4d-895b-10bd99
buid                                                                                                            570a5b22-d0e5-4b4d-895b-10bd99
                AYg5qPIHaQpKSgkKTNtxUhpljGWE5N

google_push     AYg5qPJzhfx8nUFpxKFJkdzmmo7yxh

indxexcg        YkzwId8kVWVIEzUr1enyzQAAA8UAAA                  YkzwId8kVWVIEzUr1enyzQAAA8UAAA                  YkzyPCucv26xbN_SwMhAQgAAAHYAAA YkzzZP6xEQUo-K38vGtZ5wAAAm4AAA                            YkzwId8kVWVIEzUr1enyzQAAA8UAAA
ljt_reader      816a3b232f9d6113ebe199fd                                                                        5ad9dfc72e0deb7ba37f88ad
ptrbsw                                                                                                          570a5b22-d0e5-4b4d-895b-10bd99
ptrpp           VOKn6p8JHE59
ptrstk          Hbvo5yhAT-tBWtBWeQd8sxQWv7E
ptrt            a64cfaa5-60ad-4856-9d99-4e4d7f
smaato                                                                                                          23d0b713
suid                                                                                                            0F50A5E59B014584938AC4F51D138D                                                           B2FEF07282D04193B68F5EA7EEFA88
suid_legacy                                                                                                     0F50A5E59B014584938AC4F51D138D
test_cookie     CheckForPermission                                                                              CheckForPermission                             CheckForPermission
ttd             a64cfaa5-60ad-4856-9d99-4e4d7f
tuuid                                                                                                           570a5b22-d0e5-4b4d-895b-10bd99
ug              624cf01e077bc90a3f8d7c0015a21e                  624cf01e077bc90a3f8d7c0015a21e                  624cf23904d1350a3f8d7c0017ed89                 624cf36209593e0a3f8d7c0014c287            624cf01e077bc90a3f8d7c0015a21e
ug1             624cf01e077bc90a3f8d7c0015a21e                                                                  624cf23904d1350a3f8d7c0017ed89                 624cf36209593e0a3f8d7c0014c287

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Cookie “ug1” is set by www.ugdturner.com, which appears to be part of Turner Broadcasting System, Inc., the owner of CNN.
[5] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
                              Case 4:20-cv-03664-YGR                                                  Document 666-24                                    Filed 08/05/22                             Page 200 of 331
                                                                                                                                                                      CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                                                     Appendix E.4: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                    Chrome Version 81 Tested on Windows 10
                                                                                                            https://www.latimes.com/

                                                                                                                                  Chrome
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                       Regular Mode
 Cookie Name              (Initial Session)                                      (Session 1)                                   (Session 1)                                    (Session 2)                             (Session 2)
CMID         Ykz5ikM1Nc2ZA2cml8fixQAA                                                                           Ykz6tvu0a-B3CynAXCUx5wAA                       Ykz7TnAwoNyV3DD-2mswHgAA                  Ykz5ikM1Nc2ZA2cml8fixQAA
IDE          AHWqTUlpgYUwZZXA6uyzLnqeO-suso                     AHWqTUlpgYUwZZXA6uyzLnqeO-suso                  AHWqTUnfDOp68cgAcZeRmrrjpMioDf                 AHWqTUnhU2h2z5EiDE2bjFOqxM0HnD            AHWqTUlpgYUwZZXA6uyzLnqeO-suso
TDID         3e69b9cd-4915-49f7-a0a2-d1f66b                                                                     664508e8-946f-4466-b153-986077                 2b04b626-e866-49ad-a54b-0b40a9
__gads       ID=46e39be51c9cbcbf-22b334acf3                     ID=46e39be51c9cbcbf:T=16492117                  ID=32196c0b8623b3ab-2203f19df3                 ID=8b3a99286e550ce3:T=16492122            ID=46e39be51c9cbcbf:T=16492117
_ga          1193657418.1649211785                              1193657418.1649211785                           519042457.1649212085                           1299794117.1649212238                     1193657418.1649211785
_gid         19715939.1649211787                                19715939.1649211787                             145821108.1649212087                           1043966232.1649212238                     19715939.1649211787
permutive-id                                                    8964fad0-627b-44c8-b9c2-566b7b                  96492b17-796f-46bf-9c6f-5c7d5e                 2ff92a75-dba6-495f-b6bc-0fb8f2            8964fad0-627b-44c8-b9c2-566b7b
test_cookie  CheckForPermission                                                                                 CheckForPermission                             CheckForPermission
tuuid                                                                                                                                                          9d538feb-1eb8-4eb3-a392-2bd34f
uuid         0af0b550-a4d0-42c6-be64-5c6ddc                     0af0b550-a4d0-42c6-be64-5c6ddc                  9f668378-c557-44d8-b64d-883f64                 ae24f9ba-b63d-4551-bf3b-f5ddf5            0af0b550-a4d0-42c6-be64-5c6ddc

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
                              Case 4:20-cv-03664-YGR                                                  Document 666-24                                    Filed 08/05/22                             Page 201 of 331
                                                                                                                                                                      CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                                                     Appendix E.5: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                    Chrome Version 81 Tested on Windows 10
                                                                                                        https://www.washingtonpost.com/

                                                                                                                                  Chrome
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                        Regular Mode
 Cookie Name               (Initial Session)                                 (Session 1)                                      (Session 1)                                    (Session 2)                                (Session 2)
CMID          Yk0Bla7znBCyE3jSVUPWcQAA                          Yk0Bla7znBCyE3jSVUPWcQAA                        Yk0Cdz7tffL-yDRHsn4thgAA                       Yk0C-TtbNP6aj1pTpFdNUAAA
DSID          NO_DATA                                           NO_DATA                                         NO_DATA                                                                                  NO_DATA
IDE           AHWqTUlyBSbXiAIpbQ_hGEOe0kwVO-                    AHWqTUlyBSbXiAIpbQ_hGEOe0kwVO-                  AHWqTUlwR5X5HtVCF2PqsagUPj85Hj                 AHWqTUnc3EtHmv05lZmd-9BGIzWy9y            AHWqTUlyBSbXiAIpbQ_hGEOe0kwVO-
SCM                                                                                                             30c4b39f                                                                                 faf60ba4
SCMg                                                                                                            30c4b39f                                                                                 faf60ba4
TDID                                                            cd5ef0c9-f84e-44ae-bb70-a207df
__gads                                                          ID=9d636bb76ef88759:T=16492138                                                                                                           ID=9d636bb76ef88759:T=16492138
__uis         445b79fa-0a4a-4782-a07f-f72455
_ga           1860824077.1649213842                             1860824077.1649213842                           868318960.1649214069                           703999429.1649214203                      1860824077.1649213842
_ga_WRCN6
8Y2LD         1649213841                                        1649213967                                      1649214068                                     1649214202                                1649214332
_gaexp        3gY8TfBUQy645wcR55Xl0w.0                          3gY8TfBUQy645wcR55Xl0w.0                        3gY8TfBUQy645wcR55Xl0w.1                       3gY8TfBUQy645wcR55Xl0w.0                  3gY8TfBUQy645wcR55Xl0w.0
_gid          1186922451.1649213842                             1186922451.1649213842                           389324518.1649214069                           1103146517.1649214203                     1186922451.1649213842
b                                                               624D01AAF66E89FF1A1C9586BLIS
google_push                                                                                                                                                                                              AYg5qPIXzk7OqeIZAmA2RwqmB6nI6D
ljt_reader                                                                                                      74c2aff5965bbf92de6ea74a
sa-user-id-v2                                                   b1UCIObYTYpSyWThYO2MFRQWv7E                                                                    _XsLqnjrQUBFn6nzfYJDgRQWv7E
suid                                                            CB39D0D58D484997928027247D632A
test_cookie   CheckForPermission                                                                                CheckForPermission                             CheckForPermission
wp_ak_subs    0|20220331                                                                                        0|20220331
wp_ak_v_m     0|20220331                                        0|20220331                                      0|20220331                                     2|20220331                                0|20220331
wp_geo        US|VA|560||                                       US|VA|560||                                     US|VA|560||                                    US|VA|560||                               US|VA|560||
wp_usp        1---                                              1---                                            1---                                           1---                                      1---

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
  Case 4:20-cv-03664-YGR           Document 666-24         Filed 08/05/22      Page 202 of 331
                                                CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                           Appendix F
                        Cookies Transmission Supplementary Analysis



In my testing, I further investigated certain cases of cookie values transmitted to Google-associated
domains. A summary of my additional analysis is below.

                               Cookie Transmission Investigation

    Cookie                                            Summary
     Name
 dc_id           I observed dc_id cookie value is attempted to be set by tag.apxlv.com and
                 tag.cogocast.net, and then sent to doubleclick.net. However, the value of this
                 cookie is not stored in memory as confirmed by my test results illustrated in
                 Figures F.1-F.4. In this supplementary test, I visit https://www.cnn.com/ in Safari
                 on macOS in Regular and then Private Browsing Modes to mimic the procedure
                 of the tests in my report. I record transmissions that occur during a Private
                 Browsing Mode session. I observe a dc_id cookie value attempted to be set by
                 apxlv.com as I observed in my main testing. However, when I check browser
                 memory, I do not find this cookie being stored in memory. This confirms my
                 understanding that dc_id cookie is not stored in memory. The cookie values are
                 also different across Regular and Private Browsing Mode sessions which further
                 confirms my conclusions that cookie values are not shared between Regular and
                 Private Browsing Mode sessions
 nyt-jkidd       The nyt-jkidd cookie is a first-party cookie with a long value. I observed that a
                 part of the nyt-jkidd cookie was a substring value of “anon” matching a URL
                 parameter sent to www.google-analytics.com. Since my exhibits showed only the
                 value that was sent to Google-associated domains, I reviewed the full nyt-jkidd
                 values across Regular and Private Browsing Modes and found that the values
                 associated with the Private Browsing Mode session were different. This confirms
                 my conclusions that cookie values are not shared between Regular and Private
                 Browsing Mode sessions.


                                                F-1
    Case 4:20-cv-03664-YGR          Document 666-24         Filed 08/05/22     Page 203 of 331
                                                 CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


    NID           I observed the values of third-party cookies OTZ and NID transmitted in Private
    OTZ           Browsing Mode to Google-associated domains in Firefox on Windows. I
                  understand that Firefox Private Browsing Mode blocks cross-site cookie tracking
                  but not all third-party cookies.1 Values of OTZ and NID cookies that I observe in
                  these instances are not the same across Regular and Private Browsing Mode
                  sessions. This supports my opinion that cookie values are not shared between
                  Regular and Private Browsing Mode sessions.
    TDID          I found that cookie values are transmitted in Private Browsing Mode in some
                  instances where Private Browsing Mode has third-party cookie blocking enabled
                  in default settings (e.g., Chrome on Windows). This transmission is triggered
                  because of a request to https://match.adsrvr.org/ which attempts to set the value
                  of TDID cookie on the browser but is blocked. The browser then transmits the
                  value of the cookie via a redirection to doubleclick.net without setting the third-
                  party cookie on the browser. I observed the "redirectURL" in the "response"
                  header containing the value associated with the TDID cookie which was the same
                  value as was transmitted to cm.g.doubleclick.net:


                  https://match.adsrvr.org/track/cmb/google?g_uuid=&gdpr=0&gdpr_consent=&
                  ttd_tdid=cc96810a-201c-48c3-a8c4-dfdbeb20b04d&google_error=3


                  Even though the value is transmitted to doubleclick.net and is attempted to be set
                  by https://match.adsrvr.org/, it was not set to browser memory.


                  To confirm my understanding, I visited https://www.nytimes.com/ in Chrome on
                  macOS first in Regular Mode. I then closed the Regular Mode session, opened an
                  Incognito session and visited https://www.nytimes.com/ again. I observed that




1
     Firefox private browsing mode blocks third party cookies starting from version 89, released in
     June 2021 (See e.g., Edelstein, Arthur, “Firefox 89 blocks cross-site cookie tracking by default
     in private browsing,” Mozilla Security Blog, Mozilla Corporation, June 1, 2021, available
     at https://blog.mozilla.org/security/2021/06/01/total-cookie-protection-in-private-browsing/).

                                                 F-2
Case 4:20-cv-03664-YGR         Document 666-24         Filed 08/05/22      Page 204 of 331
                                            CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


             TDID was similarly attempted to be set by https://match.adsrvr.org/ but it did not
             exist in browser memory. The results of my test are presented in Figures F.5-F.8.


             Since the TDID cookie value is different from other sessions, this underscores that
             cookie values are not shared between Regular Mode and Private Browsing Mode
             sessions.
V            I observed the value of a third-party cookie named V transmitted to
             cm.g.doubleclick.net as a URL parameter when visiting https://www.cnn.com/ in
             Private Browsing Mode (Session 2) on Windows.


             The third-party cookie value is contained in an HTTP Response header but not set
             on the browser. When the browser accesses https://www.cnn.com/, there are
             a   series   of   redirected   HTTP    requests   to   different   hosts   including
             cm.g.doubleclick.net. Therefore, this value is transmitted but not being stored to
             browser memory. To confirm my understanding, I visited https://www.cnn.com/
             in Regular Mode. Then I close a Regular Mode session, opened an Incognito Mode
             session and visited https://www.cnn.com/. As confirmed by Figures F.9-F.11, V
             cookie value is attempted to be set but not stored in memory of the browser.


             Since the V cookie values are different between Regular Mode Sessions and
             Private Browsing Session, this supports my opinion that cookie values are not
             shared between Regular Mode and Private Browsing Mode sessions.
wp_ak_subs   I observed the same cookie values in Regular and Private Browsing Modes. I
wp_ak_v_m    understand that the values of these cookies are determined by certain static settings
wp_geo       or parameters (e.g., date when I accessed the website or the area my IP address
wp_usp       was associated with). To illustrate and verify that these values were not shared
             across sessions, I investigated this further by using Developer Tools and visiting
             https://www.washingtonpost.com/. First, I accessed the site with a clean browser
             memory in Regular Mode and looked at the cookies stored in the session. I
             observed these cookies in the browser memory. I then closed the browser and
             opened an Incognito Mode session and checked whether there were any cookies

                                            F-3
Case 4:20-cv-03664-YGR      Document 666-24        Filed 08/05/22     Page 205 of 331
                                         CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


           in memory on the browser. I did not observe any cookies stored in the Incognito
           Mode session which confirms my understanding that even though the values are
           the same across sessions, these values are not leaked between Regular and Private
           Browsing Modes. I illustrate my findings in Figures F.12 and F.13 below.




                                     Figure F.1
                               dc_id HTTP Header




                                        F-4
Case 4:20-cv-03664-YGR     Document 666-24     Filed 08/05/22   Page 206 of 331
                                     CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                  Figure F.2
                         dc_id HTTP Header (Enlarged)




                                     F-5
Case 4:20-cv-03664-YGR   Document 666-24     Filed 08/05/22   Page 207 of 331
                                    CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                Figure F.3
                     dc_id Cookie not Stored in Memory




                                    F-6
Case 4:20-cv-03664-YGR    Document 666-24     Filed 08/05/22   Page 208 of 331
                                    CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                 Figure F.4
                dc_id Cookie not Stored in Memory (Enlarged)




                                 Figure F.5
                         TDID HTTP Response Header




                                    F-7
Case 4:20-cv-03664-YGR   Document 666-24     Filed 08/05/22   Page 209 of 331
                                   CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                Figure F.6
               TDID Cookie HTTP Response Header (Enlarged)




                                   F-8
Case 4:20-cv-03664-YGR   Document 666-24    Filed 08/05/22   Page 210 of 331
                                  CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                               Figure F.7
                    TDID Cookie not Stored in Memory




                                  F-9
Case 4:20-cv-03664-YGR   Document 666-24     Filed 08/05/22   Page 211 of 331
                                    CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                Figure F.8
                TDID Cookie not Stored in Memory (Enlarged)




                                   F-10
Case 4:20-cv-03664-YGR   Document 666-24     Filed 08/05/22   Page 212 of 331
                                   CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                Figure F.9
                     V Cookie HTTP Response Header




                               Figure F.10
                 V Cookie HTTP Response Header (Enlarged)




                                   F-11
Case 4:20-cv-03664-YGR     Document 666-24      Filed 08/05/22   Page 213 of 331
                                      CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                  Figure F.11
                         V Cookie not Stored in Memory




                                     F-12
Case 4:20-cv-03664-YGR      Document 666-24      Filed 08/05/22    Page 214 of 331
                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                   Figure F.12
   Cookies Stored after Visiting https://www.washingtonpost.com/ in Regular Mode




                                       F-13
    Case 4:20-cv-03664-YGR      Document 666-24       Filed 08/05/22   Page 215 of 331
                                            CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                        Figure F.13
    No Cookies Stored after Visiting https://www.washingtonpost.com/ in Private Browsing
                                             Mode




s




                                           F-14
Case 4:20-cv-03664-YGR   Document 666-24   Filed 08/05/22   Page 216 of 331




                         EXHIBIT 2

         Redacted Version of
         Document Sought to
             be Sealed
Case 4:20-cv-03664-YGR         Document 666-24     Filed 08/05/22   Page 217 of 331
                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                      UNITED STATES DISTRICT COURT

       NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION



     CHASOM BROWN, WILLIAM BYATT,
     JEREMY DAVIS, CHRISTOPHER                            Case No. 5:20-cv-03664-YGR
     CASTILLO, and MONIQUE TRUJILLO,
     individually and on behalf of all other
     similarly situated,

                  Plaintiff,
         v.
     GOOGLE LLC,
               Defendants.




         EXPERT REBUTTAL REPORT OF GEORGIOS ZERVAS, PHD

                                    JUNE 7, 2022




                                         i
     Case 4:20-cv-03664-YGR                       Document 666-24                     Filed 08/05/22                Page 218 of 331
                                                                      CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                                   TABLE OF CONTENTS



I.     EXECUTIVE SUMMARY ....................................................................................................1
II.    INTRODUCTION ................................................................................................................14
       A.     Qualifications ...............................................................................................................14
       B.     Assignment ..................................................................................................................15
       C.     Facts And Data Considered .........................................................................................16
III.   REBUTTAL TO MR. HOCHMAN’S DESCRIPTIONS OF GOOGLE’S
       ANALYTICS AND ADVERTISING SERVICES ..............................................................16
       A.     Mr. Hochman’s Assertions That Google “Intentionally Intercepts”
              Private Browsing Communications Are Inaccurate (Hochman Opinion
              1) ..................................................................................................................................16
       B.     Mr. Hochman Does Not Provide Any Support For His Opinion That
              “Tracking Beacons” Collect The Content Of Users’ Communications
              (Hochman Opinion 2) ..................................................................................................23
       C.     Mr. Hochman Fails To Establish That Google “Copied” Information
              From Users’ Communications .....................................................................................24
       D.     Mr. Hochman’s Assertion That Google “Tracking Beacons” “Neither
              Facilitate Nor Are Incidental To” Users’ Communications With
              Websites Is Incorrect (Hochman Opinion 3) ...............................................................27
                      1. Google’s Analytics And Advertising Services And Related
                          Tags Facilitate And Are Incidental To Users’
                          Communications With Websites............................................................... 28
                      2. Importance Of Analytics Services ............................................................ 30
                      3. Importance Of Advertising To Websites And Users ................................ 34
       E.     Mr. Hochman’s Assertion That Google Could Have Designed Chrome
              Differently Is Speculative And Misleading (Hochman Opinion 4) .............................36
IV. REBUTTAL TO MR. HOCHMAN’S ASSERTIONS REGARDING USER
    AND WEBSITE NOTIFICATIONS ....................................................................................41
       A.     Mr. Hochman’s Opinions Regarding User Notification And Choice
              Are Flawed (Hochman Opinion 5) ..............................................................................41
       B.     Mr. Hochman’s Opinions Regarding Notifications To Websites Are
              Flawed (Hochman Opinion 6) .....................................................................................48
V.     REBUTTAL TO MR. HOCHMAN’S ASSERTIONS REGARDING USER
       PROFILES (HOCHMAN OPINION 10) .............................................................................51
VI. REBUTTAL TO MR. HOCHMAN’S ASSERTION THAT GOOGLE
    CIRCUMVENTED COOKIE BLOCKERS AND ANTI-TRACKING
    MEASURES (HOCHMAN OPINION 15) ..........................................................................52

                                                                       ii
   Case 4:20-cv-03664-YGR                           Document 666-24                     Filed 08/05/22               Page 219 of 331
                                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                            1. PPID .......................................................................................................... 52
                            2. Enhanced Conversions .............................................................................. 55
VII. REBUTTAL TO MR. HOCHMAN’S OPINIONS REGARDING IMPACT
     ON USERS (HOCHMAN OPINIONS 26 THROUGH 28).................................................57
VIII. REBUTTAL TO MR. HOCHMAN’S ASSERTIONS REGARDING HOW
      CHROME’S INCOGNITO MODE OPERATES (HOCHMAN OPINION
      29) .........................................................................................................................................60
IX. OTHER REBUTTALS TO MR. HOCHMAN’S REPORT .................................................64
        A.       Mr. Hochman Exaggerates The Complexity Of Developer Tools ..............................64
        B.       Mr. Hochman’s Statements About Energy Saving And Performance
                 Of Websites Related To Google’s Analytics And Advertising Services
                 Are Flawed ...................................................................................................................68
        C.       Mr. Hochman’s Assertion That Users Cannot Request Deletion Of
                 Private Browsing Data Incorrectly Assumes That Google Can Identify
                 Specific Users Associated With The Data ...................................................................69




                                                                        iii
    Case 4:20-cv-03664-YGR            Document 666-24          Filed 08/05/22       Page 220 of 331
                                                    CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




    I.        EXECUTIVE SUMMARY

         1.       I have been engaged in this matter by counsel for Google LLC (“Google”) to

respond to certain opinions in the Expert Report of Jonathan E. Hochman. 1 Specifically, I address

Mr. Hochman’s Opinions 1 through 6, 10, 15, and 26 through 29 pertaining to Mr. Hochman’s

description of how Google’s analytics and advertising services function and whether Private

Browsing Mode functions as described in public documents. 2 I understand that experts

Konstantinos Psounis and Paul Schwartz are submitting expert reports in which they will address

other opinions in Mr. Hochman’s report. Based on my experience, the materials I reviewed in this

matter, and my testing of Chrome and other browsers in my opening report, I have reached the

following opinions.


Zervas Rebuttal Opinion 1 (See Section III.A)

         2.       In my opinion, Mr. Hochman’s assertion in his Opinion 1 that “Google

intentionally intercepted private browsing communications between users and non-Google

websites while those communications were in transit” 3 and his descriptions of Google’s receipt of

information as “interception” or “surveillance” 4 are misleading. Mr. Hochman fails to




1
     Expert Report of Jonathan E. Hochman, April 15, 2022 (“Hochman Report”).
2
     Throughout this report and consistent with my opening report, I use the term “Private Browsing Mode”
     to refer generally to private browsing modes of various browsers, and I use the term “Private Browsing
     Session” to refer to browsing sessions where the browser is in Private Browsing Mode. I use the term
     “Incognito Mode” or simply “Incognito” to refer to the Private Browsing Mode of the Chrome browser
     in particular. I use the term “Regular Mode” to refer to browsing modes other than Private Browsing
     Mode. Regular Mode can encompass multiple modes of browser operation depending, for example, on
     a user’s sign-in state.
3
     Hochman Report, Section VIII.A.
4
     See e.g., Hochman Report, ¶¶ 78-79, 82-84; Hochman Report, Appendix A, ¶ 17.

                                                     1
    Case 4:20-cv-03664-YGR            Document 666-24           Filed 08/05/22       Page 221 of 331
                                                    CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


acknowledge that Google receives transmissions of At-Issue Data 5 because website developers

have decided to use one or more of Google’s services by incorporating code into their website to

cause those transmissions. Mr. Hochman also fails to acknowledge that it is well known and

understood in the web development industry that when a website developer uses one or more third-

party services and installs the relevant code on their website to enable that functionality, it will

result in transmission of certain data to those third-party services.

       3.        Mr. Hochman also fails to acknowledge that how Private Browsing Modes operate

is widely understood in the industry. For example, the World Wide Web Consortium (“W3C”)

states that browser vendors should design private browsing modes so that they work in a way that

is “indistinguishable” for websites from normal browsing mode. 6 Mr. Hochman has not identified,

and I have not seen, any evidence indicating that website developers expect that the third-party

services they have chosen to use on their website, such as Google’s analytics and advertising

services, will cease to function when a user visits their website in a Private Browsing Mode.

       4.        It is my opinion that those who are familiar with how modern websites operate and

how browsers communicate with those websites, even at a general level, would not use terms like

“interception” or “surveillance” to describe Google’s receipt of information related to a user’s visit

in Private Browsing Mode to a website that uses Google’s analytics or advertising services. 7 To



5
     In my opening report, I summarized the categories of information that Plaintiffs allege Google collects
     and enable Google to identify users, their devices, and activity as “At-Issue Data.” See, Expert Report
     of Dr. Georgios Zervas, April 15, 2022 (“Zervas Affirmative Report”), ¶ 14. Mr. Hochman does not
     use the term At-Issue Data but instead refers to information sent to Google as “communications” and
     “transmissions.” For purposes of this report, I use the terms “communication” and “transmissions” to
     be consistent with the terminology used by Mr. Hochman.
6
     “W3C TAG Observations on Private Browsing Modes,” W3C, July 5, 2019, available at
     https://perma.cc/5CHW-LNER.
7
     See, e.g., Hochman Report, ¶¶ 78-79, 82-84; Hochman Report, Appendix A, ¶ 17.

                                                     2
    Case 4:20-cv-03664-YGR        Document 666-24         Filed 08/05/22      Page 222 of 331
                                               CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


the contrary, Google provides its analytics and advertising services to website developers who take

the active step of installing the relevant code on their websites. If the website developers do not

install and enable Google’s analytics and advertising code, Google would not receive these

communications. As a result, I do not agree with Mr. Hochman’s opinion that these transmissions

are “interceptions” or “surveillance” by Google.


Zervas Rebuttal Opinion 2 (See Section III.B)

      5.        Mr. Hochman’s assertions related to his Opinion 2 that “a major function of the

tracking beacons is to collect highly personal information about users’ browsing activities […]

such as the contents of their communications with non-Google websites in the form of detailed

URL requests, webpage and video interactions, and more,” 8 are unsupported. Mr. Hochman did

not perform any analysis of how the At-Issue Data qualifies as “contents” of users’

communications with non-Google websites. Based on the definition of the term “contents” that

counsel has provided me and which I have described in Section III.B below, I do not agree that

the At-Issue Data in this case constitutes “contents” of users’ communication with non-Google

websites. For example, IP address and user agent string are fields that are either required or

typically included in messages that conform to the HTTP protocol. As a result, these items are

more analogous to ancillary characteristics of the message that are generated in the course of

communications, rather than the intended message itself. Mr. Hochman also refers to “URL

requests,” “webpage and video interactions,” and “the URL of the specific webpage visited by the

user,” none of which meet the definition of “contents” that counsel has provided to me, with the

exception of if the URL requests also contained information such as search terms or form



8
     Hochman Report, ¶ 3.

                                                3
     Case 4:20-cv-03664-YGR           Document 666-24      Filed 08/05/22    Page 223 of 331
                                                   CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


information entered by the user (and Mr. Hochman has not identified any instances where he has

found that to be the case). 9


Zervas Rebuttal Opinion 3 (See Section III.C)

        6.        Mr. Hochman’s assertions throughout his report that Google “copied” information

is incorrect. 10 For example, Mr. Hochman argues that “Google’s tracking beacons embedded in

the web page cause information to be copied from that communication and sent to Google’s servers

concurrently with the user’s private communication with the non-Google website.” 11 My

understanding of the technical definition of “copy” is the process of reading certain information

from one source and writing or reproducing exactly the same information in another place.

Mr. Hochman has not performed an analysis to establish that Google copied information from the

communications between the user and the non-Google website.

        7.        Mr. Hochman incorrectly assumes that when separate communications contain the

same information that means the information was “copied” from one communication to another,

as opposed to being separately read from the same source. For example, Mr. Hochman refers to IP

addresses as data that are copied from the user’s communication with non-Google websites. But

he ignores that the IP address is assigned to the user’s device and will be the same for different

communications from that device, not because the IP address value is copied from one

communication to another. As a result, I do not agree with Mr. Hochman’s characterization of

transmissions to Google as containing information that was “copied” from a user’s

communications with non-Google websites.


9
      Hochman Report, ¶¶ 3, 96.
10
      See, e.g., Hochman Report, ¶¶ 45, 96, 110.
11
      Hochman Report, ¶ 96.

                                                   4
     Case 4:20-cv-03664-YGR            Document 666-24           Filed 08/05/22        Page 224 of 331
                                                      CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


Zervas Rebuttal Opinion 4 (See Section III.D)

        8.        Mr. Hochman asserts in his Opinion 3 that “the Google tracking beacons which

cause private browsing communications to be intercepted neither facilitate nor are incidental to the

communications between users and non-Google websites.” 12 In making this assertion,

Mr. Hochman fails to acknowledge that the “tracking beacons” to which he refers are integral parts

of the design and operation of non-Google websites. Mr. Hochman also ignores how websites use

and benefit from the Google services that use these “tracking beacons.”

        9.        If a website developer chooses to include Google’s (or other) services by

incorporating the relevant tags into their website, those tags and the resulting services become a

part of the website as it has been designed by the website developer. 13 Because the tags are an

integral part of the website, in my opinion, the communications triggered by those tags are

incidental to the communications between the user and the website. In making the claim that these

communications are not incidental, Mr. Hochman implicitly assumes that a portion of the website

(e.g., comprising the third-party tags) is somehow unnecessary to the website as it has been

designed by the developer. I disagree with such an assumption. When a user visits a website that

uses these services, she is interacting with the webpage as an entire product consisting of first- and

third-party services and code as it is designed by the website developer, not as independent pieces

of code that can be arbitrarily ignored.




12
      Hochman Report, ¶ 4.
13
      As I define in my opening report, tag is a short snippet of JavaScript code included into the HTML
      code of the website. These tags run as part of the website to transmit data to corresponding third-party
      services such as Google’s analytics and advertising services. See, Zervas Affirmative Report, ¶ 88;
      “HTML <script> Tag,” W3Schools, available at https://perma.cc/KH7P-MY7D.

                                                       5
     Case 4:20-cv-03664-YGR        Document 666-24          Filed 08/05/22    Page 225 of 331
                                                 CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


      10.        When a user visits the website that includes a Google tag, her browser transmits

information to Google when that tag is executed. These transmissions facilitate the

communications between the user and the website because the tag itself is an integral part of the

website as designed by the website developer. The transmissions also facilitate communications

between the user and website because they enable the website to display the Google features (e.g.,

Google Ads) that the website’s developer has requested to be displayed, or enable the website

developer to examine how users interact with their website (e.g., via Google Analytics) so that

they can improve users’ experiences, for example. Therefore, in my opinion, these transmissions

facilitate use of the website as the developer has designed it.


Zervas Rebuttal Opinion 5 (See Section III.E)

      11.        Mr. Hochman asserts in his Opinion 4 that “Google could have at any point before

or during the class period, redesigned Chrome Incognito to either stop or limit Google’s collection

of private browsing information from the private communications between users and non-Google

websites.” 14 Mr. Hochman’s opinion is misleading and speculative, and often relies on

misrepresentations of the sources he cites.

      12.        Mr. Hochman makes a number of speculative proposals on how Google could have

redesigned its products without analyzing the feasibility of those proposals. To support his

assertions, Mr. Hochman relies on selected statements of current and former Google employees

that are taken out of context and therefore are misleading. I discuss examples of such statements

in Section III.E of this report.




14
      Hochman Report, ¶ 5.

                                                  6
     Case 4:20-cv-03664-YGR         Document 666-24        Filed 08/05/22      Page 226 of 331
                                                 CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


      13.        Mr. Hochman also presents misleading counterexamples of other browsers like

Firefox and Safari, which he contends show how certain features could have functioned in Chrome.

However, he ignores that these browsers generally operate in a manner similar to Chrome, and

also ignores that the alternative functionality he proposes is not uniformly adopted by the different

browsers that he identifies.


Zervas Rebuttal Opinion 6 (See Section IV.A)

      14.        Mr. Hochman’s assertions related to his Opinion 5 that users are not notified about

data collections when in Private Browsing Mode 15 and that Google could have provided such

notifications 16 are flawed. Mr. Hochman ignores the fact that users are notified of how Private

Browsing Modes function when they open a Private Browsing Session. Mr. Hochman also ignores

that, consistent with Google’s policies, many websites do provide notices to users about the

websites’ collection of data, including collection of data via Google’s analytics and advertising

services. I also disagree with Mr. Hochman’s assertion that users were not provided a choice

regarding the collection of At-Issue Data, because he ignores the variety of tools that are available

to users that affect the transmissions of At-Issue Data, including tools that work even if a user is

in Private Browsing Mode. For these reasons, I find Mr. Hochman’s opinions regarding user

notifications and user controls over the transmission of the At-Issue Data to be flawed.




15
      Hochman Report, ¶ 134.
16
      Hochman Report, ¶ 6.

                                                  7
     Case 4:20-cv-03664-YGR        Document 666-24         Filed 08/05/22     Page 227 of 331
                                                CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


Zervas Rebuttal Opinion 7 (See Section IV.B)

      15.        Mr. Hochman’s Opinion 6, that Google “intercepted private browsing

communications without notifying websites or providing a choice at the time of collection” 17 is

flawed. Many website developers are aware of how the technology they embed to their websites

functions, and even discuss the importance of testing websites in Private Browsing Mode for

various purposes. Furthermore, Mr. Hochman’s assertion that Google could provide a notification

to websites at the time that Private Browsing Mode transmissions occur is based on an incorrect

assumption that Google’s tags or the websites that use those tags are able to discern whether or not

a user is in Private Browsing Mode. In contrast, as I discuss in Section IV.B, and in accord with

industry recommendations, browsers are designed not to inform websites whether the user is in

Private Browsing Mode. Thus, Mr. Hochman’s assertion that Google could have provided

notifications to websites at the time of the Private Browsing Mode transmissions is inconsistent

with industry recommendations for Private Browsing Modes.


Zervas Rebuttal Opinion 8 (See Section V)

      16.        Mr. Hochman’s Opinion 10 that “Google, throughout the class period, created

detailed profiles tied to various Google identifiers (that remain undisclosed to users) based on the

private browsing information it collected” 18 is inconsistent with the way Private Browsing Modes

operate. Mr. Hochman ignores that analytics and advertising cookie values in Private Browsing

Sessions are “orphaned” islands of data that are different from those sent in Regular Mode sessions

and other Private Browsing Sessions. In my opening report, I demonstrated through systematic



17
      Hochman Report, ¶ 7.
18
      Hochman Report, ¶ 11.

                                                 8
     Case 4:20-cv-03664-YGR           Document 666-24        Filed 08/05/22       Page 228 of 331
                                                  CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


testing that cookie values stored from prior Regular Mode Sessions are not used in Private

Browsing Sessions and that cookie values set in a Private Browsing Session are not carried over

to subsequent Regular or Private Browsing Sessions. Thus, the Private Browsing Session cookie

values cannot be used to link records of user activities across different sessions or to create the

“profiles” Mr. Hochman describes.


Zervas Rebuttal Opinion 9 (See Section VI)

      17.       Mr. Hochman’s Opinion 15 alleges that Google attempted “to circumvent efforts

by other companies to block Google tracking beacons.” Mr. Hochman’s arguments are overly

broad and based on flawed descriptions of how certain technologies work.

      18.       First, Mr. Hochman asserts that “[w]ith the loss of certain Google cookies (e.g., due

to blocking of certain Google cookies based on Apple’s Intelligent Tracking Prevention (‘ITP’) or

Google’s                       changes to Chrome Incognito Mode), Google mitigates targeting loss

by relying on first-party identifiers, such as the PPID available for Google Ad Manager 360

Publishers.” 19 Mr. Hochman also asserts that “[t]his identifier is used to identify users that log into

publisher websites, and it uniquely identifies a user across all of the user’s devices, browsers, and

browsing sessions, including private browsing sessions.” 20

      19.       I disagree with Mr. Hochman’s broad statements on PPID. PPID only applies when

a user visits a publisher’s website which uses the PPID functionality, and the user signs in to or

otherwise identifies herself to the website to allow the publisher to set the PPID. PPIDs are not the

same from one publisher’s website to the next and thus cannot be used for tracking across sites.




19
      Hochman Report, ¶ 187.
20
      Hochman Report, ¶ 187.

                                                   9
     Case 4:20-cv-03664-YGR         Document 666-24           Filed 08/05/22     Page 229 of 331
                                                     CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


PPID values are also hashed or encrypted, rendering them meaningless to Google. And Google

blocks the use of PPID for users that have opted out of personalized ads. Mr. Hochman’s assertion

that the use of PPID allows Google to circumvent third-party cookie blockers is incorrect for

numerous reasons, including that PPID cannot be used in the same manner as third-party cookies

because it is not used to track users across websites and apps operated by different publishers. 21

Therefore, contrary to what Mr. Hochman asserts, in my opinion, the PPID feature does not

circumvent third-party cookie blockers or the tracking blocking features of the Firefox and Apple

technologies Mr. Hochman identified.

      20.       Second, Mr. Hochman makes similar misleading statements about the feature

called Enhanced Conversion. Mr. Hochman asserts that “through Enhanced Conversions in

Analytics and Ads, non-Google websites send personally identifying information such as a user’s

email address (user’s name, home address, and phone number may also be used) to Google to be

matched against the same user’s Google account information containing the same identifying

information.” 22 I disagree with Mr. Hochman’s statements regarding enhanced conversions, which

require that a user is signed into their Google account at the time that they engage with an ad and

that the user then provides some information such as an email or a phone number to the advertiser

that the advertiser could send back to Google in hashed form to measure a conversion. I do not

agree that the enhanced conversion feature is a replacement for third-party cookies or that its use

circumvents third-party cookie blockers or the tracking blocking features of the Firefox and Apple

technologies to which Mr. Hochman refers.




21
      “About publisher provided      identifiers,”     Ad   Manager   Help,    Google,   available   at
      https://perma.cc/P6WG-YX4S.
22
      Hochman Report, ¶ 209.

                                                     10
     Case 4:20-cv-03664-YGR           Document 666-24       Filed 08/05/22      Page 230 of 331
                                                  CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


Zervas Rebuttal Opinion 10 (See Section VII)

      21.        Mr. Hochman asserts in his Opinions 26 through 28 that Google “uniformly

attempted to intercept all private browsing communications with non-Google websites that have a

Google tracking beacon,” 23 that there is a “near certainty that almost every person” 24 that used a

Private Browsing Mode had their information intercepted by Google, and that Google “does not

offer users any control to escape” 25 its tracking beacons. I disagree with each of these assertions.

      22.        As described herein and in my opening report, 26 Google makes available to

websites multiple settings that affect whether and how Google’s tags function on their website.

Because those settings cause the tags’ operation to vary, I do not agree with Mr. Hochman’s

assertion that Google “uniformly attempted to intercept all private browsing communications.” 27

      23.        Contrary to Mr. Hochman’s assertion that users do not have any means to “escape”

Google’s code on non-Google websites, Google and other entities have made available to users a

variety of browser settings and extensions that affect whether At-Issue Data are transmitted to

Google. In my opening report, I discussed and conducted tests to confirm this. Because those user

settings affect the data transmissions to Google, I disagree with Mr. Hochman’s assertion that users

do not have any means to “escape” Google’s code on non-Google websites, and I also disagree

that users are uniformly impacted by that code.

      24.        Mr. Hochman also states that “[t]he Plaintiffs in this case are alleging that Google

portrayed private browsing mode, including Incognito Mode, as the control to prevent Google


23
      Hochman Report, ¶ 27.
24
      Hochman Report, ¶ 28.
25
      Hochman Report, ¶ 29.
26
      Zervas Affirmative Report, Section V.
27
      Hochman Report, ¶ 27.

                                                  11
     Case 4:20-cv-03664-YGR        Document 666-24         Filed 08/05/22      Page 231 of 331
                                                CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


from tracking them across non-Google websites.” 28 I disagree with this assertion. As described in

my opening report and herein, when a user enters a Private Browsing Mode in a browser, they are

presented with information on how the Private Browsing Mode works and what information will

still be visible to websites. As confirmed by my testing, Private Browsing Modes operate in a

manner that is consistent with those descriptions. Furthermore, Private Browsing Modes like

Incognito Mode do provide a measure of control and privacy for the user because any cookie

values set during a Private Browsing Session are discarded at the end of the session, which is

consistent with how Private Browsing Modes are described to users.


Zervas Rebuttal Opinion 11 (See Section VIII)

      25.       Mr. Hochman asserts in his Opinion 29 that Chrome Incognito Mode does not

function the way Google states. To the contrary, in my opening report, I tested and confirmed that

Incognito Mode operates as Google described to users in Incognito’s Splash Screen and “Learn

More” pages, which inform users about what Incognito Mode does and does not do; my tests also

confirmed that Private Browsing Modes in other browsers similarly operate as described to users.

In particular, my tests show that Private Browsing Sessions start with a clean cookie jar, and cookie

values set during such sessions are not reused in the subsequent Regular or Private Browsing

Sessions. I was also able to confirm that the user’s browsing history, website logins, and autofill

web forms are not carried over to the subsequent browsing sessions.


Zervas Rebuttal Opinion 12 (See Section IX.A)

      26.       I disagree with Mr. Hochman’s assertion in Section VIII.B of his report that

“typical consumers” would not be able to understand and use browser Developer Tools.


28
      Hochman Report, ¶ 312.

                                                 12
  Case 4:20-cv-03664-YGR           Document 666-24          Filed 08/05/22      Page 232 of 331
                                                 CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


Mr. Hochman does not clarify the type of consumer he has in mind or what challenges he imagines

prevent them from using Developer Tools. While many users may not be inclined to use Developer

Tools, some will. Developer Tools can be accessed by any user and can easily be opened, and there

is an abundance of online sources that explain how to use Developer Tools. Holding a technical

degree or having a deep technical background is thus not necessary to use these tools.


Zervas Rebuttal Opinion 13 (See Section IX.B)

    27.        I disagree with Mr. Hochman’s assertion in Section VIII.A of his report regarding

alleged negative impacts of Google’s services on users’ energy and device costs. In making this

assertion, Mr. Hochman relies on a single article that does not even mention Google’s analytics

and advertising services. This assertion is also conceptually flawed, as it relies on the unreasonable

assumption that if Google services disappear, no other third-party analytics and advertising

services would exist and cause the same alleged impact on users’ energy and device costs.


Zervas Rebuttal Opinion 14 (See Section IX.C)

    28.        Mr. Hochman asserts in Section VIII.A of his report that users do not have the

option to request deletion of their Private Browsing Mode data. In my opinion, this assertion is

misleading and relies on the assumption that Private Browsing Mode data are associated with a

specific user, or that Google can identify Private Browsing Mode users to facilitate deletion of that

data, which is inconsistent with sources upon which Mr. Hochman relies.




                                                 13
  Case 4:20-cv-03664-YGR          Document 666-24         Filed 08/05/22     Page 233 of 331
                                               CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


 II.      INTRODUCTION

          A.   Qualifications

       29.     I am an Associate Professor of Marketing at Boston University Questrom School

of Business, a founding member of the Faculty of Computing & Data Sciences, and Affiliated

Faculty of the Department of Computer Science. I am also a visiting researcher at Microsoft

Research New England. Prior to joining the Boston University faculty, I held academic roles

including visiting scholar at the MIT Sloan School of Management, Simons Postdoctoral Fellow

at Yale University, and affiliate at the Center for Research on Computation and Society at Harvard

University’s John A. Paulson School of Engineering and Applied Sciences. I am an associate editor

of ACM Transactions on Economics and Computation, and I sit on the editorial review boards of

Marketing Science, the Journal of Marketing Research, and the Journal of Marketing.

       30.     My research, which falls in the broader area of digitization, combines methods from

computer science and economics to study online marketplaces to understand their impact on

consumer and firm behavior. I have conducted studies on online marketplaces such as Airbnb,

Yelp, TripAdvisor, and Expedia. My work is empirical in nature and relies on assembling and

analyzing novel sources of data that I collect from these marketplaces to study their operation. I

hold a Bachelor of Engineering and a Master of Science in Computer Science from Imperial

College in London, a Master of Arts in Interactive Media from London College of Communication,

and a Ph.D. in Computer Science from Boston University. Before pursuing my Ph.D. in computer

science, I ran a small information technology (IT) company. My C.V. is attached as Appendix A,

and a list of my prior testimony is attached as Appendix B.

       31.     I am being compensated at the rate of $700 per hour for my time on this case.

Research and analysis for this report was also performed by Analysis Group personnel under my

                                               14
     Case 4:20-cv-03664-YGR           Document 666-24         Filed 08/05/22       Page 234 of 331
                                                   CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


direction and guidance. My compensation is not contingent upon my findings, the testimony I may

give, or the outcome of this litigation.

      32.        On April 15, 2022, I submitted an opening report and offered opinions on the

relevant technology at issue: Private Browsing Modes in Chrome and other browsers and Google’s

advertising or analytics services 29 offered to third-party websites.


            B.   Assignment

      33.        I have been engaged in this matter by counsel for Google LLC (“Google”) to

respond to certain opinions in the Expert Report of Jonathan E. Hochman (“Hochman Report”).

      34.        Mr. Hochman was retained by counsel for the Plaintiffs “to develop and render

opinions concerning the technology and practices at issue in this litigation with respect to several

products.” 30 The products included in Mr. Hochman’s report include “those utilizing Google

tracking code (e.g., Google Analytics and conversion tracking code) and Google advertising code

(e.g., Google Ad Manager and Google AdSense advertising code).” 31

      35.        In this report, I have been asked to review and respond to certain opinions presented

in Mr. Hochman’s report regarding Google’ analytics and advertising services and Private

Browsing Modes. My opinions are described in this report.

      36.        My failure to address any specific sentence or opinion in Mr. Hochman’s report

does not mean that I agree with it, and no such agreement should be inferred.


29
      Throughout this report, I refer to specific Google services by their names (e.g., Google Analytics,
      Google Ad Manager, Google Analytics 360). I refer to Google’s analytics services and Google’s
      advertising services as a collection of respective tools.
30
      Hochman Report, ¶ 54.
31
      Hochman Report, ¶ 54.

                                                    15
     Case 4:20-cv-03664-YGR          Document 666-24       Filed 08/05/22     Page 235 of 331
                                                 CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


         C.       Facts And Data Considered

       37.        In forming my opinions, I have relied upon my professional and academic

experience and reviewed documents obtained from public sources. I also relied on the data and

analysis based on the experiments I conducted in my opening report. I have also reviewed and

relied upon the deposition testimony of Google witnesses and documents produced by Google in

this case.

       38.        The sources I considered in forming my opinions are identified in this report and

the accompanying exhibits and are listed in the attached Appendix C.

       39.        Should additional relevant documents or information be made available to me, I

reserve the right to supplement my opinions as appropriate.


III.         REBUTTAL TO MR. HOCHMAN’S DESCRIPTIONS OF GOOGLE’S
             ANALYTICS AND ADVERTISING SERVICES

             A.   Mr. Hochman’s Assertions That Google “Intentionally Intercepts” Private
                  Browsing Communications Are Inaccurate (Hochman Opinion 1)

       40.        In his Opinion 1, Mr. Hochman contends that “Google, by way of various tracking

beacons, intercepted private browsing communications between users and non-Google websites

while those communications were in transit.” 32 Mr. Hochman similarly offers an opinion that

“Google, throughout the class period, intentionally intercepted private browsing communications

between users and non-Google websites while those communications were in transit and collected

private browsing information from those communications.” 33 As support for these statements,

Mr. Hochman describes the functionality of what he calls Google’s “tracking code” or “tracking


32
      Hochman Report, ¶ 2.
33
      Hochman Report, ¶ 78.

                                                 16
     Case 4:20-cv-03664-YGR           Document 666-24        Filed 08/05/22      Page 236 of 331
                                                    CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


and advertising code.” 34 In my opinion, Mr. Hochman’s descriptions of that code and how it

functions are both inaccurate and misleading.

      41.         As an initial matter, throughout his report, Mr. Hochman uses phrases like “tracking

and advertising products,” “tracking and advertising code,” and “tracking beacons” to describe

multiple different products, including Classic Google Analytics, Google Analytics 360, Google

Analytics 4, Universal Analytics, Google Ad Manager, and Google AdSense. 35 However, as

described in my opening report, these are distinct products. 36 Mr. Hochman uses these phrases in

his report to make broad statements, and at times incorrectly implies that his description of the

features or functionality of one product is common to the entire group of products. For example,

Mr. Hochman asserts that “Google tracking beacons throughout the class period had a common

functionality in terms of Google’s interception and data collection, not limited to the Analytics and

Ad Manager codes.” 37 Because Analytics and Ad Manager are distinct products with different

features, I disagree with Mr. Hochman to the extent he asserts that they have a “common

functionality.”

      42.         In his report, Mr. Hochman repeatedly characterizes communications sent to

Google as “interceptions.” For example, Mr. Hochman asserts:




34
      Hochman Report, ¶¶ 79-80.
35
      Hochman Report, ¶¶ 79-80, fn. 6, 8.
36
      See e.g., Zervas Affirmative Report, Section V.
37
      Hochman Report, ¶ 84.

                                                        17
     Case 4:20-cv-03664-YGR            Document 666-24       Filed 08/05/22   Page 237 of 331
                                                     CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


         ● “Google Interception: Throughout the class period, Google intentionally intercepted

             private browsing communications between users and non-Google websites while those

             communications were in transit.” 38

         ● “It is my opinion that Google, throughout the class period, intentionally intercepted

             private browsing communications between users and non-Google websites while those

             communications were in transit and collected private browsing information from those

             communications.” 39

         ● “Google Analytics tracking beacons intercept private communication between the user

             and the non-Google website’s server and send the intercepted communication to

             Google.” 40

         ● “Google intercepts private browsing information through tracking beacons designed by

             Google to intercept and collect information from communications between users and

             non-Google websites, including while users are in a private browsing mode.” 41

         ● “The fundamental operation of the Google tracking beacon for the purpose of

             intercepting private browsing information at issue in the case is independent of the

             device and browser.” 42




38
      Hochman Report, Section VIII.A. Description.
39
      Hochman Report, ¶ 78.
40
      Hochman Report, Appendix A, ¶ 17.
41
      Hochman Report, ¶ 83.
42
      Hochman Report, Appendix B, ¶ 13.

                                                     18
     Case 4:20-cv-03664-YGR              Document 666-24      Filed 08/05/22      Page 238 of 331
                                                  CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


      43.        Mr. Hochman also uses the phrase “surveillance of the user” in describing the

Google Analytics product. 43 In my opinion, persons who are familiar with how modern websites

operate and how browsers communicate with those websites, even at a general level, would not

use terms like “interception” or “surveillance” to describe Google’s receipt of information related

to a user’s visit to a website that uses Google’s analytics or advertising services; nor would such a

characterization be consistent with the mechanics of how these communications take place. Thus,

Mr. Hochman’s use of terms such as “intercepted,” “intentionally intercepted,” and “surveillance”

to describe Google’s analytics and advertising services is incorrect and misleading.

      44.        Mr. Hochman ignores that these communications to Google only happen because

websites have chosen to utilize one or more of Google’s analytics or advertising services. Google

offers these services to website developers, but the developers make the decision themselves to

use the services and incorporate the associated Google tags or any other code. For example, as I

described in Sections V.A and V.B of my opening report, to use Google Analytics and Google Ad

Manager services, website developers must incorporate “tags, which are short snippets of

JavaScript code, into the HTML source code for their website.” 44 If the website developers do not

incorporate the Google tags necessary to enable the Google service, the communications to Google

that Mr. Hochman describes would not occur.

      45.        To illustrate this point, I visited https://www.wikipedia.org/, a website that does not

incorporate Google tags, using the Chrome browser in Incognito Mode and recorded the browser’s

communications using Chrome Developer Tools. As shown in Figure 1 below, I observed eight




43
      Hochman Report, Appendix A, ¶ 17.
44
      Zervas Affirmative Report, ¶ 88.

                                                   19
     Case 4:20-cv-03664-YGR           Document 666-24          Filed 08/05/22   Page 239 of 331
                                                    CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


separate HTTP requests, none of which were to the domains associated with Google. 45 This is

consistent with my expectations, because wikipedia.org does not incorporate the tags that would

trigger transmissions to Google. In characterizing Google’s receipt of information as an

“interception,” Mr. Hochman ignores the fact that those transmissions are a result of the website

developer’s installation of the relevant Google tags on their website.


                                          Figure 1
                  Wikipedia.org Home Page Without Communications to Google




      46.         Mr. Hochman also ignores that the relevant Google tags can be configured by

website developers who choose to use Google’s analytics or advertising services, and there are

settings available to those developers that would affect the transmission of At-Issue Data to Google

via those tags. In Sections V.A.1 and V.B.1 of my opening report, I described several ways website

developers and publishers can affect transmissions of At-Issue Data to Google. For example,


45
      I describe HTTP requests in Section III.B of my opening report.

                                                    20
     Case 4:20-cv-03664-YGR              Document 666-24        Filed 08/05/22      Page 240 of 331
                                                    CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


Google Analytics provides website developers a way to disable Google Analytics functionality on

a webpage to honor visitors’ opt-out choices, without removing the Google Analytics tag itself. 46,47

When this feature is enabled, it will prevent the Google Analytics tag from storing cookie values

and sending them to Google Analytics.” 48,49 Google Analytics also provides an Analytics User ID

feature, but these User IDs are generated, assigned, and managed by the first-party website. 50 If a

website developer does not enable or configure this feature, User ID data will not be sent to Google

Analytics. Similarly, Google Ad Manager provides a setting “to serve ‘limited ads,’” which are

ads that “disable all personalization and features that require use of a local identifier.” 51,52

      47.         As discussed in my opening report, modern websites typically use multiple third-

party services similar to those Google provides. 53 Google offers website developers a significant

amount of information regarding how the tags that enable its services work, and it is my

expectation that developers use the tags with full knowledge that they are designed to

automatically send information to Google when users visit their websites (subject to various

settings available to the website developer and to browser users).



46
      “Disable Google Analytics           measurement,”   Google     Analytics,   Google,    available   at
      https://perma.cc/FXP9-3CGT.
47
      “Manage user privacy,” Google Analytics, Google, available at https://perma.cc/PVW7-EBB2.
48
      “Disable Google Analytics           measurement,”   Google     Analytics,   Google,    available   at
      https://perma.cc/FXP9-3CGT.
49
      “Manage user privacy,” Google Analytics, Google, available at https://perma.cc/PVW7-EBB2.
50
      “User-ID limits,” Analytics Help, Google, available at https://perma.cc/V6BT-9A8X.
51
      Zervas Affirmative Report, ¶ 95; “Disable Google Analytics measurement,” Google Analytics, Google,
      available at https://perma.cc/FXP9-3CGT; “Manage user privacy,” Google Analytics, Google, available
      at https://perma.cc/PVW7-EBB2; Zervas Affirmative Report, ¶ 110; “Limited Ads,” Google Ad
      Manager Help, Google, available at https://perma.cc/MT25-D2C3.
52
      I discuss other options available to websites and users in more detail in Sections VII and IX of this
      report.
53
      Zervas Affirmative Report, ¶ 39.

                                                     21
     Case 4:20-cv-03664-YGR           Document 666-24         Filed 08/05/22      Page 241 of 331
                                                   CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


      48.        I am also aware that some website developers perform testing of their websites in

Private Browsing Mode, for example to test how the website will work when users visit the site in

a Private Browsing Mode. 54 It is also well known in the industry that Private Browsing Modes are

designed not to inform websites of users’ private browsing status. For example, the W3C states

that “when the differences in browser behavior between privacy and standard browsing modes can

be detected because of standardization or implementation details, websites might choose to

degrade browsing experience (for example, not displaying content) when they detect the users in

private browsing modes. This is undesirable.” 55 The W3C further states, “browser vendors should

work towards achieving private browsing mode work in a way indistinguishable for […] sites from

the normal mode, to respect the user’s […] privacy […].” 56

      49.        Based on the public information identified above, I expect that website developers

are aware of how the tags for Google’s advertising and analytics operate and how Private Browsing

Modes work, including the fact that browsers do not identify whether a user is in Regular or Private

Browsing Mode. Mr. Hochman has not identified, and I have not seen, any evidence indicating

that website developers are not aware that third-party services such as Google’s analytics and

advertising services operate in Private Browsing Modes similarly to how they operate in Regular

Browsing Modes. It is thus incorrect to claim that Google “intercepted,” “intentionally

intercepted,” and conducted “surveillance” through its analytics and advertising services.




54
      “Strategies for carrying out testing,” MDN Web Docs, available at https://perma.cc/F5G6-KN2C.
55
      “W3C TAG Observations on Private Browsing Modes,” W3C, July 5, 2019, available at
      https://perma.cc/5CHW-LNER.
56
      “W3C TAG Observations on Private Browsing Modes,” W3C, July 5, 2019, available at
      https://perma.cc/5CHW-LNER.

                                                   22
     Case 4:20-cv-03664-YGR              Document 666-24   Filed 08/05/22     Page 242 of 331
                                                  CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


            B.   Mr. Hochman Does Not Provide Any Support For His Opinion That
                 “Tracking Beacons” Collect The Content Of Users’ Communications
                 (Hochman Opinion 2)

      50.        In his Opinion 2, Mr. Hochman states that “a major function of the ‘tracking

beacons’ is to collect highly personal information about users’ browsing activities […] such as the

contents of their communications with non-Google websites in the form of detailed URL requests,

webpage and video interactions, and more.” 57

      51.        I understand Google disputes that the At-Issue Data 58 constitute “contents” under

applicable laws. While I do not offer an opinion on the meaning of the term “contents” in this

context, I understand from counsel that for purposes of Plaintiffs’ claims in this case, “contents”

refers to the intended message conveyed by the communication and does not include information

generated in the course of the communication that is used to facilitate delivery of the message. I

have also been asked by counsel to assume that (1) URLs of pages visited alone are not “content”;

and (2) to qualify as “content,” URLs must contain the user’s search terms, not just the webpage

the user was viewing. For example, while an HTTP request could theoretically include search

terms or messages from a user, these are not required fields and whether a particular HTTP request

in fact contains “contents” requires analysis of the information contained in the message.

      52.        Mr. Hochman did not analyze what specific information constitutes “contents of

[users’] communications with non-Google websites.” 59 Instead, he generally refers to “detailed

URL requests, webpage and video interactions, and more,” and subsequently asserts that

information Google collected includes “the URL of the specific webpage visited by the user


57
      Hochman Report, ¶ 3.
58
      Zervas Affirmative Report, ¶ 14.
59
      Hochman Report, ¶ 3.

                                                  23
     Case 4:20-cv-03664-YGR        Document 666-24        Filed 08/05/22      Page 243 of 331
                                                CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


(including the full URL viewed by the user on the non-Google website, which would include

folders, subfolders, and precise file requested from the webserver), the user’s IP address, and the

user agent string of the user’s browser, among other information.” 60 Based on the definition

described above, I do not agree that this information constitutes “contents” of a user’s

communication with the non-Google website. The IP address and user agent string are fields that

are either required or typically included in messages that conform to the HTTP protocol, and thus

are information used to facilitate delivery of the message that are generated in the course of

communications, not the intended message itself. As a result, these items are more analogous to

ancillary characteristics of the message that are generated in the course of communications, rather

than the intended message itself. Mr. Hochman also refers to “URL requests,” “webpage and video

interactions,” and “the URL of the specific webpage visited by the user,” each of which is similar

to URLs of pages visited, which is not “contents” under the definition of that term counsel has

provided to me, with the exception of if the URL requests also contained information such as

search terms or form information entered by the user (and Mr. Hochman has not identified any

instances where he has found that to be the case).


         C.      Mr. Hochman Fails To Establish That Google “Copied” Information From
                 Users’ Communications

      53.        In multiple assertions throughout his report, Mr. Hochman uses the term “cop[y]”

to describe Google’s services in a way that is misleading and unsupported. 61 For example,

Mr. Hochman makes the following assertions:




60
      Hochman Report, ¶¶ 3, 96.
61
      Hochman Report, ¶ 96.

                                                24
     Case 4:20-cv-03664-YGR           Document 666-24      Filed 08/05/22      Page 244 of 331
                                                CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


         ● “Google tracking beacons use the Chrome browser to copy and send users’ browsing

             history to Google servers.” 62

         ● “Google’s tracking beacons embedded in the web page cause information to be copied

             from that communication and sent to Google’s servers concurrently with the user’s

             private communication with the non-Google website.” 63

         ● “Google tracking beacons are loaded and used by Google to intercept communications

             between    users   and    non-Google    websites   to   obtain   information   that   is

             contemporaneously copied from the initial GET message and sent to Google servers.”64

      54.        Mr. Hochman does not provide a definition of what he means by “copy” in this

context. For example, one definition of “copying” in computer science is a process that “creates

an exact image of a file on a disk with different file name.” 65 In other words, the term “copy” is

the process of reading certain information from one source and writing or reproducing exactly the

same information in another place. Mr. Hochman has not shown any evidence that the information

he asserts as “copied” originated from users’ communication with non-Google websites.


      55.        For example, Mr. Hochman asserts that the information “copied” from users’

communications with non-Google websites includes “user’s IP address, and the user agent string

of the user’s browser among other information.” 66 Mr. Hochman has not identified any evidence

supporting his assertion that IP address and user agent strings are “copied” from these


62
      Hochman Report, ¶ 45.
63
      Hochman Report, ¶ 96.
64
      Hochman Report, ¶ 110.
65
      “cp command in Linux with examples,” GeeksforGeeks, February 19, 2021, available at
      https://perma.cc/2TV6-H3DY.
66
      Hochman Report, ¶ 96.

                                                25
     Case 4:20-cv-03664-YGR            Document 666-24       Filed 08/05/22     Page 245 of 331
                                                   CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


communications. As I discuss in my opening report, an IP address is an essential component of

internet communications because it informs a client and a server where the information should be

sent. 67 Similarly, the “User-Agent” field is present in most HTTP requests and is used to inform

the server about the user’s device and web browser. This information can be used to display content

to a user. 68 As long as a user’s IP address does not change (as happens, for example, if the user

connects to another network), and as long as a user agent does not change (as happens, for example,

if a user decides to browse with another device or browser), these types of information will be

identical across different requests, even if users visit different websites. But the fact that the IP

address and user agent are the same does not mean they are “copied” from the communications

with the website’s servers, as Mr. Hochman asserts. To the contrary, this is information transmitted

in HTTP requests as a basic aspect of Internet communications. Mr. Hochman incorrectly assumes

that when separate communications contain the same information that means the information was

“copied” from one communication to another, as opposed to being separately read from the same

source.


      56.         Because of the above, and because Mr. Hochman has not identified any evidence

that information sent to Google is “copied” from the communications between a user and third-

party website rather than as part of regular internet communications, I disagree with his assessment

of how Google’s analytics and advertising services operate.




67
      See e.g., Zervas Affirmative Report, ¶ 24.
68
      “Definition of User Agent,” W3C, June 16, 2011, available at https://perma.cc/5FCX-K45N; “HTTP
      headers | User-Agent,” GeeksforGeeks, October 11, 2019, available at https://perma.cc/QAA8-S428.

                                                   26
     Case 4:20-cv-03664-YGR              Document 666-24     Filed 08/05/22      Page 246 of 331
                                                  CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


         D.      Mr. Hochman’s Assertion That Google “Tracking Beacons” “Neither
                 Facilitate Nor Are Incidental To” Users’ Communications With Websites Is
                 Incorrect (Hochman Opinion 3)

      57.        In his Opinion 3, Mr. Hochman asserts that “the Google tracking beacons which

cause private browsing communications to be intercepted neither facilitate nor are incidental to the

communications between users and non-Google websites.” 69 In offering this opinion,

Mr. Hochman ignores how websites use and benefit from Google’s services. This statement is also

incorrect because it fails to take into account how web browsing technologies generally operate

and why third-party services exist.

      58.        Modern websites are a combination of first- and third-party code. While websites

appear as unified pages to the user, they typically draw on many different files from various

sources. As I explained in my opening report, third-party services allow for efficient software

development by leveraging code reusability, which allows separate entities to develop and

maintain a smaller part of code. 70 As I further discussed in my opening report, certain

functionalities enabled by JavaScript code are complex and inefficient, if not impossible, for most

websites to develop or replicate on their own. 71 As a result, many smaller-scale businesses would

find it prohibitive to develop and maintain features that are provided by third-parties, such as

Google. Availability of such services enables businesses to compete for online presence and

improve business performance. 72


69
      Hochman Report, ¶ 4.
70
      Zervas Affirmative Report, ¶ 39.
71
      Zervas Affirmative Report, ¶ 39.
72
      “Three Ways APIs Are Keeping Small Businesses Digitally Competitive,” Small Business Trends,
      February 10, 2022, available at https://perma.cc/6W7V-ZR5N; Berman, Ron, and Ayelet Israeli, “The
      Value of Descriptive Analytics: Evidence from Online Retailers,” Harvard Business School, Working
      Paper 21-067, 2021, available at https://perma.cc/B7JY-V3UX; Benzell, Seth G., Guillermo Lagarda,


                                                   27
     Case 4:20-cv-03664-YGR            Document 666-24        Filed 08/05/22     Page 247 of 331
                                                    CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


      59.        Mr. Hochman provides a misleading and one-sided opinion discussing only the

alleged negative impacts of Google’s analytics and advertising services, while ignoring the fact

that those services are necessary for websites. For example, advertising is an important source of

revenue without which many websites would not exist and/or would not be able to provide free

content to users without charging subscription fees. 73


               1.      Google’s Analytics And Advertising Services And Related Tags Facilitate And
                       Are Incidental To Users’ Communications With Websites

      60.        I disagree with Mr. Hochman’s assertion that Google’s analytics and advertising

services “neither facilitate nor are incidental to the communications between users and non-Google

websites.” 74 In my opinion, Google’s analytics and advertising services do facilitate and are

incidental to communications between users and websites that use Google services because the

websites have chosen to make Google services part of the website.

      61.           It is common for modern websites to include third-party services that are required

to enable certain functionality such as styling, payment methods, maps, analytics, videos, or

advertising. Websites often use multiple Google and non-Google third-party services. For

example, I visited Plaintiffs’ attorneys’ website https://www.forthepeople.com/ in Incognito Mode

and recorded all transmissions on the home page using Chrome Developer Tools. Just visiting the

home page triggered transmissions to 61 third-party domains, only a portion of which were




      and Marshall Van Alstyne, “The Impact of APIs on Firm Performance,” Boston University Questrom
      School of Business Research Paper, available at https://perma.cc/5FRY-WTSF.
73
      “Ad-Supported vs Subscription: Which is Better,” Aniview, December 11, 2021, available at
      https://perma.cc/7NN2-XFEY.
74
      Hochman Report, ¶ 4.

                                                    28
     Case 4:20-cv-03664-YGR            Document 666-24         Filed 08/05/22       Page 248 of 331
                                                    CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


associated with Google. Figure 2 illustrates the top ten third-party domains that I observed in

terms of the number of transmissions associated with each respective domain: 75


                                        Figure 2
     Transmissions To Third-Party Domains When Loading https://www.forthepeople.com/

                                Domain               Number of Transmissions

                         wistia.com                                           116

                         litix.io                                              29

                         simpli.fi                                             23

                         tiktok.com                                            14

                         doubleclick.net                                       12

                         clarity.ms                                            10

                         mouseflow.com                                          9

                         cookielaw.org                                          8

                         gstatic.com                                            8

                         tctm.co                                                7

      62.        If a website developer chooses to include Google (or other) services by

incorporating the relevant tags into their website, those tags and the resulting services become part

of the website as it has been designed by the website developer. Because the tags are an integral

part of the website, in my opinion the communications triggered by those tags are incidental to the

communications between the user and the website. In making the claim that these communications

are not incidental, Mr. Hochman implicitly assumes that a portion of the website (e.g., comprising



75
      I listed all domains and the corresponding number of observed transmissions in my backup materials.

                                                    29
     Case 4:20-cv-03664-YGR           Document 666-24          Filed 08/05/22       Page 249 of 331
                                                    CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


the third-party tags) is somehow unnecessary to the website as it has been designed by the

developer. I disagree with such an assumption. When a user visits a website that uses these

services, she is interacting with the webpage as an entire product consisting of first- and third-

party services and code as it is designed by the website developer and not as independent pieces

of code that can be arbitrarily ignored.

      63.        When a user visits the website that includes a Google tag, her browser transmits

information to Google when that tag is executed so that Google can provide the service requested.

These transmissions facilitate the user’s communications with the website because the third-party

services that the website’s developer has chosen to install on their site are part of the website. The

transmissions also facilitate communications between the user and the website since they enable

the website to display Google features (e.g., Google Ads) that the website’s developer has

requested to be displayed and/or enable the website’s developer to examine how users interact with

said website (e.g., Google Analytics).


               2.    Importance Of Analytics Services

      64.        Mr. Hochman fails to acknowledge the benefits of Google’s analytics services,

which allow websites to understand who their users are and how they interact with the website,

which is important for developing user-friendly designs. 76 Using these insights, websites can

constantly modify their product and understand which features users value. As a result, website

developers may consider focusing on developing certain functionalities or adding certain features




76
      See, Garett, Renee et al., “A Literature Review: Website Design and User Engagement,” Online journal
      of communication and media technologies, Vol. 6, No. 3, 2016, pp. 1-14, available at
      https://perma.cc/PPC7-PWCM; Sabanovic, Edin, “How to Use Google Analytics to Improve Your Web
      Design Projects,” Shopify Partners, Shopify, June 13, 2017, available at https://perma.cc/QG8Y-JYD8.

                                                    30
     Case 4:20-cv-03664-YGR           Document 666-24         Filed 08/05/22      Page 250 of 331
                                                   CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


that might be of interest to users. For example, website developers might notice a substantial flow

of users from certain geographical regions and adopt a version of the website in another language.

Similarly, using insights from web analytics on the most common interactions of users with their

desktop websites and information on the characteristics of users' devices, site owners can adapt

their websites to user-friendly mobile versions. 77 The absence of analytics services would prevent

websites from receiving important insights on their user base, which would hinder the

implementation of user-centric web development.

      65.        In his report, Mr. Hochman attempts to negate the importance of analytics and

advertising services by saying that “a major function of the tracking beacons is to collect highly

personal information about users’ browsing activities.” 78 However, that does not comport with

Mr. Hochman’s statements outside of this litigation. For example, I reviewed Mr. Hochman’s

website https://www.hochmanconsultants.com/, which I understand is the website of a firm

Mr. Hochman founded “to help businesses of all sizes better leverage the opportunities that the

Internet provides.” 79 On his website, Mr. Hochman encourages websites to “[u]se web analytics

to learn from your visitors.” 80 For example:

         ● “[e]very business needs to know: How many visitors come to the site? What are the

             sources of visitor referrals? What keywords do visitors use? What pages attract the

             most interest? How many visitors are completing the objective?” 81


77
      Tidal, Junior R., “Using Web Analytics for Mobile Interface Development,” New York City College of
      Technology, 2013, available at https://perma.cc/Z6Z8-U5MW.
78
      Hochman Report, ¶ 3.
79
      “About Us: Helping your business leverage the Internet,” Hochman Consultants, available at
      https://perma.cc/86E7-A39K.
80
      “The Internet Marketing Process,” Hochman Consultants, available at https://perma.cc/Y354-MANZ.
81
      “The Internet Marketing Process,” Hochman Consultants, available at https://perma.cc/Y354-MANZ.

                                                   31
     Case 4:20-cv-03664-YGR          Document 666-24           Filed 08/05/22   Page 251 of 331
                                                   CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


         ● “[t]hat’s just the beginning of what you can learn with web analytics. Depending upon

             the specific nature of your business, may need to know: the geographic distribution of

             your visitors, how many customers you lose at each step in your checkout process, or

             the pages that cause visitors to leave your site.” 82

      66.        Similarly, the websites for all three Plaintiffs’ attorneys Susman Godfrey L.L.P

(https://www.susmangodfrey.com), Boies Schiller Flexner LLP (https://www.bsfllp.com), and

Morgan & Morgan Lawyers (https://www.forthepeople.com) use a variety of Google services. For

example, Figures 3 through 5 below illustrate the inclusion of Google Tags in websites of all three

Plaintiffs’ attorneys:


                                          Figure 3
              Example Of Google Analytics Tag In Susman Godfrey L.L.P Website




82
      “The Internet Marketing Process,” Hochman Consultants, available at https://perma.cc/Y354-MANZ.

                                                    32
  Case 4:20-cv-03664-YGR         Document 666-24        Filed 08/05/22     Page 252 of 331
                                              CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                        Figure 4
          Example Of Google Analytics Tag In Boies Schiller Flexner LLP Website




                                      Figure 5
             Example Of Google Tag In Morgan & Morgan Lawyers Website




    67.       The inclusion of Google Analytics in the websites for all three of Plaintiffs’ law

firms—years after they filed this case—illustrates the importance of these services. Since the


                                              33
     Case 4:20-cv-03664-YGR            Document 666-24          Filed 08/05/22       Page 253 of 331
                                                     CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


inclusion of these tags in a website’s source code is a voluntary decision websites make, these

services will only be included if the website developers find these services valuable.


                3.      Importance Of Advertising To Websites And Users

      68.         Digital advertising services are important to optimize efficiency of advertising

campaigns, which are an important source of website financing. 83 Advertising revenues allow

websites to operate and provide content to users without subscription fees. 84,85 For example,

websites’ users can access a wide range of free ad-sponsored content that would otherwise be

unavailable to them. Such services range from news media—with free websites such as Vox, CNN,

and Fox News hosting ads on their sites—to video entertainment—with websites such as Crackle

and Peacock offering free ad-supported entertainment.

      69.            Because advertising provides another revenue stream for website owners and

operators, ads expand the size of the online ecosystem, making more resources available to users. 86

One study found that the ad supported internet ecosystem doubled its contribution to the US

economy between 2012 and 2016. 87 Online advertising also reduces the cost individual users have



83
      For instance, in 2020, US newspaper companies generated 39 percent of their advertising revenue from
      digital advertising. See, “Share of digital in newspaper advertising revenue in the United States from
      2011 to 2020,” Statista, available at https://perma.cc/P88K-7CQK.
84
      Klym, Natalie and David Clark, “The Future of the Ad-Supported Internet Ecosystem,” MIT Internet
      Policy Research Initiative, 2019, p. 2, available at https://perma.cc/S6LC-KHPJ.
85
      For instance, Peacock, a popular video-streaming service, offers a free ad-supported subscription,
      alongside paid-for ad-free options. See, “Choose a Plan,” Peacock, available at https://perma.cc/MLK5-
      GX59.
86
      Deighton, John, A., and Leora D. Kornfeld, “Economic Value of the Advertising-Supported Internet
      Ecosystem,” Interactive Advertising Bureau, September 2012, available at https://perma.cc/2SS5-
      CGJK.
87
      “Ad-Supported Internet Brings over $1 Trillion to the U.S. Economy, Representing 6 Percent of
      Country's Total GDP, According to IAB Study Led by Harvard Business School Professor,” Interactive
      Advertising Bureau, March 15, 2017, available at https://perma.cc/G9BS-85MJ.

                                                     34
     Case 4:20-cv-03664-YGR          Document 666-24         Filed 08/05/22     Page 254 of 331
                                                  CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


to pay in order to benefit from online content. 88 In addition, advertising is one of the main ways

for commercial digital media to generate a profit. 89

      70.        In his report, Mr. Hochman presents an example of The New York Times website

being opened in Firefox Private Browsing Mode without ads. 90 Mr. Hochman fails to acknowledge

that his visit to The New York Times using Firefox in Private Browsing Mode that did not contain

observed ads was possible because many other users do observe ads when visiting The New York

Times. The users who are displayed ads subsidize his ads-free visit. In the absence of ads, users

likely would have to pay either higher subscription fees or would not even have access to The New

York Times online as ads are an important source of revenues required for many websites to keep

operating. 91 The academic literature acknowledges the benefits produced by digital ad-supported

content, going as far as to discuss whether these benefits should be captured in GDP measures. 92

One estimate, which models consumer surplus by considering leisure time spent on the internet,

suggests that free internet services might create over $100 billion in consumer surplus per year in




88
      Deighton, John, A., and Leora D. Kornfeld, “Economic Value of the Advertising-Supported Internet
      Ecosystem,” Interactive Advertising Bureau, September 2012, available at https://perma.cc/2SS5-
      CGJK.
89
      Bekh, Alona, “Advertising-based Revenue Model in Digital Media Market,” Ekonomski
      vjesnik/Econviews - Review of Contemporary Business, Entrepreneurship and Economic Issues, Vol.
      33, No. 2, 2020, p. 548, available at https://perma.cc/W7QP-YTPM.
90
      Hochman Report, ¶ 115.
91
      For example, the New York Times derived over $116M in revenue in the first quarter of 2022 from
      advertising. See, “The New York Times Company Reports First-Quarter 2022 Results,” The New York
      Times Company, May 4, 2022, available at https://perma.cc/QR4R-EHP6.
92
      See, Nakamura, Leonard, Jon Samuels, and Rachel Soloveichik “Valuing ‘Free’ Media in GDP: An
      Experiment Approach,” Federal Reserve Board of Philadelphia Working Paper, No. 16-24, 2016,
      available at https://perma.cc/4HMJ-7D3R; Ahmad, Nadim, and Paul Schreyer, “Measuring GDP in a
      Digitalized Economy,” OECD Statistics Working Papers, No. 2016/07, 2016, available at
      https://perma.cc/GNV6-GHRX.

                                                  35
     Case 4:20-cv-03664-YGR          Document 666-24         Filed 08/05/22     Page 255 of 331
                                                  CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


the U.S., corresponding to about 0.74 percent of annual GDP. 93 Another estimate found that

welfare gains associated with the expansion of free media goods arising from the advent of digital

advertising led to a 2.5 and 2.7 percent increase in welfare in terms of consumption for the non-

college- and college-educated population specifically. 94

      71.        Mr. Hochman also writes in Appendix A to his report that “[he has] used Google

AdWords (now known as Google Ads) since 2003 for hundreds of different clients and thousands

of different campaigns.” 95 Thus, outside of this litigation, it appears that Mr. Hochman understands

and supports the value of Google’s advertising services.


            E.   Mr. Hochman’s Assertion That Google Could Have Designed Chrome
                 Differently Is Speculative And Misleading (Hochman Opinion 4)

      72.        In his Opinion 4, Mr. Hochman asserts that “Google could have at any point before

or during the class period, redesigned Chrome Incognito to either stop or limit Google’s collection

of private browsing information from the private communications between users and non-Google

websites.” 96 In support of this statement, Mr. Hochman makes numerous speculative assertions

without providing any analysis or supporting evidence regarding feasibility of these changes or

their impact on usability of the Chrome browser, or potential second-order effects of such changes

on other aspects of the market, business, and technology. Mr. Hochman also fails to consider the

impact to users if all communications to Google were blocked in Incognito Mode.


93
      Brynjolfsson, Erik and Joo Hee Oh, “The Attention Economy: Measuring the Value of Free Digital
      Services on the Internet,” Thirty Third International Conference on Information Systems, Orlando
      2012, 2012, available at https://perma.cc/E2TZ-A6J9.
94
      Greenwood, Jeremy et al., “‘You Will’: A Macroeconomic Analysis of Digital Advertising,”
      Economics of Digital Services @ Penn, 2021, available at https://perma.cc/ZX8P-9LC2.
95
      Hochman Report, Appendix A, ¶ 31.
96
      Hochman Report, ¶ 5.

                                                  36
     Case 4:20-cv-03664-YGR              Document 666-24    Filed 08/05/22      Page 256 of 331
                                                  CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


      73.         As an initial matter, in asserting that Chrome should be redesigned to “either stop

or limit” all transmissions of At-Issue Data to Google when a user visits a website in Incognito

Mode, Mr. Hochman assumes that this is what users actually want. As described in my opening

report, Private Browsing Modes, including Incognito Mode, are not designed to provide complete

anonymity from websites that the user visits and third-party services that these websites have

chosen to embed. 97 Mr. Hochman’s assertion to the contrary—that Incognito Mode should be

designed to prevent Chrome from sending all messages to third-party web services—is not realistic

because it ignores the stark negative impact this would have on users. For example, Google

provides a number of services like the Google Fonts and Google Maps APIs that are used by

numerous websites. Those services are enabled by transmissions to Google-associated domains

that necessarily include fields such as IP addresses and user agent strings. If Chrome blocked all

such transmissions in Incognito Mode as Mr. Hochman contends, websites would not be able to

render the fonts provided by the Fonts API, or display the maps provided by the Maps API, which

would negatively impact the experience of users visiting those websites. 98 In offering his opinion

on this subject, Mr. Hochman ignores these impacts on the user’s browsing experience.

      74.         Mr. Hochman also relies on selected statements by current and former Google

employees that he takes out of context. For example, Mr. Hochman argues that Google could have

blocked third-party cookies by default before 2020, relying on the following testimony from

former Google Engineer Justin Schuh: “So when you ask me if Google could technically block

third-party cookies on – at any point in the history – like, could Chrome had launched without




97
      Zervas Affirmative Report, ¶ 43.
98
      See Appendix E for an illustration.

                                                  37
     Case 4:20-cv-03664-YGR           Document 666-24           Filed 08/05/22    Page 257 of 331
                                                    CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


third-party cookies, the answer is technically, yes.” 99 However, Mr. Hochman fails to include

Mr. Schuh’s statements immediately preceding this statement (“[T]he hard part is the way that the

technical change impacts everything else”) and immediately following it (“No one would have

ever used it because it would have been a broken browser”). 100

      75.         Mr. Hochman also mischaracterizes testimony of Google engineer Michael Kleber

and product manager Abdel Karim Mardini on the subject of deletion of Incognito Mode session

data on Google’s servers. Mr. Hochman quotes from Mr. Kleber’s deposition testimony to claim

that Google never implemented a proposal whereby “[s]erver-side logs will be initially

anonymized and then removed at the end of the Incognito session when the user enables this

feature.” 101 However, Mr. Hochman fails to include Mr. Kleber’s remarks on the hypothetical

nature of the proposal: “[S]ince the servers don’t actually do the thing being described here, the

[proposal for] how should Chrome interact with servers that do the thing is a purely hypothetical

question because the servers don’t actually do the thing being described.” 102

      76.         Mr. Hochman further mischaracterizes Mr. Kleber’s testimony about proposals to

“introduce anti-tracking features–including invasive anti-fingerprinting measures” and to mask IP

addresses. 103 With regard to anti-tracking features, Mr. Hochman fails to include the following

from Mr. Kleber: “I think there were a range of options where deploying [privacy-improving

technologies] in Incognito Mode as described here is one option. And another option is deploying

this range of protections for everybody, like making it a standard part of Chrome, whether you’re


99
      Hochman Report, ¶ 125.
100
      Deposition of Justin Schuh, January 6, 2022, p. 148:12-13, 19-20.
101
      Hochman Report, ¶ 126.
102
      Deposition of Michael Kleber, March 18, 2022 (“Kleber Deposition”), p. 20:16-20.
103
      Hochman Report, ¶¶ 128-129.

                                                     38
  Case 4:20-cv-03664-YGR                Document 666-24       Filed 08/05/22   Page 258 of 331
                                                   CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


in Incognito Mode or not. That second option is the one we ultimately landed on.” 104 Mr. Kleber

described this as “one of the cornerstones of the Privacy Sandbox effort” that he is involved in.105

With respect to IP address masking, Mr. Hochman fails to include the following from Mr. Kleber:

“There are hard problems that need solving when you -- when you try to add IP privacy. There are

things that IP addresses are used for, and if you add IP privacy blindly, then there are a lot of

problems that you could cause. So there are many people, both inside of Google and outside of

Google, who quite rightly urge caution to avoid accidentally breaking some important parts of the

web or of the Internet by adding IP privacy without considering all of the potential

consequences.” 106

      77.         Similarly, Mr. Hochman cites testimony by former Google product manager Rory

McClelland to argue that Google could have built a toggle to let users decide whether to signal to

Google that they are browsing in Incognito Mode. 107 But Mr. Hochman ignores Mr. McClelland’s

further testimony about the arguments against such a toggle, including web standards surrounding

Private Browsing Modes, which provide that the “web server should be oblivious to the user’s

private browsing intent, Chrome or otherwise.” 108

      78.         I also find Mr. Hochman’s comparisons between Chrome and other browsers

misleading. He uses tracking prevention features in Firefox and Safari as examples of what Google

could implement in Chrome, but he ignores that Google provides several settings and extensions

(e.g., the Google Analytics Opt-out extension) for users who want to block analytics and


104
      Kleber Deposition, p. 28:3-11.
105
      Kleber Deposition, p. 28:11-12.
106
      Kleber Deposition, p. 51:10-21.
107
      Hochman Report, ¶ 131.
108
      Deposition of Rory McClelland, February 18, 2022, p. 91:18-20.

                                                   39
  Case 4:20-cv-03664-YGR          Document 666-24         Filed 08/05/22      Page 259 of 331
                                               CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


advertising communications on their Chrome browser. Mr. Hochman also compares Chrome’s

Incognito Mode with Safari’s Private Browsing Mode, noting that “Safari’s Private Browsing

mode was designed to not share cookies across all open windows and tabs.” 109 However,

Mr. Hochman neglects to mention that Firefox, for example, has a Private Browsing Mode that

operates in the same way as Chrome’s Incognito Mode in this respect. Similar to Chrome’s

documentation, Mozilla also clarifies the features included in Firefox’s Private Browsing Mode in

a page titled “Private Browsing - Use Firefox without saving history.” 110 The article states that,

“[c]ookies set in private windows are held temporarily in memory, separate from regular window

cookies, and discarded at the end of your private session (after the last private window is

closed).” 111

      79.       My review of the sources Mr. Hochman cites indicates that Google has considered

a number of possible changes in the past, including some hypothetical changes that presented a

number of technical hurdles. Mr. Hochman’s conclusion that Google could have designed

Chrome’s Incognito Mode differently is speculative, ignores the negative impact these changes

would have on users, and is based on selective quotations from witness testimony discussing these

possible changes, while ignoring other testimony about their speculative nature and associated

technical hurdles. Nor does he acknowledge the changes that Google actually implemented and




109
      Hochman Report, ¶ 163.
110
      “Private Browsing - Use Firefox without saving history,” Mozilla Support, available at
      https://perma.cc/X9NG-QCB8.
111
      “Private Browsing - Use Firefox without saving history,” Mozilla Support, available at
      https://perma.cc/X9NG-QCB8.

                                                40
  Case 4:20-cv-03664-YGR                 Document 666-24     Filed 08/05/22       Page 260 of 331
                                                  CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


continues to work toward implementing, for which there is abundant information available to the

public. 112


IV.      REBUTTAL TO MR. HOCHMAN’S ASSERTIONS REGARDING USER AND
         WEBSITE NOTIFICATIONS

         A.      Mr. Hochman’s Opinions Regarding User Notification And Choice Are
                 Flawed (Hochman Opinion 5)

      80.        In his Opinion 5, Mr. Hochman asserts that Google “intercepted private browsing

communications without notifying users or providing a choice at the time of collection,” and that

Google “could have provided such a notification but did not.” 113 Mr. Hochman further states that

“[w]hen visiting a non-Google website containing Google tracking beacons in a private browsing

mode, users are not notified of the Google tracking beacons or Google’s collection of private

browsing information or given a choice regarding that collection.” 114 These statements are flawed

for several reasons.

      81.        First, as I discuss in my opening report, when a user opens a Private Browsing

Session in any major browser, the Splash Screen informs the user what Private Browsing Mode is

and what it is not. 115 For example, in the case of Incognito Mode, users are informed that the user’s

activity will still be visible to websites, employers or school, and internet service providers. 116 The




112
      See e.g., “Protecting your privacy online,” The Privacy Sandbox, Google, available at
      https://perma.cc/C2TM-927B; and “Google Chrome,” The Keyword, Google, available at
      https://perma.cc/5QFA-CBFC.
113
      Hochman Report, ¶ 6.
114
      Hochman Report, ¶ 134.
115
      Zervas Affirmative Report, Section IV.B.
116
      Zervas Affirmative Report, ¶ 50.

                                                  41
  Case 4:20-cv-03664-YGR                 Document 666-24     Filed 08/05/22      Page 261 of 331
                                                   CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


Incognito Splash Screen also contains a link to more detailed descriptions of Incognito Mode, as I

also discuss in further detail in my opening report. 117

      82.          Second, Mr. Hochman ignores that Google’s policies require websites using

Google’s services to provide notice to users about the website’s collection of data. For example,

Google Analytics policies state that websites are responsible for:

            ● User notification: “You must give your end users proper notice about the

               implementations and features of Google Analytics that you use, including notice about

               what data you will collect via Google Analytics, and whether this data can be connected

               to other data you have about the end user. You must obtain consent from your end

               users, or otherwise provide them with the opportunity to opt-out from the

               implementations and features you use.” 118

         ● Types of data transmitted to Google: “You must not upload any data that allows

               Google to personally identify an individual (such as certain names, Social Security

               Numbers, email addresses, or any similar data), or data that permanently identifies a

               particular device (such as a unique device identifier if such an identifier cannot be

               reset).” 119




117
      Zervas Affirmative Report, ¶ 52.
118
      “Measurement Protocol, SKD, and User ID Feature Policy,” Google Analytics, Google, available at
      https://perma.cc/88W2-LDYD.
119
      “Measurement Protocol, SKD, and User ID Feature Policy,” Google Analytics, Google, available at
      https://perma.cc/88W2-LDYD.

                                                   42
  Case 4:20-cv-03664-YGR              Document 666-24         Filed 08/05/22       Page 262 of 331
                                                   CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


      83.        Similarly, Google Ad Manager’s policies for publisher websites clearly state that

publisher websites must inform users about any data sharing that occurs as part of using Google

Ad Manager:

                 “Publishers must: have and abide by a privacy policy that clearly discloses
                 any data collection, sharing and usage that takes place on any site app, email
                 publication of other property as a consequence of your use of Google
                 products. The privacy policy must disclose to users that third parties may
                 be placing and reading cookies on your users’ browsers or using web
                 beacons to collect information as a result of ad serving on your website.” 120

      84.        Additionally, Google Ad Manager’s policies state that publishers must “not pass

any information to Google data that Google could use or recognize as personally identifiable

information; or that permanently identifies a particular device.” 121

      85.        Third, Mr. Hochman claims that based on his review of the top 25 websites for

Google Analytics and the top 25 websites for Google Ad Manager as well as a number of other

websites he visited “none of those websites had any such pop-up notification – or any process by

which users would be informed that Google would collect and exploit their private browsing

information.” 122 This assertion is inaccurate. When I visited the same websites in Private Browsing

Mode, I found that all provided notices to users about data collection, many including specific

references to Google services, and did not indicate or suggest that this data collection would stop




120
      “Google Publisher Policies: Privacy-related policies: Privacy disclosures,” Google Ad Manager Help,
      Google, available at https://perma.cc/G2FU-Z7PK.
121
      “Google Publisher Policies: Privacy-related policies: Privacy disclosures,” Google Ad Manager Help,
      Google, available at https://perma.cc/G2FU-Z7PK.
122
      Hochman Report, ¶ 134.

                                                    43
  Case 4:20-cv-03664-YGR               Document 666-24         Filed 08/05/22       Page 263 of 331
                                                    CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


when a user browses in a Private Browsing Mode. 123 For example, the following websites disclose

data collection in general to users:

         ● Linkedin.com: “As further described in our Cookie Policy, we use cookies and similar

             technologies (e.g., pixels and ad tags) to collect data (e.g., device IDs) to recognize you

             and your device(s) on, off and across different services and devices where you have

             engaged with our Services.” 124

         ● Businessinsider.com: “We use cookies for a variety of reasons. Cookies make it easier

             for you to log on to and use the Sites during visits. The aggregate information collected

             permits us to analyze traffic patterns and target the interests of our users. This helps us

             provide you with a better experience by improving the content and making our Sites

             easier to use. [...] Web beacons allows us, for example, to monitor how users move

             from one page within our Sites to another, to track access to our communications, to

             understand whether users have come to our Sites from an online advertisement

             displayed on a third-party website, to measure how ads have been viewed and to

             improve site performance. [...] Please note that third parties (including, for example,

             advertising networks and providers of external services like web traffic analysis

             services) use cookies, over which we have no control. These cookies are likely to be

             analytical/performance cookies or targeting cookies.” 125




123
      Appendix D includes the list of the websites that were not accessible for review and screenshots for
      the websites highlighted in my report. My backup materials include the review of privacy notices for
      all accessible websites.
124
      “Privacy Policy,” LinkedIn, August 11, 2020, available at https://perma.cc/2TT8-37Q2.
125
      “Cookies Policy,” Insider Inc., September 4, 2019, available at https://perma.cc/MH9H-5V3Z.

                                                    44
  Case 4:20-cv-03664-YGR              Document 666-24         Filed 08/05/22       Page 264 of 331
                                                     CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


         ● Washingtonpost.com: “We and our service providers may use cookies, web beacons,

               and other tracking technologies to collect such information.” 126

      86.         I also found many examples that explicitly inform users that the websites use

Google Analytics. For example:

         ● Change.org: “We use third-party analytics services like Google Analytics provided by

               Google Inc. (“Google”), the Amplitude service provided by Amplitude (“Amplitude”),

               the Optimizely service provided by Optimizely (“Optimizely”), and the Chartio service

               provided by Chartio (“Chartio”). These analytics services may use cookies and similar

               technologies to analyze how people use our services and provide statistical reports

               about aggregate user behavior.” 127

            ● Grammarly.com: “These cookies track information about your visits and usage of the

               Site, Software, and/or Services so that we can make improvements and report our

               performance — for example, to analyze visitor and user behavior so as to provide more

               relevant content or suggest certain activities. We might also use analytics cookies to

               test new ads, pages, or features to see how users react to them. Google Analytics is the

               main technology we currently use in this regard.” 128

         ● Privy.com: “Please note in particular that we may use Google Analytics and other

               similar services. Google Analytics uses cookies to help analyze how users use the Site.

               The information generated by the cookie about your use of the Site (including your IP

               address) will be transmitted to and stored by Google, Inc. (“Google”). Google may use


126
      “Privacy Policy,” The Washington Post, October 5, 2021, available at https://perma.cc/5WVW-YRQV.
127
      “Privacy Policy,” Change.org, March 25, 2022, available at https://perma.cc/G2HG-5AEV.
128
      “Cookie Policy,” Grammarly, December 30, 2019, available at https://perma.cc/V5MQ-G8B9.

                                                     45
  Case 4:20-cv-03664-YGR                 Document 666-24     Filed 08/05/22      Page 265 of 331
                                                   CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


             this information for the purpose of evaluating your use of the Site, compiling reports

             on website activity for website operators and providing other services relating to

             website activity and internet usage.” 129

      87.        Further, some websites such as accuweather.com also mention the use of ad-related

services such as DoubleClick: 130

                 “AccuWeather and third-party vendors, including Google, may use first-
                 party cookies (such as the Google Analytics cookies) and third-party
                 cookies (such as the DoubleClick cookie) together to: (a) inform, optimize
                 and serve ads based on a user's past visits to AccuWeather Sites or (b) report
                 how Your ad impressions, other uses of ad services, and interactions with
                 these ad impressions and ad services are related to visits to AccuWeather
                 Sites.” 131

      88.        I have tested and confirmed that the website notifications described above are

accessible to users in Private Browsing Mode in each of the Chrome, Safari, and Edge browsers. 132

In other words, if someone visits these websites using a Private Browsing Mode of any of the

Chrome, Safari, or Edge browsers, these websites’ privacy notifications are accessible to the user.

      89.        Mr. Hochman also ignores that there are websites that display pop-up notifications

to users in Incognito Mode informing them of the site’s use of Google Services. As I described in

my opening report, the Latham and Watkins LLP websites (lw.com) shows a pop-up notification

that immediately asks users, irrespective of the browsing mode, whether they consent to the use of

Google Analytics as illustrated in Figure 6. 133




129
      “Privacy Policy,” Privy, December 20, 2019, available at https://perma.cc/A8HS-5M6E.
130
      “Privacy Policy,” AccuWeather, August 21, 2020, available at https://perma.cc/4NT5-WCHW.
131
      “Privacy Policy,” AccuWeather, August 21, 2020, available at https://perma.cc/4NT5-WCHW.
132
      See Appendix D for screenshots.
133
      Zervas Affirmative Report, ¶ 96.

                                                   46
  Case 4:20-cv-03664-YGR              Document 666-24        Filed 08/05/22      Page 266 of 331
                                                   CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                         Figure 6
                      Latham & Watkins LLP Pop-Up Notification Example




      90.        In asserting that Google did not provide users a choice, Mr. Hochman also neglects

that users have a variety of settings and extensions that affect whether At-Issue Data flows to third-

party services embedded in websites that the users visit. 134 I also performed tests discussed in my

opening report and confirmed that these options function as advertised and restrict transmissions

of At-Issue Data to Google. 135 For example, users can block or limit execution of third-party code

using built-in browser settings or external extensions. Further, as I also discuss in my opening

report, these settings and extensions are applicable in both Regular and Private Browsing Modes,

although users may need to enable extensions in Private Browsing Mode. 136 Based on these

settings that give users control over transmissions of At-Issue Data to Google when they visit a

website that uses a Google service, I disagree with Mr. Hochman’s assertion that users are not

given a choice in relation to the transmissions of At-Issue Data in this case.



134
      Zervas Affirmative Report, Sections V.A.2 and V.B.2.
135
      Zervas Affirmative Report, Section V.D.
136
      Zervas Affirmative Report, ¶ 118.

                                                   47
  Case 4:20-cv-03664-YGR             Document 666-24         Filed 08/05/22     Page 267 of 331
                                                  CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


      91.        I also disagree with Mr. Hochman’s assertion that Google could have provided a

notification or offered a choice to users “at the time of collection.” 137 This assumes that Google

can identify whether a user is in a Private Browsing Mode in Chrome or another browser when

they visit a website that uses Google’s services; however, as I discuss in Section IV.B below,

Private Browsing Modes are intended to not be detectable to websites or their third-party web-

service providers. Additionally, Mr. Hochman provides no explanation as to how Google would

notify users of non-Google browsers such as Safari or Edge “at the time of collection.”


         B.      Mr. Hochman’s Opinions Regarding Notifications To Websites Are Flawed
                 (Hochman Opinion 6)

      92.        In his Opinion 6, Mr. Hochman claims that Google “intercepted private browsing

communications without notifying websites or providing a choice at the time of collection.” 138

This claim is flawed as it assumes that website owners were unaware of how Private Browsing

Modes operate in relation to the third-party services upon which they rely.

      93.        Mr. Hochman’s assertions that websites were not aware of how Private Browsing

Mode operates is also contradicted by the fact that websites have expressed concerns about the

lack of ability to detect Private Browsing Mode users. For example, news websites such as The

New York Times have in the past developed strategies to detect (and block) Private Browsing Mode

users who could use that browser feature to bypass paywalls. 139 The New York Times business




137
      Hochman Report, ¶ 135.
138
      Hochman Report, ¶ 7.
139
      Benton, Joshua, “Your favorite way to get around The New York Times paywall might be about to go
      away,” NiemanLab, February 28, 2019, available at https://perma.cc/F5ED-BV3H.

                                                  48
  Case 4:20-cv-03664-YGR            Document 666-24         Filed 08/05/22     Page 268 of 331
                                                 CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


model relies on revenues from both subscription and ads channels. 140 Users must buy a

subscription to access all content, but users may view a limited number of articles for free. The

limit to the number of articles was enforced through the placement of cookies, which allowed The

New York Times to detect how many articles had recently been viewed from that browser and thus

whether the limit was reached. However, since each Private Browsing Session started without any

cookies set, visitors in a Private Browsing session would appear to The New York Times website

to be first-time visitors. This allowed Private Browsing Mode users to bypass the limit on viewing

free articles. In response, The New York Times developed methods to detect if a website visitor

was in a Private Browsing Mode and reimpose the limit of free articles. This example illustrates

that websites like The New York Times developed methods precisely because they were aware that

Chrome and other browsers do not reveal the Private Browsing Mode status of a website visitor

and how Private Browsing Modes operate. In response to the workarounds to identify whether a

website user was in Incognito Mode, Google implemented numerous updates to Chrome to limit

the ability of websites to detect Incognito Mode. 141

      94.        It is well known in the industry that Private Browsing Modes are designed not to

inform websites of users’ private browsing status. For example, as described in Section III.A

above the W3C states that browser vendors should design private browsing modes so that they

work in a way that is “indistinguishable” for websites from normal browsing mode. 142 Based on




140
      Zacks Equity Research, “Subscription Revenues a Key Driver for NY Times (NYT) in 2022,” Yahoo,
      December 21, 2021, available at https://perma.cc/BGY8-EHW7.
141
      Bradshaw, Kyle, “Google wants to make it harder for sites to detect that you’re using Chrome’s
      Incognito Mode,” 9to5Google, February 15, 2019, available at https://perma.cc/QSX5-J6RV.
142
      “W3C TAG Observations on Private Browsing Modes,” World Wide Web Consortium, April 9, 2020,
      available at https://perma.cc/8SLY-NZ66.

                                                 49
  Case 4:20-cv-03664-YGR               Document 666-24        Filed 08/05/22      Page 269 of 331
                                                     CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


these public discussions, I expect that website developers are aware that browsers do not identify

whether a user is in Regular or Private Browsing Mode.

      95.         In addition, as I discuss in my opening report, Google’s public documentation about

its Analytics service also provides an extensive description of how the service works. 143 For

example, public documentation describes how websites can enable Google Analytics services 144

and which data can be sent to Google. 145 Notably, I did not find any information in Google

Analytics public documentation that suggests that Google Analytics operates differently in Private

Browsing Modes. In fact, public documentation implies that Google Analytics operates in Private

Browsing Mode. For example, it explains that “[d]ifferent web browsers on the same device,

including instances of incognito and private browsing, are counted as unique devices in the Cross

Device reports.” 146 Thus, based on this publicly available Google document, I expect that Google

Analytics customers are aware that the service will attempt to collect information regarding users’

visits to the customer’s websites, whether or not they do so in Private Browsing Mode.

      96.         Additionally, it is a common practice to test websites in Private Browsing Modes

to see how websites behave when “things like cookies and temp files are not saved.” 147

Mr. Hochman has not identified, and I have not seen, any evidence indicating that website

developers are not aware that third-party services such as Google’s analytics and advertising




143
      See, Zervas Affirmative Report, Section V.A.
144
      See e.g., Zervas Affirmative Report, ¶ 88.
145
      See e.g., Zervas Affirmative Report, ¶ 90.
146
      “Limits of User-ID view & Cross Device reports,” Analytics Help, Google, available at
      https://perma.cc/BAM5-AYUB.
147
      “Strategies for carrying out testing,” MDN Web Docs, available at https://perma.cc/F5G6-KN2C.

                                                     50
  Case 4:20-cv-03664-YGR               Document 666-24          Filed 08/05/22       Page 270 of 331
                                                     CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


services will operate in Private Browsing Modes similarly to how they operate in Regular

Browsing Modes. 148


 V.       REBUTTAL TO MR. HOCHMAN’S ASSERTIONS REGARDING USER
          PROFILES (HOCHMAN OPINION 10)

      97.         In his Opinion 10, Mr. Hochman states that “Google, throughout the class period,

created detailed profiles tied to various Google identifiers (that remain undisclosed to users) based

on the private browsing information it collected.” 149 This statement is flawed as Mr. Hochman

ignores that analytics and advertising cookie values sent in Private Browsing Sessions are different

from those in Regular Mode Sessions or different Private Mode Sessions, and the cookie values

from Private Browsing Sessions cannot be used as a link to the user or her device after the session

is closed.

      98.         The “detailed profiles” Mr. Hochman describes are in fact “orphaned” islands of

data reflecting browsing activity from just one Private Browsing Session. The data are associated

only with a cookie value that is deleted from the user’s browser when she closes the Private

Browsing Session.150 For users who do not sign into their Google Accounts (as the class members

here), the cookie values set in Private Browsing Mode cannot be used to link the user’s activities

in a given Private Browsing Session to the user’s activities in other Regular or Private Browsing

Sessions. 151 This prevents Google from using these cookie values to create a “cradle-to-grave


148
      As noted in my opening report, Private Browsing Modes restrict certain functionality such as access to
      cookies and other information from other browser sessions and depending on the browser might block
      third-party cookies.
149
      Hochman Report, ¶ 11.
150
      Zervas Affirmative Report, ¶¶ 80-84.
151
      In my opening report, I conducted systematic testing of whether cookies are shared between Regular
      and Private Browsing Sessions for popular browser and operating system combinations. For all testing


                                                     51
  Case 4:20-cv-03664-YGR                Document 666-24         Filed 08/05/22      Page 271 of 331
                                                    CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


profile of users,” as Plaintiffs allege. 152 Rather, the purported “profiles” based on cookie values,

to which Mr. Hochman refers, reflect at most certain browsing activity (visits to websites that use

Google services) by an unidentified user during a single Private Browsing Session.


VI.       REBUTTAL TO MR. HOCHMAN’S ASSERTION THAT GOOGLE
          CIRCUMVENTED COOKIE BLOCKERS AND ANTI-TRACKING MEASURES
          (HOCHMAN OPINION 15)

       99.           In his Opinion 15, Mr. Hochman asserts that Google attempted “to circumvent

efforts by other companies to block Google tracking beacons.” 153 As support for this opinion,

Mr. Hochman refers to certain features of Google products that he contends circumvent such

technologies as Firefox Private Browsing or Apple’s Intelligent Tracking Prevention. However,

Mr. Hochman’s assertion rests on an incomplete basis and fails to acknowledge various aspects of

how these Google products function and the purpose they serve.


                1.      PPID

      100.           Based on each of the factors described below, I disagree with Mr. Hochman’s broad

statements that PPID works to circumvent efforts by other companies to block Google tracking

beacons. Instead, PPID is an example of Google providing a feature to publishers that is allowed

by the Firefox and Apple technologies to which Mr. Hochman refers.




      variations, I observed that cookie values stored from prior Regular Mode Sessions are not used in
      Private Browsing Sessions. Similarly, cookie values set in Private Browsing Session are not carried
      over to subsequent Regular or Private Browsing Sessions. As a result, these cookie values cannot be
      used to link the Private Browsing Mode activities to a user or her device after that Private Browsing
      Session is closed. See, Zervas Affirmative Report, Section IV.C.
152
      Third Amended Class Action Complaint, Chasom Brown, et al., v. Google LLC, United States District
      Court Northern District of California, February 3, 2022 (“Complaint”), ¶ 93.
153
      Hochman Report, ¶ 16.

                                                     52
  Case 4:20-cv-03664-YGR              Document 666-24              Filed 08/05/22     Page 272 of 331
                                                          CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


      101.       First, Mr. Hochman asserts that “[w]ith the loss of certain Google cookies (e.g., due

to blocking of certain Google cookies based on Apple’s Intelligent Tracking Prevention (‘ITP’) or

Google’s                       changes to Chrome Incognito Mode), Google mitigates targeting loss

by relying on first-party identifiers, such as the PPID available for Google Ad Manager 360

Publishers.” 154 Mr. Hochman asserts that “[t]his identifier is used to identify users that log into

publisher websites, and it uniquely identifies a user across all of the user’s devices, browsers, and

browsing sessions, including private browsing sessions.” 155 This is incorrect. PPID is not used to

uniquely identify a user across all of their devices, browsers, and browsing sessions. To the

contrary, PPID is used for “ad frequency capping, audience segmentation, and other delivery

controls across devices,” as I explained in my opening report. 156 Mr. Hochman’s description

ignores the fact that PPIDs are first-party identifiers that are not shared among publishers. 157 Thus,

if a user were to sign into two different publishers’ websites, even if those publishers both used

PPID, the user would not have the same PPID between the two websites. Thus, PPID does not

enable a user to be tracked between websites of different publishers and does not serve the same

purpose as a third-party cookie.

      102.       Second, Mr. Hochman fails to consider that PPID is also conditional on websites

deciding to use it. 158 Therefore, availability of the PPID to Google depends on (a) a user visiting

the website of a publisher that uses PPID; (b) the publisher assigning a PPID for that user, e.g.,




154
      Hochman Report, ¶ 187.
155
      Hochman Report, ¶ 187.
156
      Zervas Affirmative Report, ¶ 110.
157
      “About publisher provided           identifiers,”     Ad   Manager   Help,    Google,   available   at
      https://perma.cc/P6WG-YX4S.
158
      Hochman Report, ¶ 187.

                                                          53
  Case 4:20-cv-03664-YGR              Document 666-24              Filed 08/05/22     Page 273 of 331
                                                          CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


when the user signs in to the website; and (c) the publisher deciding to share the PPID with Google.

On the last point, if a publisher decides not to share these with Google, these identifiers will not

appear anywhere on Google’s systems. 159

      103.       Third, as explained in public Google documentation describing “How PPIDs

Work,” “the identifier sent to Ad Manager must be hashed or encrypted such that it is meaningless

to Google, and it must not be raw personally identifiable information, a raw third-party ID, or a

raw device ID.” 160 Therefore, PPID values do not include information that can link to a users’

identity.

      104.       Fourth, Google requires that users have a way to opt out of personalized ads and

blocks the use of PPID for users who choose to do so. If Google detects that a user has opted out

of personalized ads, “features permitting the use of PPID for targeting ads to the user’s web

browser will be disabled.” 161

      105.       Based on the aspects of the PPID features described above, I do not agree that it is

a replacement for third-party cookies or that its use circumvents third-party cookie blockers or any

other privacy-oriented features of the Firefox and Apple technologies to which Mr. Hochman

refers.




159
      Zervas Affirmative Report, ¶ 110.
160
      “About publisher provided           identifiers,”     Ad   Manager   Help,    Google,   available   at
      https://perma.cc/P6WG-YX4S.
161
      “About publisher provided           identifiers,”     Ad   Manager   Help,    Google,   available   at
      https://perma.cc/P6WG-YX4S.

                                                          54
  Case 4:20-cv-03664-YGR             Document 666-24         Filed 08/05/22     Page 274 of 331
                                                  CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


               2.    Enhanced Conversions

      106.       Mr. Hochman also offers several incorrect statements regarding “Enhanced

Conversions in Analytics and Ads,” which he asserts allow non-Google websites to “send

personally identifying information such as a user’s email address (user’s name, home address, and

phone number may also be used) to Google to be matched against the same user’s Google account

information containing the same identifying information.” 162 In my opinion, this is incorrect at

least because it suggests that this happens to every user. As described in public documentation,

enhanced conversion functionality can only be used if a user is signed into Google when they

engage with an ad, 163 and also requires that the user enter information (such as an email or a phone

number) on the advertiser website. 164 For instance, the enhanced conversions feature could

measure a conversion only if a Google signed-in user engages with an ad, then visits the

advertiser’s website and enters their email address in the advertiser’s website (assuming the

advertiser utilizes the enhanced conversions feature).

      107.       Mr. Hochman’s assertions regarding enhanced conversions are also misleading

because, similar to PPID, before enhanced conversion data are sent to Google data are processed

by a hashing algorithm that masks user data. 165 Google summarizes the enhanced conversion

functionality as “[w]ith enhanced conversions for web, first-party customer data such as an email

address, name, home address, or phone number is captured in your conversion tracking tags,

hashed, sent to Google in its hashed form, and then used to match your customers to Google



162
      Hochman Report, ¶ 209.
163
      “About enhanced conversions,” Google Ads Help, Google, available at https://perma.cc/6UH8-9Q7X.
164
      “Set up enhanced conversions for web manually with Google Tag Manager”, Google Ads Help, Google,
      available at https://perma.cc/CR99-8WUE.
165
      “About enhanced conversions,” Google Ads Help, Google, available at https://perma.cc/6UH8-9Q7X.

                                                  55
  Case 4:20-cv-03664-YGR             Document 666-24        Filed 08/05/22      Page 275 of 331
                                                  CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


accounts, which were signed-in to when they engaged with one of your ads.” The process of how

enhanced conversion operates is also illustrated in Figure 7 below: 166


                                            Figure 7
                                    Enhanced Conversion Flow




      108.       Based on the aspects of the enhanced conversion feature described above, I do not

agree that it is a replacement for third-party cookies or that its use circumvents third-party cookie

blockers or any other privacy-oriented features of the Firefox and Apple technologies to which

Mr. Hochman refers.




166
      “About enhanced conversions,” Google Ads Help, Google, available at https://perma.cc/6UH8-9Q7X.

                                                  56
  Case 4:20-cv-03664-YGR                 Document 666-24   Filed 08/05/22       Page 276 of 331
                                                  CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


VII.      REBUTTAL TO MR. HOCHMAN’S OPINIONS REGARDING IMPACT ON
          USERS (HOCHMAN OPINIONS 26 THROUGH 28)

      109.        Mr. Hochman asserts three opinions related to his claims that “Google’s attempted

interception and collection uniformly impacted all class members.” 167 In his Opinion 26, he asserts

that Google “uniformly attempted to intercept all private browsing communications with non-

Google websites that have a Google tracking beacon—regardless of which private browsing mode

the user employed.” 168 In his Opinion 27, Mr. Hochman asserts that “Google’s tracking beacons

were so ubiquitous throughout the class period that there is a near certainty that almost every

person using the private browsing modes at issue [...] had their private browsing information

intercepted by Google, including while visiting non-Google websites without being signed into

any Google account.” 169 In his Opinion 28, Mr. Hochman asserts that “Google does not offer users

any control to escape Google’s tracking beacons,” which according to Mr. Hochman are “almost

impossible to avoid.” 170 As described below, these statements are incorrect.

      110.        Mr. Hochman asserts that “Google’s attempted interception and collection

uniformly impacted all class members,” 171 and that “Google designed its tracking and advertising

code to be embedded on any website and to be agnostic to the specific browser and device for web

browsing.” 172 I disagree with these assertions. As detailed in my opening report and further

described herein, there are multiple browser settings and extensions available to users that will

affect transmissions of At-Issue Data to Google when the user visits a website that makes use of


167
       Hochman Report, Section VIII.I.
168
       Hochman Report, ¶ 27.
169
       Hochman Report, ¶ 28.
170
       Hochman Report, ¶ 29.
171
       Hochman Report, Section VIII.I.
172
       Hochman Report, ¶ 308.

                                                  57
  Case 4:20-cv-03664-YGR              Document 666-24         Filed 08/05/22      Page 277 of 331
                                                   CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


Google’s analytics or advertising services. The tags that Google makes available to websites that

choose to use those services are also configurable, and there are multiple settings available to those

websites that also affect transmissions of At-Issue Data to Google. As a result, to the extent there

is an “impact” on purported class members of the transmissions of At-Issue Data in this case, I do

not agree that any such impact is “uniform” to all class members, as Mr. Hochman contends.

      111.       Mr. Hochman further asserts that “Google does not provide users with any tool to

escape these Google ‘tracking beacons’ on non-Google websites.” 173 This is incorrect, too. Google

and other browser vendors do provide tools to users that will affect the flow of At-Issue Data to

Google. In Section V of my opening report, I summarized settings and extensions that allow users

to change which data are transmitted to Google and other services. In my analysis, I tested the

following tools that affect data flow: cookie blocking settings, JavaScript blocking settings and

extensions, an extension that allows restricting Google Analytics data flow, and an extension that

blocks advertising and other types of content. I found that these tools affect data transmissions of

At-Issue Data to Google whether a user is in Regular or Private Browsing Mode. 174 Even though

my analysis is focused on the Chrome browser using the Windows operating system, similar

settings and extensions are available on other browsers and operating systems which makes my

analysis generalizable to other cases. 175 The analysis presented in my report serves as an example

and was not intended as an exhaustive list of settings and extensions that users can use that are




173
      Hochman Report, ¶ 312.
174
      Zervas Affirmative Report, Section V.
175
      See e.g., “Google Analytics Blocker,” Firefox Browser Add-Ons, available at https://perma.cc/L3RX-
      X2A6; Orgera, Scott, “How to Disable JavaScript in Firefox,” Lifewire, December 2, 2020, available
      at https://perma.cc/5GLL-U868.

                                                   58
  Case 4:20-cv-03664-YGR              Document 666-24       Filed 08/05/22      Page 278 of 331
                                                 CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


available in all popular browsers. Some users do indeed use these tools. 176,177 Therefore, I disagree

with Mr. Hochman that users cannot affect whether and how At-Issue Data are transmitted to

Google while users are in Private Browsing Mode, and I disagree with Mr. Hochman that “there

is a near certainty that almost every person” had their private browsing information transmitted to

Google.

      112.       Mr. Hochman also states that “[t]he Plaintiffs in this case are alleging that Google

portrayed private browsing mode, including Incognito mode, as the control to prevent Google from

tracking them across non-Google websites.” 178 Other than reference to the Plaintiffs’ allegations,

Mr. Hochman does not provide support for this assertion. As confirmed by the testing described

in my opening report, and as stated in Section VIII of this report, Private Browsing Modes in

Chrome and other browsers operate consistently with how Google describes their operation to

users. Further, to the extent Mr. Hochman asserts that Incognito Mode does not provide any

privacy protections to users, I disagree. Incognito Mode does provide a measure of control and

privacy for the user. For example, as described in Section VIII of this report, in Incognito mode,

cookies existing on the browser are not shared, and new cookies set during the Incognito Mode

session are discarded at the end of the session. Therefore, cookies cannot be used to link the user’s

activity in Incognito Mode with cookie values set in other sessions.




176
      Zervas Affirmative Report, ¶ 136.
177
      Schneier, Bruce, “Data and Goliath: The Hidden Battles to Collect Your Data and Control Your
      World,” W.W. Norton & Company, 2015, p. 40.
178
      Hochman Report, ¶ 312.

                                                  59
   Case 4:20-cv-03664-YGR             Document 666-24         Filed 08/05/22      Page 279 of 331
                                                   CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


VIII.         REBUTTAL TO MR. HOCHMAN’S ASSERTIONS REGARDING HOW
              CHROME’S INCOGNITO MODE OPERATES (HOCHMAN OPINION 29)

       113.        In his Opinion 29, Mr. Hochman claims that “Google’s Chrome Incognito mode

 functioned in ways that were different than represented.” Mr. Hochman further claims that “the

 Incognito Splash Screen represents that ‘Chrome won’t save the following information: Your

 browsing history, cookies and site data, information entered in forms.’ This statement is false as a

 technical matter.” 179 Mr. Hochman’s sole basis for saying that is that he claims “Chrome does save

 browsing history as well as cookies and site data within Incognito sessions—at a minimum for the

 duration of the Incognito session.” 180 I disagree with Mr. Hochman’s statements on these issues

 for several reasons.

       114.        First, Mr. Hochman’s assertion that data are saved for the duration of the Incognito

 Mode session is exactly how Google describes Incognito Mode in various publicly available

 documents. 181 Specifically, Mr. Hochman ignores descriptions from the “Learn More” page that

 is linked from the Incognito Mode Splash Screen. The “Learn More” page states that “When you

 first open a new Incognito window, you’re creating a new Incognito browsing session. Any

 Incognito windows you open after that are part of the same session. You can end that Incognito

 session by closing all open Incognito windows.” 182 Further, under the “What Incognito mode does”

 section, the “Learn More” page states that “[e]ach time you close all Incognito windows, Chrome




 179
        Hochman Report, ¶ 320.
 180
        Hochman Report, ¶ 320.
 181
        Hochman Report, ¶ 320.
 182
        “How Chrome Incognito keeps your browsing private,” Google Chrome Help, Google, available at
        https://perma.cc/2YZX-VG2U.

                                                    60
  Case 4:20-cv-03664-YGR              Document 666-24       Filed 08/05/22      Page 280 of 331
                                                  CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


discards any site data and cookies associated with that browsing session.” 183 Further, the Chrome

Privacy Notice states that “Chrome won't share existing cookies with sites you visit in incognito

or guest mode. Sites may deposit new cookies on your system while you are in these modes, but

they’ll only be stored and transmitted until you close the last incognito or guest window.” 184

Mr. Hochman’s description of how Incognito Mode operates is exactly how Google describes it.

      115.       Second, the tests I conducted and discussed in Section IV.C.2 of my opening report

show that Private Browsing Modes, including Incognito Mode, prevent cookie values from being

shared across browsing sessions. Chrome keeps cookie values associated with an individual

Incognito Mode Session separate from cookie values set in other sessions, whether those are

Incognito Mode or Regular Mode Sessions. My testing confirmed that cookie values set in a

Regular Mode Session are not available in a Private Browsing Session, and cookie values set

during a Private Browsing Session are not available in subsequent Regular Mode or Private

Browsing Sessions. Further, my tests also show that users’ browsing history, website logins, and

autofill web forms are discarded after a Private Browsing Session has ended. 185 My tests confirmed

that Private Browsing Modes such as Incognito work as described to users. Mr. Hochman does not

perform any tests that show otherwise. For example, Mr. Hochman did not perform any tests or

identify any evidence showing that cookie values associated with Private Browsing Sessions are

not discarded once the session is closed, or that Incognito Mode does not conceal a user’s browsing

activity from other people who may use the same device.



183
      “How Chrome Incognito keeps your browsing private,” Google Chrome Help, Google, available at
      https://perma.cc/2YZX-VG2U.
184
      “Google Chrome Privacy Notice,” Google, September 23, 2021, available at https://perma.cc/SX4Q-
      3YU4.
185
      Zervas Affirmative Report, Section IV.A.

                                                  61
  Case 4:20-cv-03664-YGR              Document 666-24      Filed 08/05/22      Page 281 of 331
                                                 CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


      116.       My tests also confirmed that Private Browsing Modes such as Incognito operate

consistent with industry recommendations relating to private browsing. As noted by W3C 186 and

discussed in my opening report, 187 “Privacy modes offer some layer of isolation from browsing in

regular browsing mode. Specifically, state information (cookies, saved passwords, list of visited

sites, and other forms of client-side storage) is not kept between browser sessions. This for example

means that on-disk traces should not be retained by the browser between two sessions (which in

some cases may potentially still be recovered by other means).” 188

      117.       Third, Mr. Hochman asserts that “throughout the class period, Chrome Incognito

mode did not sandbox individual windows and tabs. Instead, Google designed Chrome Incognito

to function in a way where cookies were shared across all Incognito windows and tabs open at the

same time.” 189 But this is exactly how Google describes Incognito Mode to users. For example,

the “How Chrome Incognito keeps your browsing private” page states “Close all Incognito

windows and tabs when you’re done browsing. You end a session when you close all Incognito

windows, so closing a single tab won’t discard your data. If you see a number next to the Incognito

icon on your desktop or at the bottom of your browser on a mobile device, you have more than

one Incognito window or tab open.” 190




186
      “W3C TAG Observations on Private Browsing Modes,” World Wide Web Consortium, April 9, 2020,
      available at https://perma.cc/8SLY-NZ66.
187
      Zervas Affirmative Report, Section IV.D.
188
      “W3C TAG Observations on Private Browsing Modes,” World Wide Web Consortium, April 9, 2020,
      available at https://perma.cc/8SLY-NZ66.
189
      Hochman Report, ¶ 162.
190
      “How Chrome Incognito keeps your browsing private,” Google Chrome Help, Google, available at
      https://perma.cc/2YZX-VG2U.

                                                 62
  Case 4:20-cv-03664-YGR           Document 666-24         Filed 08/05/22     Page 282 of 331
                                                CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


      118.     Finally, to support these arguments, Mr. Hochman provides an incomplete quote

from a former Google engineer, Rory McClelland, in which he omits the text in bold below:

               “I would argue that we do store it, just in memory only. One of main
               misunderstanding (sic) we have with IM is with people not closing their
               sessions, which would be reasonable if they believed we never store the
               data. 'Storage' is different from writing to disk, in my opinion at least.
               Whilst this doesn't make much difference at the local level, it does have
               an impact on the accumulation of cookies (and sign-ins) that allow the user
               to be tracked, even in Incognito mode.” 191

      119.     Mr. McClelland’s testimony indicates that there is a distinction between Chrome

storing data temporarily in memory versus writing data to disk. I agree. Browsers can store

information in temporary memory to enable the browser to function—for example, when a user

navigates to a web page, the browser will request and receive the HTML source code for that page.

The browser can store the received HTML source code in memory so that it can be executed and

the web page rendered for the user. In my opinion, these types of storage are distinct from “saving”

information associated with a user’s browsing session, which implies that it will be retained even

after the browser application is closed. Mr. Hochman has identified no evidence that Chrome

Incognito Mode saves a user’s browsing history, cookies and site data, or information entered in

forms so that it can be accessed after an Incognito Session ends. To the extent Mr. Hochman

contends that storing information temporarily in memory constitutes “saving” that information, I

disagree.

      120.     Based on my experience, review of documents, and testing results discussed above

and in my opening report, Incognito Mode works as described to users by concealing users’

browsing activity from other people who may use the same device, and by ensuring that cookie




191
      GOOG-BRWN-00699213.

                                                63
  Case 4:20-cv-03664-YGR                Document 666-24           Filed 08/05/22        Page 283 of 331
                                                      CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


values generated during the Private Browsing Sessions cannot be used to provide a link to the

user’s browsing activity in Regular Mode.


IX.          OTHER REBUTTALS TO MR. HOCHMAN’S REPORT

             A.   Mr. Hochman Exaggerates The Complexity Of Developer Tools

      121.        Mr. Hochman argues that Developer Tools 192 “are not designed for the use by

typical Internet users, and they in any case do not provide information regarding exactly what

private browsing information is collected by Google, what private browsing information is stored

by Google, and/or how that private browsing information is exploited by Google.”193

Mr. Hochman further claims that “[i]n my experience, those are not tools that any typical consumer

would use or understand.” 194 Mr. Hochman fails to explain what kind of experience makes him

come to this conclusion, and he offers no support as to who a “typical user” is and what technology

experience they have.


      122.        While Developer Tools are designed for use by website developers, these tools are

accessible to all users. For example, Developer Tools of Chrome and other browsers are accessible

to a user with just two clicks. When a user right-clicks on the webpage in Chrome, a menu bar is

displayed with a limited number of fields, one of which is “Inspect” as is illustrated in Figure 8

below. After clicking on the “Inspect” field, the Chrome Developer Tools window will be opened.

Alternatively, users can navigate to Developer Tools in Chrome by clicking on the three vertical



192
      I refer to Developer Tools as a collection of website inspection tools available in all popular browsers.
      See e.g., “Chrome DevTools,” Chrome Developers, Google, available at https://perma.cc/9T24-5L9C;
      “What are browser developer tools?” MDN Web Docs, available at https://perma.cc/SL8Y-WSFP.
193
      Hochman Report, ¶ 135.
194
      Hochman Report, ¶ 87.

                                                      64
  Case 4:20-cv-03664-YGR           Document 666-24         Filed 08/05/22     Page 284 of 331
                                                CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


dots at the top right corner of the Chrome browser, expanding the “More tools” sub-menu, and

clicking on “Developer Tools,” or by simply pressing “Ctrl + Shift + I,” as illustrated in Figure 9.


                                          Figure 8
                     Accessing Developer Tools In Chrome Via “Inspect”




                                                65
  Case 4:20-cv-03664-YGR               Document 666-24       Filed 08/05/22    Page 285 of 331
                                                     CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                            Figure 9
                     Accessing Developer Tools In Chrome Via “Ctrl+Shift+I”




      123.        Mr. Hochman also uses Developer Tools in his analysis of data that Chrome

transmits to various domains in Incognito Mode, yet fails to explain why Developer Tools are

adequate for that purpose but not others. 195 In my opening report, I used Chrome Developer Tools

to illustrate the types of data, such as cookie values, that are stored and transmitted when browsing

in Regular and Incognito Modes. 196 Observing that certain data are sent to Google when browsing

a non-Google website does not require in-depth understanding of web technologies; a user can just

type “google” in the respective search bar in the “Network tab” of Developer Tools as I illustrated

in Figure 10. In fact, Chrome Developer Tools offers a “Help” webpage, accessible via a menu in




195
      Hochman Report, ¶ 87.
196
      See e.g., Zervas Affirmative Report, ¶¶ 63, 65-66.

                                                     66
  Case 4:20-cv-03664-YGR            Document 666-24         Filed 08/05/22     Page 286 of 331
                                                 CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


the Developer Tools window, which explains the program to unfamiliar users. 197 Additionally, the

“Inspect Network Activity” page includes a video explaining how to search for specific

transmissions. 198


                                           Figure 10
                           Searching For Google-Related Transmission




      124.       While many users may not be inclined to use Developer Tools, some users will. For

example, users who want to review the technical details of a particular webpage or are interested

in learning how websites and browsers work may use these tools to observe HTTP transmissions

or view website source code. There are ample resources and support information available about

Developer Tools and how to use them, such that holding a technical degree or having a deep



197
      “Chrome DevTools,” Chrome Developers, Google, available at https://perma.cc/9T24-5L9C.
198
      “Inspect network activity,” Chrome Developers, Google, February 8, 2019, available at
      https://perma.cc/96JX-HTQF.

                                                  67
  Case 4:20-cv-03664-YGR                 Document 666-24        Filed 08/05/22       Page 287 of 331
                                                     CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


technical background is not required for someone to use these tools. Therefore, I disagree with

Mr. Hochman’s conclusions regarding the complexity of and information available to users of

Developer Tools.


          B.      Mr. Hochman’s Statements About Energy Saving And Performance Of
                  Websites Related To Google’s Analytics And Advertising Services Are
                  Flawed

      125.        Mr. Hochman argues that “Google’s tracking beacons embedded in non-Google

websites take up processing, storage, and power/battery resources to run on user devices; thereby

increasing user’s energy and device costs.” 199 Mr. Hochman’s support for this conclusion is a

single article, which does not even mention Google’s analytics and advertising services. 200

      126.        This statement also assumes, without foundation, that in the absence of Google

services, websites would not use other services to provide the same or similar functionality. As I

explained in my opening report, 201 there are multiple alternatives that provide the same or similar

functionality as the Google services at issue in this case, such as Hotjar, 202 Mixpanel,203

Matomo, 204 Piwik PRO,205 and Adobe Analytics. 206 Thus, I disagree with Mr. Hochman’s


199
      Hochman Report, ¶ 94.
200
      Pearce, Joshua, M., “Energy Conservation with Open Source Ad Blockers,” MDPI, Vol. 8, No. 2, 2020,
      available at https://perma.cc/USH9-AQ8F.
201
      Zervas Affirmative Report, ¶ 87.
202
      “Understand how users behave on your site, what they need, and how they feel, fast,” Hotjar, available
      at https://perma.cc/PFP2-TD6F.
203
      “Build Better Products,” Mixpanel, available at https://perma.cc/7AV6-ZBHZ.
204
      “Google Analytics alternative that protects your data and your customers’ privacy,” Matomo, available
      at https://perma.cc/2FG3-BHM7.
205
      “Analyze the customer journey across websites and apps,” PIWIK PRO, available at
      https://perma.cc/7MRA-9CBF.
206
      “Analytics Anywhere in the Customer Journey,” Adobe Analytics, Adobe, available at
      https://perma.cc/6DYL-5AH4.

                                                     68
  Case 4:20-cv-03664-YGR              Document 666-24          Filed 08/05/22      Page 288 of 331
                                                    CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


assumption that browsers would somehow operate more efficiently if websites did not use

Google’s services.

      127.       Also, as confirmed by my testing that I present in my opening report, visiting a

website typically triggers many other requests beyond the requests to the first-party website and

Google. Therefore, Mr. Hochman wrongfully associates all these negative consequences with

Google. As an illustrative example, when I visited Plaintiffs’ attorneys’ website

http://www.forthepeople.com/ in Incognito Mode, only 11 percent of the third-party transmissions

were to Google-associated domains. This is lower than the number of transmissions to another

third-party domain wistia.com, which provides video hosting services and accounts for 33 percent

of the third-party transmissions. 207,208


          C.     Mr. Hochman’s Assertion That Users Cannot Request Deletion Of Private
                 Browsing Data Incorrectly Assumes That Google Can Identify Specific Users
                 Associated With The Data

      128.       Mr. Hochman argues that “[b]ased on my own experience as a Chrome user, and as

confirmed by Halavati, Google does not give users the option to delete this data” that Google

receives “when a user is in private browsing mode.” 209 However, Mr. Hochman’s opinion

incorrectly assumes that Google can identify the specific users associated with browsing data from

Private Browsing Sessions. But it is precisely because cookie values from Private Browsing

Sessions in which the user does not sign into a Google account cannot be used as a link to the user

or her device after the session is closed that the users are not able to delete that activity. As




207
      “The Video Host with the Most,” Wistia, available at https://perma.cc/BR2B-UZ9W.
208
      I listed all domains and the corresponding number of observed transmissions in my backup materials.
209
      Hochman Report, ¶ 103.

                                                    69
  Case 4:20-cv-03664-YGR              Document 666-24          Filed 08/05/22   Page 289 of 331
                                                    CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


Mr. Halavati explained, data from Private Browsing Sessions “are not connected to a user identity”

and therefore Google cannot give users the option to delete this information “because it doesn’t

know to which user they belong.” 210 Indeed, Mr. Hochman’s implicit assertion that Google should

give users the ability to delete data generated while they were in Private Browsing Mode would

require Google to associate that data with the users’ Google accounts (including their email

addresses and other potentially identifying information), thereby reversing that privacy-enhancing

feature of Incognito Mode.




Signed on the 7th day of June, 2022, at Brookline, MA.




                                                     ____________________________________

                                                     Georgios Zervas




210
      Deposition of Ramin Halavati, January 18, 2022, p. 89:2-3.

                                                    70
  Case 4:20-cv-03664-YGR               Appendix
                                   Document     A
                                            666-24           Filed 08/05/22      Page 290 of 331




Georgios Zervas
Boston University                    Phone:            (617) 358-3319 (office)
Questrom School of Business          Email:            zg@bu.edu
595 Commonwealth Ave (Ofc. 605)      Homepage:         http://people.bu.edu/zg/
Boston, MA 02215                     Google Scholar:   https://scholar.google.com/citations?user=5L8vEA4AAAAJ
Last updated: Dec. 21, 2021


Employment & Affiliations
Current
Associate Professor of Marketing                                                        2019–to date
Questrom School of Business, Boston University, Boston, MA

Faculty Director, MS in Business Analytics                                              2019–to-date
Questrom School of Business, Boston University, Boston, MA
Founding Member, Faculty of Computing & Data Science                                    2019–to date
Boston University, Boston, MA
Affiliated Faculty in Computer Science                                                  2016–to date
Boston University, Boston, MA
Visiting Researcher                                                                     2013–to date
Microsoft Research New England, Cambridge, MA

Prior
Assistant Professor of Marketing                                                          2013–2019
Questrom School of Business, Boston University, Boston, MA
Visiting Scholar                                                                         Spring 2018
MIT Sloan, Cambridge, MA
Simons Postdoctoral Fellow                                                                2011–2013
Yale University, New Haven, CT
Advisor: Joan Feigenbaum

Affiliate at the Center for Research & Computation in Society                             2011–2013
Harvard University, Cambridge, MA
Research Scientist                                                                        2006–2012
CogoLabs Inc., Cambridge, MA, USA
Cofounder                                                                                 2000–2005
Perlfect Solutions, London, UK




                                                A-1
  Case 4:20-cv-03664-YGR               Document 666-24            Filed 08/05/22        Page 291 of 331

Georgios Zervas, Associate Professor of Marketing, Questrom School of Business, Boston University          2


Education
Ph.D. Computer Science                                                                              2005–2011
Boston University, Boston, MA, USA.
Thesis: Data-Driven Analysis of Electronic Commerce Systems.
Advisors: John W. Byers (BU) & Michael Mitzenmacher (Harvard).
M.A. Interactive Media                                                                              1999–2000
London College of Communication, London, UK.
Thesis: Automatic Website Generation Using Genetic Algorithms.
Advisor: Alan Sekers.

M.Sc. Computer Science                                                                              1998–1999
Imperial College, London, UK.
Thesis: Thesis: Advanced Clustering Algorithms.
Advisor: Stefan Rüger.
B.Eng. Computer Science                                                                             1995–1998
Imperial College, London, UK.
Thesis: Object Linking & Embedding for Linux.
Advisor: Steffen van Bakel.


Publications
Journals
1. Shrabastee Banerjee, Chris Dellarocas Chris, and Georgios Zervas
   Interacting User-Generated Content Technologies: How Questions and Answers Affect Consumer
   Reviews.
   Journal of Marketing Research, (2021);58(4): 742-761.
2. Georgios Zervas, Davide Proserpio, and John W. Byers
   A first look at online reputation on Airbnb, where every stay is above average
   Marketing Letters, (2020): 1-16.
3. Giana Eckhardt, Mark Houston, Baojun Jiang, Cait Lamberton, Aric Rindfleisch, and Georgios Zervas
   Marketing in the Sharing Economy
   Journal of Marketing, 83.5 (2019): 5-27.
4. Giana Eckhardt, Mark Houston, Baojun Jiang, Cait Lamberton, Aric Rindfleisch, and Georgios Zervas
   Marketing in the Sharing Economy
   Journal of Marketing, 83.5 (2019): 5-27.
5. Davide Proserpio, Wendy Xu, and Georgios Zervas
   You Get What You Give: Theory and Evidence of Reciprocity in the Sharing Economy
   Quantitative Marketing and Economics, 16(4), (2018): 371-407.
6. Georgios Zervas, Davide Proserpio, and John W. Byers
   The Rise of the Sharing Economy: Estimating the Impact of Airbnb on the Hotel Industry
   Journal of Marketing Research, 54, no. 5 (2017): 687-705.
   – Finalist for the 2018 Paul E. Green Award.




                                                      A-2
  Case 4:20-cv-03664-YGR               Document 666-24            Filed 08/05/22        Page 292 of 331

Georgios Zervas, Associate Professor of Marketing, Questrom School of Business, Boston University         3


7. Davide Proserpio and Georgios Zervas
   Online Reputation Management: Estimating the Impact of Management Responses on Consumer
   Reviews
   Marketing Science, 36, no. 5 (2017): 645-665
   – Finalist for the 2018 John D. C. Little Award.

8. Michael Luca, and Georgios Zervas
   Fake It Till You Make It: Reputation, Competition, and Yelp Review Fraud
   Management Science, 62, no. 12 (2016): 3412-3427

Full Papers in Peer-reviewed Conferences with Proceedings
1. Ceren Budak, Sharad Goel, Justin M. Rao, and Georgios Zervas
   Understanding Emerging Threats to Online Advertising
   In Proceedings of the Sixteenth ACM Conference on Economics and Computation (EC ’16). ACM, 2016.

2. John Byers, Michael Mitzenmacher, and Georgios Zervas
   The Daily Deals Marketplace: Empirical Observations and Managerial Implications
   In ACM SIGecom Exchanges, Vol. 11, No. 2, December 2012, Pages 29–31.
3. Joan Feigenbaum, Michael Mitzenmacher, and Georgios Zervas
   An Economic Analysis of User-Privacy Options in Ad-Supported Services
   In Proceedings of the 8th Workshop on Internet & Network Economics, WINE ’12, pages 30–43. Springer
   Berlin Heidelberg, 2012.
4. John W. Byers, Michael Mitzenmacher, and Georgios Zervas
   The Groupon Effect on Yelp Ratings: A Root Cause Analysis
   In Proceedings of the 13th ACM Conference on Electronic Commerce, EC ’12, pages 248–265. Valencia, Spain,
   2012. ACM.
5. John W. Byers, Michael Mitzenmacher, and Georgios Zervas
   Daily Deals: Prediction, Social Diffusion, and Reputational Ramifications
   In Proceedings of the 5th ACM international conference on Web Search and Data Mining, WSDM ’12, pages
   543–552. Seattle, WA, USA, 2012. ACM.
6. John W. Byers, Brent Heeringa, Michael Mitzenmacher, and Georgios Zervas.
   Heapable Sequences and Subsequences
   In Proceedings of the Workshop on Analytic Algorithmics and Combinatorics, ANALCO ’11, pages 33–44, San
   Fransisco, CA, USA, 2011. ACM.
7. John W. Byers, Michael Mitzenmacher, and Georgios Zervas
   Information asymmetries in pay-per-bid auctions
   In Proceedings of the 11th ACM conference on Electronic Commerce, EC ’10, pages 1–12, New York, NY,
   USA, 2010. ACM.
8. John W. Byers, Michael Mitzenmacher, and Georgios Zervas
   Adaptive Weighing Designs for Keyword Value Computation
   In Proceedings of the third ACM international conference on Web search and data mining, WSDM ’10, pages
   331–340, New York, NY, USA, 2010. ACM.
9. Nikolaos Laoutaris, Georgios Zervas, Azer Bestavros, and George Kollios
   The Cache Inference Problem and its Application to Content and Request Routing
   In Proceedings of the 26th Annual IEEE Conference on Computer Communications, INFOCOM ’07, pages
   848–856, Anchorage, AK, USA, 2007. IEEE.




                                                      A-3
   Case 4:20-cv-03664-YGR                Document 666-24            Filed 08/05/22         Page 293 of 331

 Georgios Zervas, Associate Professor of Marketing, Questrom School of Business, Boston University               4


10. Georgios Zervas, and Stefan M. Rüger
    The Curse of Dimensionality and Document Clustering
    In IEEE Seminar, Searching for Information: Artificial Intelligence and Information Retrieval Approaches, pages
    19/1–19/3, Glasgow, UK, 1999.

 Abstracts in Peer-reviewed Conferences with Proceedings
 1. Greg Lewis and Georgios Zervas
    The Supply and Demand Effects of Review Platforms
    In Proceedings of the 2019 ACM Conference on Economics and Computation (EC ’19)., pp. 197-197. ACM,
    2019.
 2. Shrabastee Banerjee, Chris Dellarocas, and Georgios Zervas
    Interacting User Generated Content Technologies: How Q&As Affect Ratings & Reviews
    In Proceedings of the 2017 ACM Conference on Economics and Computation (EC ’17)., pp. 539-539. ACM,
    2017.
 3. Georgios Zervas, Davide Proserpio, and John W. Byers
    The Impact of the Sharing Economy on the Hotel Industry: Evidence from Airbnb’s Entry Into the
    Texas Market
    In Proceedings of the 2015 ACM Conference on Economics and Computation (EC ’15)., pp. 637-637. ACM,
    2015.
 4. Davide Proserpio and Georgios Zervas
    Online Reputation Management: Estimating the Impact of Management Responses on Consumer
    Reviews
    In Proceedings of the 2015 ACM Conference on Economics and Computation (EC ’15)., pp. 79-79. ACM, 2015.

 Invited Articles
 1. Davide Proserpio and Georgios Zervas
    Replying to Customer Reviews Results in Better Ratings
    Harvard Business Review, Feb. 14, 2018.


 Working Papers
 1. Greg Lewis, Bora Ozaltun, and Georgios Zervas
    Maximum Likelihood Estimation of Differentiated Products Demand Systems
 2. Luis Armona, Greg Lewis, and Georgios Zervas
    Learning Product Characteristics and Consumer Preferences from Search Data
 3. Stephan Seiler, Song Yao, Georgios Zervas
    Causal Inference in Word-of-Mouth Research: Methods and Results
 4. Chiara Farronato and Georgios Zervas
    Consumer Reviews and Regulation: Evidence from NY Restaurants

 5. Greg Lewis and Georgios Zervas
    The Welfare Impact of Consumer Reviews: A Case Study of the Hotel Industry
 6. Greg Lewis and Georgios Zervas
    Supply and Demand Responses to Consumer Review Platforms




                                                        A-4
  Case 4:20-cv-03664-YGR               Document 666-24            Filed 08/05/22        Page 294 of 331

Georgios Zervas, Associate Professor of Marketing, Questrom School of Business, Boston University             5


Grants, Awards, & Honors
1. Marketing Science Institute (MSI) Young Scholars                                                        2019
2. Dean’s Research Scholar, Questrom School of Business                                                 08/2018
3. Shahdadpuri Research Award, Questrom School of Business                                              10/2017
4. Hariri Institute Graduate Fellowship                                                                  6/2015
   ($25,000 award)
5. Google Faculty Research Award                                                                         2/2015
   ($35,000 unrestricted gift, plus $10,000 in Google Cloud credits)
6. Hariri Institute Junior Faculty Fellow                                                             2013–2015
7. Hariri Institute Research Grant                                                                       1/2013
   Principal Investigator, with co-PI John W. Byers ($26,500)
8. Departmental Research Achievement Award, Computer Science Dept., Boston U.                         2010–2011


Student Advising
1. Hannah Catabia, PhD Student, Computer Science Dept., Co-advisor                                  2019–to date
2. Philip Zhao, PhD Student, Marketing Dept., Advisor                                               2018–to date
3. Shrabastee Banerjee, PhD Student, Marketing Dept., Advisor                                         2015–2021
   Placement: Tilburg University, Marketing
4. Davide Proserpio, PhD Student, Computer Science Dept., Co-advisor                                  2012–2015
   Placement: USC Marshall, Marketing


Presentations and Invited Talks
Learning Market Structure & Consumer Preferences from Search Data: An Application to Hotel De-
mand Estimation
 Conferences:
 - Marketing Science 2019, Rome, Italy                                                              06/20/2019
Consumer Reviews and Regulation: Evidence from NY Restaurants
 Academia:
 - Technische Universität Berlin, Germany                                                           10/04/2021
 - Universitat zu Koln, Germany                                                                     07/31/2021
 - Brandeis University, Walthman, MA                                                                04/07/2021
 - Yale School of Management, New Haven, CT                                                         10/30/2020
 - University of Miami, Miami, FL                                                                   10/23/2020
 - UMass Amherst Isenberg School of Management, Amherst, MA                                         02/03/2018

 Conferences:
 - Marketing Science 2018, Philadelphia, PA                                                         06/14/2018




                                                      A-5
  Case 4:20-cv-03664-YGR               Document 666-24            Filed 08/05/22        Page 295 of 331

Georgios Zervas, Associate Professor of Marketing, Questrom School of Business, Boston University            6


 - BU Data Science Day, Boston University, Boston MA                                                01/26/2018
 - Digital, Mobile Marketing, and Social Media Analytics Conference, NYU, New York, NY              09/12/2017
 - Marketing Science, USC Marshall, Los Angeles, CA                                                 06/10/2017
 - Health Sector Data Blitz, Questom School of Business, Boston, MA                                 03/11/2017
 - Marketing Analytics and Big Data conference, Columbia University, New York, NY                   16/09/2017
The Welfare Impact of Consumer Reviews: A Case Study of the Hotel Industry
 Academia:
 - HEC, Paris, France                                                                               11/07/2019
 - Duke Fuqua, Durham, North Carolina                                                               05/01/2019
 - Harvard Business School, Boston, MA                                                              03/12/2019
 - NYU Stern, New York, NY                                                                          02/14/2019
 - Columbia GSB, New York, NY                                                                       10/16/2018
 - USC Marshall, Los Angeles, CA                                                                     4/14/2017
 - Stanford GSB, Palo Alto, CA                                                                       4/12/2017
 - Michigan Ross, Ann Arbon, MI                                                                      4/10/2017
 - University of Toronto Rotman, Toronto, ON                                                         2/17/2017
 - University of Chicago Booth, Chicago, IL                                                          1/31/2017
 - Wharton, Philadelphia, PA                                                                         1/25/2017
 - MIT Economics Dept., Cambridge, MA                                                               10/24/2016

 Conferences:
 - QME 2016, Kellogg School of Management, Evanston, IL                                             09/01/2016
 - SCECR 2016, Naxos, Greece                                                                        06/24/2016
 - Greater China Conference on Mobile Big Data Marketing, Hong Kong                                 06/13/2016
 - Marketing Science 2016, Shanghai, China                                                          06/16/2016
Online Reputation Management: Estimating the Impact of Management Responses on Consumer Re-
views.
 Academia:
 - Havard EconCS Seminar, Cambridge, MA                                                             10/02/2015
 - Hebrew University, Computer Science dept., Jerusalem, Israel                                     06/14/2015
The Rise of the Sharing Economy: Estimating the Impact of Airbnb on the Hotel Industry
 Conferences:
 - Open & User Innovation Conference 2015, Harvard Business School, Boston MA                       08/03/2016
 - CODE@MIT, Cambridge MA                                                                           10/16/2015
 - Marketing Science 2015, Baltimore                                                                05/20/2015
 - NYU 2015 Conference on Digital Big Data, Smart Life, Mobile Marketing Analytics                  23/10/2015

 Academia:
 - Simon Business School, University of Rochester                                                   2/29/2016

 Industry:
 - Microsoft Research New England                                                                   11/18/2015




                                                      A-6
  Case 4:20-cv-03664-YGR               Document 666-24            Filed 08/05/22        Page 296 of 331

Georgios Zervas, Associate Professor of Marketing, Questrom School of Business, Boston University            7


 Government:
 - Cambridge City Council, Cambridge, MA                                                            7/19/2016
Understanding Emerging Threats to Online Advertising
 Academia:
 - Goizueta Business School, Emory University                                                       02/27/2015
 - MSR/Harvard Game Theory Seminar                                                                  12/17/2014
 - Questrom School of Business, MPPL Seminar                                                        04/17/2015

 Industry:
 - Betaworks, NYC                                                                                   07/23/2015
Fake It Till You Make It: Reputation, Competition, and Yelp Review Fraud
 Conferences:
 - Marketing Science 2014, Emory University, Atlanta                                                06/13/2014
 - WIN 2013: The 5th Workshop on Information in Networks                                            10/04/2013
 - DIMACS Workshop on Economic Aspects of Information Sharing                                       02/08/2013

 Industry:
 - Google, Palo Alto, CA                                                                            02/12/2013
The Groupon Effect on Yelp Ratings: A Root Cause Analysis
 Conferences:
 - Marketing Science 2013, Istanbul, Turkey                                                         07/13/2013
 - SCECR 2012, Montreal, Canada                                                                     06/29/2012
 - ACM EC 2012, Valencia, Spain                                                                     06/05/2012
 - Yale Customer Insights Conference, New Haven, CT                                                 03/15/2013
 - CAOSS 2012: Workshop on Computational and Online Social Science, New York, NY                    10/12/2012

 Academia:
 - Wellesley University, Computer Science Dept                                                      02/27/2012
 - Northeastern University, Computer Science Dept                                                   03/28/2012
 - Harvard University, School of Eng. & Appl. Sci., Joint EconCS/Theory Seminar                     04/16/2012
 - Berkeley University, Computer Science Dept                                                       04/10/2012

 Industry:
 - Microsoft Research New York                                                                      02/27/2013
 - Google, Palo Alto, CA                                                                            04/09/2012
 - Yelp, San Francisco, CA                                                                          04/11/2012
Daily Deals: Prediction, Social Diffusion, and Reputational Ramifications
 Conferences:
 - New York Computer Science and Economics Day (Poster session.)                                    09/16/2011
 - Cambridge Area Economics and Computation Day (Poster session.)                                   11/18/2011
 - ACM WSDM 2012                                                                                    02/11/2012




                                                      A-7
   Case 4:20-cv-03664-YGR               Document 666-24            Filed 08/05/22        Page 297 of 331

 Georgios Zervas, Associate Professor of Marketing, Questrom School of Business, Boston University            8


  Academia:
  - Harvard University, School of Eng. & Appl. Sci., Joint EconCS/Theory Seminar                     10/20/2011
  - Boston University, Mathematics Dept., Statistics and Probability Seminar                         11/17/2011
  - Columbia University, Computer Science Dept., Seminar                                             12/08/2011

  Industry:
  - IBM Research, Hawthorne, NY, Seminar                                                             12/07/2011
  - Microsoft Research New England, Economics Research Working Group                                 10/14/2011
 Information Asymmetries in Pay-Per-Bid Auctions: How Swoopo Makes Bank
  Conferences:
  - ACM EC 2010                                                                                      06/09/2010

  Academia:
  - Boston University, Computer Science Dept., Theory Seminar                                        03/19/2010
  - Harvard University, School of Eng. & Appl. Sci., Joint EconCS/Theory Seminar                     03/29/2010
  - Northeastern University, Coll. of Comp. & Inf. Sci., Graduate Student Seminar                    04/03/2010
  - Williams College, Computer Science Dept., Invited Colloquium                                     10/22/2010
 Adaptive Weighing Designs for Keyword Value Computation
  Conferences:
  - ACM WSDM 2010                                                                                    02/06/2010

  Academia:
  - Boston University, Computer Science Dept., Networking Reading Group                              02/08/2010
  - Boston University, Computer Science Dept., CS565 Data Mining, Guest Lecture                      03/23/2010


 Teaching
 1. BA810: Supervised Machine Learning (44 students)                                                   Fall 2019
 2. BA810: Supervised Machine Learning (42 students)                                                   Fall 2019
 3. MK476: Machine Learning for Business Analytics (26 students)                                     Spring 2019
 4. MK824: Machine Learning for Business Analytics (44 students)                                     Spring 2019
 5. MK824: Machine Learning for Business Analytics (40 students)                                     Spring 2018
 6. MK824: Machine Learning for Business Analytics (43 students)                                     Spring 2017
 7. MK323: Marketing Management (49 students)                                                        Spring 2017
 8. MK323: Marketing Management (48 students)                                                          Fall 2015
 9. MK323: Marketing Management (50 students)                                                          Fall 2015
10. MK323: Marketing Management (47 students)                                                          Fall 2014
11. MK323: Marketing Management (47 students)                                                          Fall 2014
12. MK323: Marketing Management (49 students)                                                          Fall 2013
13. MK323: Marketing Management (50 students)                                                          Fall 2013




                                                       A-8
  Case 4:20-cv-03664-YGR               Document 666-24            Filed 08/05/22        Page 298 of 331

Georgios Zervas, Associate Professor of Marketing, Questrom School of Business, Boston University             9


Course Development
MK476, MK842, and BA810 are courses that I developed that introduce undergraduate, MBA, and MSBA
students to machine learning methods with applications in business analytics.


Service
Editorial Review Board                                                                              2020–to-date
Marketing Science
Steering Committee Member                                                                           2019–to-date
Rafik B. Hariri Institute for Computing, Boston University


Editorial Review Board                                                                              2019–to-date
Journal of Marketing
Editorial Review Board                                                                              2019–to-date
Journal of Marketing Research
Associate Editor                                                                                    2019–to date
ACM Transactions on Economics and Computation

Program committees: EC 2021 (Program Committee), EC 2020 (Senior Program Committee), WebConf
2020, EC 2019 (Senior Program Committee), EC 2018 (Senior Program Committee), EC 2018, WWW 2018,
ICIS 2018, EC 2017 (Senior Program Committee), EC 2016 (Senior Program Committee), WWW 2016
(Senior Program Committee), ICIS 2016, SCECR 2016, EC 2015, WSDM 2015, WWW 2015, AMMA 2015,
COBE 2015, EC 2014, WSDM 2014, WWW 2014, ICWSM 2014, WWW 2013, WSDM 2013, EC 2012.

Ad-hoc reviewer: Management Science, Marketing Science, Journal of Marketing Research, Information
Systems Research, Games and Economic Behavior, Review of Industrial Organization, Operations Let-
ters, Management Information Systems Quarterly, Journal of Public Economics, Manufacturing & Service
Operations Management.


Media coverage
1. Some Smiling Faces in Online Customer Testimonials Are Stock Photos                              05/16/2019
   The Wall Street Journal
2. Why ranting on Yelp is the wrong way to complain about awful service                             04/03/2018
   The Boston Globe
3. Does a ’Sharing Economy’ Foster Better Behavior?                                                 03/27/2018
   PC Magazine
4. For Hotels, Online Reviews Really Matter to the Bottom Line                                      11/18/2016
   The Wall Street Journal
5. Don’t Necessarily Judge Your Next E-Book By Its Online Review                                    10/26/2015
   NPR All Things Considered
6. Five-star fakes                                                                                  10/24/2015
   The Economist




                                                      A-9
   Case 4:20-cv-03664-YGR               Document 666-24            Filed 08/05/22        Page 299 of 331

 Georgios Zervas, Associate Professor of Marketing, Questrom School of Business, Boston University           10


 7. Ratings Now Cut Both Ways, So Don’t Sass Your Uber Driver                                        01/30/2015
    The New York Times
 8. Airbnb, Uber, Lyft: de l’économie collaborative au business du partage                           08/16/2014
    Le nouvel Observateur

 9. Airbnb versus hotels: Room for all, for now                                                      04/26/2014
    The Economist
10. Keeping crowdsourcing honest: can we trust the reviews?                                          02/18/2014
    BBC News
11. Why It’s So Hard to Figure Out the Sharing Economy’s Winners and Losers                          02/10/2014
    The Atlantic Cities
12. Sharing Is Caring, Unless It Costs You Your Job                                                  02/05/2014
    The New York Times Bits Blog
13. Yelp Reviews: Can You Trust Them?                                                                11/04/2013
    BU Today
14. Fake reviews on Yelp?! Don’t worry, we’ve got your back                                          09/27/2013
    Yelp Official Blog
15. Yelp deems 20% of user reviews ‘suspicious’                                                      09/24/2013
    Marketwatch, The Wall Street Journal
16. Yelp admits a quarter of submitted reviews could be fake                                         09/13/2013
    BBC News
17. Underdog Businesses Are More Likely to Post Fake Yelp Reviews                                    08/30/2013
    Harvard Business Review Blog Network
18. How Good Groupon Leads to Bad Yelp                                                               03/11/2013
    The Freaknomics Blog
19. For Some Businesses, Daily Deals Have A Dark Side                                                07/06/2012
    NPR Morning Edition
20. Using Groupon Deals? Your Yelp Rating May Suffer                                                 04/11/2012
    The Huffington Post
21. Help for Yelp                                                                                    11/09/2011
    BU Today
22. Groupon IPO: An Internet star falls to Earth                                                     10/23/2011
    Christian Science Monitor
23. Is Groupon Bad For Business?                                                                     10/18/2011
    WBUR
24. Groupon: Bad for Business?                                                                       10/05/2011
    BU Today
25. Groupon’s Morning After Problem                                                                  10/04/2011
    Time Magazine




                                                      A-10
   Case 4:20-cv-03664-YGR               Document 666-24            Filed 08/05/22        Page 300 of 331

 Georgios Zervas, Associate Professor of Marketing, Questrom School of Business, Boston University           11


26. Coupon Sites Are a Great Deal, but Not Always to Merchants                                       10/02/2011
    The New York Times
27. Groupon Deals May Hurt Your Yelp Ratings                                                         09/12/2011
    The Atlantic

28. Study: Daily Deals Hurt Businesses’ Reputations                                                  07/06/2011
    The Wall Street Journal, “In Charge” blog
29. Groupon’s Hidden Influence on Reputation                                                         09/12/2011
    The MIT Technology Review




                                                      A-11
  Case 4:20-cv-03664-YGR         Document 666-24       Filed 08/05/22     Page 301 of 331
                                             CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                       APPENDIX B
        LIST OF PRIOR EXPERT TESTIMONY FOR DR. GEORGIOS ZERVAS


Calhoun et al. v. Google LLC, U.S. District Court for the Northern District of California –
San Jose Division, Case No. 5:20-cv-05146
       Expert Report (December 2021) and Deposition Testimony (January 2022).




                                             B-1
  Case 4:20-cv-03664-YGR          Document 666-24        Filed 08/05/22     Page 302 of 331


                                               CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                          Appendix C
                                    Materials Considered


Legal Documents
Deposition of Justin Schuh, January 6, 2022.
Deposition of Michael Kleber, March 18, 2022.
Deposition of Ramin Halavati, January 18, 2022.
Deposition of Rory McClelland, February 18, 2022.
Expert Report of Dr. Georgios Zervas, April 15, 2022.
Expert Report of Jonathan E. Hochman, April 15, 2022.
Third Amended Class Action Complaint, Chasom Brown, et al., v. Google LLC, United States
District Court Northern District of California, February 3, 2022.


Bates Stamped Document
GOOG-BRWN-00699213.


Academic Literature
Ahmad, Nadim, and Paul Schreyer, “Measuring GDP in a Digitalized Economy,” OECD
Statistics Working Papers, No. 2016/07, 2016, available at https://perma.cc/GNV6-GHRX.
Bekh, Alona, “Advertising-based Revenue Model in Digital Media Market,” Ekonomski
vjesnik/Econviews - Review of Contemporary Business, Entrepreneurship and Economic Issues,
Vol. 33, No. 2, 2020, available at https://perma.cc/W7QP-YTPM.
Benzell, Seth G., Guillermo Lagarda, and Marshall Van Alstyne, “The Impact of APIs on Firm
Performance,” Boston University Questrom School of Business Research Paper, available at
https://perma.cc/5FRY-WTSF.
Berman, Ron, and Ayelet Israeli, “The Value of Descriptive Analytics: Evidence from Online
Retailers,” Harvard Business School, Working Paper 21-067, 2021, available at
https://perma.cc/B7JY-V3UX.
Brynjolfsson, Erik and Joo Hee Oh, “The Attention Economy: Measuring the Value of Free
Digital Services on the Internet,” Thirty Third International Conference on Information Systems,
Orlando 2012, 2012, available at https://perma.cc/E2TZ-A6J9.
Garett, Renee et al., “A Literature Review: Website Design and User Engagement,” Online
journal of communication and media technologies, Vol. 6, No. 3, 2016, available at
https://perma.cc/PPC7-PWCM.
Greenwood, Jeremy et al., “‘You Will’: A Macroeconomic Analysis of Digital Advertising,”
Economics of Digital Services @ Penn, 2021, available at https://perma.cc/ZX8P-9LC2.


                                               C-1
  Case 4:20-cv-03664-YGR         Document 666-24        Filed 08/05/22     Page 303 of 331


                                              CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

Klym, Natalie and David Clark, “The Future of the Ad-Supported Internet Ecosystem,” MIT
Internet Policy Research Initiative, 2019, available at https://perma.cc/S6LC-KHPJ.
Nakamura, Leonard, Jon Samuels, and Rachel Soloveichik, “Valuing ‘Free’ Media in GDP: An
Experiment Approach,” Federal Reserve Board of Philadelphia Working Paper, No. 16-24,
2016, available at https://perma.cc/4HMJ-7D3R.
Pearce, Joshua, M., “Energy Conservation with Open Source Ad Blockers,” MDPI, Vol. 8, No.
2, 2020, available at https://perma.cc/USH9-AQ8F.
Schneier, Bruce, “Data and Goliath: The Hidden Battles to Collect Your Data and Control Your
World,” W.W. Norton & Company, 2015.
Tidal, Junior R., “Using Web Analytics for Mobile Interface Development,” New York City
College of Technology, 2013, available at https://perma.cc/Z6Z8-U5MW.


Publicly Available Sources
“About enhanced conversions,” Google Ads Help, Google, available at https://perma.cc/6UH8-
9Q7X.
“About publisher provided identifiers,” Ad Manager Help, Google, available at
https://perma.cc/P6WG-YX4S.
“About Us: Helping your business leverage the Internet,” Hochman Consultants, available at
https://perma.cc/86E7-A39K.
“Ad-Supported Internet Brings over $1 Trillion to the U.S. Economy, Representing 6 Percent of
Country's Total GDP, According to IAB Study Led by Harvard Business School Professor,”
Interactive Advertising Bureau, March 15, 2017, available at https://perma.cc/G9BS-85MJ.
“Ad-Supported vs Subscription: Which is Better,” Aniview, December 11, 2021, available at
https://perma.cc/7NN2-XFEY.
“Analytics Anywhere in the Customer Journey,” Adobe Analytics, Adobe, available at
https://perma.cc/6DYL-5AH4.
“Analyze the customer journey across websites and apps,” PIWIK PRO, available at
https://perma.cc/7MRA-9CBF.
“Apple Privacy Policy,” Apple Privacy, Apple, October 27, 2021, available at
https://perma.cc/839B-PPM5.
“Build Better Products,” Mixpanel, available at https://perma.cc/7AV6-ZBHZ.
“BuzzFeed’s Privacy Policy and Cookie Policy,” BuzzFeed, October 8, 2021, available at
https://perma.cc/4WBC-XSC9.
“Choose a Plan,” Peacock, available at https://perma.cc/MLK5-GX59.
“Chrome DevTools,” Chrome Developers, Google, available at https://perma.cc/9T24-5L9C.
“Cookie Notice,” Reddit, September 15, 2020, available at https://perma.cc/M3WH-HDL9.


                                             C-2
  Case 4:20-cv-03664-YGR         Document 666-24        Filed 08/05/22     Page 304 of 331


                                              CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

“Cookie Policy,” Indeed, Inc., November 1, 2021, available at https://perma.cc/C6JR-WU5N.
“Cookie Policy,” Gannett, October 5, 2020, available at https://perma.cc/TRQ5-GSPU.
“Cookie Policy,” Grammarly, December 30, 2019, available at https://perma.cc/V5MQ-G8B9.
“Cookie Policy,” LinkedIn, June 3, 2022, available at https://perma.cc/K9RY-V8AE.
“Cookie Policy,” The New York Times, September 17, 2021, available at https://perma.cc/LN7U-
H4Q3.
“Cookies Policy,” Insider Inc., September 4, 2019, available at https://perma.cc/MH9H-5V3Z.
“Cookies, web beacons, and similar technology (“Cookie Notice”),” eBay Customer Service,
eBay, available at https://perma.cc/5FMF-UC3J.
“cp command in Linux with examples,” GeeksforGeeks, February 19, 2021, available at
https://perma.cc/2TV6-H3DY.
“Definition of User Agent,” W3C, June 16, 2011, available at https://perma.cc/5FCX-K45N.
“Disable Google Analytics measurement,” Google Analytics, Google, available at
https://perma.cc/FXP9-3CGT.
“Encyclopaedia Britannica, Inc. Privacy Notice,” Encyclopedia Britannica, November 10, 2021,
available at https://perma.cc/57Z7-EHZ5.
“Google Analytics alternative that protects your data and your customers’ privacy,” Matomo,
available at https://perma.cc/2FG3-BHM7.
“Google Analytics Blocker,” Firefox Browser Add-Ons, available at https://perma.cc/L3RX-
X2A6.
“Google Chrome Privacy Notice,” Google, September 23, 2021, available at
https://perma.cc/SX4Q-3YU4.
“Google Chrome,” The Keyword, Google, available at https://perma.cc/5QFA-CBFC.
“Google Privacy Policy,” Google Privacy & Terms, Google, available at https://perma.cc/LYU9-
8XTC.
“Google Publisher Policies: Privacy-related policies: Privacy disclosures,” Google Ad Manager
Help, Google, available at https://perma.cc/G2FU-Z7PK.
“Hearst.com Privacy Notice,” Hearst Communications, December 30, 2019, available at
https://perma.cc/6SKE-3CK7.
“How Chrome Incognito keeps your browsing private,” Google Chrome Help, Google, available
at https://perma.cc/2YZX-VG2U.
“HTML <script> Tag,” W3Schools, available at https://perma.cc/KH7P-MY7D.
“HTTP headers | User-Agent,” GeeksforGeeks, October 11, 2019, available at
https://perma.cc/QAA8-S428.


                                             C-3
  Case 4:20-cv-03664-YGR         Document 666-24        Filed 08/05/22     Page 305 of 331


                                              CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

“Indeed’s Full Privacy Policy,” Indeed Inc., May 27, 2022, available at https://perma.cc/HBC7-
YGSK.
“Inspect network activity,” Chrome Developers, Google, February 8, 2019, available at
https://perma.cc/96JX-HTQF.
“Kohl’s Department Stores, Inc. — About Our Ads,” Kohl’s Department Stores, Inc., August 12,
2016, available at https://perma.cc/AU59-FHTK.
“KOHL’S PRIVACY POLICY - YOUR PRIVACY RIGHTS,” Kohl’s Department Stores, Inc.,
April 13, 2022, available at https://perma.cc/TUB7-WLPN.
“Limited Ads,” Google Ad Manager Help, Google, available at https://perma.cc/MT25-D2C3.
“Limits of User-ID view & Cross Device reports,” Analytics Help, Google, available at
https://perma.cc/BAM5-AYUB.
“Manage user privacy,” Google Analytics, Google, available at https://perma.cc/PVW7-EBB2.
“Measurement Protocol, SKD, and User ID Feature Policy,” Google Analytics, Google, available
at https://perma.cc/88W2-LDYD.
“Policy on Cookies, Web Beacons, Pixels, and Similar Technologies,” AccuWeather, May 25,
2019, available at https://perma.cc/EJ4S-M8EJ.
“Privacy & Cookies Policy (the “Policy”),” Associated Newspapers Ltd, March 10, 2022,
available at https://perma.cc/R3WW-44FY.
“Privacy & Cookies Policy,” Chaturbate, May 25, 2022, available at https://perma.cc/WN3X-
ZS9J.
“Privacy Notice,” Hearst Television Inc., June 2020, available at https://perma.cc/84RP-6H7H.
“Privacy Notice,” Momentive, August 16, 2021, available at https://perma.cc/J5FX-6XPL.
“Privacy Notice,” New York Post, January 20, 2022, available at https://perma.cc/NG69-7CFQ.
“Privacy Notice,” Realtor.com, December 7, 2021, available at https://perma.cc/QQ66-TJJA.
“Privacy Policy and Cookie Statement,” Condé Nast, February 18, 2022, available at
https://perma.cc/QN2J-686R.
“Privacy Policy,” AccuWeather, August 21, 2020, available at https://perma.cc/4NT5-WCHW.
“Privacy Policy,” Change.org, March 25, 2022, available at https://perma.cc/G2HG-5AEV.
“Privacy Policy,” Chess.com, April 21, 2022, available at https://perma.cc/J4R2-JDBM.
“Privacy Policy,” Fandom, Inc., May 24, 2022, available at https://perma.cc/8PRV-RMMT.
“Privacy Policy,” Fox News Network, LLC, November 10, 2021, available at
https://perma.cc/5C3E-C62W.
“Privacy Policy,” LinkedIn, August 11, 2020, available at https://perma.cc/2TT8-37Q2.



                                             C-4
  Case 4:20-cv-03664-YGR          Document 666-24        Filed 08/05/22       Page 306 of 331


                                              CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

“Privacy Policy,” Nexstar Media Group Inc., December 31, 2019, available at
https://perma.cc/8T7E-MAKP.
“Privacy Policy,” Paramount, March 10, 2021, available at https://perma.cc/7Y87-LL46.
“Privacy Policy,” Pornhub, April 14, 2022, available at https://perma.cc/2VZY-KJ6A.
“Privacy Policy,” Privy, December 20, 2019, available at https://perma.cc/A8HS-5M6E.
“Privacy Policy,” Publishers Clearing House, May 21, 2021, available at
https://perma.cc/RU2Q-5JVK.
“Privacy Policy,” The New York Times, February 3, 2022, available at https://perma.cc/3FUW-
2XYP.
“Privacy Policy,” The Washington Post, October 5, 2021, available at https://perma.cc/5WVW-
YRQV.
“Privacy Policy,” The Weather Company, available at https://perma.cc/H6XL-5KM3.
“Privacy Policy,” Worldometers.info, available at https://perma.cc/TP5H-BSNH.
“Privacy Policy,” Zynga, May 31, 2022, available at https://perma.cc/EHW7-G4J6.
“Private Browsing - Use Firefox without saving history,” Mozilla Support, available at
https://perma.cc/X9NG-QCB8.
“Protecting your privacy online,” The Privacy Sandbox, Google, available at
https://perma.cc/C2TM-927B.
“Quizlet Ad and Cookie Policy,” Quizlet, January 1, 2020, available at https://perma.cc/UQ3J-
8QX4.
“Quizlet Privacy Policy,” Quizlet, August 17, 2021, available at https://perma.cc/Z7ZY-YKFS.
“Roblox Privacy and Cookie Policy,” Roblox, June 3, 2022, available at https://perma.cc/2EXQ-
5Q3Q.
“Set up enhanced conversions for web manually with Google Tag Manager”, Google Ads Help,
Google, available at https://perma.cc/CR99-8WUE.
“Share of digital in newspaper advertising revenue in the United States from 2011 to 2020,”
Statista, available at https://perma.cc/P88K-7CQK.
“Statement on Cookies and Tracking Technologies,” PayPal, May 25, 2018, available at
https://perma.cc/2PZR-8P87.
“Strategies for carrying out testing,” MDN Web Docs, available at https://perma.cc/F5G6-KN2C.
“Target Privacy Policy,” Target, July 1, 2021, available at https://perma.cc/38A3-CJZ7.
“The Internet Marketing Process,” Hochman Consultants, available at https://perma.cc/Y354-
MANZ.
“The New York Times Company Reports First-Quarter 2022 Results,” The New York Times
Company, May 4, 2022, available at https://perma.cc/QR4R-EHP6.

                                              C-5
  Case 4:20-cv-03664-YGR         Document 666-24         Filed 08/05/22     Page 307 of 331


                                              CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

“The Video Host with the Most,” Wistia, available at https://perma.cc/BR2B-UZ9W.
“Three Ways APIs Are Keeping Small Businesses Digitally Competitive,” Small Business
Trends, February 10, 2022, available at https://perma.cc/6W7V-ZR5N.
“TownNews Privacy Statement,” TownNews, June 30, 2020, available at https://perma.cc/S2NP-
6YRS.
“Understand how users behave on your site, what they need, and how they feel, fast,” Hotjar,
available at https://perma.cc/PFP2-TD6F.
“User-ID limits,” Analytics Help, Google, available at https://perma.cc/V6BT-9A8X.
“VDO.AI Terms and Conditions,” VDO.AI, available at https://perma.cc/M6RL-2ZKH.
“W3C TAG Observations on Private Browsing Modes,” World Wide Web Consortium, April 9,
2020, available at https://perma.cc/8SLY-NZ66.
“WarnerMedia News and Sports Privacy Policy,” WarnerMedia, April 8, 2022, available at
https://perma.cc/U3PC-YX2X.
“WebMD Cookie Policy,” WebMD, April 28, 2022, available at https://perma.cc/ED44-6Z33.
“What are browser developer tools?” MDN Web Docs, available at https://perma.cc/SL8Y-
WSFP.
“Without our members, there is no LinkedIn.,” LinkedIn, available at https://perma.cc/3W7E-
HA7Y.
“Yummly Privacy Notice & Your Privacy,” Yummly, December 2021, available at
https://perma.cc/L2H5-MHSD.
Benton, Joshua, “Your favorite way to get around The New York Times paywall might be about
to go away,” NiemanLab, February 28, 2019, available at https://perma.cc/F5ED-BV3H.
Bradshaw, Kyle, “Google wants to make it harder for sites to detect that you’re using Chrome’s
Incognito Mode,” 9to5Google, February 15, 2019, available at https://perma.cc/QSX5-J6RV.
Deighton, John, A., and Leora D. Kornfeld, “Economic Value of the Advertising-Supported
Internet Ecosystem,” Interactive Advertising Bureau, September 2012, available at
https://perma.cc/2SS5-CGJK.
Orgera, Scott, “How to Disable JavaScript in Firefox,” Lifewire, December 2, 2020, available at
https://perma.cc/5GLL-U868.
Sabanovic, Edin, “How to Use Google Analytics to Improve Your Web Design Projects,”
Shopify Partners, Shopify, June 13, 2017, available at https://perma.cc/QG8Y-JYD8.
Zacks Equity Research, “Subscription Revenues a Key Driver for NY Times (NYT) in 2022,”
Yahoo, December 21, 2021, available at https://perma.cc/BGY8-EHW7.




                                              C-6
    Case 4:20-cv-03664-YGR            Document 666-24          Filed 08/05/22       Page 308 of 331
                                                    CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                              Appendix D

                                      Privacy Policy Screenshots




I reviewed the top 25 websites for Google Analytics and Google Ad Manager referred to by Mr.

Hochman. 1 Except for few instances where a website was not accessible or the privacy policy was

not applicable, 2 all websites contained a privacy notice page which was accessible in Private

Browsing Mode in Chrome, Edge, and Safari, as illustrated in Figures below for all the examples

I discuss in Section IV.A of my report.3,4




1
     See e.g., Hochman Report, ¶ 134.
2
     For example, https://howto.gov/ was not accessible; https://wikia.com/ redirected to
     https://fandom.com/ which contained privacy notices; https://condenastinternational.com/ redirected
     to https://condenast.com/ which contained privacy notices; certain websites included in the list are
     duplicated to another website in the list. For examples, https://mobile.nytimes.com/ is a duplicate to
     https://nytimes.com/.     Both      have       a     common        privacy       notices    webpage
     https://www.nytimes.com/privacy/privacy-policy/.
3
     I use macOS since the current version of Safari cannot be used on Windows, but the current versions
     of Chrome, Edge, and Safari can be used on macOS.
4
     The full review of all accessible websites referred to by Mr. Hochman is included in my backup
     production.

                                                   D-1
Case 4:20-cv-03664-YGR   Document 666-24      Filed 08/05/22   Page 309 of 331
                                   CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                               Figure D.1.1

                         AccuWeather.com - Chrome




                                   D-2
Case 4:20-cv-03664-YGR   Document 666-24      Filed 08/05/22   Page 310 of 331
                                   CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                               Figure D.1.2

                         AccuWeather.com - Safari




                                   D-3
Case 4:20-cv-03664-YGR   Document 666-24     Filed 08/05/22   Page 311 of 331
                                  CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                              Figure D.1.3

                         AccuWeather.com - Edge




                                  D-4
Case 4:20-cv-03664-YGR   Document 666-24      Filed 08/05/22   Page 312 of 331
                                   CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                               Figure D.2.1

                           Change.org - Chrome




                                   D-5
Case 4:20-cv-03664-YGR   Document 666-24     Filed 08/05/22   Page 313 of 331
                                   CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                              Figure D.2.2

                           Change.org - Safari




                                  D-6
Case 4:20-cv-03664-YGR   Document 666-24     Filed 08/05/22   Page 314 of 331
                                   CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                              Figure D.2.3

                            Change.org - Edge




                                  D-7
Case 4:20-cv-03664-YGR   Document 666-24     Filed 08/05/22   Page 315 of 331
                                  CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                              Figure D.3.1

                         Grammarly.com - Chrome




                                  D-8
Case 4:20-cv-03664-YGR   Document 666-24     Filed 08/05/22   Page 316 of 331
                                  CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                              Figure D.3.2

                         Grammarly.com - Safari




                                  D-9
Case 4:20-cv-03664-YGR   Document 666-24     Filed 08/05/22   Page 317 of 331
                                  CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                              Figure D.3.3

                          Grammarly.com - Edge




                                 D-10
    Case 4:20-cv-03664-YGR              Document 666-24              Filed 08/05/22   Page 318 of 331
                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                                  Figure D.4.1

                                        Insider-Inc.com - Chrome 5




5
        Insider, Inc. is the owner of the businessinsider.com website.

                                                       D-11
    Case 4:20-cv-03664-YGR              Document 666-24              Filed 08/05/22   Page 319 of 331
                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                                  Figure D.4.2

                                          Insider-Inc.com - Safari 6




6
        Insider, Inc. is the owner of the businessinsider.com website.

                                                       D-12
    Case 4:20-cv-03664-YGR              Document 666-24              Filed 08/05/22   Page 320 of 331
                                                        CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                                  Figure D.4.3

                                          Insider-Inc.com - Edge 7




7
        Insider, Inc. is the owner of the businessinsider.com website.

                                                       D-13
Case 4:20-cv-03664-YGR   Document 666-24      Filed 08/05/22   Page 321 of 331
                                   CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                               Figure D.5.1

                          LinkedIn.com - Chrome




                                  D-14
Case 4:20-cv-03664-YGR   Document 666-24     Filed 08/05/22   Page 322 of 331
                                   CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                              Figure D.5.2

                          LinkedIn.com - Safari




                                  D-15
Case 4:20-cv-03664-YGR   Document 666-24     Filed 08/05/22   Page 323 of 331
                                   CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                              Figure D.5.3

                           LinkedIn.com - Edge




                                  D-16
Case 4:20-cv-03664-YGR   Document 666-24     Filed 08/05/22   Page 324 of 331
                                  CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                              Figure D.6.1

                           Privy.com - Chrome




                                 D-17
Case 4:20-cv-03664-YGR   Document 666-24     Filed 08/05/22   Page 325 of 331
                                   CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                              Figure D.6.2

                            Privy.com - Safari




                                  D-18
Case 4:20-cv-03664-YGR   Document 666-24     Filed 08/05/22   Page 326 of 331
                                  CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                              Figure D.6.3

                            Privy.com - Edge




                                 D-19
Case 4:20-cv-03664-YGR    Document 666-24       Filed 08/05/22   Page 327 of 331
                                     CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                 Figure D.7.1

                         WashingtonPost.com - Chrome




                                    D-20
Case 4:20-cv-03664-YGR    Document 666-24      Filed 08/05/22   Page 328 of 331
                                     CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                Figure D.7.2

                         WashingtonPost.com - Safari




                                    D-21
Case 4:20-cv-03664-YGR   Document 666-24      Filed 08/05/22   Page 329 of 331
                                    CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                               Figure D.7.3

                         WashingtonPost.com - Edge




                                   D-22
Case 4:20-cv-03664-YGR    Document 666-24        Filed 08/05/22   Page 330 of 331
                                               CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER



                                 Appendix E

           Illustration Of Website With And Without Third-Party APIs




                                  Figure E.1

                    Apartments.com With Google Maps API




                                     E-1
Case 4:20-cv-03664-YGR   Document 666-24      Filed 08/05/22   Page 331 of 331
                                            CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                               Figure E.2

                 Apartments.com Blocking Google Maps API




                                   E-2
